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                      EXHIBIT 9
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                                                                              NO. 152298/2021
NYSCEF DOC. NO. 17                                                                      RECEIVED NYSCEF: 04/08/2022




          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK
          ----------------------------------------x
          THE IDEAL SUPPLY COMPANY, individually and on            Index No.: 152298/2021
          behalf of all lienors, claimants and creditors similarly
          situated entitled to share funds received by Fahrenheit
          Mechanical LLC a/k/a Fahrenheit Mechanical, under
          Article 3-A of the New York State Lien Law,              NOTICE OF MOTION
                                                                   .
                                    Plaintiff,
                                                                   Motion Seq. No. 1
                   -against-
                                                                   Return Date: April 25, 2022
          FAHRENHEIT MECHANICAL LLC, DAVID RUSI,
          CONTINENTAL CASUALTY COMPANY, “JANE DOE
          #1” THROUGH “JANE DOE #10”, AND FAHRENHEIT
          MECHANICAL INC.,

                          Defendants.
          ----------------------------------------x

                 PLEASE TAKE NOTICE that upon the Affidavit of Tracy Bates sworn to April 1,

          2022, the Affirmation of Elizabeth V. Marchionni, Esq., dated April 1, 2022, the exhibits

          annexed thereto, and all of the proceedings heretofore had herein, Plaintiff, The Ideal Supply

          Company (“Plaintiff”) will move this Court in Motion Submission Part, Room 130, New York

          Supreme Court, at the Courthouse located at 60 Centre Street, New York, New York, on the 25th

          day of April, 2022, at 9:30 a.m. of that day, or as soon thereafter as counsel may be heard, for the

          following relief:

                 (i)     an Order pursuant to CPLR § 3212(e) directing the entry of summary judgment in

                         favor of Plaintiff and against Defendant Fahrenheit Mechanical Inc. and/or

                         Fahrenheit Mechanical LLC on its First, Second, Fifth, Sixth, and Seventh Causes




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                         of Action for breach of contract in the sum of $194,223.73 plus statutory interest

                         calculated through March 21, 2022 pursuant to GBL § 567-b thereon in the

                         amount of $34,532.89, for a combined sum of $228,756.62, together with an

                         award of costs and disbursements; or

                 (ii)    In the alternative, the sum of $194,223.73 on its Eighth Cause of Action for an

                         account stated, plus statutory interest calculated through March 21, 2022 pursuant

                         to GBL § 756-b thereon in the amount of $34,532.89, for a combined sum of

                         $228,756.62, together with an award of costs and disbursements; or

                 (iii)   In the alternative, the sum of $194,223.73 on its Ninth Cause of Action for

                         Quantum Meruit/Unjust Enrichment; plus statutory interest calculated through

                         March 21, 2022 pursuant to GBL § 567-b thereon in the amount of $34,532.89,

                         for a combined sum of $228,756.62, together with an award of costs and

                         disbursements each based upon the ground that said Defendant possesses no

                         defenses thereto; and

                 (iv)    For a conditional order, compelling Defendant David Rusi to respond to

                         Plaintiff’s Demand for Bill of Particulars, Demand for Discovery and Inspection,

                         and First Set of Interrogatories, within a time set by the Court, or otherwise

                         striking his Answer; and

                 (v)     for such other and further relief as may be just, proper and equitable.

                 Pursuant to CPLR § 2214(b), answering affidavits, if any, are required to be served upon

          the undersigned at least seven (7) days before the return date of this motion.




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NYSCEF DOC. NO. 17                                                             RECEIVED NYSCEF: 04/08/2022




          Dated: Woodbury, New York
                 April 7, 2022                   KAUFMAN DOLOWICH & VOLUCK, LLP
                                                 Attorneys for Plaintiff The Ideal Supply Company

                                                 By:       _________________________________
                                                           Erik A. Ortmann, Esq.
                                                           Elizabeth V. Marchionni, Esq.
                                                           Adam A. Perlin, Esq.
                                                           135 Crossways Park Drive, Suite 201
                                                           Woodbury, New York 11797
                                                           (516) 681-1100

          To:   Christopher R. Travis, Esq. (via NYSCEF)
                Attorney for Defendants
                Fahrenheit Mechanical LLC and David Rusi
                80 Maiden Lane, Suite 304
                New York, New York 10038
                Tel: (212) 248-2120




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NYSCEF DOC. NO. 18                                                                      RECEIVED NYSCEF: 04/08/2022




          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK
          ----------------------------------------x
          THE IDEAL SUPPLY COMPANY, individually and on            Index No.: 152298/2021
          behalf of all lienors, claimants and creditors similarly
          situated entitled to share funds received by Fahrenheit
          Mechanical LLC a/k/a Fahrenheit Mechanical, under
          Article 3-A of the New York State Lien Law,              AFFIDAVIT IN SUPPORT
                                                                   .
                                    Plaintiff,
                                                                   Motion Seq. No. 1
                   -against-

          FAHRENHEIT MECHANICAL LLC, DAVID RUSI,
          CONTINENTAL CASUALTY COMPANY, “JANE DOE
          #1” THROUGH “JANE DOE #10”, AND FAHRENHEIT
          MECHANICAL INC.,

                          Defendants.
          ----------------------------------------x

          STATE OF NEW JERSEY            )
                                         )ss.
          COUNTY OF HUDSON               )

                 TRACY BATES, being duly sworn deposes and says:

                 1.      I am the President of The Ideal Supply Company (“Ideal Supply” or “Plaintiff”),

          plaintiff in the above-captioned matter. I am fully familiar with the facts and circumstances set

          forth herein based upon personal knowledge and as to those statements made upon information

          and belief, I believe them to be true.

                 2.      I respectfully submit this affidavit in support of Ideal Supply’s motion seeking (i)

          summary judgment against defendant Fahrenheit Mechanical Inc. and/or Fahrenheit Mechanical

          LLC (together “Fahrenheit Mechanical”) and (ii) to compel or preclude outstanding discovery

          from Defendant David Rusi.

                 3.      Ideal Supply is a certified woman-owned business entity (“WBE”) in the business

          of wholesale supplying specialty fitting and plumbing materials used in construction.


                                                           1


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                   4.      Ideal Supply’s claims arise from Fahrenheit Mechanical’s non-payment for

          certain construction materials ordered and accepted by Fahrenheit Mechanical from Ideal Supply

          for use on various construction projects (collectively, the “Projects,” and any specific project, a

          “Project”), in the total outstanding sum of $194,223.73, plus interest of $34,532.89, for a

          combined total of $228,756.62.

          Ideal Supply’s Breach of Contract Claims

                   5.      Fahrenheit Mechanical had been a customer of Ideal Supply’s for a number of

          years.

                   6.      Fahrenheit Mechanical is in the business of performing and providing mechanical

          labor and material to private and public improvement projects in the New York City area.

                   7.      Ideal Supply and Fahrenheit Mechanical entered into purchase orders whereby

          Ideal Supply agreed to supply Fahrenheit Mechanical with certain plumbing materials for the

          Projects.

                   8.      The Projects for which Ideal Supply supplied Fahrenheit Mechanical various

          materials for use and incorporation, and for which it remains outstanding in payment are limited

          to the following:1

                        a. 230 Vesey Street, New York, New York 100000 (“Vesey Street Project”);

                        b. 1 Manhattan West, New York, New York (“Manhattan West Project”);

                        c. Pier 57 located at 25 11th Avenue, New York, New York (“Pier 57 Project”);

                        d. 201 Varick Street, New York, New York (“Varick Street Project”); and

                        e. LaGuardia Airport located in Flushing New York (“LaGuardia Project”).


          1
           The list of Projects excludes the following two projects listed in Ideal Supply’s Amended Verified Complaint for
          which payment was received after the commencement of this Action: (i) the Sandy Recovery Program at Hammel
          Houses located at 85-2 Rockaway Beach Boulevard, Far Rockaway, New York 11693, and (ii) the Project at 47 Hall
          Street, Brooklyn, New York 11201.

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                 9.       In furtherance of Fahrenheit Mechanical’s agreements to perform work on the

          above referenced Projects, Fahrenheit Mechanical placed orders for certain plumbing-related

         materials with Ideal Supply between April 2020 and November 2020 as follows:

                          a.     Vesey Street Project – Seven (7) outstanding invoices totaling $3,694.28

          (a summary chart along with copies of Vesey Street Project Invoices are attached hereto as

          Exhibit “1”);

                          b.     Manhattan West Project – Seventy One (71) outstanding invoices

          totaling $144,635.83 (a summary chart along with copies of Manhattan West Project Invoices

          are attached hereto as Exhibit “2”);

                          c.     Pier 57 Project – Fifty One (51) outstanding invoices totaling $45,981.13

          (a summary chart along with copies of Pier 57 Project Invoices are attached hereto as Exhibit

          3”);

                          d.     Varick Street Project – One outstanding invoice totaling $18.90 (a

          summary chart along with a copy of the Varick Street Project Invoice is attached hereto as

          Exhibit “4”); and

                          e.     LaGuardia Project - One outstanding invoice totaling $42.87 (a summary

          chart along with a copy of the LaGuardia Project Invoice is attached hereto as Exhibit “5”):

                 10.      By November 9, 2020, all materials ordered by Fahrenheit Mechanical were

          delivered to Fahrenheit Mechanical, picked up from Ideal Supply’s shop facility by Fahrenheit

          Mechanical, or shipped directly to the appropriate Project, at Fahrenheit Mechanical’s direction

          and request.

                 11.      Despite Ideal Supply completing performance on the Projects, Fahrenheit

         Mechanical failed to remit payment to Ideal Supply.



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                  12.     The total amount that Fahrenheit Mechanical owes Ideal Supply for its unpaid

          invoices for the Projects is $194,223.73.

                  13.     The total amount of interest due on Ideal Supply’s unpaid invoices is $34,532.89.

          (See Interest Chart attached hereto as Exhibit “6.”)

                  14.     The combined total due Ideal Supply from Fahrenheit Mechanical is $228,756.62,

          comprised of the amount in the unpaid invoices plus interest.

          Ideal Supply’s Account Stated Claim

                  15.     As set forth above, Ideal Supply supplied Fahrenheit Mechanical with certain

          plumbing supplies and materials for the various Projects.

                  16.     It is Ideal Supply’s standard practice to provide and deliver invoices for all

          materials purchased and delivered to its customers, including Fahrenheit Mechanical.

                  17.     Ideal Supply provided copies of each invoice for materials purchased and

          delivered to Fahrenheit Mechanical on the date of the invoice by regular mail.

                  18.     It is also Ideal Supply’s standard practice to obtain a signature from the recipient

          of its materials.

                  19.     In accordance with these practices, Ideal Supply sent invoices to Fahrenheit

          Mechanical and obtained signatures from Fahrenheit of each delivery of its materials. (Copies of

          the signed receipts for the materials delivered to Fahrenheit Mechanical are attached hereto as

          Exhibits “1” through “5.”)

                  20.     Fahrenheit Mechanical accepted all materials and rejected none.

                  21.     Fahrenheit Mechanical also accepted all invoices for these materials without

          objection or rejection.




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                 22.     Ideal Supply also regularly sent monthly statements (the Statements”) to

          Fahrenheit Mechanical by regular mail, none of which were returned or rejected for any reason.

          (Copies of the Statements sent to Fahrenheit Mechanical are attached hereto as Exhibit “7.”)

                 23.     Since the inception of this lawsuit, partial payment on several invoices reflected

          in the last Statement were made on behalf of or by Fahrenheit Mechanical, and the total

          remaining sum due is accurately recited above.

                 24.     Finally, and importantly, Fahrenheit Mechanical retained all delivered materials

          and corresponding invoices without return or revocation.

                 25.     Upon information and belief, Fahrenheit Mechanical received payment on the

         various Projects in part for the materials Ideal Supply delivered, but failed and refused to tender

         payment to Ideal Supply for the materials Ideal Supply provided.

                 26.     The total amount that Fahrenheit Mechanical owes Ideal Supply for its unpaid

          invoices for the Projects is $194,223.73.

                 27.     The total amount of interest due on Ideal Supply’s unpaid invoices is $34,532.89.

          (See Ex. 6, Interest Chart.)

         The combined total due Ideal Supply from Fahrenheit Mechanical is $228,756.62, comprised of

         the amount in the unpaid invoices plus interest.

         Ideal Supply’s Quantum Meruit Claim

                 28.     As set forth above, Ideal Supply supplied Fahrenheit Mechanical with certain

         plumbing supplies and materials for the various Projects at Fahrenheit Mechanical’s request.

                 29.     Ideal Supply’s plumbing supplies provided to Fahrenheit Mechanical enhanced

         the value of the Projects to the benefit of Fahrenheit Mechanical.




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                        30.           The    fair    and reasonable            value     of the amount           due     and     owing      Ideal     Supply            from


            Fahrenheit         Mechanical            as reflected       in Ideal       Supply's       unpaid      invoices         is $194,223.73.


                        31.           The    total    amount         of interest       due on Ideal          Supply's       unpaid       invoices          is $34,532.89.


            (See Ex 6, Interest             Chart.)


                        32.           The    combined          total    due Ideal       Supply       from      Fahrenheit         Mechanical              is $228,756.62,


            comprised          of the amount            in the unpaid          invoices     plus     interest.


                        33.           Fahrenheit           Mechanical          has been     unjustly         enriched,         as it benefited            from    Ideal


            Supply's       services         supplying         and furnishing           various      plumbing          supplies       and    materials            for which


            Fahrenheit         Mechanical            did     not pay    due     compensation.


                        WHEREFORE,                      The    Ideal    Supply         Company         respectfully         requests       this     Court        grant     its


            motion       in full,     together        with    such     other    and further        relief     the Court         deems      just.




                                                                                                                           CY BATES



                                              UNIFORM             CERTIFICATE                 OF ACKNOWLEDGMENT


            STATE         OF    NEW         JERSEY
            COUNTY             OF HUDSON


                        On the           day of Maseh,     in the year 2022, before     me, the undersigned     a Notary    Public
            in and for        saidState, personally     appeared   Tracy   Bates, who was personally      known    to me or
            provided       to me on the basis of satisfactory       evidence    to be the individual(s)   whose   name is
            subscribed       to the within   instrument     and acknowledged       to me that he/she/they    executed    the same
            in his/her/their          capacity,        and that       by his/her/their           signature       on the instrument,                the individual,               or
            the person         upon     behalf       of which        the individual         acted,     executed          the instrument.




                                                                                                     Notary       Public


                                                                                                                                                          2.-    lle-
                                                                                                     My Commission                 Expires:           I                  202



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                                     EXHIBIT          1
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NYSCEF DOC. NO. 19                                                         RECEIVED NYSCEF: 04/08/2022

                             Vesey Street Project Invoices Summary Chart




                      Invoice Date         Invoice #       Amount
                                6/5/2020   S2008619.001   $2,320.95
                               6/22/2020   S2010319.001   $ 340.90
                               6/24/2020   S2010583.001   $257.32
                               6/26/2020   S2010791.001   $102.04
                               6/30/2020   S2011206.001   $268.77
                                7/8/2020   S2011754.001   $255.59
                                7/9/2020   S2011934.001   $148.71
                                           Total          $3,694.28
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            NEW          YORK,  NY                10271                                                             NEW             YORK,             NY        10000




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 40730     2 X 10'          STD BLK C/W PIPE TBE                               360ft                   360ft               3.205ft                    Net                     3.205ft                            1153.73
 42517     1-5/8        X 1-5/8   X 10' SLOTTED GALV                           140ft                   140ft               1.700ft                    Net                     1.700ft                             238.0C
             CHANNEL STRUT 12G
 30109     2 150# BMI 90 ELL                                                    24ea                    24ea              47.730ea                   *.22                    10.501ea                             252.01
 5093      2 150# BMI CPLG                                                       14ea                   14ea              38.280ea                   * .22                    8.422ea                             117.90
 81344     2 HOLE 90 CORNERANGLE KNEE                                           24ea                    24ea               1.133ea                    Net                     1.133ea                              27.2C
             1-5/8          X 2-5/16    CA604 1/2     HOLE
 43857     3/8        X 6 PLTD THREADEDROD                                      25ea                    25ea               1.873ea                    Net                     1.873ea                              46.83
                 (25PCS PER BUNDLE)
 10694     3/8        PLAIN DOUBLE EXPANSION SHIELD                             50ea                    50ea               1.360ea                    Net                     1.360ea                              68.00
                 (50 BOX)
 41365     3/8        DROP IN ANCHORS(50 BOX)                                   50ea                    50ea               0.480ea                    Net                     0.480ea                              24.0C
             (LIPPED)
 38739     3/4        X 520 TEFLON TAPE (100/BX)                                12ea                    12ea               1.303EA                    Net                     1.303EA                              15.64
 64805     1 PT PRO-DOPE PIPE JOINT COMPOUND                                      2ea                    2ea               8.462ea                    Net                     8.462ea                              16.92
             15-427
 38013     SPOOL QUICKWICK 1906004                                                6ea                    6ea               1.230EA                    Net                     1.230EA                               7.38
             25PERBAG.
 43859     3/8        PLTD HVY HEX NUTS                                        300ea                   300ea               0.123ea                    Net                     0.123ea                              36.91
 28918     3/8        PLTD ROUNDSTEEL WASHER                                   300ea                   300ea               0.115ea                    Net                     0.115ea                              34.61
 38304     GALLON CUTTING OIL DARK                                                1es                    lea              37.460EA                    Net                    37.460EA                              37.46
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 9600      2 150# BMI G/J UNION                                                   2ea                    2ea              88.570ea                *.23                       20.371ea                              40.74
 16307     2 X 5 STD BLK STEEL NIPPLE                                             2ea                    2ea               7.213ea                    Net                     7.213ea                              14.43




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              FAHRENHEIT    MECHANICAL                                                       FAHRENHEIT               MECHANICAL
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              NEW          YORK,          NY      10271                                      NEW         YORK,       NY     10000




           48392                    230        VESEY        ST                                                                     Dan         Marucci



  Shelly             Thielmann                              DT   )OWNTOWN              NIT         30      DAfS                    06/05/20                   06/04/20
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                                                                            NEWYORKCI                   8.875
  Invoice             is      due         by    07/05/20.                                                                        SaleS          Tax                   189.19
All claims for shortage or errors must be madeat once. Returns require written
authorization and are subject to handling charges.  Special orders are non-returnable·                                      Amount              Due                2320.            95
Past due invoices     may be subject    to 1.50% late charge.
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             FAHRENHEIT    MECHANICAL                                                                          FAHRENHEIT    MECHANICAL
             120  BROADWAY    36TH    FLOOR                                                                    120  BROADWAY    36TH   FLOOR
             NEW YORK,   NY     10271                                                                          NEW YORK,   NY   10271




         47848                       230        VESEY                                                                                                    Dan        Marucci



                      Thielmann                               WC    NILL           CAL                   NET         30      DAYS                        06/22/20                     06/22/20
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                                                                    Tree"                                                                                                                        *
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             *********************                                      &*******           &*******        &*******               &****          A**********                  k*******

 35245      2 150# BMI TEE                                                          2ea                 2ea          68.670ea         *.24                      16.481ea                               32.96
 35534      2 APOLLO #70-108-01                 BRNZ THRD END                       4ea                 4ea        124.530ea          *.55                      68.492ea                              273.97
              BALL
 7503       2 150# BMI CAP                                                          2ea                 2ea          26. 640ea            *.24                    6.394ea                              12.79




              IB1BMan3003½2                V4A          %1M03t%..




                                                                                                                                                         Subtotal                            319.72
                                                                                                                                                         S&H    CHGS                                 0.00
                                                                                              NJ                          6.625
  Invoice               is     due         by     07/22/20.                                                                                            Sales         'fax                        21.18
All claims for abortage or errors must be madeat once. Returns require written
authorization and are subject to handling charges.  Special orders are non-returnable·                                                            Amount             Due                     340.90
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                                                  **    Reprint     **    Reprint     **   Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 19                                                                                                                                       RECEIVED
                                                                                                                                                             Invoice NYSCEF: 04/08/2022
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  SU     P P L Y          c o                                                                                                             --··--           m« *=«+×+=            ---×--                   mHs

                                                                                                                                            06/24/20                      S2010583.001
  445    Communipaw                           Avenue                                                                                       Ran1T To
                  NJ                  07304                                                                                                = == so- =
  Jersey    City
                                                                                                                                           * °"°""ª" ^"=
  201-333-2600                      Fax       201-333-7376                                                                                 JERSEYCITY NJ 07304



              BILL       TO:                                                                                  SHIP TO:
              FAHRENHEIT    MECHANICAL                                                                       FAHRENHEIT    MECHANICAL
              120  BROADWAY    36TH    FLOOR                                                                 120  BROADWAY    36TH   FLOOR
              NEW YORK,   NY     10271                                                                       NEW         YORK,            NY       10271




           47848                      230        VESEY                                                                                                   Dan        Marucci



  Shelly                Thielmann                              WC   AILL       CAL                      NCT        30      DAfS                          06/24/20                      06/24/20

              *********************                                 k*******              *******           k*******              k****         k**********                      *******
                                                                     ree"                                                                                                                         *
                   If         NOT     stated           "Lead                     or       "LF",         t    e produsts                    listed                may         cMntain
                   lead      and            *CAN       NOT*  be     used              f   r                                                water               service.                           *
                                                                                              potabi.e/drinking
             **********************************************************************
 42052       2 GALV CHANNEL STRUT CLAMPS                                       200ea                200ea              1.207ea            Net                      1,207ea                             241.33




               101%l0%r/ADT.W,%%%A                       %1%½5%%..




                                                                                                                                                          Subtotal                            241.33
                                                                                                                                                         S&H     CHGS                                 0.00
                                                                                           NJ                           6.625
  Invoice                is     due         by     07/24/20.                                                                                            Sa le S Tax                               15.99
All claims for shortage or errors must be madeat once, Returns require written
authorization and are subject to handling charges.  Special orders are non-returnable *
                                                                                                                                                   Amount             Due                     257.32
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                   **    Reprint     **   Reprint      **   Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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       DOC. NO. 19                                                                                                                                                 RECEIVED
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                                                                                                                                                          06/26/20                    S2010791.001
  445    Communipaw                          Avenue                                                                                                     asn11 10
                                                                                                                                                        == ra=    so-   co
  Jersey    City  NJ                 07304
                                                                                                                                                                      ""
                                                                                                                                                        "5 c°*"""
  201-333-2600                    Fax        201-333-7376                                                                                               JERSEYCITY NJ 07304



             BILL TO:                                                                                                    SHIP 10:
             FAHRENHEIT              MECHANICAL                                                                          FAHRENHEIT    MECHANICAL
             120            BROADWAY    36TH  FLOOR                                                                      120  BROADWAY    36TH  FLOOR
             NEW            YORK,          NY      10271                                                                 NEW          YORK,            NY     10271




        47848                        230        VESEY         ST                                                                                                     Dan         Marucci



  Shelly              Thielmann                               WC        VILL       CAL                            NET           30      DAfS                         06/26/20                     06/26/20
 PARTNO.                    DESCRIPUÔN                                      0ER    OTY         $HIP QW                         LIST             FORMIJLA                 NET                     EXL PRICE
            &* * * * * * * * * * * * * * * * * ***                      k*******            ¼*******                    k*******               k****   k**           k-k******             k* * * * * * *
                                                                    Tree"                                                                                                                                    *
                 If         NOT      stated           "Lead                         or        "LF",               t1e           produ:ts                listed               may        cMntain
                 lead      and     *CAN               NOT*         be      used        f3r                                                              water              service.                          *
                                                                                                 potable/drinking
             *********************                                      +***********************                                               4****        v**********                    ********

 5093       2 150// BMI CPLG                                                       10ea                       10ea               38.280ea          *.25                       9.570ea                              95.70




                                                                                     TE$ji@                   $        i$$NNieij$M!                                Subtotal                                  95.        70
                                                                                                                                                                   S&H    CHGS                                   0.00
                                                                                                NJ                                   6.625
  Invoice              is      due         by    07/26/20.                                                                                                        Sales           Tax                            6.34
All claims for shortage or errors most be madeat once. Returns require written
authorization and are subject to handling charges.  Special orders are non-returnable·                                                                       hount                Due                    102.           04
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                                                             **    Reprint       **   Reprint     **   Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 19                                                                                                                                   RECEIVED
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  S U P P L Y             CP

                                                                                                                                            06/30/20                     S2011206.001
  445    Commum'Daw                             Avenue                                                                                       eMiT TO

            City NJ                     07304                                                                                           = 1-            su=         =
  Jersey                                                                                                                                 """""        ^"""
  201-333-2600                        Fax       201-333-7376                                                                            JERSEYCITY NJ 07304



              BILL        TO:                                                                                     SHIP TO:
              FARRENHEIT    MECHANICAL                                                                         FAHRENHEIT    MECHANICAL
              120  BROADWAY    36TH  FLOOR                                                                     120  BROADWAY    36TH  FLOOR
              NEW             YORK,           NY        10271                                                  NEW YORK,   NY 10271




        cusics80              R                        00$10HEREE                            ]v               JELEASEStNER
                                                                        NUMBEQ


          47848                         230        VESEY                                                                                               Dan         Marucci



  Shelly                Thielmann                                 WC    WILL         CALL                   NET        30      DAfS                    06/30/20                       06/30/20
 PARTNO.                               DESCRIPTION                             ORDER GY          SHIP OTY              LI5T         F0ELA                    Er                       EXT, PRICE
              ******                ***************                         ** * * *"***********              v*****           *W *****       ***********                     e*******
                                                                        Tree"                                                                                                                    *
                   If         NOT       stated            "Lead                         or     "LF",      tie      produMts              listed          may                cantain
                   lead     and               *CAN        NOT*         b3      used        far                                           water         service.                                  *
                                                                                                   potabLe/drinking
            **********************                                          &*******v*******v*******                        v****           v**********v*******
 40730       2 X 10'          STD BLK C/W PIPE TBE                                    40ft             40ft             3.910ft        Net                        3.910ft                             156.39
 5093        2 150# BMI CPLG                                                          10ea             10ea             9.568ea        Net                        9.568ea                              95.68




               agri



                                                                                                                                                      Subtotal                               252.07
                                                                                                                                                      S&H          CHGS                              0.00
                                                                                              NJ                            6.625
  Invoice                is       due         by      07/30/20.                                                                                     Sales            Tax                         16.70
All claims for shortage or errors must be madeat once. Returns require written
authorization arid are subject to handling charges,  Special arders are non-returnable·                                                        Amount                Due                     268.77
Past due mvoices       may be subject    to 1.50% late charge.
                                                                                                                                               **    Reprint        **   Rep-int      **   Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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NYSCEF DOC. NO. 19                                                                                                                                RECEIVED
                                                                                                                                                      Invoice NYSCEF: 04/08/2022

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  s U P P L Y           CP

                                                                                                                                         07/08/20                    S2011754.001
  445    Communipaw                      Avenue                                                                                      aEn11 10:                                       aggg
  Jersey    City  NJ                07304
                                                                                                                                     "5 °""""""    " """
  201-333-2600                     Fax   201-333-7376                                                                                JERSEYCITY NJ 07304



             BILL     To:                                                                                       SHIP TO:
             FAHRENHEIT    MECHANICAL                                                                           FAHRENHEIT    MECHANICAL
             120  BROADWAY    36TH    FLOOR                                                                     120  BROADWAY    36TH   FLOOR
             NEW YORK,   NY     10271                                                                           NEW      YORK,     NY        10271




         47848                       230        VESEY         ST                                                                                    Dan        Marucci



  Christopher                      Luciano                    WC    WILL          CAL                     NET      30      DAfS                     07/08/20                     07/07/20
 PARTNO.                           DE5CRIPUDK                               0RDERGTY           $111f TY            LIST        F0MULA            NEf                                 GT. PREE
            **********************                                      +***   * * * *       * * * * * * * VT*     * * * * * v * * * * * * * *^* * *****                  ********
                                                                        Pree"                                                                                                                 *
                 If          NOT     stated           "Lead                        or         "LF",       tTe       produ:ts         listed                 may        cantain
                 lead      and      *CAN              NOT*                 used         f     r                                      water                service.                            *
                                                                   be                              potabLe/drinking
             *****************************                                                  v*******         *************                 ***********                   k*******

 30109      2 150# BMI 90 ELL                                                      Bea                   8ea       47.730ea       *.24                     11.455ea                                  91.64
 35534      2 APOLLO #70-108-01                 BRNZ THRD END                      2ea                   2ea      124.530ea       *.56                     69.737ea                                 139.47
              BALL
 9192       2 BLK RISER CLAMP EQUAL ARMS                                           2ea                   2ea          4.300ea      Net                       4.300ea                                  8.60




              1010f0N0% 0tA3.05            AbA          t101u54..




                                                                                                                 55555                             Subtotal                                 239.          71
                                                                                                                                                   S&H    CHGS                                     0.00
                                                                                              NJ                        6.625
  Invoice               is     due         by     08/07/20.                                                                                      Sales      Tax                               15.88
All claims for shortage or errors must be madeat once. Returns require written
authorization and are subject to handling charges,  Special orders are non-returnable.                                                      Amount              Due                         2 5 5 . 5 9
Past due invoices     may be subject    to 1.50% tate charge.
                                                                                                                                            **    Reprint      **    Rep 'int    **    Reprint        **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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                                                                                                                                                                07/09/20                        S2011934.001
  445

  Jersey
         Communipaw
            City  NJ                  07304
                                           Avenue                                                                                                               REniT TO:
                                                                                                                                                                =
                                                                                                                                                                *!°"""""
                                                                                                                                                                        -        - ""      =
  201-333-2600                     Fax       201-333-7376




                BILL    TO:                                                                                                      SHIP TO:
                FAHRENHEIT    MECHANICAL                                                                                         FAHRENHEIT    MECHANICAL
                120  BROADWAY    36TH  FLOOR                                                                                     120  BROADWAY    36TH   FLOOR
                NEW          YORK,          NY         10271                                                                     NEW         YORK,            NY        10271




         47848                        230        VESEY          ST    REPL                                                                                                     Dan         Marucci



  ShelLy               Thielmann                                WC          ILL      CALL                                 N3T          30      DAYS                            07/09/20                     07/09/20
 PARTt(0.                            DE5CRIPUCN                               CRDEROTY               SHP CTY                          LIST            F0MEA                          NET                        EXT. inCE
            e*********************                                        e*******               k*******                       e*******             e****            e**********                    ********
            *                                                             Pree"                                                                                                                                        *
                  If         NOT      stated            "Lead                         or           "LF",                  t1e        produMts                       listed              may       cantain
            *   lead        and             *CAN        NOT*         b3       used         far                                                                  water                service.                          *
                                                                                                         potabLe/drinking
            **********************                                        ********               ********                   k*******                 k****            k**********                    k*******

 35534      2 APOLLO #70-108-01                  BRNZ THRD END                        2ea                             2ea           124.530ea                *.56                     69.737ea                               139.47
                 BALL
                 (REPLACEMENT FOR SWEATBALL VALVES
                 RECID ON S2011754)
                 **********************************
                 WILL CREDIT ORIGINAL TICKET WHEN
                 SWEATVALVES ARE RET1JRNED
                 *********************************t:




                101%mmau%ASM                94A           310%M4.




                                                                                                                                 33$                                           Subtotal                             139.47
                                                                                                                                                                               S&H        CHGS                             0.00
                                                                                                    NJ                                      6. 625
  Invoice               is      due         by     08/08/20.                                                                                                                 Sales          Tax                             9.24
All claims for shortage or errors must be madeat once. Returns require written
authorization and are subject to handling charges.  Special orders are non-returnable -                                                                                hount                Due                     148       . 71
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                                       **     Reprint      **   Reprint     **    Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
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                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                 RECEIVED NYSCEF: 04/08/2022




                                       EXHIBIT       2
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                        RECEIVED NYSCEF: 04/08/2022

                          Manhattan West Project Invoices Summary Chart


                     Invoice Date         Invoice #      Amount
                              6/26/2020   S2010797.001   $4,734.74
                              6/29/2020   S2010936.001   $500.31
                               7/1/2020   S2011208.001   $10.66
                               7/6/2020   S2011500.001   $5,490.24
                               7/8/2020   S2011910.001   $469.91
                               7/9/2020   S2011923.001   $602.15
                               7/9/2020   S2011944.001   $256.03
                              7/13/2020   S2012183.001   $3,082.00
                              7/15/2020   S2012550.001   $652.79
                              7/16/2020   S2012778.001   $289.49
                              7/17/2020   S2012806.001   $514.40
                              7/20/2020   S2012550.002   $115.25
                              7/20/2020   S2012939.001   $3,205.38
                              7/22/2020   S2012550.003   $10.66
                              7/23/2020   S2013364.001   $1,703.72
                              7/29/2020   S2013781.001   $ 3,502.70
                               8/5/2020   S2014638.001   $3,254.73
                               8/5/2020   S2014645.001   $804.11
                               8/7/2020   S2014956.001   $159.13
                              8/13/2020   S2014956.002   $326.53
                              8/13/2020   S2015641.001   $13,606.81
                              8/14/2020   S2015656.001   $734.15
                              8/17/2020   S2015876.001   $2,792.01
                              8/19/2020   S2016139.001   $51.67
                              8/25/2020   S2016779.001   $1,281.63
                              8/26/2020   S2016964.001   $1,519.64
                              8/27/2020   S2017062.001   $2,370.90
                              8/31/2020   S2017387.001   $5,029.51
                              8/31/2020   S2017399.001   $299.62
                               9/2/2020   S2017659.001   $4,171.79
                               9/3/2020   S2017747.001   $5,422.09
                              9/22/2020   S2019525.001   $6,295.74
                              9/23/2020   S2019525.002   $590.80
                              9/24/2020   S2019525.003   $1,598.27
                              9/25/2020   S2019525.004   $1,361.25
                              9/25/2020   S2019880.001   $1,571.73
                              9/25/2020   S2019893.001   $2,148.52
                              9/25/2020   S2020037.001   $1,630.50
                              9/28/2020   S2020107.001   $25.60
                              9/28/2020   S2020112.001   $190.88
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                        RECEIVED NYSCEF: 04/08/2022

                          Manhattan West Project Invoices Summary Chart


                            9/29/2020   S2020224.001   $626.78
                            9/29/2020   S2020328.001   $82.35
                            9/30/2020   S2020397.001   $2,859.68
                            9/30/2020   S2020397.002   $260.91
                            9/30/2020   S2020542.001   $1,848.41
                            10/1/2020   S2020037.002   $70.55
                            10/1/2020   S2020570.001   $2,888.83
                            10/2/2020   S2020702.001   $821.64
                            10/5/2020   S2020542.002   $182.56
                            10/5/2020   S2020850.001   $181.15
                            10/6/2020   S2021030.001   $53.62
                            10/7/2020   S2021219.001   $331.47
                            10/9/2020   S2020542.003   $63.36
                           10/21/2020   S2022684.001   $5,523.99
                           10/22/2020   S2022974.001   $1,293.30
                           10/26/2020   S2023257.001   $4,440.40
                           10/26/2020   S2023437.001   $2,565.27
                           10/28/2020   S2023569.001   $1,533.14
                           10/29/2020   S2023840.001   $4,705.27
                           10/29/2020   S2023956.001   $2,568.62
                           10/30/2020   S2024051.001   $7,042.10
                            11/2/2020   S2024260.001   $2,451.32
                            11/3/2020   S2024051.002   $170.61
                            11/5/2020   S2024704.001   $7,347.90
                            11/5/2020   S2024826.001   $2,997.61
                            11/5/2020   S2024846.001   $1,275.94
                            11/5/2020   S2024848.001   $2,163.82
                            11/5/2020   S2024848.002   $54.41
                            11/6/2020   S2024051.003   $156.39
                            11/6/2020   S2024704.002   $23.46
                            11/9/2020   S2025062.001   $5,672.93
                                        Total          $144,635.83
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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NYSCEF DOC. NO. 20                                                                                                                                                  RECEIVED
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                                                                                                                                                                                NYSCEF: 04/08/2022

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  5y     P P L Y         Co

                                                                                                                                                         06/26/20                    S2010797.001
  445   Communipaw                          Avenue                                                                                                      RENIT TO:                                   gggan       so     as
                NJ                  07304                                                                                                               = ro- s-
 Jersey    City
                                                                                                                                                        "' °°""""     ==
  201-333-2600                    Fax       201-333-7376                                                                                                JERSEYCITY NJ 07304



             BILL TO:                                                                                                   SHIP TO:
             FAHRENHEIT    MECHANICAL                                                                                   FAHRENHEIT                      MECHANICAL
             120  BROADWAY    36TH    FLOOR                                                                             120          BROADWAY                36TH           FLOOR
             NEW YORK,   NY     10271                                                                                   NEW          YORK,          NY       10271




          47848                     1    MANHATTAN                  WEST                                                                                            Dan        Marucci
 BEeEMBiEEE              NBE8FailitiligiEifelissiiilinisiiM4                      Hifr$5             He    i:Mei         88!!!E1          IElliseesiliBl!EEliM¾R11ilEMI                                         Him

  Shelly               Thielmann                               WC    WILL        CAL                              NTT         30      DAfS                          06/26/20                     06/26          / 20
 PARTNO.                           DESCUPTIO?t                            0RDERGTY                 SHIP GTr                 LIST              FORM1A             NET                                EXT. PRICE
             ***********wx*×******                                    e*****W*                   *   *****             +**W   ****           +×***   k**********                         ********
                                                                      ?ree"                                                                                                                                 *
                  If      NOT       stated             "Lead                       or            "LF",            t1e         products                  listed              may        cantain
               lead        and     *CAN                NOT*         b 3 used             f)r                                                            water             servica.                          *
                                                                                                     potable/drinking
            &*********************                                    v*******                 v*******t*******                              ****************                            v*******

 40603      2 1/2       X 10'   TYPE K HARD COPPERTUBE                           240ft                     240ft              11.248FT              Net                    11.248FT                             2699.42
 30518      2 1/2       C X C CPLG WITH STOP W 01082                              25ea                       25ea             87.320ea            *.12                     10.478ea                              261.96
 42517      1-5/8       X 1-5/8 X 10' SLOTTED GALV                               100ft                     100ft               1.600ft              Net                      1.600ft                             160.00
              CHANNELSTRUT 12G
 42137      1/2 X 6 PLTD THREADEDROD                                              36ea                       36ea              3.371ea              Net                      3.371ea                             121.37
              (12PCS PER BUNDLE)
 47938      5/8        X 6FT PLATED ALL THRD ROD                                   8ea                           8ea           5.657ea              Net                      5.657ea                                 45.26
                  (8PCS PER BUNDLE)
 43857      3/8        X 6 PLTD THREADEDROD                                       25ea                       25ea              1.371ea              Net                      1.371ea                                 34.29
                  (25PCS PER BUNDLE)
 71832      1/2        PLTD HVY HEX NUTS                                         500ea                     500ea               0.179ea              Net                      0.179ea                                 89.29
 28954      1/2        PLTD ROUNDSTEEL WASHER                                    500ea                     500ea               0.129ea             Net                      0.129ea                                  64.29
 41972      5/8        PLTD HVY HEX NUTS                                         300ea                     300ea               0.364ea             Net                      0.364ea                              109.29
 71835      5/8        PLTD ROUNDSTEEL WASHERS                                   300ea                     300ea               0.257ea             Net                      0.257ea                                  77.14
 43859      3/8        PLTD HVY HEX NUTS                                         300ea                     300ea               0.114ea             Net                      0.114ea                                  34.29
 28918      3/8        PLTD ROUNDSTEEL WASHER                                    300ea                     300ea               0.107ea             Net                      0.107ea                                  32.14
 117752     WOLVERINE SILVALOY 15% BRAZING ROD                                     3ea                        3ea             69.122ea             Net                     69.122ea                              207.37
                  .050 X .125      X 28 STICKS PER TUBE
 500        2 1/2       C X C 90 ELL W 02087                                      14ea                       14ea          151.040ea              *.12                     18.125ea                             253.75
 38356      2 1/2       C X C 45 ELL W 03063                                      14ea                       14ea          149.220ea              *.12                     17.906ea                             250.69




                                                                                         **     Reprint     **     Reprint      **    Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                     RECEIVED NYSCEF: 04/08/2022
                                                                                {||||||||||||||||||||||||||||||||||                                              Invoice

 IDEAL
  SU P P LY          co

                                                                                                                                           06/26/20                     S2010797.001
         Communipaw                         Avenue
                                                                                                                                                 -
  445                                                                                                                                      nenIT To:
                                                                                                                                                                                   egggggg
                                                                                                                                           ==         so-    co
  Jers      Ci    NJ                07304
  201-                                                                                                                                     "5 °°""°""     """'
             3-2         00     Fax         201-333-7376                                                                                   JERSEYCITY NJ 07304                                     2



            BILL TO:                                                                                              SHIP TO:
            FAHRENHEIT    MECHANICAL                                                                              FAHRENHEIT               MECHANICAL
            120  BROADWAY    36TH   FLOOR                                                                         120         BROADWAY        36TH   FLOOR
            NEW          YORK,          NY        10271                                                          NEW          YORK,  NY          10271




         47848                      1   MANHATTAN                WEST                                                                                   Dan        Marucci



  Shelty           Thielmann                                WC    WILL   CAL                              NDT           30      DAfS                    06/26/20                  06/26       / 2 0
 PARTNo.                          DESCRIPTI0                         CR0EROTY         SHIP OTY                          LIST           F0BMDLA                ET                   EE     PRICE




             101stocra        to·2ta    na            stoem.




                                                                                                                                                        Subtotal                        4440.          55
                                                                                                                                                        S&H        CHGS                         0.00
                                                                                    NJ                                       6.625                                  Tax
  Invoice           is        due       by      07/26/20.                                                                                             Sales                               294.19
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable*                                                          hOunt              Due                 4734.74
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                                                 **    Reprint     **   Reprint   **    Reprint    **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                              RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                                          Invoice

 IDEAL
  SU P P LY              Co                                                                                                                        lÈBM|9RENiME BiBMlBM                             MGiEëE

                                                                                                                                                     06/29/20                     S2010936.001
  445    Communipaw                          Avenue                                                                                                  REMIT TO:                                      eAat no,
                                                                                                                                                     == o= so-au =
  Jersey    City  NJ                 07304
                                                                                                                                                     "" °°""""=    """""
  201-333-2600                     Fax201-333-7376                                                                                                   JERSEYCITY NJ 07304                                       1



                BILL     To:                                                                                           SHIP TO:
                FAHRENHEIT    MECHANICAL                                                                               FAHRENHEIT    MECHANICAL
                120  BROADWAY    36TH    FLOOR                                                                         120  BROADWAY    36TH   FLOOR
                NEW YORK,   NY     10271                                                                               NEW YORK,   NY   10271




         47848                       1   MANHATTAN                 WEST                                                                                          Dan        Marucci



  Shelty               Thielmann                              WC          ILL      CAL                          NET         30       DAfS                        06/29/20                     06/29/20
 PARTN0.                     DESCRIPTION                                    ORDER Y                 SHIP OTY                 Li5T            FORMULA           NET                              EXT. PRICE
            t * * * * * * * * * * ***********                           k*******                ë*******              k*******              ¼*-k** k**********                        k****-k        * *
            +                                                       Tree"                                                                                                                                *
                  If         NOT     stated           "Lead                          or           "LF",         tie         produ:ts                 listed              may        cantain
            *     lead      and          *CAN         NOT*         b3       used          far                                                        water             servica.                          *
                                                                                                        potable/drinking
            **********************                                      e*******                ********              4*******              &***************                          v*******

 74542      1/2        PLTD TOP BEAM CLAMP                                          50ea                     50ea                2.357ea          Net                     2.357ea                             117.86
 71811      3/8        PLTD TOP BEAM CLAMPS                                         50ea                     50ea                1.114ea          Net                     1.114ea                              55.71
 83404      1/2        WIDE MOUTHTOP BEAM CLAMP PLTD                                24ea                     24ea                4.614ea          Net                     4.614ea                             110.74
 71811      3/8        PLTD TOP BEAM CLAMPS                                         24ea                     24ea                1.200ea          Net                     1,200ea                              28.8C
 41819      1/2        DROP IN ANCHORS(50 BoX)                                     100ea                    100ea                0.907ea          Net                     0.907ea                              90.74
                 (LIPPED)
 41365      3/8        DROP IN ANCHORS(50 Box)                                     100ea                    100ea                0.554ea          Net                     0.554ea                              55.37
                  (LIPPED)
 71402      1/2        SETTING TOOL                                                  lea                      lea                5,000ea          Net                     5.000ea                                  5 .0C
 72919      3/8        DROP IN SETTING TOOL                                          lea                      lea                5 .000ea         Net                     5.000ea                                  5.0C




                                                                                                           55BÃ5555                                              Subtotal                            469.22
                                                                                                                                                                 S&H CHGS                                    0.00
                                                                                                   NJ                             6.625
  Invoice               is     due       by     07/29/20.                                                                                                      Sales         Tax                         31.09
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges .  Special orders are non-returnable.                                                                  Amount              Due                     500.31
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                                                         **     Reprint     **    Reprint     **   Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                      RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                                  Invoice

   DEAL
  5u     P P LY          CR

                                                                                                                                              07/01/20                    S2011208.001
          Communipaw                          Avenue                                                                                                                                        mm
                                                                                                                                                  -
  445                                                                                                                                         reurT     TO:

  Jersey
  201-333-2600
              CityNJ                  07304
                                     Fax      201-333-7376
                                                                                                                                              ==
                                                                                                                                              " """°"=^"
                                                                                                                                                        so-   -

                                                                                                                                              JERSEYCITY NJ 073D4
                                                                                                                                                                  -

             BILL       TO:                                                                                       SHIP TO:
             FAHRENHEIT    MECHANICAL                                                                             FAHRENHEIT    MECHANICAL
             120  BROADWAY    36TH    FLOOR                                                                       120  BROADWAY    36TH   FLOOR
             NEW YORK,   NY     10271                                                                             NEW YORK,   NY   10271




         47848                        1    manhattan                west                                                                                 Dan        Marucci
           "'
                             WITER                                             sine VIA                                     THE                                5HF DATE                    DERMTE
                                                       ,,,,,


  Shelby               Thielmann                               WC     TILL         CALG                     NET      30      DAfS                        07/01/20                     07/01/20
 MT NO.                     DE5CMPTIM                                   GDER OTV       5H9 GW            UST                          FOM                  NET              sEXT. PRICE
             * * * * * * * * * * * * * * * * 4-**               * * * * * * * * * * e*   * * * * * e * * * * ***                    e ** **      e * * * * ** * * * * e * * * * * * *
                                                                      .Tree"                                                                                                                     *
                  If         NOT      stated           "Lead                         or         "LF",       tTe      produ2ts                 listed              may       cMntain
                           and                         NOT*                used                                                               water                                              *
                lead                *CAN                   bM                             far        potabLe/drinking                                          servic3.
            e*********************************************                                                                          e***************                          e*******

 71402      1/2        SETTING TOOL                                                  2ea                   2ea          5.000ea           Net                     5.000ea                              10.00
              * N/S *




              agri



                                                                                                     ))                                                  Subtotal                                10.00
                                                                                                                                                         S&H       CHGS                              0.00
                                                                                                NJ                        6.625
  Invoice               is      due        by     07/31/20.                                                                                            Sales          Tax                            0.66
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable·                                                          hount                                                      6 6
                                                                                                                                                                      Due                        10.
Past due invoices     may be subject    to 1,50% late charge.
                                                                                                                                                 **     Reprint     **    Reprint     **   Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                                  RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                                            Invoice

 IDEAL
  50P      P LY          C o                                                                                                                       MH

                                                                                                                                                        07/06/20                     S2011500.001
         Communipaw                        Avenue
                                                                                                                                                             -
  445                                                                                                                                                   RENIT TO:                                     PAct so
  Jersey         NJ                07304                                                                                                               =             s-        =
            City
                                                                                                                                                       *  °°""""""""""
  201-333-2600                  Fax        201-333-7376                                                                                                JERSEYCITY NJ 073D4



             BILL        TO:                                                                                        SHIP TO:
             FAHRENHEIT    MECHANICAL                                                                               FAHRENHEIT    MECHANICAL
             120  BROADWAY    36TH   FLOOR                                                                          120  BROADWAY    36TH   FLOOR
             NEW          YORK,         NY         10271                                                            NEW            YORK,          NY         10271




          47848                     1   MANHATTAN                WEST       PO                                                                                      Dan        Marucci



  Chri3topher                   Luciano                     WC    WILL         CAL                            NIT        30         DAYS                            07/06/20                     07/06/20
 PARTN0                           CE5CWTIOl(                              GRDEROTY              SHF GR                    LI5T              F0MULA             HET                                EXT. PUCE
            *******               **************                      ********              e*******               ********                v****   ***********                           e*      *****
                                                                  Tree"                                                                                                                                     *
                  If      NOT       stated          "Lead                         or         "LF",            t1e        products                       l   isted           may        contain
                lead       and       *CAN           NOT*         be     used           f    Mr potable/drink                                           w ater             servica.                          *
                                                                                                                                           ing
              *****************************                                                 e*******      *************                                     v******************
 93135      4 HF LGT STD BLK A53B ERW PIPE PE                                   84ft                    84ft               5.884FT                Net                        5.884FT                            494.26
 12019      4 STD C.S.         WELD L/R 90 ELL                                   8ea                         8ea         28.999EA                 Net                      28.999EA                             231.99
 93134      3 HF LGT STD BLK A53B ERWPIPE PE                                    84ft                    84ft               4.061FT                Net                        4.061FT                            341.12
 11938      3 STD C.S. WELD L/R 90 ELL                                           8ea                         8ea         17.600EA                 Net                      17.600EA                             140.80
 51811      2 X 10' TYPE K HARD COPPERTUBE                                     100ft                   100ft               8.331FT                Net                       8.331FT                             833.08
 30475      2 C X C CPLG WITH STOP W 01072                                      20ea                    20ea             42.580ea                *.12                        5.110ea                            102.19
 464        2 C X C 90 ELL W 02086                                              20ea                    20ea             82.830ea                *.12                        9.940ea                            198.79
 103832             10' TYPE K HARD COPPERTUBE                                                         200ft
            1-1/4 X                                                            200ft                                      4.231FT                 Net                        4.231FT                            846.27
 30380      1 1/4        C X C CPLG WITH STOP W 01055                           30ea                    30ea             19.320ea                *.12                        2.318ea                             69.55
 390        1 1/4 C X C 90 ELL W 02084                                          40ea                    40ea             29.160ea                *.12                       3.499ea                             139.97
 103849     1 X 10' TYPE K HARD COPPERTUBE                                     200ft                   200ft               3.385FT                Net                       3.385FT                             676.97
 30338      1 C X C CPLG WITH STOP W 01047                                      20ea                    20ea             11.020ea                *.12                        1.322ea                             26.45
 356        1 C X C 90 ELL W 01647                                              40ea                    40ea             19.680ea                *.12                       2.362ea                              94.46
 103848     3/4 X 10' TYPE K HARD COPPERTUBE                                   250ft                   250ft              2.550ft                 Net                       2.550ft                             637.57
 30295      3/4        C X C CPLG WITH STOP WB01034                             30ea                    30ea               5.630ea               *.12                       0.676ea                              20.27
 320        3/4        C X C 90 ELL WB01634                                     40ea                    40ea              8.020EA                *.12                       0.962EA                              38.5C
 37966      3/8        X 6 BLK STEEL FULL THREAD ROD                            25ea                    25ea              1.679ea                 Net                        1.679ea                             41.97
                  (25PCS PER BUNDLE)
 38007      1/2        X 6 BLK STEEL FULL THREAD ROD                            12ea                    12es              3.208ea                 Net                       3.208ea                              38.5C
               (12PCS PER BUNDLE)
 42517      1-5/8 X 1-5/8 X 10' SLOTTED GALV                                    60ft                    60ft               1.907ft                Net                       1.907ft                             114.40
               CHANNEL STRUT 12G
 43859      3/8        PLTD HVY HEX NUTS                                       300ea                   300ea              0.107ea                 Net                       0.107ea                              32.00
 28918      3/8        PLTD ROUNDSTEEL WASHER                                  300ea                   300ea              0.100ea                 Net                       0.100ea                              30.00




                                                                                       **    Reprint    **     Reprint        **    Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                             RECEIVED NYSCEF: 04/08/2022
                                                                                                                                         Invoice

 IDEAL
  SUPPLY           Co

                                                                                                                    07/06/20                      S2011500.001
  445    Communipaw                      Avenue                                                                     amy        ro
                                                                                                                                                             **
            City  NJ             07304                                                                              -    -o s -Y co
  Jersey                                                                                                            445 °°MMUNIM AMUE
  201-333-2600               Fax         201-333-7376                                                               JERSEYCITY NJ 01304                                      2



            BILL   TO:                                                                        SHIP TO:
            FAHRENHEIT           MECHANICAL                                                   FAHRENHEIT    MECHANICAL
            120         BROADWAY    36TH   FLOOR                                              120  BROADWAY    36TH   FLOOR
            NEW         YORK,        NY        10271                                          NEW      YORK,       NY     10271




        47848                    1   MANHATTAN                WEST    PO                                                        Dan          Marucci



  Christopher                Luciano                     WC    WILL    CALG             NET      30      DA    S                07/06/20                    07/06/20
 PARTE0+                        SESCRIPTl0N                       ORDEROTY    5HIFGTY            UST           f0RM)LA                )lET             .     EXT. PREE




             191omm0W%               MA            S1tWR.




                                                                                                                                Subtotal                          5149.11
                                                                                                                                S&H          CHGS                       0.00
                                                                              NJ                      6.625
  Invoice          is      due       by      08/05/20.                                                                        Sales           Tax                   341.13
All claims for shortage or arrors must be made at once, Returns require written
authorization and are subject to handling charges.   special orders are non-returnable'                                  Amount                                   5490.24
                                                                                                                                              Due
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                         **    Reprint       **   Rep'int   **    Reprint    **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF
  "¹   DOC. NO. 20                                                                                                                                                   RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                                               Invo        ice

 IDEAL
  5 U P P LY             Co

                                                                                                                                                           07/08/20                    S2011910.001
  445

  Jersey
         Communipaw
            City  NJ                   07304
                                               Avenue

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  201-333-2600                     Fax         201-333-7376                                                                                            JERSEYCITY NJ 07304



             BILL        TO:                                                                                             SHIP TO:
             FAHRENHEIT    MECHANICAL                                                                                    FAHRENHEIT    MECHANICAL
             120  BROADWAY    36TH  FLOOR                                                                                120  BROADWAY    36TH   FLOOR
             NEW             YORK,         NY        10271                                                               NEW        YORK,            NY        10271




         47848                          HUDSON          YARDS                                        1      MANHATTAN                 WEST                            Dan       Marucci



  ShelLy               Thielmann                                WC    WILL           CAL                          NIT         30      DAYS                   07/08/20                              07/08/20
                                                                                                                                                                                                                    '
 PARTtM.                        DESCRIPTIfR                                   ORDERQTY     $HIP (ITY                           LIST          f0DHLitA            NET                             EXi. PRICE
            4******-k**************                                       k-k******    <*******                         4*******            k****     E***·**-k****                        k* * * * * * *

                             NOT                                      Tree"                                                                                                              cMntain              *
                  If                    stated          "Lead                         or           "LF",          t1e        produ3ts                      listed              may
               lead        and     *CAN                 NOT*         be       used         for                                                         water                service.                          *
                                                                                                         potabLe/drinking
             *********************                                        k*******               A*******              e*******             *****            &**********                   e*******

 37966      3/8        X 6 BLK STEEL FULL THREAD ROD                                 25ea                     25ea                2.518ea            Net                       2.518ea                              62.95
              (25PCS PER BUNDLE)
 42137      1/2        X 6 PLTD THREADEDROD                                          12ea                     12ea                5.458ea            Net                       5.458ea                              65.50
              (12PCS PER BUNDLE)
 28637      2 X 11/2           X 11/4    C X C X C TEE                                2ea                        2ea         206.490ea              *.18                     37.168ea                               74.34
 38315      2 C X C 45 ELL W 03059                                                    4ea                        4ea          76.830ea              *.18                     13.829ea                               55.32
 28837      2 X 2 X 1 C X C X C TEE W 40105                                           4ea                        4ea         113.930ea              *.18                     20.507ea                               82.03
 27544      11/2X11/4           X 11/4    C X C X C TEE W                             2ea                        2ea         142.930ea              *.18                     25.727ea                               51.45
              04091
 425        1 1/2        C X C 90 ELL W 02085                                         6ea                        6ea          45.480ea              *.18                       8.186ea                              49.12




                                                                                       fãss!ll           26%s$         MMiMjiBEi                                      Subtotal                            440.71
                                                                                                                                                                      S&H     CHGS                                0.00
                                                                                                   NJ                              6.625
  Invoice               is       due       by      08/07/20.                                                                                                        Sales         Tax                       29.20
All claims for shortage or errors must be madeat once, Returns require written
authoritation and are subject to handling charges.  Special orders are non-returnable.                                                                        hount               Due                     469.91
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                                                              **     Reprint     **    Reprint     **   Reprint         **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                                        RECEIVED NYSCEF: 04/08/2022
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 IDEAL
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                                                                                                                                                                07/09/20                   S2011923.001
  445    Communipaw                           Avenue                                                                                                        rEu1T TO:                                    ggggggggg
            City  NJ                  07304                                                                                                                 = 1- s-
  Jersey                                                                                                                                                    * c""""       ^"""
  201-333-2600                       Fax      201-333-7376                                                                                                  JERSEYCITY NJ 073D4                                        1



                BILL TO:                                                                                                  SHIP TO:
                FAHRENHEIT            MECHANICAL                                                                          FAHRENHEIT    MECHANICAL
                120          BROADWAY    36TH   FLOOR                                                                     120  BROADWAY    36TH   FLOOR
                NEW          YORK,          NY      10271                                                                 NEW           YORK,             NY        10271




         47848                        101        MANHATTAN              W                      HUDSON                     YARDS                                            Dan        Marucci



  Sheliy               Thielmann            .                  WC     TILL        CAL                             N3T             30      DAfS                             07/09/20                      07/09/20
 PARTNO.                             DESCPJm0N                             CRDEROTY            SHIP CTY                      LIST                 F0MJLA             NET                              EXT. PRICE
            k*********************                                     V*******            k*******                    R*******                  4****   k**********                            k* * * * * * *
            +                                                          Pree"                                                                                                                                    *
                  If     NOT       stated              "Lead                        or       "LF",                t    ne        produ:ts                       1 isted             may       c 3ntain
                  lead        and      *CAN            NOT*         b e used             f ar    potab                 Le/drink                             w ater        servic                3.               *
                                                                                                                                                 ing
                *********************                                 k***************                                 &*******                  *****        k**********                       k*******

 22103      1 C X C X C TEE WBO4048                                                30ea                      30ea                 45.130ea               *.15                       6.770ea                           203.09
 25755      1 X 3/4          X 3/4    C X C X C TEE W 04056                        30ea                      30ea                 53.720ea               *.15                       8.058ea                           241.74
 38190      1 C X C 45 ELL WBO3044                                                 20ea                      20ea                 28.580ea               *.15                       4.287ea                            85.74
 38146      3/4        C X C 45 ELL WBO3034                                        20ea                      20ea                 11.390aa               *.15                       1.709ea                            34.17




                1010mmooses                 pu           stousn.




                                                                                                                                                                           Subtotal                           564.          74
                                                                                                                                                                           S&H        CHGS                           0.00
                                                                                             NJ                                        6. 625
  Invoice               is      due         by    08/08/20.                                                                                                             Sales          Tax                      37.         41
All claims for shortage or errors must be made at once.. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnabl"·                                                                            hount               Due                    602.15
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                                   **     Reprint     **   Rep*int    **    Reprint     **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                          RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                                      Invoice

 IDEAL
  S U P P LY               Co

                                                                                                                                                   07/09/20                    S2011944.001
  445    Communipaw                           Avenue                                                                                             ReurT TO:                                         mm
                                                                                                                                                 HE ID       SMW Q
  Jersey    City NJ                   07304
                                                                                                                                                 "5 °°""""""    """"
  201-333-2600                    Fax         201-333-7376                                                                                       JERSEYCITY NJ 07304                                          1



                  BILL TO:                                                                                          SHI P TO:
                  FAHRENHEIT    MECHANICAL                                                                          FARRENHEIT    MECHANICAL
                  120  BROADWAY    36TH    FLOOR                                                                    120  BROADWAY    36TH   FLOOR
                  NEW YORK,   NY     10271                                                                          NEW      YORK,           NY        10271




            47848                     101        MANHATTAN                   W                                                                                Dan       Marucci



  Shelty                 Thielmann                             WC            ILL        CAL                   N3T      30       DAfS                          07/09/20                       07/09/20

                  * * * * * *     * * * * * *********                    k * * * * ***          k* * * * * * *      * * * * * **       k -k***       k*******                 * * * k* * * * * * *
              +                                                          free"                                                                                                                          *
                    If     NOT      stated             "Lead                             or         "LF",     t1e      produ:ts                  listed               may          cantain
                                and                    NOT*                      used                                                            water                                                  *
                    lead                *CAN                        be                        fMr    potabLe/drinking                                               servic              .
                  *********************                                  ********               &*******R************                                v**********                       *******

 26092        1 1/4       X 1 C X MIPS ADAPTER                                          19ea                19ea        70.210ea            *.18                      12.638ea                               240.12




                  101BibilB%BTAfrM          MA          ?/1B\¼¾          .




                                                                                                                                                              Subtotal                              240.12
                                                                                                                                                              S&H       CHGS                                0.00
                                due                                                                 NJ                      6. 625                         Sales                                        15.91
  Invoice                 is                by    08/08/20.                                                                                                                  Tax
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   Speelal orders are non-returnable ·                                                              Amount                 Due                    256.03
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                      **    Reprint      **     Reprint      **   Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                                   RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                                               Invoice

 IDEAL
  5U     P P LY          co

                                                                                                                                                            07/13/20                   S2012183.001
  445    Communipaw                         Avenue                                                                                                          RENIT TO:                                |gimagra
            City  NJ                07304                                                                                                                   = 10-- s-
  Jersey                                                                                                                                                    "5 °""""      ^""
  201-333-2600                     Fax      201-333-7376                                                                                                    JERSEYCITY NJ 07304



             BILL        TO:                                                                                             SHIP TO:
             FAHRENHEIT            MECHANICAL                                                                            FAHRENHEIT    MECHANICAL
             120          BROADWAY    36TH   FLOOR                                                                       120  BROADWAY   36TH   FLOOR
             NEW          YORK,           NY       10271                                                                 NEW         YORK,            NY         10271




          47848                      1    manhattan                 west                                                                                               Dan          Marucci
 1535íñ!!E12EE#EieMi18s!HM|Ei$                        E!EliE               EsM               El                     MEEMililñE                       M                 1915EEiMEie5                  BER             EM15


  Shelly               Thielmann                               WC    WILL           CALG                           NIT        30      DA       S                       07/13/20                      07/13/20
 PART4                      DE5CAPTION                    GCER OTY        SHIP GTY                                             LIST           F0MLA                           NET                   EXT. PRE¬
             * x * * * * * * * * * * * * * * * * * * * k * * * * * * * k* ******                                        k*******              **-k*              **********                   k* * * * * * *
                                                                     Tree"                                                                                                                                      *
                  If      NOT        stated          "Lead                             or        "LF",        tie        produ2ts                           listed             may        c3ntain
                  lead      and           *CAN       NOT*           ba       used           f3r                                                             w-tter         servic3.                             *
                                                                                                      potable/drinking
            t*********************                                       +*******              +*******           v*******                   *****             +**********                    4.*******

 26137      4 X 21/2           STD C.S.   WELD TEE                                    2ea                         2ea         63.398ea                Net                      63.398ea                             126.80
 39476      4 X 3 STD C.S.           WELD CONC                                        2ea                         2ea         23.640ea                Net                      23.640ea                              47.28
 17605      2 1/2       X 12 STD BLK STEEL NIPPL                                      Sea                         1ea         25.742ea                Net                      25.742ea                              25.74
               (I      CAN'T BEVEL OR THREAD)
               YOU WOULDHAVE TO CUT IN 1/2?
 121676     2-1/2 STD BRASS COUPLING - LEAD                                            4ea                        4ea         87.253ea                Net                      87.253ea                             349.01
               FREE ****          LEAD FREE ****
 129507     21/2       X 6 DIELECTRIC NIPPLE TXT                                      2ea                         2ea         23.229ea                Net                      23.229ea                              46.46
               FLOWTEKPART# DNTT2560
 25023      2 1/2        C X MIPS ADAPTER W 01196                                     2ea                         2ea        347.550ea               *.18                      62.559ea                             125.12
 25289      3 X 2 STD C.S.           WELD TEE                                         4ea                     4ea             51.289ea                Net                      51.289ea                             205.16
 38443      3 X 2 STD C.S.           WELD CONC                                        4ea                     4ea             20.273ea                Net                      20.273ea                              81.09
 16629      2 X 12 STD BLK STEEL NIPPLE                                               4ea                         4ea         15.918ea                Net                      15.918ea                              63.67
 5093       2 150# BMI CPLG                                                           2ea                         2ea         38.280ea               *.24                       9.187ea                              18.37
 129506     2 X 4 DIELECTRIC NIPPLE TXT                                               Bea                     8ea             11.629ea                Net                      11.629ea                              93.03
              PART# DNTT2040 FLOWTEK
 34610      2 STD BRASS CPLG                                                          8ea                     8ea             33.159ea                Net                      33.159ea                             265.27
 24986      2 C X MIPS ADAPTER W 01187                                                8ea                     8ea             99.370ea               *.16                      15.899ea                             127.19
 117752     WOLVERINE SILVALOY 15% BRA2ING ROD                                        Sea                     5ea             70.850ea                Net                      70,850ea                             354.25
               .050 X .125          X 28 STICKS PER TUBE
 117751     WOLVERINE SILVALOY 5% BRAZING ROD                                         Sea                         5ea         29.525EA                Net                      29.525EA                             147.63
               .050 X .125 X 28 STICKS PER TUBE
 59036      SCOTCHBRITE PADS 6 X 9-1/2                 1848001                       60ea                    60ea              1.938ea                Net                       1.938ea                             116.27
               60 PCS PER BOX
 51810      1-1/2 X 10' TYPE K HARD COPPERTUBE                                      100ft                   100ft              5.643FT                Net                       5.643FT                             564.33
 425        1 1/2       C X C 90 ELL W 02085                                          6ea                     6ea             49.430aa               *.16                       7.909ea                              47.45




                                                                                            **    Reprint    **     Reprint     **    Reprint         **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                   RECEIVED NYSCEF: 04/08/2022
                                                                                                                                               Invoice

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                                                                                                                            07/13/20                   S2012183.001
  445    Communipaw                        Avenue                                                                       REMIT To:
            City  NJ               07304                                                                                = == su=u =
  Jersey                                                                                                                %°°""°""  ""
  201-333-2600                Fax          201-333-7376                                                                                                                          2



               BILL    To:                                                                       SHIP To:
               FAHRENHEIT    MECHANICAL                                                          FAHRENHEIT    MECHANICAL
               120  BROADWAY    36TH    FLOOR                                                    120  BROADWAY    36TH   FLOOR
               NEW YORK,   NY     10271                                                          NEW       YORK,      NY        10271




            47848                  1    manhattan               west                                                                   Dan        Marucci



  Shelby              Thielmann                            WC     WILL   CALG              NTT      30      DAfS                       07/13/20                  07/13/20
 PARTtKh                          DESCRIPTIM                       - ORDEROTT   SHIP OTY            LI5T           FORRLJLA                NET                    E T. PRIÇE
 24841        3/4   C X MIPS ADAPTER WB01146                              6ea          6ea           13.640ea        *.16                       2.182ea                          13.09
 119879       NILWAUKEE PART# 49-56-0023             ICE                  1es          1es             6.406ea        Net                       6,406ea                              6.41
                HARDENEDTMHOLE SAW 3/4"
 120036       MILWAUKEE 48-39-0554           BAND SAW                     5ea          Sea          11.500ea          Net                      11.500ea                          57.50
                BLADES 10/14        TPI 2/PACK
 119862       MILWAUKEE PART# 48-00-5184            SUPER                 lea          lea             9.375ea        Net                       9.375ea                              9.38
                SAWZALL BL 18T 6"(METAL)




                101010m3 WM23           MA           nth%3..




                                       ADf?\'




                                                                                                                                      Subtotal                        2890.50
                                                                                                                                      S&H CHGS                              0.00
                       is    due                                                NJ                       6.625
  Invoice                              by      08/12/20.                                                                            Sales          Tax                  191.50
All claims for shortage or errors must be made at once, Returns require writter1
authorization and are subject to handling charges.   Special orders are non-returnable·                                        Amount              Due                3082.00
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                               **    Reprint      **   Reprint   **   Reprint    **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                                  RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                                              Invoice

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                                                                                                                                                          07/15/20                    S2012550.001
  445    Communipaw                              Avenue                                                                                                Reu1T TO:                                    gggg
                                                                                                                                                       nlE IDEALSUPPLYCO
  Jersey    City  NJ                     07304
                                                                                                                                                       "5 °"""       ""°"
  201-333-2600                      Fax          201-333-7376                                                                                          JERSEYCITY NJ 07304



              BILL        TO:                                                                                            SHIP TO:
              FAHRENHEIT    MECHANICAL                                                                                   FAHRENHEIT                    MECHANICAL
              120  BROADWAY    36TH    FLOOR                                                                             120         BROADWAY             36TH   FLOOR
              NEW YORK,   NY     10271                                                                                   NEW         YORK,            NY      10271




         47848                           1   MANHATTAN                 WEST                                                                                          Dan         Marucci



  Shelby                Thielmann                                 WC    WILL            CAL£                      NET          30      DAfS                          07/15/20                      07/15/20
 PART    .                           DESCRIPTION                                0 ERGTY              SHIP fJTr                 LIST            FORMULA                     NET                     EXL PRICE
             e*********************                                         e*******             e*******               ********              e****t**********                             e*******
                                                                        Tree"                                                                                                                                 *
                   If         NOT        stated           "Lead                           or         "LF",        t1e          produ:ts                   listed              may        cantain
                lead        and     *CAN                  NOT*         b3       used           fMr                                                      water                                                 *
                                                                                                          potabLe/drinking                                                 servica.
              *********************                                         k*******t*******                           k*******               4****         k**********                    k*******

 25935       1 X 1 1/4          C X MIPS ADAPTER W 01162                                 24ea                  15ea            75.060ea            *.16                       12.010ea                             180.14
                   (15 PCS STK ONLY - BAL 1 WK)
 41365       3/8        DROP IN ANCHORS(50 BOX)                                        150ea                  150ea               0,514ea             Net                      0.514ea                              77.14
               (LIPPED)
 43857       3/8        X 6 PLTD THREADED ROD                                            50ea                  50ea               2.007ea             Net                      2.007ea                             100.36
                   (25PCS PER BUNDLE)
 42137       1/2        X 6 PLTD THREADEDROD                                             24ea                  24ea               4.199ea             Net                     4.199ea                              100.76
                   (12PCS PER BUNDLE)
 41819       1/2        DROP IN ANCHORS (50 BOX)                                       100ea                  100ea               0.908ea             Net                      0.908ea                              90.77
                   (LIPPED)
 41821       5/8        DROP IN ANCHORS(25 BOX)                                          25ea                  25ea               2.122ea             Net                      2.122ea                              53.06
 72919       3/8        DROP IN SETTING TOOL                                              2ea                    2ea              5.000ea             Net                      5 .OO0ea                             10.00




               1610I0m6         0titl0       PM             S1011660.




                                                                                                                                                                    Subtotal                              612.23
                                                                                                                                                                    S&H         CHGS                              0.00
                                                                                                     NJ                             6.625
  Invoice                is     due          by      08/14/20.                                                                                                     Sales          Tax                         40.56
All claims for shortage cr errors must be madeat once. Returns require written
authorization and are subject to handling charges.  Special orders are non-returnable,                                                                       Amount               Due                     652.           79
Past due invoices     may be subject    to 1.50% tate charge.
                                                                                                                                                             **     Reprint      **   Reprint      **   Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                         RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                                     Invoice

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                                                                                                                                                  07/16/20                    S2012778.001
  445    Communipaw                               Avenue                                                                                       rEn1T To:

  Jersey    City  NJ                      07304                                                                                                =      -        so-      =
                                                                                                                                               "' °"""       ^"°"
  201-333-2600                        Fax         201-333-7376                                                                                 JERSEYCITY NJ 07304



                BILL     TO:                                                                                        SHIP TO:
                FAHRENHEIT    MECHANICAL                                                                            FAHRENHEIT           MECHANICAL
                120  BROADWAY    36TH   FLOOR                                                                       120         BROADWAY    36TH   FLOOR
                NEW           YORK,           NY        10271                                                       NEW         YORK,  NY 10271




   IBMI      T&HNNEE!@it!N#1EEiMeiSMSeME!EitEfesi$!e!|E98?551                                                                   !MMself$?ililifrIf81998!H9!ER                     M!!BIEilitirlsseeBi!


          47848                           1   MANHATTAN                 WEST                                                                                 Dan        Marucci



  Shelly               Thielmann                                   WC        ILL     CAL                      NET         30      DAfS                       07/16/20                     07/16/20
 PARTNO.                               Dr:5CRIPTION                         ORDER QTY             SW QTY            LIST        FORMULA           HET                                      EXT. PUCE
                               *"                   *"              "
            v * *** * *               * * * * * * *          * *      * + * * * * *T            * * * * * * * v * * * * * * * * * * * * * * * * * * * * **********'*
            +                                                            Tree"                                                                                                                       *
                  If          NOT         stated           "Lead                      or         "LF",       tie       products                listed                may        c3ntain
                  lead        and      *CAN                NOT*         b3    used         f    r                                              water               servic3.                          *
                                                                                                     potable/drinking
                *****************************                                                  e*******          ************************                                         v*******

 24875      1 C X MIPS ADAPTER WB01163                                               18ea                  18ea           34.880ea         *.16                       5.581ea                             100.45
 120605     MILWAUKEE 48-39-0572                    SUB COMPACT                       3ea                   3ea           15.563ea           Net                     15.563ea                              46.69
                 BAND SAW BLADES 3PK
 125747     MILWAUKEE 48-39-0529                    COMPACTBAND                       1ea                   lea           15 .688ea          Net                     15.688ea                              15.69
                 SAW BLADES 3/PACK
                 FITS BAND SAW# 2629-22
 75670      1 PT HERCULES MEGALOC15-808                                               3ea                   3ea           23.343ea           Net                     23.343ea                              70.03
 38739      3/4        X 520 TEFLON TAPE (100/BX)                                    24ea                  24ea            1.303EA           Net                      1.303EA                              31.26
 38013      SPOOL QUICKWICK 1906004                                                   6ea                   6ea            1.230EA           Net                      1.230EA                                7.38
                 25PERBAG.




                101BlB71W 0kB7·.W (4A                       on.BuTTC




                                                                                                                                                             Subtotal                            271.50
                                                                                                                                                             S&H       CHGS                              0.00
                                                                                                 NJ                            6.625
  Invoice                is         due       by      08/15/20.                                                                                           Sales          Tax                         17.99
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges,   special orders are non-returnable.                                                              hount               he                      289.           49
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                                                     **    Reprint      **    Reprint     **   Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                                      RECEIVED NYSCEF: 04/08/2022
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 IDEAL
  sU     P P LY          c

                                                                                                                                                            07/17/20                      S2012806.001
          Communipaw                           Avenue
                                                                                                                                                                  -
  445                                                                                                                                                           EurT To:                               gggçgggggg
                               NJ      07304                                                                                                               =               s-
  Jersey      City                                                                                                                                         *      °""
  201-333-2600                      Fax        201-333-7376                                                                                                JERSEYCITY NJ 07304



             BILL        TO:                                                                                                SHIP TO:
             FAHRENHEIT    MECHANICAL                                                                                      FAHRENHEIT    MECHANICAL
             120  BROADWAY    36TH   FLOOR                                                                                 120  BROADWAY    36TH   FLOOR
             NEW              YORK,        NY        10271                                                                 NEW YORK,   NY 10271




         47848                         1   MANHATTAN                 WEST                                                                                                Dan        Marucci



  ShelLy               Thielmann                                WC         ILL       CALa                          N3T              30        DAfS                       07/17/20                     07/17/20
                                                                                                                                                                                                                       "
 PARTNo.                      tE5CRIPTION                                     0RDEROTY        MP QTY             LI57                                 FORMULA                Ef                     EXT. PRICE
                  * * * * * x×***    x k********                          k * * * * * * * k * * * * * * * k*******                                   k****   k*****               * * * *     k* * * * * * *
                                                                           ree"                                                                                                             cMntain              *
                  If  NOT       stated                  "Lead                           or         "LF",           t1e              produ:ts               listed                may
                           and                          NOT*                                                                                               water                                                 *
               lead                 *CAN                             b3       used           fMr        potabLe/drinking                                                       servica.
             *********************                                        ********e*******                        &***********************                                                    +*******

 75670      1 PT HERCULES uEGALOC 15-808                                              12ea                    12ea                   30.346ea             Net                   30.346ea                              364.15
 38013      SPOOL QUICKWICK 1906004                                                   12ea                    12ea                        1.230EA         Net                     1.230EA                              14.76
              25PERBAG.
 38739      3/4        X 520 TEFLON TAPE (100/BX)                                     12ea                     12ea                       1.303EA         Net                     1.303EA                              15.63
 30426      1 1/2        C X C CPLG WITH STOP W 01063                                 18ea                    18ea                   27.130ea           *.18                      4.883ea                              87.9C




                                                                                                                      È                                                  Subtotal                            482.           44
                                                                                                                                                                         S&H       CHGS                              0.00
                                                                                                   NJ                                      6.625
  Invoice                is      due       by      08/16/20.                                                                                                           Sales         Tax                         31.96
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges,   Special orders are non-returnable.                                                                           Amount             Due                     514.           40
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                                                                  **    Reprint     **    Rep"int     **   Reprint         **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF
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       DOC. NO. 20                                                                                                                                           RECEIVED NYSCEF: 04/08/2022
                                                                                                                 ||||||||||||1|||||                                    Invoice

 IDEAL
  s U P P LY              Co

                                                                                                                                                    07/20/20                    S2012550.002
  445

  Jersey
         Communipaw
            Cit   NJ                     07304
                                                 Avenue                                                                                         Renz T TO:
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                                                                                                                                                                -       ^""
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  201-333-2                   00     Fax         201-333-7376                                                                                   JERSEYCITY NJ 07304                                            1



              BILL       TO:                                                                                     SHIP To:
              FAHRENHEIT    MECHANICAL                                                                           FAHRENHEIT    MECHANICAL
              120  BROADWAY    36TH    FLOOR                                                                     120  BROADWAY    36TH   FLOOR
              NEW YORK,   NY     10271                                                                           NEW YORK,   NY   10271




           47848                         1   MANHATTAN                 WEST                                                                                    Dan        Marucci



  Shelly                Thielmann                                 WC         ILL       CAL                   N   T      30            DAfS                     07/20/20                       07/15/20



                                                                             ree"                                                                                                                        *
                   If         NOT        stated           "Lead                         or       "LF",       t1e      produ3ts                  listed                 may          c3ntain
                lead        and     *CAN                  NOT*         be       used         f   r                                              water                service.                            *
                                                                                                     potabie/drinking
             &*********************                                         &*******           e*******         &************                         e**********                     e*******

 25935        1 X 1 1/4            C X MIPS ADAPTER W 01162                             9ea                9ea          75.060ea             *.16                      12.010ea                               108.09
                (15 PCS STK ONLY - BAL 1 WK)




               7.010107fititW?AM                            $1011550.';




                                                                                                                                                              Subtotal                               108.09
                                                                                                                                                              S&H    CHGS                                    0.00
                                                                                                 NJ                          6.625
  Invoice                is        due       by      08/19/20.                                                                                              Sales             Tax                            '7.16
All claims for shortage or errors must be made at once, Returns require written
authorization and are subject to handling charges.   Special order s are non-returnable.                                                               Amount                 Due                    115.25
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                                                       **    Reprint      **    Rep*int       **   Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                                RECEIVED NYSCEF: 04/08/2022
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  SuPPLY                   C

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  445      Conununipaw                         Avenue                                                                                                   RENIT To:                                ggag
              City               NJ    07304                                                                                                            = =suee
  Jersey                                                                                                                                                *"""°""
  201-333-2600                        Fax      201-333-7376                                                                                             JERSEYCITY NJ 07304



              BILL        To:                                                                                           SHIP To:
              FAHRENHEIT    MECHANICAL                                                                                  FAHRENHEIT                      MECHANICAL
              120  BROADWAY    36TH  FLOOR                                                                              120          BROADWAY              36TH   FLOOR
              NEW           YORK,           NY       10271                                                              NEW          YORK,  NY               10271




           47848                        1   MANHATTAN                WEST                                                                                           Dan        Marucci



  Shelly                Thielmann                               WC    'VILL         CAL                          NET          30        DAfS                        07/20/20                     07/20/20
 PARTNO.                               DE5CRIPTION                           0%XR OTY               SHIP QTr                  UST               FORMLEA           0                              EXT.PRICE
             **********************                                       v*   *****            v*******               ********                G***   v**********twW*****
                                                                          Free"                                                                                                                             *
                   If       NOT         stated          "Lead                         or         "LF",           tie          produ:ts                  listed              may        cMntain
                 lead       and             *CAN        NOT*         b3      used        fMr                                                            water             servica.                          *
                                                                                                  potable/drinking
             v*********************                                       e***************t*******t****                                                    v**********                   e*******

 25975       1 X 1 X 3/4              C X C X C TEE WBO4049                         18ea                    18ea              49.090ea            *.15                       7.364ea                            132.54
 22103       1 C X C X C TEE WBO4048                                                24ea                    24ea              47.990ea            *.15                       7.199ea                            172.76
 25793       1 X 3/4           X 1 C X C X C TEE W 04055                            18ea                    18ea              58.390ea            *.15                       8.759ea                            157.65
 14343       1 X 3/4            FTG X C BUSHING W 01337                             18ea                    18ea              16.010ea            *.15                       2.402ea                             43.23
 27095       3/4        FTG X MIPS ADAPTER W 01446                                  18ea                    18ea              45.750ea            *.15                       6.863ea                            123.53
 35335       3/4        APOLLO #70-104-01          BRNZ THRD END                    12ea                    12ss              36.850ea            *.56                     20.636ea                             247.63
               BALL
 28934       3/4        125# BCI SQ HD PLUG CORED                                   12ea                    12ea               5.680EA            *.25                       1.420EA                             17.04
 4796        3/4        FTG X C 90 ELL WB01654                                      24ea                    24ea              12.590ea            *.15                       1.889ea                             45.32
 39329       3/4        FTG X C 45 ELL WBO3334                                      20ea                    20ea              12.240ea            *.15                       1.836ea                             36.72
 103848      3/4        X 10'  TYPE K HARD COPPERTUBE                              100ft                   100ft               2.704ft              Net                      2.704ft                            270.44
 41920       13/16        X 1-5/8 X 10' SLOTTED GALV                               100ft                   100ft               1.200ft              Net                      1.200ft                            120.00
               CHANNEL STRUT 14G
 117751      WOLVERINE SILVALOY 5% BRAZING ROD                                      10ea                    10ea              33.213EA              Net                    33.213EA                             332.13
                .050 X .125 X 28 STICKS PER TUBE
 42517       1-5/8 X 1-5/8 x 10' SLOTTED GALV                                      100ft                   100ft               1.907ft              Net                      1.907ft                            190.67
               CHANNEL STRUT 12G
 356         1 C X C 90 ELL W 01647                                                 20ea                    20ea              21.390ea            *.15                      3.209ea                              64.17
 30338       1 C X C CPLG WITH STOP W 01047                                         20ea                    20ea              11.720ea            *.15                       1.758ea                             35.16
 103849      1 X 10' TYPE K HARD COPPERTUBE                                        150ft                   150ft               3.589FT              Net                     3.589FT                             538.33
 93134       3 HF LGT STD BLK A53B ERW PIPE PE                                     105ft                   105ft               4.561FT              Net                     4.561FT                             478.90




                                                                                       TU ductsdictiob                   TM        4%




                                                                                           **    Reprint    **     Reprint      **      Reprint    **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                               RECEIVED NYSCEF: 04/08/2022
                                                                                                                                           Invoice

 IDEAL
  SO P P LY           Co

                                                                                                                      07/20/20                     S2012939.001
  445    Communipaw                        Avenue                                                                     amIT       10:
                                                                                                                                                              gggggg
                  NJ               07304                                                                              ======
  Jersey    City
                                                                                                                      "5 °°"""      ""
  201-333-2600                 Fax         201-333-7376                                                               JERSEYCITY NJ 07304                                    2



               BILL 10:                                                                      SHIP To:
               FAHRENHEIT    MECHANICAL                                                      FAHRENBEIT               MECHANICAL
               120  BROADWAY    36TH   FLOOR                                                 120         BROADWAY        36TH  FLOOR
               NEW        YORK,        NY        10271                                       NEW         YORK,      NY     10271




            47848                  1   MANHATTAN                WEST                                                              Dan         Marucci



  Shelly            Thielmann                              WC     WILL   CAL             N   T     30      DAfS                   07/20/20                   07/20/20
 PARTNO.                           DESCRIPTION                       ORDER
                                                                         QM    SHIF GW             LIST           FORNLA                NET                   EXT. PRICE




                1.01BIBTFLO11.W.YL PM                21011939..




                                                                                                                                 subtotal                         3006.22
                                                                                                                                  S&H       CHGS                        0.00
                                                                               NJ                       6.625
  Invoice            is      due       by      08/19/20.                                                                        Sales          Tax                  199.16
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnabl°'                                    Amount              Due                3205.38
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                           **    Reprint      **   Reprint   **   Reprint    **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                                RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                                            Invoice

 IDEAL
  SU P P L Y             c

                                                                                                                                                        07/22/20                    S2012550.003
  445    Communipaw                              Avenue                                                                                                Ren1T TO:                                       ma
            City  NJ                     07304                                                                                                         M ME SUPPW
  Jersey                                                                                                                                               "5 °ª*"¹"     ""
  201-333-2600                       Fax         201-333-7376                                                                                          JERSEYCITY NJ 07304



             BILL To:                                                                                                    SHIP TO:
             FAHRENHEIT    MECHANICAL                                                                                    FAHRENHEIT    MECHANICAL
             120  BROADWAY    36TH   FLOOR                                                                               120  BROADWAY    36TH   FLOOR
             NEW             YORK,           NY        10271                                                             NEW YORK,   NY 10271




         47848                           1   MANHATTAN                 WEST                                                                                        Dan         Marucci



  Shelly               Thielmann                                  WC        VILL        CAL5                       N3T         30      DAfS                        07/22/20                      07/15/20
                                                                                                                                                                                                                      '
 PARTNo.                     DESC8!PTIOR                                              OTY
                                                                                  ORDER                 SHIPGW                 LIST            FORNGLA                   HET                     RT.    PRICE
            & * * * * * * * ·k   **********                                     ***     **          k******                  ***            * &****  k********                             *******
                                                                            Pree"                                                                                                                          *
                  If         NOT         stated           "Lead                          or           "LF",        t     e    produ:ts                 listed          may             cantain
                  lead             and       *CAN         NOT*         b3        used         far                                                      water         servica.                             *
                                                                                                            potabLe/drinking
             *********************                                          ********                ********            ********              *****       *******************
 43879      5/8        DROP IN SETTING TOOL                                              lea                      Sea          10.OOOea               Net                   10.000ea                             10.00
              * H/S *




              1919mranus·as                  m             nomso:,




                                                                                          B EMEMM§                     #MMlM                                      Subtotal                                10.00
                                                                                                                                                                  S&H    CHGS                                  0.00
                                                                                                       NJ                           6.625
  Invoice               is      due          by      0 8 /21/20             .                                                                                    Sales          Tax                            0.66
All claims for shortage or errors must be made at once. Returna require written
authori zation and are subject to handling charges.  Special orders are non-returnable.                                                                     hount               Due                       10.         66
Past due invoices      may be subject    to 1.50% Late charge.
                                                                                                                                                            **    Reprint      **   Reprint      **   Reprint     **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                              RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                                          Invoice

 IDEAL
  su     P P L Y           co

                                                                                                                                                       07/23/20                    S2013364.001
  445    Communipaw                          Avenue                                                                                                   RENIT TO:

            City  NJ                 07304                                                                                                            = 1= sue=              =
  Jersey                                                                                                                                              *    =°"""    ^"°"
  201-333-2600                      Fax      201-333-7376                                                                                             JERSEYCITY NJ 07304



              BILL        TO:                                                                                          SHIP TO:
              FAHRENHEIT    MECHANICAL                                                                                 FAHRENHEIT    MECHANICAL
              120  BROADWAY    36TH   FLOOR                                                                            120  BROADWAY    36TH   FLOOR
              NEW           YORK,         NY       10271                                                               NEW          YORK,        NY        10271




           47848                      MANHATTAN               WEST                                                                                                Dan        Marucci



  Shelly                Thielmann                             WC     WILL         CAL                            N     T     30      DAfS                         07/23/20                     07/23       / 20
 PARTyq.                             DESCUPUCN                              ORDEROTY                5HIP OTY                LIST              FORMlAA            NET                              M    PRICE
              *********************                                     e*******                ********             ********               *****    e**********                       ********
                                                                        Pree"                                                                                                                            *
                   If       NOT       stated          "Lead                          or           "LF",          t1e         produ:ts                  listed             may        cantain
                 lead                                 NOT*                                                                                                                                               *
                             and          *CAN                     b3      used           far         potabLe/drinking                                w ater            servica.
             ******************************                                                     ********        v*******t***************                                               v*******

 51810       1-1/2        X 10'    TYPE K HARD COPPERTUBE                          40ft                     40ft              5.821FT            Net                       5.821FT                           232.84
 320         3/4        C X C 90 ELL WBO1634                                       50ea                     50ea              8.720EA           *.15                       1.308EA                            65.40
 103848      3/4        X 10' TYPE K HARD COPPERTUBE                              200ft                    200ft              2.704ft            Net                       2.704ft                           540.89
 32034       1 X 3/4         C X C CPLG WITH STOP W                                24ea                     24ea             18.890ea           *.15                       2.834ea                            68.00
               01049
 103849      1 X 10' TYPE K HARD COPPER TUBE                                      120ft                    120ft              3.589FT            Net                       3.589FT                           430.67
 4796        3/4        FTG X C 90 ELL WB01654                                     20ea                     20ea             12.590ea           *.15                       1.889ea                            37.77
 38146       3/4        C X C 45 ELL WBO3034                                       10ea                     10ea             12.110ea           *.15                       1.817ea                            18.17
 39329       3/4        FTG X C 45 ELL WBO3334                                     10ea                     10ea             12.240ea           *.15                       1.836ea                            18.36
 22049       3/4        X 1/4     125# BCI HEX BUSH                                12ea                     12ea              2.675ea            Net                       2.675ea                            32.10
 6989        3/4        X 4 STD BRASS NIPPLE                                        4ea                      4ea              4.664ea            Net                       4.664ea                            18.65
 19615       3/4        STD BRASS TEE                                               2ea                      2ea              8.148ea            Net                       8.148ea                            16.30
 59331       TRERICE GAUGE #620B, 0-160PSI,                                         2ea                      2ea             16.769ea            Net                     16.769ea                             33.54
               4-1/2"
                      DIAL, 1/4 LM CONN
               SS CASE
 43859       3/8        PLTD HVY HEX NUTS                                         100ea                    100aa              0.123ea            Net                      0.123ea                             12.30
 28918       3/8        PLTD ROUNDSTEEL WASHER                                    100ea                    100ea              0.115ea            Net                      0.115ea                             11.54
 41149       3/8        X 1-1/2    PLTD FENDER WASHER                              40ea                     40ea              0.092EA            Net                      0.092EA                              3.69
 22057       3/4        C X C X C TEE WBO4031                                      24ea                     24ea             16.010ea           *.15                      2.402ea                             57.64




                                                                                          **     Reprint    **     Reprint     **    Reprint     **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                     RECEIVED NYSCEF: 04/08/2022
                                                                                                                                 Invoice

 IDEAL
  Su    P P LY       C

                                                                                                             07/23/20                   S2013364.001
  445    Communipaw                       Avenue                                                             Reu11 To
                                                                                                             1= 1=^ s-        =
  Jersey    City  NJ              07304
                                                                                                             "" """"""     """
  201-333-2600                   Fax      201-333-7376                                                       JERSEYCITY NJ 07304                                  2



              BILL To:                                                                   SHI P TO:
              FAHRENHEIT    MECHANICAL                                                   FAHRENHEIT    MECHANICAL
              120  BROADWAY    36TH   FLOOR                                              120  BROADWAY    36TH   FLOOR
              NEW        YORK,         NY       10271                                    NEW       YORK,    NY   10271




           47848                  MANHATTAN               WEST                                                          Dan        Marucci



                   Thielmann                              WC   WILL   CALL          N3T      30      DAfS               07/23/20                  07/23/20
  Shelly




               1910mrno1maAm                        slum         .




                                 mon                  /




                                                                                                                        Subtotal                       1597.86
                                                                                                                        S&H CHGS                             0.00
                                                                             NJ                   6. 625
  Invoice           is      due        by     08/22/20.                                                               Sales         Tax                  105.86
All claims for shortage or errors must be madeat once. Returns require written
                  are sub$ect to handling charges.  Special orders are non-returnable·                           Amount             Due                1703.72
authori="tionant
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                 **    Reprint     **   Rep-int   **   Reprint    **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                                   RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                                               Invoice

 IDEAL
  SU P P LY               CP

                                                                                                                                                         07/29/20                     S2013781.001
  445    Communipaw                            Avenue                                                                                                    REMIT TO:                                        PAGENO<

  Jersey    City  NJ                   07304                                                                                                             =    -        s-        =
                                                                                                                                                         "  °°""""'""  """
  201-333-2600                        Fax      201-333-7376                                                                                              JERSEYCITY NJ 07304                                         1



                BILL     TO:                                                                                                SHIP TO:
                FAHRENHEIT    MECHANICAL                                                                                    FAHRENHEIT    MECHANICAL
                120  BROADWAY    36TH  FLOOR                                                                                120  BROADWAY    36TH  FLOOR
                NEW           YORK,         NY       10271                                                                  NEW      YORK,             NY     10271




          47848                        1    MANHATTAN                 WEST                                                                                           Dan        Marucci



  Shelly               Thielmann                                WC          ILL      CALS                             N3T      30      DA(S                           07/29/20                      07/29/20
 PARTNL                               DESCRIPTION                          CBCEROTY                    5MF QTY                 LIST            FC       LA                 NET                    EXT>PUCE
            k*****************                                 k**Ã    k*****     *Ã               k * ******           k*******              k****          k****         k*****           k* * *   * * *
            *                                                              Pree"                                                                                                                               *
                  If          NOT      stated           "Lead                           or           "LF",            tTe      produ:ts                  listed                may        c>ntain
                lead        and       *CAN              NOT*          bM      used           f3r                                                         water             servic3.                            *
                                                                                                           potable/drinking
            t*********************t*******                                                         v***************                          v****v******************
 103848     3/4        X 10'    TYPE K HARD COPPERTUBE                               400ft                     400ft              2.704ft              Net                     2.704ft                             1081.78
 320        3/4        C X C 90 ELL WB01634                                          100ea                     100ea              8.720EA         *.17                         1.482EA                              148.24
 38146      3/4        C X C 45 ELL WBO3034                                           30ea                       30ea          12.110ea           *.17                         2.059ea                               61.76
 22057      3/4        C X C X C TEE WBO4031                                          60aa                       60ea          16.010ea           *.17                         2.722ea                              163.30
 24841      3/4        C X MIPS ADAPTER WB01146                                       60ea                      60ea           13.640ea               *.17                     2.319ea                              139.13
 20148      3/4 C X FIPS ADAPTER WB01246                                              40ea                      40ea           17.720ea               *.17                     3.012ea                              120.50
 103849     1 X 10' TYPE K HARD COPPER TijBE                                         200ft                     200ft              3.589FT              Net                     3.589FT                              717.78
 356        1 C X C 90 ELL W 01647                                                    60ea                       6Des          21 .390ea          *.17                         3.636ea                              218.18
 22103      1 C X C X C TEE WBO4048                                                   20ea                      20ea           47.990ea           *.17                         8.158ea                              163.17
 25975      1 X 1 X 3/4             C X C X C TEE WB04049                             30ea                      30ea           49.090ea           *.17                         8.345ea                              250.36
 11895      2 1/2        STD C.S.       WELD L/R 90 ELL                                2ea                        2ea          14.415ea                Net                  14.415ea                                 28.83
 11857      2 STD C.S.           WELD L/R 90 ELL                                       4ea                        4ea          11.900EA                Net                  11.900EA                                 47.6C
 18130      4 STD C.S.           WELD L/R 45 ELL                                       4ea                        4ea          25.981ea                Net                  25.981ea                                103.93
 140262     SHOP NIPPLE                                                                1ea                        lea          15.500ea                Net                  15.500ea                                 15.50
              1 PC - 2 X 24"                SCH 40 ERW FROM DRO*
 140262     SHOP NIPPLE                                                                lea                        lea          25.000ea                Net                  25.000ea                                 25.00
              1 PC - 2-1/2             X 24"     SCH 40 ERWPE
                (DROP)
                %¾KitfM012469%                            $10%ML.




                                                                                                                                                                     Subtotal                            3285.            06
                                                                                                                                                                     S&H        CHGS                               0.00
  Invoice                                                                                             NJ                            6.625
                         is      due        by     08/28/20.                                                                                                       Sales         Tax                       217.64
All claims for shortage or errors must be madeat once.. Returns require written
authorization and are subject to handling charges.  Special or.ders are non-returnable.                                                                      hount                  Due                  3502.70
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                              **     Reprint     **   Rep int       **   Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                                        RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                                                    Invoice

 IDEAL
  S U P P L Y               Co

                                                                                                                                                                 08/05/20                    S2014638.001
  445    Communipaw                                 Avenue                                                                                                   RENIT TO

  Jersey    City  NJ                        07304
                                                                                                                                                             *      """"^"
  201-333-2600                             Fax      201-333-7376                                                                                             JERSEYCITY NJ 07304



                  BILL     TO:                                                                                               SHI P TO:
                  FAHRENHEIT                          MECHANICAL                                                             FAHRENHEIT    MECHANICAL
                  120           BROADWAY                36TH         FLOOR                                                   120  BROADWAY    36TH   FLOOR
                  NEW           YORK,            NY       10271                                                              NEW         YORK,             NY        10271




        CUSTOERwEBER                                            ORDEREMER
                                                         CUSTDMER                                                             tEAst wMBER                                                      SAlfSPEttSON


            47848                           1    MANHATTAN                WEST                                                                                              Dan         Marucci



  Pete            Fazio               Jr                             WC    WILL           CALL                         NET        30       DAfS                             08/05/20                     08/05/20
 PART&                ,.           DE500PTION                                      0RDERQTY       SUPCTY                         UST               f0RMA                          NET                    M. PUCE
              k**************-k******                                          k*****     * * k * ******                   V******-k              ¼****            k******              * -k -k * k * * * * * * *
              +                                                                free"                                                                                                                                *
                    If          NOT         stated           "Lead                           or           "LF",        t1e        products                   listed                 may        c>ntain
                    lead        and     *CAN                 NOT*         ba       used           f3r                                                        water                servic3.                          *
                                                                                                               potable/drinking
                  *********************                                        ********                 e*******           ********               k****            e**********                    e*******

 117751       WOLVERINE SILVALOY 5% BRAZING ROD                                            10ea                     10am          50.370EA                 Net                      50.370EA                             503.70
                    .050    X .125          X 28 STICKS PER TUBE
 24908        1 1/4        C X MIPS ADAPTER W 01171                                        10ea                     10ea          50.110ea            *.18                           9.020ea                              90.20
 26092        1 1/4        X 1 C X MIPS ADAPTER                                             4ea                      4ea          76.310ea                *.18                      13.736ea                              54.94
 43859        3/8        PLTD HVY HEX NUTS                                                400ea                    400ea              0.123ea              Net                       0.123ea                              49.22
 28918        3/8        PLTD ROUNDSTEEL WASHER                                           400ea                    400ea              0.115ea              Net                       0.115ea                              46.14
 42517        1-5/8        X 1-5/8 X 10' SLOTTED GALV                                     200ft                    200ft              2.860ft              Net                       2.860ft                             572.00
                   CHANNEL STRUT 12G
 43857        3/8        X 6 PLTD THREADED ROD                                              6ea                      6ea              2.810ea              Net                       2.810ea                              16.86
                    (25PCS PER BUNDLE)
 42137        1/2        X 6 PLTD THREADED ROD                                              2ea                      2ea              5.458ea              Net                       5.458ea                              10.92
                 (12PCS PER BUNDLE)
 103832       1-1/4 X 10' TYPE K HARD COPPER TUBE                                         100ft                    100ft              4.746FT              Net                       4.746FT                             474.63
 51811        2 X 10' TYPE K HARD COPPERTUBE                                              100ft                    100ft              9.348FT              Net                       9.348FT                             934.80
 103846       1/2 X 10' TYPE K HARD COPPERTUBE                                             10ft                     Soft              1.603FT              Net                       1. 603FT                             16.03
 92836        1 X 10'           TYPU L HARD COPPER TUBE                                   100ft                    100ft              2.831ft              Net                      2.831f t                             283.06




                                                                                              555155555555555                                                              Subtotal                           3052.50
                                                                                                                                                                           S&H     CHGS                                 0.00
                                                                                                          NJ                           6.625
  Invoice                  is      due           by     09/04/20.                                                                                                        Sales           Tax                    202.23
All claims for shortage or errors must be madeat once. Returns require written
authorization and are subject to handling charges.
Past due invoices     may be subject
                                                    Special orders are non-returnable.
                                        to 1.50% late charge.
                                                                                                                                                                    hSd                  he                   3254.73
                                                                                                                                                                    **    Reprint       **   Rep int     **   Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                                                  RECEIVED NYSCEF: 04/08/2022
                                                                                                     ||||||||||||||||||||||||||||||||||||||                                                   Invoice

   DEAL
  S u P P LY             C o

                                                                                                                                                                          08/05/20                    S2014645.001
         Communipaw                        Avenue
                                                                                                                                                                              -
  445                                                                                                                                                                 REN1T TO:                                          eact we
            City  NJ                  07304                                                                                                                           =       soeew co
  Jersey
                                                                                                                                                                      "       """"==
  201-333-2600                       Fax    201-333-7376                                                                                                              JERSEYCITY NJ 07304



                BILL    TO:                                                                                                    SHIP TO:
                FAHRENHEIT                      MECHANICAL                                                                     FAHRENHEIT                             MECHANICAL
                120          BROADWAY             36TH        FLOOR                                                             120            BROADWAY                        36TH           FLOOR
                NEW          YORK,         NY       10271                                                                      NEW             YORK,                NY         10271




         47848                        1    MAN      WEST                                                                                                                             Dan        Marucci



  Pete          Fazio           Jr                            WC    WILL           CALL                                N3T             30        DA         S                        08/05/20                      08/05/20
 MT im.                      DESCRIPTl0N                    ORDER OTY       $0 F OTY          UST         FORMJLA           NET                                                                                    EXT. PRICE
            e * * * * * * * * * * * * * * * * * * * * * e * * * * * * * e * * * * * * * e * * * * * * * e * * * * e * * * * w * ****                                                                       e*******
            *                                                       Tree"                                                                                                                                                     *
                  If         NOT      stated          "Lead                          or           "LF",                t1e             produ:ts                           listed              may        cMntain
                  lead        and     *CAN            NOT*         be       used          far                                                                         water         servic3.                                  *
                                                                                                        potabie/drinking
                *********************                                   e*******                ********                    &*******                       *****        &**********                        ********

 41365      3/8        DROP IN ANCHORS(50 B0X)                                     200ea                        200ea                     0.554ea                   Net                        0.554ea                             110.74
                 (LIPPED)
 72919      3/8        DROP IN SETTING TOOL                                          2ea                             2ea                  5,000ea                   Net                        5.000ea                              10.0C
 43857      3/8        X 6 PLTD THREADEDROD                                        150ea                        150ea                     2.810ea                   Net                        2. 810ea                            421.50
                  (25PCS PER BUNDLE)
 30338      1 C X C CPLG WITH STOP W 01047                                          30ea                           30ea                 11.720ea                   *.18                        2.110ea                              63.29
 25935      1 X 1 1/4          C X MIPS ADAPTER W 01162                            11ea                           lies                  75.060ea                   *.18                       13.511ea                             148.62




                                                                                      ................................... ..............................
                                                                                                   M!Mi                          M            Ï ÈÏj                                  Subtotal                             754.15
                                                                                                                                                                                     S&H        CHGS                              0.00
                                                                                                   NJ                                         6.625
  Invoice               is     due         by     09/04/20.                                                                                                                        Sales          Tax                         49.96
All claims for shortage or errors must be madeat once.. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable.                                                                                       hount               Due                     804.11
Past due invoices     may be subject    to1.50%    Late charge.
                                                                                                                                                                              **    Reprint      **   Rep 'int     **   Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF
  same DOC. NO. 20                                                                                                                                                                 RECEIVED NYSCEF: 04/08/2022
                                                                                             ||||||||||||||||H||||||||||||||||||||||||                                                       Invoice

 IDEAL
  S U P P L Y             C9

                                                                                                                                                                         08/07/20                     S2014956.001
  445    Communipaw                            Avenue                                                                                                                 asurT TD:                                     maggag
                                                                                                                                                                      r== ro=^L soe    co
  Jersey    City  NJ                   07304
                                                                                                                                                                      * °°""°"""    """°"
  201-333-2600                       Fax       201-333-7376                                                                                                           JERSEYCITY NJ 07304



                BILL     TO:                                                                                                      SHI P TO:
                FAHRENHEIT             MECHANICAL                                                                                 FAHRENHEIT    MECHANICAL
                120           BROADWAY    36TH  FLOOR                                                                             120  BROADWAY    36TH   FLOOR
                NEW           YORK,        NY        10271                                                                        NEW               YORK,          NY        10271




         47848                         1   MANHATTAN                  WEST                                                                                                          Dan        Marucci



  Shelty                Thielmann                                WC    WILL           CAL-,                               N3T                 30      DAfS                          08/07/20                       08/07/20
 PARTNO.                              DE500PTION                                0BDEROTY        $HIF 01Y          tJ5T                                        FORMULA        NET                                    EXT. PRICE
      "                                                                      *"                                                                                                                                                           "
            v***          * ******       *"s*****         ***"G            e      * ***  * v***     * * * * v * ** ****                                      e **** +* * * ****                     *'**v*******
            *                                                              free"                                                                                                                                              *
                   If         NOT      stated           "Lead                           or          "LF",                 t1e             produ:ts                       listed              may         c3ntain
            +   lead        and            *CAN         NOT*          b3       used          fMr                                                                      water               servica.                            *
                                                                                                       potable/drinking
            ******************************                                                      v***************                                             v***************                               k*******

 30295      3/4         C X C CPLG WITH STOP WB01034                                   30ea                          30ea                      5.890ea            *.17                       1.001ea                                30.04
 43859      3/8         PLTD HVY HEX NUTS                                             500ea                        500ea                       0.123ea             Net                       0.123ea                                61.52
 28918      3/8         PLTD ROUNDSTEEL WASHER                                        500ea                        500ea                       0.115ea             Net                       0.115ea                                57.68




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                                                                                                                                         Ëi        üþÏj                             Subtotal                              149.24
                                                                                                                                                                                    S&H       CHGS                                0.00
                                                                                                      NJ                                           6. 625
  Invoice                is      due       by      09/06/20                .                                                                                                      Sales         Tax                               9.89
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable.                                                                                     Amount              Due                       159.13
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                                                                            **     Reprint     **     Rep'int      **   Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                       RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                                   Invoice

 IDEAL
  SU P P LY              Co

                                                                                                                                                08/13/20                    S2014956.002
         Communipaw                       Avenue
                                                                                                                                                    -
  445                                                                                                                                        REn1T TO:                                       e at no
                                     07304                                                                                                   r-       sueen co
            City  NJ
  Jersey                                                                                                                                     " °°""""      ==
  201-333-2600                   Fax      201-333-7376                                                                                       JERSEYCITY NJ 07304



                BILL    TO:                                                                                    SHIP TO:
                FAHRENHEIT            MECHANICAL                                                               FAHRENHEIT            MECHANICAL
                120          BROADWAY   36TH    FLOOR                                                          120          BROADWAY    36TH  FLOOR
                NEW          YORK,  NY    10271                                                                NEW          YORK,  NY 10271




         47848                       1   MANHATTAN              WEST                                                                                       Dan       Marucci



                       Thielmann                           WC        (ILL          CAL                   N3T          30      DAfS              08/13/20              08/07/20
  Shelty
 FARTN0.                     DESCMPTION                     ORDER OTY                          SUP OTY                LIST          FORMEA          NET                GL PREE3
            k * * * * * * * * * * * * * * * * * * * * * k * * * * * *-k                    k*******          k*****            c* k****    k* * * * * * * * * * r * * * * * * *
            *                                                        free"                                                                                                                       *
                  If     NOT      stated           "Lead                            or       "LF",       t1e          produsts               listed                may       cantain
                  lead        and     *CAN         NOT*         be          used         f ar                                                water               service.                        *
                                                                                                 potabLe/drinking
                *********************                                &*******              &*******        &*******                  &****        &**********                   &*******

 25935      1 X 1 1/4         C X MIPS ADAPTER W 01162                             24ea               24ea            75.060ea           *.17                     12.760ea                            306.24




                                                                                                                                                           Subtotal                           306.24
                                                                                                                                                           S&H       CHGS                            0.00
                                                                                              NJ                           6.625
  Invoice               is     due       by   09/12/20.                                                                                                 Sales          Tax                      20.29
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   special orders are non-returnabl**                                                            Amount              Due                    326.          53
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                   **    Reprint      **    Reprint    **   Reprint     **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                                                RECEIVED NYSCEF: 04/08/2022
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 IDEAL
  5U     P P LY            Co

                                                                                                                                                                        08/13/20                      S2015641.001
  445

  Jersey
         Communipaw
            City  NJ                 07304
                                              Avenue                                                                                                                    REN1T TO:
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                                                                                                                                                                                     - ""       a
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  201-333-2600                      Fax       201-333-7376                                                                                                              JERSEYCITY NJ 07304



              BILL        TO:                                                                                                    SHIP TO:
              FAHRENHEIT    MECHANICAL                                                                                           FAHRENHEIT    MECHANICAL
              120  BROADWAY    36TH    FLOOR                                                                                     120  BROADWAY    36TH   FLOOR
              NEW YORK,   NY     10271                                                                                           NEW YORK,   NY   10271




           47848                      1   MANHATTAN                 WEST                                                                                                           Dan         Marucci



  Shelly                Thielmann                              WC          ILL       CAL                                  N      T       30         DAfS                           08/13            /20             08/13/20
 P/dT &                              DESCRIPTION                             ORDE801Ž                 5HIFMY                           LIST                 FORBULA                     ET                          EXT. PREE
                        *******************                                *******                e**     ***             W       *******                  *****   ew              ********                 v*******
                                                                          ree"                                                                                                                                                 *
                   If       NOT       stated           "Lead                           or          "LF",                  t1e            produ:ts                       listed             may            cMntain
                lead        and     *CAN               NOT*         be       used            fMr                                                                        water             servica.                             *
                                                                                                      potable/drinking
              *********************                                      4*******              k*******          4*******                                  4****            +**********                     k*******

 42517       1-5/8        X 1-5/8    X 10'     SLOTTED GALV                          200ft                        200ft                       1.682ft              Net                        1.682ft                               336.47
               CHANNELSTRUT 12G
 43857       3/8        X 6 PLTD THREADED ROD                                        100ea                        100ea                       2.162ea              Net                        2.162ea                               216.15
               (25PCS PER BUNDLE)
 43859       3/8        PLTD HVY HEX NUTS                                           1000ea                      1000ea                        0.123ea              Net                        0.123ea                               123.08
 28918       3/8        PLTD ROUNDSTEEL WASHER                                      1000ea                      1000ea                        0.115ea              Net                        0.115ea                               115.38
 47938       5/8        X 6FT PLATED ALL THRD ROD                                      lea                               lea                  7.560ea              Net                        7.560ea                                 7.56
               (8PCS PER BUNDLE)
 51811       2 X 10' TYPE K HARD COPPERTUBE                                          500ft                        500ft                       8.594FT              Net                        8.594FT                              4296.76
 103832      1-1/4        X 10'     TYPE K HARD COPPERTUBE                           500ft                        500ft                       4.363FT              Net                        4.363FT                              2181.62
 103848      3/4        X 10'   TYPE K HARD COPPER TUBE                              500ft                        500ft                       2.631ft              Net                        2.631ft                              1315.68
 30475       2 C X C CPLG WITH STOP W 01072                                           50ea                           50es                    45.270ea          *.13                           5.885ea                               294.26
 464         2 C X C 90 ELL W 02086                                                   16ea                           16ea                    90.030ea          *.13                        11.704ea                                 187.26
 30380       1 1/4        C X C CPLG WITH STOP W 01055                                50ea                           50ea                    20.530ea          *.13                           2.669ea                               133.45
 390         1 1/4        C X C 90 ELL W 02084                                        16ea                           16ea                31.700ea              *.13                           4.121ea                                65.94
 30295       3/4        C X C CPLG WITH STOP WB01034                                  50ea                           50ea                     5.890ea          *.13                           0.766ea                                38.29
 320         3/4 C X C 90 ELL W801634                                                 16ea                           16ea                     8.720EA          *.13                           1.134EA                                18.14
 92836       1 X 10' TYPE L HARD COPPERTUBE                                         200ft                         200ft                       2.602ft              Net                        2.602ft                               520.43
 30338       1 C X C CPLG WITH STOP W 01047                                           30ea                           30ea                11.720ea              *.13                           1.524ea                                45.71
 103849      1 X 10' TYPE K HARD COPPERTUBE                                         200ft                         200ft                       3.492FT              Net                        3.492FT                               698.38
 464         2 C X C 90 ELL W 02086                                                   30ea                          30ea                 90.030ea              *.13                        11.704ea                                351.12
 28874       2 X 2 X 11/4           C X C X C TEE W 40104                              6ea                             6ea             137.480ea              *.145                        19.935ea                                 119.61
 26503       11/4        X 1 X 1 C X C X C TEE W 04074                                 6ea                             6ea               91.790ea             *.145                        13.310ea                                  79.86
 390         1 1/4        C X C 90 ELL W 02084                                        40ea                          40ea                 31.700ea              *.13                           4.121ea                               164.84
 38231       1 1/4        C X C 45 ELL W 03050                                        16ea                           16ea                40.740ea             *.145                           5.907ea                                94.52
 25755       1 X 3/4        X 3/4    C X C X C TEE W 04056                            25ea                          25ea                 58.390ea             *.145                           8.467ea                               211.66




                                                                                             **    Reprint          **     Reprint             **   Reprint        **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                             RECEIVED NYSCEF: 04/08/2022
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                                                                                                                                      08/13/20                   S2015641.001
  445    Communipaw                         Avenue                                                                                RenzT TO:
                                                                                                                                                                           ggggg                gg
                  NJ                07304                                                                                         THE       SM m
  Jersey    City                                                                                                                  "5 °°""""     ==
  201-333-2600                  Fax         201-333-7376                                                                          JERSEYCITY NJ 07304                                       2



              BILL    TO:                                                                                SHIP TO:
              FAHRENHEIT            MECHANICAL                                                           FAHRENHEIT    MECHANICAL
              120          BROADWAY    36TH  FLOOR                                                       120  BROADWAY    36TH   FLOOR
              NEW          YORK,          NY      10271                                                  NEW         YORK,      NY        10271




           47848                     1    MANHATTAN              WEST                                                                            Dan        Marucci



  Shelly             Thielmann                              WC     WILL   CALú                      NET        30      DAYS                      08/13/20                  08/13/20


 356         1 C X C 90 ELL W 01647                                        40ea                  40ea           21.390ea      *.145                      3.102ea                           124.06
 320         3/4    C X C 90 ELL WB01634                                   40ea                  40ea            8.720EA      *.145                      1.264EA                            50.58
 38146       3/4    C X C 45 ELL WBO3034                                   20ea                  20ea           12.110ea      *.145                      1.756ea                            35 .12
 28380       2 X 11/4       X 11/4       C X C X C TEE                      4ea                    4ea         224.570ea      *.145                    32.563ea                            130.25
 28837       2 X 2 X 1 C X C X C TEE W 40105                                Bea                    8ea         123.800ea      *.145                    17.951ea                            143.61
 28907       2 X 2 X 11/2          C X C X C TEE W 40103                    4ea                    4ea         123.800ea      *.145                    17.951ea                             71.8C
 38315       2 C X C 45 ELL W 03059                                         8ea                    8ea          83.520ea      *.145                    12.110ea                             96.88
 4796        3/4    FTG X C 90 ELL WB01654                                 16ea                  16ea           12.590ea      *.145                      1.826ea                            29.21
 356         1 C X C 90 ELL W 01647                                        16ea                  16ea           21.390ea      *.145                      3.102ea                            49.62
 111746      3/8    WIDE MOUTHTOP BEAM CLAMP PLTD                          40ea                  40ea            3.846ea        Net                      3.846ea                           153,85
 92836       1 X 10'       TYPE L HARD COPPERTUSE                         100ft                 100ft            2, 602ft       Net                      2.602ft                           260.22




               261610amo42525m                        31016641..




                                                                              tas JurNdicuon              wx Rate                                Subtotal                       12761.37
                                                                                                                                                 S&H    CHGS                           0.00
                                                                                       NJ                           6. 625
  Invoice             is      due         by    09/12/20.                                                                                     Sales          Tax                   845.44
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges .  Special orders are non-returnable.                                                                      Due
                                                                                                                                         Amount                                 13606.81
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                         **    Reprint      **   Reprint   **    Reprint     **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                       RECEIVED NYSCEF: 04/08/2022
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  S O P P LY             Cp

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  445    Communipaw                           Avenue                                                                                           ReurT To

            City NJ                   07304                                                                                                    - lo- soeew co
  Jersey                                                                                                                                       = °°""°""=="""
  201-333-2600                       Fax      201-333-7376                                                                                     JERSEYCITY NJ 07304                                     1



                BILL    TO:                                                                                         SHIP To:
                FAHRENHEIT                      MECHANICAL                                                          FARRENHEIT    MECHANICAL
                120          BROADWAY                36TH         FLOOR                                             120  BROADWAY    36TH  FLOOR
                NEW          YORK,         NY          10271                                                        NEW YORK,   NY 10271




         47848                         1   MANHATTAN                  WEST            ADD                                                                 Dan        Marucci
                             9RITGR                                              EMPvtA                                          TEE95                           SMP DATE                  ORDER
                                                                                                                                                                                               DATE
                              , ,                ,      , ,,                       ,,,                                             ,   ,,,                         ,,,                         ,


  Shelty               Thielmann                                 WC      WILL          CALL                    NET       30       DAfS                    08/14/20                     08/13/20
 PART60+                              DESCRIPTION                              0RDEROTY              SUP GTY              LIST            FORMULA         ET                 M. PMCE
            k * ********************                                       k * * * ****            k******         k-k******             k****  k * * * * * * * * * * k * * * * * **
            6                                                            Tree"                                                                                                                   *
                  If         NOT       stated            "Lead                           or       "LF",       tae       produMts               listed              may       cMntain
                  lead        and          *CAN          NOT*         be       used            f  r                                            water             service.                        *
                                                                                                       potabLe/drinking
                *********************                                      4*******              &*******        k*******        *****             &**********                  &*******

 12019      4 STD C.S.          WELD L/R 90 ELL                                          2ea                 2ea         28.999EA            Net                  28.999EA                             58.00
 93134      3 HF LGT STD BLK A53B ERW PIPE PE                                          105ft               105ft          4.675FT            Net                   4.675FT                            490.88
 93135      4 HF LGT STD BLK A53B ERN PIPE PE                                           21ft                21ft          6.650FT            Net                   6.650FT                            139.65




                101010%M040trM             9½                  %101%¾.




                                                                                                                                                          Subtotal                            688.53
                                                                                                                                                          S&H    CHGS                                0.00
                                                                                                   NJ                         6.625
  Invoice               is      due        by        09/13/20.                                                                                          Sales          Tax                      45.62
All claims for abortage or errors must be madeat once. Returns require written
authorization and are subject to handling charges.  Special orders are non-returnable.                                                             Amount              Due                    734.15
Past due mvoices      may be subject    to 1.50% late charge.
                                                                                                                                                   **    Reprint      **    Reprint   **    Reprint     **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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         Communipaw                             Avenue
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  445                                                                                                                                                    REn1T To
                                                                                                                                                         ==                        a
            City NJ                     07304
  Jersey                                                                                                                                                 "     """"^"
  201-333-2600                       Fax        201-333-7376                                                                                             JERSEYCITY NJ 07304



               BILL       TO:                                                                                             SHIP To:
               FAHRENHEIT                       MECHANICAL                                                                FAHRENHEIT    MECHANICAL
               120             BROADWAY             36TH         FLOOR                                                    120  BROADWAY    36TH   FLOOR
               NEW             YORK,        NY        10271                                                               NEW         YORK,           NY        10271




            47848                       1   MANHAITAN                  WEST                                                                                            Dan         Marucci



  Shelly                 Thielmann                               WC     WILL            CALL                       N      T     30       DAfS                          08/17/20                     08/17/20
 PARTR.                              DESCRIPTEN                                 ORDERQTY     SUP OTY                           LIST              FORMULA                     NET                 EXT. PUCE
               **         ************                   A*      ***        ********     v****'***                        ******-k              +****  v******                     * +* * + * * * * * * *
                                                                            Pree"                                                                                                                              *
                    If         NOT      stated           "Lead                             or         "LF",        t1e         products                  listed                may        c3ntain
                 lead       and      *CAN                NOT*          be       used            fMr                                                      water               servic3.                          *
                                                                                                           potabLe/drinking
               *********************                                        ****************                             k*******               e***************                             v*******

 22148        1 1/4       C X C X C TEE W 04068                                          12ea                   12ea            66.170ea             *.15                       9.926ea                             119.11
 93134        3 HF LGT STD BLK A53B ERWPIPE PE                                           84ft                   84ft                4.269FT           Net                      4.269FT                              358.57
 51811        2 X 10' TYPE K HARD COPPERTUBE                                             80ft                   80ft                8.640FT           Net                       8.640FT                             691.22
 103832       1-1/4       X 10'      TYPE K HARD COPPERTUBE                              80ft                   80ft                4.387FT           Net                       4.387FT                             350.96
 11938        3 STD C.S.          WELD L/R 90 ELL                                         3ea                    3ea            16.565EA              Net                     16.565EA                               49.69
 10717        3 300# F/S RF W/N FLG                                                       2ea                    2ea            26.317ea              Net                     26.317ea                               52.63
 18030        3 STD C.S.          WELD L/R 45 ELL                                          1ea                   lea            13.567ea              Net                     13.567ea                               13.57
 28874        2 X 2 X 11/4 C X C X C TEE W 40104                                          4ea                    4ea          137.480ea              *.15                     20.622ea                               82.49
 92836        1 X 10' TYPE L HARD COPPERTUBE                                           1601t                   160ft                2.616ft           Net                       2.616ft                             418.61
 92837        1-1/4       X 10'      TYPE L HARD COPPERTUBE                            120ft                   120ft                3.6111t           Net                      3.611ft                              433.30
 30380        1 1/4       C X C CPLG WITH STOP W 01055                                   10ea                   10ea            20.530ea             *.15                      3.080ea                               30.80
 30338        1 C X C CPLG WITH STOP W 01047                                             10ea                   10ea            11.720ea             *.15                       1.758ea                              17.58




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                                                                                                                                                                       Subtotal                          2618.53
                                                                                                                                                                       S&H       CHGS                              0.00
                                                                                                      NJ                             6.625
  Invoice                 is      due       by      09/16/20.                                                                                                       Sales           Tax                    173.48
All claims for shortage or errors must be madeat once. Returns require written
authorization and are subject to handling charges.  Special orders are non-returnable.
                                                                                                                                                               Amount               Due                  2792.01
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                                                               **    Reprint       **   Reprint     **   Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF
  "3"' DOC. NO. 20                                                                                                                                                      RECEIVED NYSCEF: 04/08/2022
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  445

  Jersey
         Communipaw
            City  NJ                 07304
                                             Avenue
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  201-333-2600                   Fax         201-333-7376                                                                                                   JERSEYCITY NJ 07304                                      1



                BILLTO:                                                                                                         SHIP TO:
                FAHRENHEIT    MECHANICAL                                                                                        FAHRENHEIT                  MECHANICAL
                120  BROADWAY    36TH    FLOOR                                                                                  120         BROADWAY           36TH   FLOOR
                NEW YORK,   NY     10271                                                                                        NEW         YORK,  NY             10271




          47848                      MANHATTAN                WEST                                                                                                       Dan        Marucci



  Shelly               Thielmann                              WC    WILL           CAL                                  NET           30      DA    S                    08/19/20                     08/19   / 2 0
 PanT©.                              DE3CRIPUCN                             0RDERGTY                SHIPOTF                           LIST          FORMULA                    ET                     EXF.PRICE
            e*********************&*******e***************                                                                                           ***************                          v*******
            +                                                           Tree"                                                                                                                                 *
                  If  NOT       stated                "Lead                         or           "LF",                  t1e           produ3ts              listed               may       c3ntain
            +   lead       and      *CAN              NOT*         b3       used         f3r                                                                water              servica.                       *
                                                                                                        potable/drinking
            v*********************                                      v*******               v*******                      v*******              v****         v**********                  v*******

 39476      4 X 3STD          C.S.    WELD CONC                                     2ea                              2ea              24.231ea             Net                  24.231ea                             48.46




                                                                                     iiBMMM                       M BEiMBBeiMF                                           Subtotal                             48.46
                                                                                                                                                                         S&H        CHGS                           0.00
                                                                                                  NJ                                       6.625
  Invoice               is    due       by       09/18/20               .                                                                                              Sales         Tax                          3.21
All claims for shortage or errors must be madeat once. Returns require written
authorization and are subject to handling charges.    Special orders are non-returnable·                                                                          hount              Due                      51.         67
Past due invoices     maybe subject     to1.50%    late charge.
                                                                                                                                                                  **    Reprint**         Rep int**      Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                                     RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                                                 Invoice

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  445
  Jersey
         Communipaw
            City  NJ                 07304
                                             Avenue                                                                                                            REnIT To:
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 201-333-2600                       Fax      201-333-7376                                                                                                      JERSEYCITY NJ 07304                                    1



              BILL        TO:                                                                                               SHIP TO:
              FAHRENHEIT    MECHANICAL                                                                                      FAHRENHEIT    MECHANICAL
              120  BROADWAY    36TH  FLOOR                                                                                  120  BROADWAY    36TH   FLOOR
              NEW           YORK,           NY     10271                                                                    NEW              YORK,        NY        10271




           47848                      MANHATTAN               WEST                                                                                                         Dan        Marucci



  Shelly                Thielmann                             WC    WILL           CALL                              N      T      30         DAfS                         08/25/20                   08/25/20
 PART9.                              MscRIPnoit                                DEROTY               88 P OTY                     uST                  f0RHDLA             Ef                            EXTpPRICE
             4*********************                                     k*******                k*******                  4*******                   k****    k**********                       k*******
                                                                        free"                                                                                                                                    *
                   If       NOT       stated          "Lead                           or          "LF",              t      e      products                    listed           may         cantain
                lead        and             *CAN      NOT*         b3       used           fMr                                                                 water          servica.                           *
                                                                                                      potabLe/drinking
              *************************************                                                                       k************                            k******************
 16201       3 XH 1/16            NON ASB RING GASKET                                6ea                            6ea             1.015ea               Net                     1.015ea                                 6.09
 35479       1 1/2        APOLLO #70-107-01        BRNZ THRD                         4ea                        4ea                99.380ea              *.58                    57.640ea                            230.56
               END BALL
 15444       1 1/2        X 6 STD BLK STEEL NIPPLE                                   4ea                        4ea                 5.863ea               Net                     5.863ea                             23.45
 98028       5-3        X 1-1/2    3000#    C/S THREADOLET                           4ea                            4ea            25.750ea              *.35                     9.013ea                             36.05
 97667       36-4        X 1-1/4    3000#    C/S THREADOLET                          2ea                            2ea            25.750ea              *.35                     9.013ea                             18.03
 97665       36-1-1/2X3/4           3000# C/S THREADOLET                             2ea                            2ea            13.940ea              *.35                     4.879ea                                 9.76
 41365       3/8        DROP IN ANCHORS(50 BoX)                                    300ea                      300ea                 0.514ea               Net                     0.514ea                            154.29
                   (LIPPED)
 41819       1/2        DROP IN ANCHORS(50 BoX)                                    100ea                      100ea                 0.843ea               Net                     0.843ea                             84.29
                   (LIPPED)
 119862      MILWAUKEE PART# 48-00-5184                SUPER                         2ea                        2ea                10.000ea               Net                    10.000ea                             20.00
               SAWZALL BL 18T 6"(METAL)
 71811       3/8        PLTD TOP BEAM CLAMPS                                       100ea                      100ea                 1.300ea               Net                     1.300ea                            130.0C
 43857       3/8        X 6 PLTD THREADED ROD                                        4ea                        4ea                 2.810ea               Net                     2.810ea                             11.24
                (25PCS PER BUNDLE)
 41920       13/16 X 1-5/8 X 10' SLOTTED GALV                                      120ft                      120ft                 1 .800ft              Net                     1.800ft                            216.0C
               CHANNEL STRUT 14G
 32289       1 1/4        X 1 C X C CPLG WITH STOP W                                16ea                       16ea                26.170ea              *.18                    4.711ea                              75.37
               01056
 32238       11/4X3/4           C X C CPLG WITH STOP W                              12ea                       12ea                26.170ea              *.18                     4.711ea                             56.53
               01058
 30338       1 C X C CPLG WITH STOP W 01047                                         36ea                       36ea                11.720ea              *.18                     2.110ea                             75.95
 4796        3/4        FTG X C 90 ELL WB01654                                      24ea                       24ea                12.590ea              *.18                     2.266ea                             54.39




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                                                                                           **    Reprint       **        Reprint        **    Reprint     **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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         Commum*paw                         Avenue
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  Jersey    City
  201-333-2600
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               BILL    TO:                                                                           SHIP TO:
               FAHRENHEIT    MECHANICAL                                                              FAHRENHEIT    MECHANICAL
               120  BROADWAY    36TH    FLOOR                                                        120  BROADWAY    36TH  FLOOR
               NEW YORK,   NY     10271                                                              NEW          YORK,         NY     10271




            47848                   MANHATTAN               WEST                                                                             Dan        Marucci



  Shelly              Thielmann                             WC      ILL     CAI                  NET        30       DA(S                    08/25/20                     08/25/20
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                                                                                                                                            Subtotal                           1202.00
                                                                                                                                            S&H CHGS                                     0.00
                                                                                      NJ                         6.625
  Invoice              is     due      by       09/24/20.                                                                                  Sales     Tax                             79.63
All claims for shortage or errors must be madeat once. Returns require written
authorization and are subject to handling charges.  Special orders are non-returnable.                                                Amount               Due                 1281.63
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                      **     Reprint     **     Reprint   **   Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                            RECEIVED NYSCEF: 04/08/2022
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         Communipaw                             Avenue
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  445
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            City  NJ                    07304
  Jersey                                                                                                                                          *  °°""""     ""
  201-333-2600                       Fax        201-333-7376                                                                                      JERSEYCITY NJ 07304



               BILL       TO:                                                                                       SHIP TO:
               FAHRENHEIT    MECHANICAL                                                                             FAHRENHEIT                    MECHANICAL
               120  BROADWAY    36TH    FLOOR                                                                       120          BROADWAY            36TH   FLOOR
               NEW YORK,   NY     10271                                                                             NEW          YORK,         NY        10271




            47848                       MANHATTAN                WEST                                                                                           Dan        Marucci



  Shelly                 Thie1mann                               WC         ILL   CAL                         N     T     30      DA (S                         08/26/20                     08/26/20
 PARTND.                              DESCRIPTION                            ORDMOTY          SEBFGTY                     LI5T            FORMOLA                    NET                      EXL PRICE
              ******************************                                              v************'***                              e********                ***************
                                                                        free"                                                                                                                           *
                    If         NOT      stated           "Lead                      or      "LF",             tTe         produ:ts                listed                may        c3ntain
                 lead        and     *CAN                NOT*         bM   used        fMr                                                        water               servica.                          *
                                                                                                 potable/drinking
               *********************                                    e***************t*******                                         v****t**********                            e*******

 103849       1 X 10'          TYPE K HARD COPPERTUBE                             200ft               200ft                3.878FT             Net                       3.878FT                             775.52
 51810        1-1/2       X 10'      TYPE K HARD COPPERTUBE                        50ft                 50ft               6.218FT             Net                       6.218FT                             310.92
 119885       MILWAUKEE PART# 49-56-0082  ICE                                       lea                   lea              8.133ea             Net                       8.133ea                                8.13
                HARDENEDTNHOLE SAW 1-1/2"
 119906       MILWAUKEE PART# 49-56-7010                  HOLE SAW                  lea                   1ea             10.733ea             Net                     10.733ea                               10.73
                SMALL ARBOR 3/8" SHANK
 126160       MILWAUKEE PART# 49-56-7055                  HOLE SAW                  2ea                  2ea              14.964ea             Net                     14.964ea                               29.93
                ARBOR Q/C TWIST RELEASE (1-1/4"                       AN)
                LARGER)
 119909       MILWAUKEE PART# 49-56-8010HOLE SAW                                    4ea                  4ea               2.900ea             Net                       2.900ea                              11.60
                THUNDERBOLTTMPILOT DRILL 1/4" x 3
                1/2"

 43857        3/8        X 6 PLTD THREADED ROD                                     50ea                 50ea               2.342ea             Net                      2.342ea                              117.08
                    (25PCS PER BUNDLE)
 28874        2 X 2 X 11/4           c X C X C TEE W 40104                          2ea                  2ea             137.480ea            *.18                     24.746ea                               49.49
 14870        2 X 1 1/4          FTG X C BUSHING W 01359                            4ea                  4ea              70.120ea            *.18                     12.622ea                               50.49
 122032       MILWAUKEE 48-39-0524                BAND SAW                          5ea                   Sea             12.267ea             Net                     12.267ea                               61.33
                BLADES 18 TPI 2/PACK




                                                                                      M      Mie                        $MME|El                                 Subtotal                          1425.22
                                                                                                                                                                S&H CHGS                                    0.00
                                                                                             NJ                                6.625
  Invoice                 is      due      by       09/25/20.                                                                                                Sales          Tax                         94.42
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable'                                                                 hOunt               Due                   1519.64
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                        **    Reprint      **    Reprint     **   Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                                      RECEIVED NYSCEF: 04/08/2022
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  445                                                                                                                                                          REuIT TO:                                    PAct
                   Ci                        7304                                                                                                              =      -n
 Jersey                                                                                                                                                        * """"    ""
 201-333-2                  00      Fax         201-333-7376                                                                                                   JERSEYCITY NJ 07304                                        1



              BILL        To:                                                                                                 SHIP TO:
              FAHRENHEIT             MECHANICAL                                                                               FAHRENHEIT    MECHANICAL
              120           BROADWAY    36TH   FLOOR                                                                          120  BROADWAY    36IH   FLOOR
              NEW           YORK,              NY     10271                                                                NEW            YORK,           NY       10271




          47848                          1     manhattan              west                                                                                                Dan       Marucci



  ShelLy
                        Thielmann                                WC    WILL          CAL                            N3T          30        DAfS                 08/27/20                               08/27/20
 PARTKO.                             DE5CRIPTI0tt                                  OTY
                                                                               ORDER                 5H5 OTY                     LI5T              FORMULA           NET                             EXL PRICE
              ************                            *******              k****     **            *     ****             k*******                k****    **********                          k* * * * * * *
                                                                       Tree"                                                                                                                                      *
                   If       NOT          stated          "Lead                          or         "LF",            tie          produMts                      listed             may        cantain
                lead        and      *CAN                NOT*         be      used           far                                                               water            service.                          *
                                                                                                       potable/drinking
              *****************************                                                        *******                k*******                e****          k**********                   v*******

 28637      2 X 11/2            X 11/4       C X C X C TEE                             4ea                      4ea             224.450ea             *.18                       40.401ea                             161.6C
 26712       11/4        X 11/4    X 1 C X C X C TEE W                                12ea                    12ea               71.490ea             *.18                       12.868ea                             154.42
               04069
 32505       11/2X11/4            C X C CPLG WITH STOP W                              12ea                    12ea               43.370ea             *.18                         7.807ea                                93.68
               01064
 117751      WOLVERINE SILVALOY 5% BRAZING ROD                                        15ea                    15ea               38.663EA                 Net                    38.663EA                             579.94
                  .050     X .125    X 28 STICKS PER TUSE
 35735       1 LB CANS NEVERSEIZE NSBT-16                                              lea                         lea           38.081EA                 Net                    38.081EA                                 38.08
 134549      1 X 1429 PURPLE-BLUE MONSTERTEFLON                                       12ea                      8ea                  7.692ea              Net                      7.692ea                                61.54
               TAPE EQUAL
 119202      3/4        X 1429 PURPLE-BLUE MONSTER                                    12ea                    12ea                   4.752ea              Net                      4.752ea                                57.03
               TEFLON TAPE EQUAL (27/BOX)
 22148      1 1/4         C X C X C TEE W 04068                                       18ea                    18ea               66.170ea             *.16                       10.587ea                             190.57
 14693       1 1/2        X 1 1/4    FTG X C BUSHING W                                12ea                    12ea               37.240ea             *.16                         5.958ea                                71.50
               01350
 119885      MILWAUKEE PART# 49-56-0082  ICE                                           3ea                     2ea                   8.133ea              Net                     8.133ea                                 16.27
               HARDENEDTMHOLE SAW 1-1/2"
 119879      MILWAUKEE PART# 49-56-0023                    ICE                         2ea                     2ea                   7.333ea              Net                     7.333ea                                 14.67
               HARDENEDTMHOLE SAW 3/4"
 103849     1 X 10'         TYPE K HARD COPPERTUSE                                   200ft                   200ft                   3.878FT              Net                     3.878FT                             775.52
 109000     3/4         X 2-1/2    PLTD FIEX HD CAP SCREW                             10ea                    10ea                   0.877ea              Net                     0.877ea                                  8.77




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                                                                                         TU M150Mtion                         Tax Rate




                                                                                             **    Reprint    **     Reprint         **    Reprint        **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
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            ' NO. 20                                                                                                                                             RECEIVED NYSCEF: 04/08/2022
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  Jersey    City
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  201-333-2600                Fax         201-333-7376                                                                                              JERSEYCITY NJ 01304                                     2



            BILL    TO:                                                                                                SHIP TO:
            FAHRENHEIT    MECHANICAL                                                                                   FAHRENHEIT                   MECHANICAL
            120  BROADWAY    36TH   FLOOR                                                                               120            BROADWAY        36TH   FLOOR
            NEW          YORK,        NY        10271                                                                  NEW             YORK,       NY      10271




        47848                     1   manhattan                west                                                                                               Dan        Marucci



  Shelby           Thielmann                              WC     VILL     CAL                                  NCT               30      DAfS                     08/27/20                  08/27/20
 PARTND.                         DESCRIPTM                            ORDEROTV             SMF OTY                               LIST           FC DIA                  ET                   £Yf. PREE




             telescomotosmovu                       nowon..




                                                                                                                                                                 Subtotal                        2223.59
                                                                                                                                                                 S&H    CHGS                           0.00
                                                                                         NJ                                           6.625
  Invoice           is      due       by      09/26/20.                                                                                                         Sales         Tax                  147.31
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable.                                                                  hount                Due                2370.90
Past due invoices     may be subject    to L50% Late charge.
                                                                                                                                                           **    Reprint     **   Rep'int   **   Reprint    **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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NYSCEF DOC. NO. 20                                                                                                                                               RECEIVED NYSCEF: 04/08/2022
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  445      Communipaw                          Avenue                                                                                                  REuIT TO:                                ggggg          gggg
                                       07304                                                                                                           THE I DEAL SUPPLYCO
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  Jersey      City
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  201-333-2600                       Fax       201-333-7376                                                                                                                                                     1



              BILL        TO:                                                                                         SHIP TO:
              FAHRENHEIT    MECHANICAL                                                                                FAERENHEIT                       MECHANICAL
              120  BROADWAY    36TH    FLOOR                                                                          120             BROADWAY            36TH   FLOOR
              NEW YORK,   NY     10271                                                                                NEW             YORK,  NY             10271




           47848                       1   MANHATTAN                 WEST                                                                                          Dan       Marucci



  Shelly                Thielmann                               WC    WILL        CAL                           N     T     30         DAfS                        08/31/20                     08/31/20
 PARTNo.                              DEscnPTEN                            0M     QTY              $HIP OTY                 LIST               FORMBLA           NET                            EXT. PREE
              ***********                          ********            v*******                e*******              v*******                 v****  v**********                        v *******
                                                                       Free"                                                                                                                               *
                   If       NOT        stated           "Lead                       or           "LF",        t    e produ3ts                           listed             may        cantain
                lead        and     *CAN                NOT*         b 3 used             f      r                                                      water            service.                          *
                                                                                                      potable/drinking
              *********************                                    ********                v*******          v*******     v****                       v**********                   v*******

 32505       11/2X11/4            C X C CPLG WITH STOP W                           10ea                    10ea             43.370ea             *.16                       6.939ea                             69.39
               01064
 425         1 1/2        C X C 90 ELL W 02085                                     16ea                    16ea             49.430ea             *.16                       7.909ea                            126.54
 356         1 C X C 90 ELL W 01647                                               100ea                   100ee             21.390ea             *.16                       3.422ea                            342.24
 38190       1 C X C 45 ELL WBO3044                                                24ea                    24es             30.390ea             *.16                       4.862ea                            116.7C
 25975       1 X 1 X 3/4             C X C X C TEE WBO4049                         24ea                    24ea             49.090ea             *.16                       7.854ea                            188.51
 14343       1 X 3/4        FTG X C BUSHING W 01337                                36ea                    36ea             16.010ea             *.16                      2.562ea                              92.22
 32034       1 X 3/4        C X C CPLG WITH STOP W                                 24ea                    24ea             18.890ea             *.16                      3.022ea                              72.54
               01049
 30338       1 C X C CPLG WITH STOP W 01047                                        60ea                    60ea             11.720ea             *.16                       1.875ea                            112.51
 30426       1 1/2        C X C CPLG WITH STOP W 01063                             16ea                    16ea             27.130ea             *.16                       4.341ea                             69.45
 26667       11/4X        11/4    X 3/4    C X C X C TEE W                         24ea                    24ea             71.490ea             *.16                     11.438ea                             274.52
               04070
 25755       1 X 3/4        X 3/4      C X C X C TEE W 04056                       24ea                    24ea             58.390ea             *.16                      9.342ea                             224.22
 30426       1 1/2        C X C CPLG WITH STOP W 01063                              6ea                        6ea          27.130ea             *.16                       4.341ea                             26.04
 38231       1 1/4        C X C 45 ELL W 03050                                     10ea                    10ea             40.740ea             *.16                      6.518ea                              65.18
 26712       11/4        X 11/4      X 1 C X C X C TEE W                           20ea                    20ea             71.490ea             *.16                     11.438ea                             228.77
               04069
 30295       3/4        C X C CPLG WITH STOP WBO1034                               30ea                    30ea               5.890ea            *.16                      0.942ea                              28.27
 43859       3/8        PLTD HVY HEX NUTS                                         500ea                   500ea               0.123ea             Net                      0.123ea                              61.54
 28918       3/8        PLTD ROUNDSTEEL WASHER                                    600ea                   600ea              0.115ea              Net                      0.115ea                              69.23
 35335       3/4        APOLLO #70-104-01         BRNZ THRD END                    10ea                    10ea             21.972ea              Net                     21.972ea                             219.72
               BALL
 41365       3/8        DROP IN ANCHORS(50 BOX)                                     4ea                     4ea              0.554ea              Net                      0.554ea                                  2.22
                (LIPPED)
 92837       1-1/4 X 10'             TYPE L HARD COPPER TUBE                       50ft                    50ft              4.054ft              Net                      4.054ft                             202.72


                                                                                      TM Jur1ýcuen                        Tax Rate




                                                                                          **    Reprint   **      Reprint        **    Reprint    **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                               RECEIVED NYSCEF: 04/08/2022
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  445    Communipaw                          Avenue                                                                                                 Reu11 TO:
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            City  NJ                 07304                                                                                                          = ==            s=
  Jersey                                                                                                                                            |||"""|"""             ""
  201-333-2600                   Fax         201-333-7376                                                                                                                                                    2



               BILL    TO:                                                                                          SHI P TO:
               FAHRENHEIT            MECHANICAL                                                                    FAHRENHEIT                       MECHANICAL
               120          BROADWAY    36TH  FLOOR                                                                 120           BROADWAY                  36TH           FLOOR
               NEW          YORK,        NY        10271                                                           NEW            YORK,           NY        10271




            47848                    1   MANHATTAN                WEST                                                                                             Dan        Marucci



  ShelLy              Thielmann                              WC    (ILL   CAL                               NIT            30         DAfS                         08/31/20                  08/31/20


 22661        3/4     FTG X FIPS WROTADAPTER W 01546                       24ea                         24ea                32.850ea             *.16                      5.256ea                          126.14
 27095        3/4     FTG X MIPS ADAPTER W 01446                           24ea                         24ea                45.750ea             *.16                      7.320ea                          175.68
 103848       3/4     X 10' TYPE K HARD COPPERTUBE                        100ft                       100ft                   2.971ft             Net                      2.971ft                          297.11
 103849       1 X 10'       TYPE K HARD COPPERTUBE                        100ft                       100ft                   3.942FT             Net                      3.942FT                          394.22
 103832       1-1/4         10' TYPE K HARD COPPERTUBE                    100ft                       100ft                                       Net                      4.922FT                          492.22
                       X                                                                                                      4.922FT
 51810        1-1/2    X 10'    TYPE K HARD COPPERTUBE                    100ft                       100ft                   6.391FT             Net                      6.391FT                          639. 11




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                                                                                         MEERMiHliÈM                                                              Subtotal                        4717.01
                                                                                                                                                                   S&H   CHGS                           0.00
                                                                                        NJ                                      6. 625
  Invoice              is      due       by      09/30/20.                                                                                                      Sales      Tax                      312.50
All claims for shortage or errors must be made at once. Return s require written
authorization and are aubject to handling charges.   Special orders are non-returnable.                                                                    Amount               Due               5029.51
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                           **    Reprint      **   Reprint   **   Reprint     **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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NYSCEF DOC. NO. 20                                                                                                                                            RECEIVED NYSCEF: 04/08/2022
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         Communipaw                            Avenue
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            City NJ                    07304                          .                                                                            =
  Jersey                                                                                                                                           "    """""    ^"°"
  201-333-2600                    Fax          201-333-7376                                                                                        JERSEYCITY NJ 07304                                       1



              BILL       TO:                                                                                          SHIP TO:
              FAHRENHEIT                       MECHANICAL                                                             FAHRENHEIT                   MECHANICAL
              120             BROADWAY             36TH         FLOOR                                                 120         BROADWAY              36TH            FLOOR
              NEW             YORK,        NY        10271                                                            NEW         YORK,           NY    10271




           47848                       1   manhattan                 west                                                                                       Dan        Marucci



  Shelly                Thielmann                               WC        WILL        CAL                       NlT         30      DA     S                    08/31/20                    08/31/20
 PARTNO.                            DESCRIPTIOK                 ORDERCTt                             SHD GTY          LIST                 F0PMULA                 ET                 M. PRICE
             e*****            * * ***    ** * * * * * * * * v *W* ***   *                         * * * * * * W& * ***    * * *           * ***  t * ****           * * * * * * ****   ** *
                                                                          Free"                                                                                                                        *
                   If  NOT      stated                  "Lead                           or         "LF",        t1e         produ          ts      listed          may            cantain
                lead        and     *CAN                NOT*         ba       used           far                                                   water         servica.                              *
                                                                                                        potabie/drinking
              *********************                                       v*******t*******                          k*******              &****       v******************
 43857       3/8        X 6 PLTD THREADED ROD                                        100ea                  100ea              2.810ea            Net                   2.810ea                             281.00
                (25PCS PER BUNDLE)




                                                                                                                                                               Subtotal                             281.00
                                                                                                                                                               S&H    CHGS                                 0.00
                                                                                                   NJ                            6.625
  Invoice                is      due       by      09/30/20.                                                                                                 Sales      Tax                           18.62
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges,   special orders are non-returnable.                                                                 hount               Due                     299.62
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                                                        **    Reprint      **   RepMnt      **    Reprint     **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                                   RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                                               Invoice

 IDEAL
  5 u P P LY             cp

                                                                                                                                                           09/02/20                   S2017659.001
         Communipaw                           Avenue
                                                                                                                                                               -                                         NE
  445                                                                                                                                                      REMIT To:
                  NJ                  07304                                                                                                                =           s-
  Jersey    City
                                                                                                                                                           "' """"""     ""
  201-333-2600                     Fax        201-333-7376                                                                                                 JERSEYCITY NJ 07304



             BILL       TO:                                                                                                SHIP TO:
             FAHRENHEIT    MECHANICAL                                                                                      FAHRENBEIT                      MECHANICAL
             120  BROADWAY   36TH   FLOOR                                                                                  120         BROADWAY                36TH            FLOOR
             NEW             YORK,           NY       10271                                                                NEW         YORK,             NY    10271




          47848                       1   MANHATTAN                    WEST                                                                                           Dan       Marucci



  Shelly               Thielmann                                 WC          ILL       CAL                          NIT          30      DAfS                         09/02/20                     09/02/20
 PART&                               DESCRIPDON                                 CRDERGW                  SHIP T                  LIST            r0RMBLA                  NET                      EXT. PREE
            e****************                                   ***W        e*******                 e*******             ********              e****    e*****              W****         e*******
                                                                            Pree"                                                                                                                             *
                  If         NOT      stated            "Lead                             or          "LF",         t1e          produ:ts                  listed          may           c3ntain
                lead        and              *CAN       NOT*           be       used           f3r                                                         w1ter         service.                             *
                                                                                                            potabLe/drinking
            **********************                                          e***************                             &*******               v****         v******************
 92836      1 X 10'          TYPE L HARD CDPPER TUBE                                   100ft                    100ft               2.710ft              Net                   2.710ft                             271.02
 18130      4 STD C.S.          WELD L/R 45 ELL                                           4ea                      4ea           23.354ea                Net                 23.354ea                               93.42
 33972      2 150# BMI 45 ELL                                                             4ea                      4ea           51.830ea               *.24                 12.439ea                               49.76
 129506     2 X 4 DIELECTRIC NIPPLE TXT                                                   4ea                      4ea           13.567ea                Net                 13.567ea                               54.27
               PART# DNTT2040 FLOWTEK
 34610      2 STD BRASS CPLG                                                              4ea                      4ea           31.414ea                Net                 31.414ea                              125.65
 123592     4 BRAY S43/466             43-0400-466/L        300#                          2ea                      2ea         339.429ea                 Net                339.429ea                              678.86
               CS LUG B/F VALVE SS TRIM
               16PCS-3/4           X 2-1/4
 10783      4 300# F/S RF W/N FLG                                                         4ea                      4ea           41.319ea                Net                 41.319ea                              165.28
 139974     3/4  X 2-1/4           PLTD HEX HD CAP SCREW                                36ea                      36ea              0.846ea              Net                   0.846ea                              30.45
 103832     1-1/4 X 10'            TYPE K HARD COPPERTUBE                              300ft                    300ft               4.520FT              Net                   4.520FT                            1356.12
 92836      1 X 101 TYPE L HARD COPPERTUBE                                             200ft                    200ft               2.710ft              Net                   2.710ft                             542.04
 103848     3/4 X 10' TYPE K HARD COPPERTUBE                                           200ft                    200ft               2.729ft              Net                   2.729ft                             545.71




                                                                                                       Ë0                                                             Subtotal                          3912.58
                                                                                                                                                                      S&H    CHGS                                 0.00
                                                                                                       NJ                             6.625
  Invoice               is      due       by        10/02/20.                                                                                                       Sales      Tax                        259.21
All claims for shortage or errors must be madeat once. Returns require written
authorization and are subject to handling charges.  Special orders are non-rettirnabla·                                                                        hount              Due                   4171.79
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                               **    Reprint     **   Rep'int      **   Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                                    RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                                                 Invoice

 IDEAL
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                                                                                                                                                              09/03/20                    S2017747.001
  445   Communipaw                            Avenue                                                                                                         REu1T TO:                                     mue
                 NJ                   07304                                                                                                                  ====                   a
 Jersey    City                                                                                                                                              ""=""==
 201-333-2600                        Fax      201-333-7376                                                                                                   JERSEYCITY NJ 07304



             BILL       TO:                                                                                                SHIP TO:
             FAHRENHEIT    MECHANICAL                                                                                      FAHRENHEIT    MECHANICAL
             120  BROADWAY    36TH   FLOOR                                                                                 120  BROADWAY    36TH   FLOOR
             NEW             YORK,         NY       10271                                                                  NEW         YORK,            NY        10271




          47848                       HUDSON           YARD                                                                                                              Dan       Marucci
 BME85ëE5885                               !ssiME      EEE ###iElsili@              EMielleieMi!$5                   25i1:Es         $EMe0i!siM1912:EE#E8859#&iie!N#EEEEEile


  Shelby               Thielmann                               WC    WILL             CALL                           NET        30      DAfS                             09/03/20                     09/03/20

             *********************k*******                                                        k*******k*******                             k****            ***********                   k*******
                                                                         Tree"                                                                                                                                   *
                  If         NOT      stated           "Lead                            or          "LF",            tTe        products                     listed              may        c)ntain
               lead        and     *CAN                NOT*         be       used            fMr                                                             water             servica.                          *
                                                                                                      potabLe/drinking
             *********************                                       k*******              k***************                                k****            k**********                   ********

 71811      3/8        PLTD TOP BEAM CLAMPS                                          200ea                    200ea              1.200ea                Net                       1.200ea                             240.00
 26316      11/4       X 3/4    X 3/4      C X C X C TEE W                            36ea                     36ea             91.790ea               *.13                     11.933ea                              429.58
              04080
 14450      1 1/4       X 3/4      FTG X C BUSHING W 01345                            24ea                     24ea             28.610ea               *.13                       3.719ea                              89.26
 26667      11/4X       11/4    X 3/4      C X C X c TEE W                            36ea                     36ea             71.490ea               *.13                      9.294ea                              334.57
              04070
 117751     WOLVERINE SILVALOY 5% BRAZING ROD                                         30ea                     30ea             40.938EA                Net                     40.938EA                             1228.13
                  .050 X .125 X 28 STICKS PER TUBE
 32238      11/4X3/4          C X C CPLG WITH STOP W                                  24ea                     24ea             26.170ea           *.13                          3.402ea                               81.65
              01058
 22148      1 1/4       C X C X C TEE W 04068                                         24ea                     24ea             66.170ea               *.13                      8.602ea                              206.45
 26712      11/4       X 11/4      X 1 C X C X C TEE W                                18ea                     18ea             71.490ea               *.13                       9.294ea                             167.29
              04069
 41365      3/8        DROP IN ANCHORS(50 Box)                                       200ea                    200ea              0.554ea                Net                      0.554ea                              110.77
              (LIPPED)
 103849     1 X 10' TYPE K HARD COPPER TUBE                                          300ft                    300ft              3.658FT                Net                      3.658FT                             1097.32
 103832     1-1/4       X 10'      TYPE K HARD COPPERTUBE                            140ft                    140ft              4.567FT                Net                      4.567FT                              639.38
 51810      1-1/2       X 10'      TYPE K HARD COPPERTUBE                             70ft                     70ft              5.930FT                Net                      5.930FT                              415.09
 30338      1 C X C CPLG WITH STOP W 01047                                            30ea                     30aa             11.720ea           *.13                          1.524ea                               45.71




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                                                                                             **    Reprint     **     Reprint     **    Reprint         **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
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  445

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                                       07304
                                               Avenue                                                                                REMIT TO:
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  201-333-2                 00       Fax       201-333-7376                                                                          JERSEYCITY NJ 073D4                                  2



               BILL    TO:                                                                                     SHI P TO:
               FAHRENHEIT            MECHANICAL                                                                FAHRENHEIT    MECHANICAL
               120          BROADWAY    36TH  FLOOR                                                            120  BROADWAY    36TH   FLOOR
               NEW          YORK,           NY       10271                                                     NEW         YORK,    NY   10271




            47848                      HUDSON           YARD                                                                                    Dan        Marucci



  Shelly              Thielmann                                WC   WILL   CAL                             N   T     30      DAfS               09/03/20                  09/03/20




                                                                                                       Ï                                        Subtotal                       5085.20
                                                                                                                                                S&H     CHGS                         0.00
                                                                                        NJ                                6. 625
  Invoice              is        due        by     10/03/20.                                                                                  Sales         Tax                  336.89
All claims for shortage or errore must be made at once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable.                                                  Amount             Due                5422.09
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                         **    Reprint     **   Rep'int   **   Reprint    **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021

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                                                                                                                                                               09/22/20                     S2019525.001
         Communipaw                             Avenue                                                                                                         REnIT To:
                                                                                                                                                                    -
  445                                                                                                                                                                                                        PAct ex
                  NJ                    07304                                                                                                                  =             a-
            City
  Jersey                                                                                                                                                       "" ""
  201-333-2600                        Fax       201-333-7376                                                                                                   JERSEYCITY NJ 07304



                  BILL      TO:                                                                                          SHIP TO:
                  FAHRENHEIT    MECHANICAL                                                                               FAHRENHEIT    MECHANICAL
                  120  BROADWAY    36TH   FLOOR                                                                          120  BROADWAY    36TH   FLOOR
                  NEW         YORK,           NY      10271                                                              NEW            YORK,             NY         10271




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           47848                           MANHATTAN             WEST                                                                                                     Dan        Marucci



  Shelly                  Thielmann                              WC     WILL        CAL                           NET        30           DAfS                            09/22/20                      09/22/20
                               DE5CPJPT]0N                    ORDERGTY                              SHIP 01Y                 LW                    FORMBLA           NET                              EXT. PREE          .
              4 * * * * * * * * * * * * * * * * * * * * * k*******                              k*******               4**-k****                 k****   4**********                            k* * * * * * *
                                                                        free"                                                                                                                                      *
                     If       NOT          stated        "Lead                        or         "LF",            t-Le       produ:ts                          listed             may         cantain
              +     lead        and      *CAN            NOT*         be     used          fMr                                                                 water             servica.                          *
                                                                                                     potabie/drinking
                  *****************************                                               ********          ********                         v****             ***********                  ********

 30380        1 1/4         C X C CPLG WITH STOP W 01055                             40ea                   40ea             20.530ea                    *.10                       2.053ea                             82.12
 30338        1 C X C CPLG WITH STOP W 01047                                         50ea                   50ea             11.720ea                *.10                           1.172ea                             58.60
 117752       WOLVERINE SILVALOY 15% BRAZING ROD                                      2ea                        2ea         96.965ea                     Net                     96.965ea                             193.93
                    .050 X .125 X 28 STICKS PER TUBE
 117751       WOLVERINE SILVALOY 5% BRAZING ROD                                      15ea                    15ea            38.306EA                     Net                     38.306EA                             574.59
                    .050 X .125 X 28 STICKS PER TUBE
 5412         1 1/4         X 1 STD BRASS HEX BUSH                                    4ea                      4ea             9.238ea                    Net                      9.238ea                              36.95
 7828         1 X 2 STD BRASS NIPPLE                                                  4ea                        4ea           3.647EA                    Net                      3.647EA                              14.59
 6831         3/4         X 2 STD BRASS NIPPLE                                        4ea                        4ea           2.524ea                    Net                      2.524ea                              10.10
 8676         11/4         X 2 STD BRASS NIPPLE                                     100ea                   87ea               3.675ea                    Net                      3.675ea                             319.73
 19712        1 1/4         STD BRASS TEE                                           100ea                   22ea             20.163ea                     Net                     20.163ea                             443.5E
                    (stk     standard       ONLY you need XH
                   here?)
 5380         1 1/4         X 3/4    STD BRASS HEX BUSH                               4ea                      4ea             9.238EA                    Net                      9.238EA                              36.95
 36958        3/4X3/4         MPT X MALE HOSE ADAPT                                  12ea                   12ea               2.148EA                    Net                      2.148EA                              25.77
 38436        3/4         HOSE WASHERS                                               12ea                   12ea               0.109EA                    Net                      0.109EA                               1.31
 13441        1 1/4     STD BRASS SQ HEAD PLUS CORED                                100ea                   44ea               8.649ea                    Net                      8.649ea                             380.55
                    (40 pcs stk - bal 3 days)
 25371        3/4         X 3/4    X 1/2    C X C X C TEE                            40ea                   40ea             15.240ea                *.10                          1.524ea                              60.96
                   WB04033
 25900        1 X 1 X 1/2            C X C X C TEE WBO4051                           40ea                   40ea             49.090ea                *.10                          4,909ea                             196.36
 26624        11/4X         11/4    X 1/2    C X C X C TEE                          40ea                    24ea             71.490ea                *.10                          7.149ea                             171.58
 28380        2 X 11/4            X 11/4    C X C X C TEE                             2ea                      2ea          224.570ea                *.10                         22.457ea                              44.91
 32732        2 X 1 1/2            C X C CPLG WITH STOP W                             2ea                      2ea           67.010ea                *.10                          6.701ea                              13.40
                   01073
 32289        1 1/4         X 1 C X C CPLG WITH STOP W                                2ea                      2ea           26.170ea                *.10                          2.617ea                               5.23




                                                                                           **   Reprint     **     Reprint         **     Reprint         **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                 RECEIVED NYSCEF: 04/08/2022
                                                                                                                                             Invoice

 IDEAL
  SuP       P LY      CP

                                                                                                                          09/22/20                    S2019525.001
  445    Communipaw                        Avenue                                                                     REuIT To:                                       PAcr a

  Jersey    City  NJ               07304                                                                              =-              a-         a
  201-333-2600                 Fax         201-333-7376                                                               ;!,    °""T"^"Z                                           2



             BILL    TO:                                                                         SHIP TO:
             FAHRENHEIT    MECHANICAL                                                            FAHRENHEIT    MECHANICAL
             120  BROADWAY    36TH   FLOOR                                                       120  BROADWAY    36TH   FLOOR
             NEW          YORK,       NY         10271                                           NEW YORK,   NY   10271




          47848                    MANHATTAN              WEST                                                                       Dan         Marucci



  Shelly            Thielmann                             WC     WILL   CALL               NIT      30      DAfS                     09/22/20                   09/22/20
 PARTE0.                          CESCRIPTMt                        ORDEROTY    SUP OTY     ,.      LIS            RHULA                   NET                   EXTyPREE
              01056
 27754      11/2X11/2       X 11/4    C X C X C TEE W                     8ea          8ea          75.920ea       *.10                      7.592ea                            60.74
              04085
 75670      1 PT HERCULES MEGALOC15-808                                   6ea          6ea          20.231ea        Net                     20.231ea                           121.38
 179202     3/4    X 1429 PURPLE-BLUE MONSTER                            40ea         40ea           4.754ea        Net                      4.754ea                           190.15
              TEFLON TAPE EQUAL (27/BOX)
 38013      SPOOL QUICKWICK 1906004                                     20ea          20es           1.231EA        Net                      1.231EA                            24.62
              25PERBAG.
 27048      1/2    FTG X NIPS ADAPTER W 01431                           120ea        120ea          35.540ea       *.10                      3.554ea                           426.48
 26881      3 300# BRASS COMPFLG                                          6ea             5ea      310.346EA        Net                    310.346EA                        1551.73
              (5 PCS STK - BAL 3-4             DAYS)
 12293      3 X 3 STD BRASS NIPPLE                                        6ea          6ea          23.775ea        Net                     23.775ea                           142.65
 26503      11/4    X 1 X 1 C X C X C TEE W 04074                         6ea          6ea          91.790ea       *.10                      9.179ea                            55.07
 35432      1 1/4    APOLLO #70-106-01           BRNZ THRD                8ea          8ea          77.830ea       *.55                     42.807ea                           342. 45
              END BALL
 8808       11/4    X 4 STD BRASS NIPPLE                                 10ea         10ea           6.475ea        Net                      6.475ea                            64.75
 120184     4 PLTD CLEVIS & SHIELD                                      40ea          40ea           6.333ea        Net                      6.333ea                           253.33




              101010%f220%·#rm. RA                     MB½5E




                                                                                                                                     Subtotal                        5904       . 56
                                                                                                                                     S&H      CHGS                          0.00
                                                                                NJ                       6.625
  Invoice            is      due      by       10/22      /20.                                                                    Sales        Tax                     391.18
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable.                                      Amount               Due                6295       . 74
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                             **    Reprint       **   Reprint   **   Reprint     **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                             RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                         Invoice

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         Communipaw
  445
                 NJ                 07304
                                         Avenue
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  Jersey    City
                                                                                                                                    ""   °-"      ""
  201-333-2600                     Fax   201-333-7376                                                                               JERSEYCITY NJ 07304



             BILL       TO:                                                                                    SHIP TO:
             FAHRENHEIT    MECHANICAL                                                                          FAHRENHEIT    MECHANICAL
             120  BROADWAY    36TH    FLOOR                                                                    120  BROADWAY    36TH   FLOOR
             NEW YORK,   NY     10271                                                                          NEW YORK,   NY 10271




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          47848                      MANHATTAN            WEST                                                                                  Dan       Marucci



  Shelly               Thielmann                          WC         ILL      CAL                        NTT      30      DAYS                  09/23/20                     09/22/20
 PARTNO.                         DESCRIPTION                            ORDEROTY              SIHP OTY            LIST          FORBULA             NET                      EU. PR1CE
            k*******-k*************                                 k*******              k**   *****       k * **-k***        k****   ¼      Ä**   Ä*****           k**     k * * * *
                                                                 Tree"                                                                                                                  *
                  If         NOT     stated       "Lead                        or          "LF",         the      produ2ts           listed              may       cantain
                lead       and      *CAN          NOT*         b3      used         f3r                                              water         servica.                             *
                                                                                                potabLe/drinking
            +*****************************                                                *********************                        +**********                   ********

 121589     3 STD BRASS 90 ELL - LEAD FREE                                     4ea                    4ea        138.522ea         Net                138.522ea                              554.09
              ****       LEAD FREE ****




                                                                                                                                                SubtOtal                            554       . 09
                                                                                                                                                S&H       CHGS                              0.00
                                                                                            NJ                         6.625
  Invoice               is     due      by    10/23/20.                                                                                       Sales          Tax                      36.71
All claims for shortage or errors must be made at once. Returns require written
authorizatioil and are subject to handling charges.  Special orders are non-returnable·                                                  Amount              Due                    590.           80
Past due invoices      may be subject    to 1.50% late charge.
                                                                                                                                         **    Reprint     **   Reprint      **   Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
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                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                             RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                         Invoice

   DEAL
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                                                                                                                                     09/24/20                    S2019525.003
  445    Communipaw                           Avenue                                                                                 REu1T TO:                                     en        a
            City NJ                   07304                                                                                         = = s-                 =
  Jersey
                                                                                                                                    * c°=====
  201-333-2600                     Fax        201-333-7376                                                                          JERSEYCITY NJ 07304                                          1



                BILL     TO:                                                                                    SHIP To:
                FAHRENHEIT                    MECHANICAL                                                        FAHRENHEIT    MECHANICAL
                120          BROADWAY             36TH         FLOOR                                            120  BROADWAY    36TH   FLOOR
                NEW          YORK,        NY        10271                                                       NEW       YORK,    NY    10271




         47848                        MANHATTAN                WEST                                                                             Dan       Marucci



  Shelby               Thielmann                 WC WILL         CAL                                      NTT       30      DAfS                09/24/20                      09/22/20
 PM NO.                     DEECRIPTKIN     -              DRDER GTY                          SHIP GTY         LI5T        FORMJLA           NET                              EXT. PRTCE
            v* * * * * * * * * * * * * * * * * * * * * * * * * * * * *                      * * W* * * * v * * * * * * * * * * * W * * * * * * * *X*               *     * * * * * * *
            *                                                       Tree"                                                                                                                *
                  If         NOT      stated           "Lead                    or          "LF",         t     e   products        listed               may       cantain
                  lead        and      *CAN            NOT*      b3     used         far                                            water             service.                           *
                                                                                                 potabLe/drinking
                *********************t*******                                              v***************t***************                                            v*******

 8676       11/4        X 2 STD BRASS NIPPLE                                   13ea                    13ea           3,675ea      Net                   3.675ea                                 47.78
 19712      1 1/4        STD BRASS TEE                                         78ea                    20ea          20.163ea      Net                 20.163ea                               403.25
                 (stk     standard       ONLY you need XH
                 here?)
 13441      1 1/4        STD BRASS SQ HEAD PLUG CORED                          56ea                    56ea           8.649ea      Net                   8.649ea                              484.34
                 (40 pes stk     - bal 3 days)

 26881      3 300# BRASS COMP FLG                                               1ea                     lea         310.346EA      Net                310.346EA                               310.35
              (5 PCS STK - BAL 3-4                DAYS)
 13879      3 STD BRASS 90 ELL                                                  2ea                     2ea         126.622ea      Net                126.622ea                               253.24




                 1010tD9>150T A5·A6 MA                   9Aû¼5153




                                                                                                                                                Subtotal                          1498.96
                                                                                                                                                S&H       CHGS                               0.00
                                                                                             NJ                          6.625
  Invoice               is      due       by      10/24/20.                                                                                   Sales         Tax                          99.31
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   Special ordera are non-returnabl°'                                                  Amount             Due                   1598.27
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                                         **    Reprint     **    Reprint     **   Reprint        **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
 s'"
NYSCEF DOC.
          ' NO. 20                                                                                                                                     RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                                 Invoice
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 IDEAL
  s U P P LY            Co

                                                                                                                                             09/25/20                   S2019525.004
  445    Communipaw                          Avenue                                                                                          Ren1T TO:                                    ;gggggggs
                                                                                                                                             == 1o= so-w =
  Jersey    City  NJ                 07304
                                                                                                                                             "' °°"°""^"   ""°"
  201-333-2600                    Fax        201-333-7376                                                                                    JERSEYCITY NJ 07304



             BILL      TO:                                                                                      SHIP TO:
             FAHRENHEIT    MECHANICAL                                                                           FAHRENHEIT    MECHANICAL
             120  BROADWAY    36TH  FLOOR                                                                       120  BROADWAY    36TH   FLOOR
             NEW            YORK,        NY        10271                                                        NEW YORK,   NY 10271




         47848                       MANHATTAN                WEST                                                                                      Dan        Marucci



  ShelLy              Thielmann                               WC   WILL        CALL                       NDT      30      DAtS                         09/25/20                     09/22/20
 PARTNO.                     mi5CRIPRCN                     ORDER 017       581F OTY          LIST       f0PNLA             NET                EXT. PRICE
            v * * * * * * * * * * * * * * w * * * * * * e * * * * * * * + * * * * * * * + * * * * * * * v * * * * e * * * * * * * * * * e * * * * * **

                            NOT                                      ?ree"                                                                   listed                        cMntain              *
                 If                  stated           "Lead                     or         "LF",          tTe      products                                   may
                lead        and      *CAN             NOT* bM           used         f3r                                                     water          service.                            *
                                                                                                potabLe/drinking
            **********************************************                                                                        *****          v******************
 19712      1 1/4      STD BRASS TEE                                           58ea                     58ea       20.163ea                Net                20.163ea                              1169.43
               (stk     standard        ONLY you need XH
              here?)
 26624      11/4X      11/4    X 1/2     C X C X C TEE                         16ea                     15ea       71.490ea               *.10                   7.149ea                             107.24




              %%i04r15042423              PM            S10¼515.9




                                                                                                    5                                                   Subtotal                          1276.67
                                                                                                                                                        S&H       CHGS                              0.00
                                                                                           NJ                           6.625                                       Tax
  Invoice              is      due       by      10/25/20.                                                                                            Sales                                     84.58
All claims for shortage or errors must be madeat once. Returns require written
authorization and are subject to handling charges . Special orders are non-returnable.                                                           AMOunt             Due                   1361.25
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                 **    Reprint     **   Reprint      **   Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                                    RECEIVED NYSCEF: 04/08/2022
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 IDEAL
  S O P P L Y             c

                                                                                                                                                              09/25/20                    S2019880.001
  445    Communipaw                           Avenue                                                                                                         REMIT TO:
                                                                                                                                                                                                      g
            City  NJ                  07304
  Jersey                                                                                                                                                     * ª"""               ^""
  201-333-2600                      Fax       201-333-7376                                                                                                   JERSEYCITY NJ 07304                                      1.



              BILL        TO:                                                                                           SHIP TO:
              FAHRENHEIT    MECHANICAL                                                                                  FAHRENHEIT    MECHANICAL
              120  BROADWAY    36TH   FLOOR                                                                             120  BROADWAY    36TH   FLOOR
              NEW             YORK,       NY        10271                                                               NEW            YORK,            NY        10271




           47848                      MANHATTAN                WEST                                                                                                      Dan        Marucci



  Shelly                Thielmann                              WC         ILL       CAL                           N     T     30        DAfS                             09/25/20                     09/25/20



                                                                     Tree"                                                                                                                                       *
                   If         NOT     stated           "Lead                          or           "LF",          t1e        produ:ts                        listed              may        cantain
                lead        and           *CAN         NOT*         be       used          f3r                                                               water             servic3.                          *
                                                                                                       potabLe/drinking
              *********************                                      k*******                v*******              v*******                v****            v**********                   v*******

 119862      MILWAUKEE PART# 48-00-5184                 SUPER                         2ea                     2ea             10,000ea                  Net                     10.000ea                              20.00
               SAWZALL BL 18T 6"(NETAL)
                   (5 PER PACK)
 119873      MILWAUKEE PART# 48-00-5189                 SUPER                         2ea                        2ea          14.733ea                  Net                     14.733ea                              29.47
               SAWZALL BL 18T 12"(NETAL)
                   (5 PER PACK)
 84257       7/8        OD CT CUSHION STRUT CLAMP                                   120ea                   120ea                 1.650ea               Net                       1.650ea                            198.00
 87843       1-1/8        OD CT CUSHION STRUT CLAMP                                 100ea                   100ea                 1.904ea               Net                       1.904ea                            190.40
 108103      1-3/8        OD CT CUSHION STRUT CLAMP                                 100ea                   100ea                 2.280ea               Net                       2.280ea                            228.00
 41675       2 CT COPPER STRUT CLAMPS                                               100ea                   100ea                 2.131ea               Net                      2.131ea                             213.07
 41676       2-1/2        CT COPPER STRUT CLAMPS                                     40ea                   40ea                  2.974ea               Net                       2.974ea                            118.95
 4890        1/2        X 1/4   STD BRASS HEX BUSH                                   20ea                    20ea                 3,220ea               Net                       3.220ea                             64.40
 27754       11/2X11/2          X 11/4    C X C X C TEE W                            12ea                    12ea             75.920ea             *.11                          8.351ea                             100.21
               04085
 27544       11/2X11/4          X 11/4    C X C X C TEE W                            12ea                    12ee           155.300ea              *.11                         17.083ea                             205.00
               04091
 24948       1 1/2        C X MIPS ADAPTER W 01179                                   12ea                    12ea             58.730ea                 *.11                       6.460ea                             77.52
 36958       3/4x3/4          MPT X MALE HOSE ADAPT                                   4ea                     4ea                 2.147EA               Net                       2.147EA                              8.59
 38436       3/4        HOSE WASHERS                                                  4ea                     4ea                 0.109EA               Net                      0.109EA                               0.44
 5903        1/2        X 3 STD BRASS NIPPLE                                          8ea                     8ea                 2.502ea               Net                      2.502ea                              20.02




                                                                                           **     Reprint   **     Reprint        **    Reprint         **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF
 83"8  DOC.
          ' NO. 20                                                                                                                                              RECEIVED NYSCEF: 04/08/2022
                                                                               |||l|||||||||||<||||||||||||||||||||||||||||                                               Invoice

 IDEAL
  SU P P LY            CP

                                                                                                                                                     09/25/20                     S2019880.001
  445    Communipaw                         Avenue                                                                                                   ReuxT To

            City  NJ                07304                                                                                                            ==-             sunu=
  Jersey                                                                                                                                             !,°,°""""""°"
  201-333-2600                  Fax         201-333-7376                                                                                                                                                   2



              BILL    TO:                                                                                           SHIP TO:
              FAHRENHEIT    MECHANICAL                                                                              FAHRENHEIT    MECHANICAL
              120  BROADWAY    36TH   FLOOR                                                                         120  BROADWAY    36TH   FLOOR
              NEW          YORK,       NY         10271                                                             NEW YORK,   NY   10271




        CUSTCERNONBER                            Of$TONERORDERN(ER                                                RELEASE.NUM3ER                                                   5ALESPERSON


           47848                    MANHATTAN               WEST                                                                                                Dan          Marucci



  Shelly             Thielmann                              WC     ILL   CALG                               NET               30      DAfS                       09/25/20                   09/25/20
 PARFNOe                           CE5CRIPT]ÇN                      ORDER011             SHIP01Y                              LIST           fqMLA                     NE                           PREE
                                                                                                                                                                                             EXT3




                                                                                                                                                                Subtotal                         1474.07
                                                                                                                                                                S&H          CHGS                       0.00
                                                                                       NJ                                          6.625
  Invoice             is      due      by       10/25/20.                                                                                                      SaleS          Tax                      97.66
All claims for shortage or errors must be madeat once, Returns require written
authorization and are subject to handling charges . Special orders are non-returnable.                                                                    Amount              Due                1571.73
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                                                          **    Reprint      **   Reprint   **   Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                          RECEIVED NYSCEF: 04/08/2022
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  445    Communipaw                           Avenue                                                                                            RsNIT TO:
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                                                                                                                                                Ä= rosa su""u =
  Jersey    City  NJ                  07304
                                                                                                                                                "S °°""°"t"   ""°"
  201-333-2600                      Fax       201-333-7376                                                                                      JERSEYCITY NJ 07304



                BILL     TO:                                                                                     SHIP TO:
                FAHRENHEIT    MECHANICAL                                                                         FAHRENHEIT                     MECHANICAL
                120  BROADWAY    36TH    FLOOR                                                                    120         BROADWAY             36TH   FLOOR
                NEW YORK,   NY     10271                                                                         NEW          YORK,  NY                10271




         47848                        1   MAHATTAN               WEST                                                                                         Dan       Marucci



  Anthony                Gagliostro                             WC     WILL          CAL                   NET          30      DA      S                     09    /25/20                   O9/25/20
 PMT NO                             DE3CRIPUCN                                 ORDER 01Y        $5P OT(                LIST             FORELA                     ET                EXT. PRICE
            + * ****           * * * * * * * * *       * * **    **        * * * * * *T*     +* * * * * * *      r * * *% **         * e* * * * +* * *             * * * * * * e* * * * * * *
            *                                                              Pree"                                                                                                                        *
                  If          NOT     stated           "Lead                           or     "LF",        t1e          produ:ts                listed                may          c3ntain
                lead       and     *CAN                NOT*           be      used        far                                                   water               service.                             *
                                                                                                    potable/drinking
            e*********************                                         v***********************                                    v***************                              ********

 42517      1-5/8        X 1-5/8      X 10'    SLOTTED GALV                         100ft              100ft             2.860ft             Net                       2.860ft                                286.00
                 CHANNEL STRUT 12G
 35432      1 1/4        APOLLO #70-106-01          BRNZ THRD                         18ea              18ea            77.830ea            *.56                     43.585ea                                 784.53
                 END BALL
 8808       11/4        X 4 STD BRASS NIPPLE                                          18ea              18ea            10.771ea             Net                      10.771ea                                193.87
 35281      1/2        APOLLO #70-103-01           BRNZ THRD END                      60ea              60ea            22.340EA            *.56                      12.510EA                                750.62
                 BALL




                1tiologrSSTA&.1                A          319Ya0%..




                                                                                                                                                              Subtotal                              2015,02
                                                                                                                                                              S&H       CHGS                                 0.00
                                                                                               NJ                            6.625
  Invoice                is     due       by       10/25/20.                                                                                               Sales             Tax                      133.50
All claigrts for shortage or errors must be madeat once. Returns require written
authorization and are subject to handling charges.    special orders are non-returnable.                                                              AMOunt                 Due                    2148.52
Past due invoices       may be subject    to 1.50% late charge.
                                                                                                                                                      **    Reprint      **    Repaint       **     Reprint     **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                            RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                                            Invoice

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                                                                                                                                                    09/25/20                       S2020037.001
                                    ,
          Commumpaw                               Avenue
                                                                                                                                                        -
  445                                                                                                                                               REmT TO
                               NJ         07304                                                                                                 -    so-                      m
  Jersey      City
                                                                                                                                                = ª====
  201-333-2600                          Fax       201-333-7376                                                                                  JERSEYCITY NJ 07304



              BILL       TO:                                                                                          SHIP TO:
              FAHRENHEIT    MECHANICAL                                                                                FAHRENHEIT    MECHANICAL
              120  BROADWAY    36TH   FLOOR                                                                           120  BROADWAY    36TH   FLOOR
              NEW             YORK,           NY        10271                                                         NEW        YORK,        NY        10271




 BeiMEliBlMili!iE                        Ei!!!!M58558sNM!ME21il8se%                                  ElsBEEsteMiMle!!EllisiMHiMie                            eiMilififill          liiManipaElmistilHe


         47848                            MANHATTAN                ADD                                                                                         Dan           Marucci



  Shelly               Thielmann                                   WC    WILL           CALL                    N3T        30      DAYS                        09/25/20                         09/25/20
 PARTN0.                                 DESCRIPTIOR                             GNEROTT            SHIP 0T                 LI5T           FORMLA             NET                                   EXL PRICE
            e*********************                                           e*******           v*******             e*******            *****    ***********                            ********
                                                                         Tree"                                                                                                                             *
                  If          NOT         stated           "Lead                         or         "LF",       t     e    products                 listed              may           c3ntain
                  lead     and      *CAN                   NOT*         bM       used         fMr                                                   water             servica.                             *
                                                                                                      potabLe/drinking
              *********************                                          v*******           v*******t*******t****v**********                                                         v*******

 5025       3/4        X 1/4    STD BRASS HEX BUSH                                      10ea                  10ea           4. 279EA         Net                           4.279EA                              .42.79
 13313      1/2        STD BRASS SQ HEAD PLUG COR                                       60ea                  60ea          3.067ea           Net                           3.067ea                              184.0C
 13355      3/4        STD BRASS SQ HEAD PLUG COR                                       20ea                  20ea          3.858ea           Net                           3.858ea                               77.16
 13728      1 1/4        STD BRASS 90 ELL                                               18ea                  18ea         16.193ea           Net                       16.193ea                                 291.48
 5380       1 1/4        X 3/4          STD BRASS HEX BUSH                              20ea                  20es          9.238EA           Net                           9.238EA                              184.76
 6793       3/4        X 11/2    STD BRASS NIPPLE                                       20ea                  20ea          2.137ea           Net                           2.137ea                               42. 73
 8988       3/4        NPT X 3/4         HOSE APOLLO                                    24ea                  24ea         52.550ea          *.56                       29.428ea                                 706.27
               70-104-HC                BRZ BALL VLV THRD ENDS
               W/CAP &




                                                                                                                                                              Subtotal                                1529.19
                                                                                                                                                              S&H     CHGS                                      0.00
                                                                                                    NJ                          6.625
  Invoice                is      due          by      10/25/20.                                                                                              Sales             Tax                       101.31
All claims for shortage or errors must be madeat once, Returns require written
authorization and are subject to handling charges.  Special orders are non-returnable.                                                                 hount                   Due                    1630.50
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                                                       **     Reprint         **    Rep int     **    Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                  RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                              Invoice

 IDEAL
  50    P P LY            C

                                                                                                                                          09/28/20                   S2020107.001
         Communipaw                                                                                                                                                                       f GM
  445
            City  NJ                  07304
                                              Avenue
                                                                                                                                          =   =
                                                                                                                                          REMIT To:
                                                                                                                                                     surm
  Jersey                                                                                                                                  * °°""""""      ""°"
  201-333-2600                      Fax       201-333-7376                                                                                JERSEYCITY NJ 07304



             BILL        TO:                                                                                       SHIP TO:
             FAHRENHEIT    MECHANICAL                                                                              FAHRENHEIT             MECHANICAL
             120  BROADWAY    36TH    FLOOR                                                                        120         BROADWAY      36TH  FLOOR
             NEW YORK,   NY     10271                                                                              NEW         YORK,    NY    10271




        47848                         manhattan                west                                                                                  Dan        Marucci



  Shelby               Thielmann                               WC     WILL           CAL                     NCT         30      DATS                09/28/20                     09/28/20
 PARTNO.                     DE5CUPTION                     0RDERQTV        SNP OTr           LIST        F0FMIAA           NET                EXT. PRICE
            e * * * * * * * * * * * * * * * * * * * * * e * *^* * * * * e * * * * * * * e * * *"G * * * e * * * * e * * * * * * * * * * e * * * * * * *
                                                                      free"                                                                                                                  *
                  If          NOT     stated           "Lead                          or           "LF",     tTe         produ:ts         listed           may          cantain
                lead        and            *CAN        NOT*         be        used         f    r                                         water          servica.                            *
                                                                                                     potabLe/drinking
            **********************                                       *******               e*******        *************                  +******************
 5137       3/8        X 4 STD BRASS NIPPLE                                           1ea                   1ee           3.061ea       Net                   3.061ea                                3.06
 4937       1/2        X 3/8    STD BRASS HEX BUSH                                    lea                   1es           3.597ea       Net                   3.597ea                                3.60
 5971       1/2        X 4 STD BRASS NIPPLE                                           2ea                   2ea           4.143EA       Net                   4.143EA                                8.29
 5099       3/4        X 1/2    STD BRASS HEX BUSH                                    lea                   1ea           4.529ea       Net                   4.529ea                                4.53
 5064       3/4        X 3/8    STD BRASS HEX BUSH                                    1ea                   1ea           4.529ea       Net                   4.529ea                                4.53




                                          DV/5



                                                                                               5                                                    Subtotal                                 24.01
                                                                                                                                                    S&H    CHGS                                  0.00
                                                                                                   NJ                         6.625
  Invoice                is     due       by      10/28/20.                                                                                        Sales     Tax                                 1.59
All claims for abortage or errore must be made at once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable.                                                       Amount             Due                       25.60
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                                              **    Reprint     **   Rep 'int     **   Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                                            RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                                                        Invoice

 IDEAL
  S u P P LY              Co

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  445    Communipaw                            Avenue                                                                                                              REn11 10:                                        ggggggggg
            City  NJ                   07304                                                                                                                       = ro= ==
  Jersey                                                                                                                                                           * """"""      ""
  201-333-2600                       Fax       201-333-7376                                                                                                        JERSEYCITY NJ 07304



              BILL       TO:                                                                                                 SHIP TO:
              FAHRENHEIT    MECHANICAL                                                                                       FAHRENHEIT                           MECHANICAL
              120  BROADWAY    36TH   FLOOR                                                                                  120           BROADWAY                  36TH   FLOOR
              NEW             YORK,        NY        10271                                                                   NEW           YORK,  NY                    10271




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         47848                         MANHATTAN                WEST                                                                                                           Dan        Marucci



  Shelly                Thielmann                               WC    WILL            CAL                             NIT            30        DAfS                            09/28/20                      09/28/20
 PARTNO.                              DE5CRIPTION                             CRDER)Y             SHIP GTY                        UST                       FORFULA            NET                         EXT. PRICE
             e**        * ******************                              v***-k***           k*******                     k*******                       k****    k**********                       k* * * -k * * *
                                                                      Tree"                                                                                                                                             *
                   If         NOT      stated           "Lead                          or       "LF",          t Te  produ:ts                                      listed               may        c3ntain
                lead        and       *CAN              NOT*         b3      used           f ar                                                                   water             servica.                           *
                                                                                                     potabLe/drinking
            t*********************t*******                                                    k*******t*******                                            %****t**********                           k*******

 60842       TRERICE GAUGE #600CB, 0-600PSI,                                           6ea                          6ea              29.837ea                   Net                     29.837ea                             179.02
               4-1/2"       1/4" LM CONN
                      DIAL,




                                                                                        ..........................., ...,..............................
                                                                                                              f $                                                             Subtotal                              179.02
                                                                                                                                                                              S&H     CHGS                                  0.00
                                                                                                  NJ                                      6.625
  Invoice                is      due       by      10/28/20.                                                                                                                 SaleS          Tax                         11.86
All claims for shortage or errors must be made at once. Returns require written
authorization and are aubject to handling charges.   Special orders are non-returnable                                                                                 hount                Due                     190.88
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                                       **     Reprint      **   Rep'int      **   Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                                                 RECEIVED NYSCEF: 04/08/2022
                                                                                                  |||||||||||||||||||||||||||||||||l||l||                                                    Invoice

 IDEAL
     SUPP         L Y        Co

                                                                                                                                                                     09/29/20                        S2020224.001
     445 Communipaw                               Avenue                                                                                                             ReniT To:                                           PAat
            City  NJ                      07304                                                                                                                      = ¹== -n
  Jersey                                                                                                                                                             4" """"       ^""
  201-333-2600                         Fax        201-333-7376                                                                                                       JERSEYCITY NJ 07304



                 BILL       TO:                                                                                                     SHIP TO:
                 FAHRENHEIT    MECHANICAL                                                                                           FAHRENHEIT    MECHANICAL
                 120  BROADWAY    36TH   FLOOR                                                                                      120  BROADWAY    36TH   FLOOR
                 NEW             YORK,       NY         10271                                                                       NEW           YORK,            NY        10271




              47848                       manhattan                west                                                                                                             Dan       Marucci
 8      lifeBHligiMEMisis|HeseMile                          il|195ee5iM2851 Ese18158                                      Mil5EHE5MMiliiRenesti|eleMBEMili #iEn!ManMR89


     Shelly                Thielmann                               WC     WILL           CALL                               NIT             30      DA(S                            09/29          /20             09/29/20
 VARTNo.                                 OFSCRIMION                               ORDEROTY     511IPCTY                                  LIST               FORBDIA             NET                                GT.,,PRICE         3,
                4*********************                                       t*******      V*******                               t*******                 v****    &**********                            k*******
                                                                          free"                                                                                                                                               *
                      If         NOT      stated           "Lead                           or        "LF",                  t1e             products                     listed              may         cantain
                   lead        and      *CAN               NOT*         be        used          fMr                                                                  water                servic3.                            *
                                                                                                         potable/drinking
                 *****************************                                                    v***************                                        *****            v**********                     ********

 43859          3/8        PLTD HVY HEX NUTS                                             700ea                       700ea                   0.123ea               Net                       0.123ea                                86.15
 28918          3/8        PLTD ROUNDSTEEL WASHER                                        700ea                       700ea                   0.115ea               Net                       0.115ea                                80.77
 24908          1 1/4       c x MIPS ADAPTER W 01171                                      60ea                         60ea                 50.110ea              *.14                       7.015ea                               420.92




                  1910toomasseatu                            sto10114..




                                                                                                                                                                                    Subtotal                              587       . 84
                                                                                                                                                                                    S&H       CHGS                                0.00
                                                                                                       NJ                                        6.625
     Invoice                is      due      by       10/29/20.                                                                                                                   Sales         Tax                           38.94
All claims for shortage or errors must be madeat once. Returns require written
authorization and are subject to handling charges . Special orders are non-returnable.
                                                                                                                                                                            Amount              Due                       626.78
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                                            **     Reprint     **    Rep int       **   Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                       RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                                 Invoice

   DEAL
  s U P P L Y             c

                                                                                                                                             09/29/20                     S2020328.001
  445    Communipaw                            Avenue                                                                                        REniT TO:                                 yggs           gggggg
                                                                                                                                             TilE IDEAL SUPPLYCO
                  NJ                   07304
  Jersey    City                                                                                                                             "   ª"'""            ""
  201-333-2600                        Fax      201-333-7376                                                                                  JERSEYcITY NJ 07304



              BILL TO:                                                                                             SHIP TO:
              FAHRENBEIT               MECHANICAL                                                                  FAHRENHEIT    MECHANICAL
              120             BROADWAY    36TH    FLOOR                                                            120  BROADWAY    36TH   FLOOR
              NEW             YORK,  NY     10271                                                                  NEW         YORK,       NY    10271




           47848                       MANHATTAN               WEST                                                                                      Dan        Marucci
                              MITER                                              5HIPVIA                                       TERM5                           5H5DAW                       BMÆATE


  Shelly                Thielmann                              WC        WILL        CALL                    NET       30       DAfS                     09/29/20                      09/29/20
 PAsT NO.                             DESCMPTIOR                             ORDER011            SUP OTY                 UST            FORMA             NET                        EXL PRICE
             k*********************                                      4*******            k*******             g*******             k****  k**********                      k* * * * * * *
                                                                         free"                                                                                                                    *
                   If  NOT      stated           "Lead                                or         "LF",       t1e       produ2ts          listed                  may         contain
                lead       and       *CAN       NOT*                be       used          fMr                                           water                 service.                           *
                                                                                                     potabLe/drinking
              *************************************                                                            &*******************************
 59335       TRERICE GAUGE #620B, 0-300PSI,                                           3ea                   3ea         16.764ea           Net                  16.764ea                                50.29
               4-1/2"
                      DIAL, 1/4 Lu CONN
               SS CASE
 16542       1 1/4       STD BRASS STR 90 ELL                                         lea                   lea         26.941ea           Net                  26.941ea                                26.94




               101010%ra033AE               PM            9A01031%.,




                                                                                       in                                                                Subtotal                                 77.23
                                                                                                                                                         S&H       CHGS                               0.00
                                 due                                                             m                          6.625
                                                                                                                                                                       Tax
  Invoice                is                 by     10/29/20.                                                                                          Sales                                           5.12
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   special orders are non-returnable.                                                          Amount                Due                       82.35
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                 **    Reprint      **    Rep'int      **    Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                                           RECEIVED NYSCEF: 04/08/2022
                                                                                                             l|||||l||||||||||||||||||||||                                              Invoice

 IDEAL
  S U P P L Y               c a

                                                                                                                                                                   09/30/20                      S2020397.001
            Communipaw                           Avenue
                                                                                                                                                                       -
  445                                                                                                                                                          REurT TO

              City  NJ                   07304                                                                                                                 =                 so
  Jersey                                                                                                                                                       *       """"" ^"°"
  201-333-2600                        Fax        201-333-7376                                                                                                  JERSEYCITY NJ 07304



               BILL TO:                                                                                                            SHIP TO:
               FAHRENHEIT    MECHANICAL                                                                                           FAHRENHEIT    MECHANICAL
               120  BROADWAY    36TH  FLOOR                                                                                       120  BROADWAY    36TH   FLOOR
               NEW              YORK,       NY         10271                                                                      NEW              YORK,     NY        10271




            47848                        manhattan                west                                                                                                         Dan        Marucci



  Shell.y
                         Thielmann                                WC     WILL          CAL                                 NOT               30      DAfS                      09/30/20                      09/30/20
 P)   NO.                               DE5CRIPTHE                    CRDER GTY       SHIP OTY          LIST        FORMULA           NET                                                                    EXT, PRICE
               * * * * * *               *W * * * * * * * * * * * e * W * * * * * v * * * * * * * * * * * * * * * * * * * * v * * * * * *****                                                        e *******
                                                                            free"                                                                                                                                       *
                    If          NOT      stated           "Lead                          or          "LF",                 t       e         products              listed              may         cMntain
                 lead        and      *CAN                NOT*         be       used           fMr                                                                 water              service.                          *
                                                                                                       potabie/drinking
               *****************************                                                     v*******************************t*******
 17605        2 1/2 X 12 STD BLK STEEL NIPPL                                             2ea                            2ea                  19.000ea        Net                       19.000ea                               38.00
 40258        F 3 X 21/2            STD C.S.      WELD TEE                               1ea                            les                  21.833ea        Net                       21.833ea                               21.83
 38474        3 X 21/2           STD C. S. WELD CONC                                     1ea                            lea                  17.761ea        Net                       17.761ea                               17.76
 390          1 1/4        C X C 90 ELL W O2084                                        150ea                       150ea                     31.700ea       *.09                         2.853ea                             427.95
 356          1 C X C 90 ELL W 01647                                                   100ea                       100ea                     21.390ea       *.09                        1.925ea                              192.51
 35432        1 1/4        APOLLO #70-106-01           BRNZ THRD                        24ea                          24ea                   77.830ea       *.56                       43.585ea                             1046.04
                END BALL
 5025         3/4        X 1/4     STD BRASS HEX BUSH                                   24ea                          24ea                    4.529EA        Net                        4.529EA                              108.69
 14643        1 1/2        X 1 FTG X C BUSHING W 01351                                  24ea                          24ea                   37,240ea       *.09                        3.352ea                               80.44
 14122        3/4        X 1/2     FTG X C BUSHING WB01326                             36ea                          36ea                    10.230ea       *.09                        0.921ea                               33.15
 27095        3/4        FTG X MIPS ADAPTER W 01446                                     48ea                          48ea                   45.750ea       *.09                        4.118ea                              197.64
 22661        3/4        FTG X FIPS WROTADAPTER W 01546                                 48ea                          48ea                   32.850ea       *.09                        2.957ea                              141.91
 103846       1/2        X 10' TYPE K HARD COPPERTUBE                                   20ft                          20ft                    1.664FT        Net                        1.664FT                               33.29
 6831         3/4        X 2 STD BRASS NIPPLE                                           24ea                          24ea                    2.673ea        Net                        2.673ea                               64.15
 8834         11/4        X 41/2      STD BRASS NIPPLE                                 20ea                           20ea                    9.506ea        Net                        9.506ea                              190.12
 27048        1/2        FTG X MIPS ADAPTER W 01431                                    24ea                          24ea                    35.540ea       *.09                        3.199ea                               76.77
 24799        1/2        C X MIPS ADAPTER WBO1131                                       16ea                          16ea                    8.160ea       *.09                        0.734ea                               11.75




                                                                                                                                                                               Subtotal                           2682.00
                                                                                                                                                                               S&H        CHGS                              0.00
                                                                                                     NJ                                           6.625
  Invoice                  is      due      by       10/30/20.                                                                                                              Sales           Tax                     177.68
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable.                                                                               Amount                Due                   2859.68
Past due mvoices      may be subject    to 1.50% Late charge.
                                                                                                                                                                      **     Reprint       **    Rep'int     **   Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                         RECEIVED NYSCEF: 04/08/2022
                                                                                                                |||||||||||||||||                                    Invoice

 IDEAL
  S U P P LY             C o

                                                                                                                                                 09/30/20                   S2020397.002
         Communipaw
                                                                                                                                                     - -
  445                                        Avenue                                                                                              ReniT 10:                                 ggsggWse
            City  NJ                 07304                                                                                                       =
  Jersey                                                                                                                                         =   ==
  201-333-2600                     Fax       201-333-7376                                                                                        JERSEYCITY NJ 073D4



             BILL        TO:                                                                                    SHI P TO:
             FAHRENHEIT    MECHANICAL                                                                           FAHRENHEIT    MECHANICAL
             120  BROADWAY    36TH    FLOOR                                                                     120  BROADWAY    36TH   FLOOR
             NEW YORK,   NY     10271                                                                           NEW            YORK,          NY      10271




        CUSTONER
               &ffSER                             CUSTDMER
                                                        ORDERtD(8ER                                            REtEA55.NUMBER                                                 3ALESPER5CN


          47848                      manhattan                west                                                                                          Dan        Marucci



  Shelby               Thielmann                              WC     NILL      CAL                       NET           30           DA    S                 09/30/20                    09/30/20
 PMT No.                     DE5CRIPHON                     ORDER OM                          585 4n                 LIST                FORNULA         NET                            GT,    PRICE
            * * * * * *"e * * * * * * * *"* * * * f * * * * * * * * ***                    e* *   * * *'*      t * * * *****         * t"* * * * * * * *****                  *   *******
                                                                     Tree"                                                                                                                         *
                  If         NOT     stated           "Lead                     or          "LF",          t    e      produ3ts                  listed           may         cMntain
                  lead      and      *CAN             NOT* be           used         far                                                         water         servica.                            *
                                                                                                  potabLe/drinking
            **********************************************                                                                               v***************t*******
 121676     2-1/2        STD BRASS COUPLING - LEAD                              2ea                     2ea             87.253ea               Net                87.253ea                              174.51
               FREE ****           LEAD FREE ****
 34610      2 STD BRASS CPLG                                                    2ea                     2ea             35,095ea              Net                 35 .095ea                              70.19




              't01010%T400%M·A1PM                       S1010WI :1




                                                                                                       Ñ            55                                      Subtotal                           244.70
                                                                                                                                                            S&H        CHGS                            0.00
                                                                                             NJ                             6. 625
  Invoice               is     due       by      10/30/20.                                                                                                Sales         Tax                        16.21
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   Special crders are non-returnable,                                                              Amount             Due                    260.91
Past due invoices     may be subject    to 1. 50% Late charge.
                                                                                                                                                     **    Reprint     **   Reprint   **     Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
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NYSCEF   DOC. NO. 20                                                                                                                                              RECEIVED NYSCEF: 04/08/2022
                                                                                            ElillllllMIHillillllEllgg                                                        Invoice

 IDEAL
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                                                                                                                                                        09/30/20                    S2020542.001
         Communipaw                            Avenue
                                                                                                                                                            =
  445                                                                                                                                                  REn1T TO:
                                                                                                                                                       ==       so-=    =
                                                                                                                                                                                                  gggggg
  Jersey    City  NJ                   07304
                                                                                                                                                       * °"°"""      """
  201-333-2600                       Fax       201-333-7376                                                                                            JERSEYCITY NJ 07304



                  BILL To:                                                                                               SHIP TO:
                  FAHRENHEIT    MECHANICAL                                                                               FAHRENHEIT    MECHANICAL
                  120  BROADWAY    36TH    FLOOR                                                                         120  BROADWAY    36TH   FLOOR
                  NEW YORK,   NY     10271                                                                               NEW YORK,   NY 10271




           47848                        1   MANHATTAN                WEST                                                                                          Dan        Marucci



  Shelly                 Thielmann                              WC    WILL          CAL                             N.DT       30       DAYS                       09/30/20                      09/30          /20
 Pat    No,                            DESCRIPTN                             CRDER OTY                SHIP OTY         LI51                   FCP LA                    NET                   EXT. PNEE
              k****              **************Â                          kx * * * * * *            * * * * * * * k* * * * * *               k****   k***             k****         * * k* * * * * * *
              *                                                           Pree"                                                                                                                            *
                    If         NOT     stated           "Lead                         or            "LF",          t1e        produ:ts                  listed           may           c3ntain
              *     lead         and        *CAN        NOT*         be      used           f3r                                                         water          service.                            *
                                                                                                         potabLe/drinking
              v*********************t*******                                                      v*******              v*******             &****          v**********t*******
 43857        3/8        X 6 PLTD THREADEDROD                                       200ea                     200es                1.756ea           Net                     1.756ea                            351.25
                   (25PCS PER BUNDLE)
 28918        3/8        PLTD ROUNDSTEEL WASHER                                     500ea                     500ea                0.107ea           Net                     0.107ea                              53.57
 41365        3/8        DROP IN ANCHORS(50 BOX)                                    250ea                     250ea                0.514ea           Net                     0.514ea                            128.57
                   (LIPPED)
 42517        1-5/8       X 1-5/8      X 10'     SLOTTED GALV                       120ft                     120ft                1.682ft           Net                     1.682ft                            201.88
                   CHANNEL STRUT 12G
 120184       4 PLTD CLEVIS & SHIELD                                                 60ea                       45ea               5.819ea           Net                     5.819ea                            261.84
                   (45 pos agtk)
 71811        3/8        PLTD TOP BEAM CLAMPS                                       200ea                     200ea                1.200ea           Net                     1.200ea                            240.0C
 26468        11/4       X 1 X 3/4      C x C X C TEE W                              24ea                       18ea           90.030ea          *.11                        9.903ea                            178.26
                  04075
 26092        1 1/4       X 1 C X MIPS ADAPTER                                       40ea                       22ea           76.310ea          *.11                        8.394ea                            184.67
                   (22 PCS ONLY)
 13955        1 1/4       X 2 STD BLK STEEL NIPPLE                                   40ea                       40ea               2.820ea           Net                     2.820ea                            112.80
 35553        2 C X C CPLG WITHOUT STOP W 01909                                       2ea                        2ea           57.560ea          *.18                     10.361ea                                20.72




                                                                                                                                                                   Subtotal                           1733.56
                                                                                                                                                                   S&H        CHGS                             0.00
                                                                                                    NJ                              6. 625
  Invoice                 is     due        by     10/30/20.                                                                                                     S a le   S     Tax                      114.85
All claims for shortage or errors must be madeat once. Returns require written
authorization and are subject to handling charges.  Special orders are non-returnable·                                                                      hount               Due                   1848.41
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                            **    Repr int     **   Reprint      **   Reprint         **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                              RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                                          Invoice

 IDEAL
  SU P P LY             CP

                                                                                                                                                      10/01/20                   S2020037.002
  445    Communipaw                          Avenue                                                                                                  REn1T To:

            City  NJ                 07304                                                                                                           = 1«= so-n
  Jersey                                                                                                                                             * """""==
  201-333-2600                    Fax        201-333-7376                                                                                            JERSEYCITY NJ 07304



             BILL      TO:                                                                                               SHIP TO:
             FAHRENHEIT    MECHANICAL                                                                                    FAHRENHEIT    MECHANICAL
             120  BROADWAY    36TH   FLOOR                                                                               120  BROADWAY    36TH   FLOOR
             NEW            YORK,        NY        10271                                                                 NEW        YORK,           NY    10271




        47848                        MANHATTAN                 ADD                                                                                               Dan       Marucci



  Shelty              Thielmann                                WC    WILL           CAL                            N3T        30      DAfS                10/01/20             09/25/20
                                                                                                                                                            -
 PARTN0.                            DE5CRIPTION                              CPDER OTY              SUP GTY                   UST              FORMULA        IsET              EXT. PRICE
            e*********                  ****          ******               *****0*              k**   Ï* ***            k**   *****          k-k**   k* * * * * * * * * * k* * * * * * *
                                                                     Tree"                                                                                                                              *
                 If         NOT      stated           "Lead                          or           "LF",            t1e        produ2ts                listed              may       cMntain
                           and                        NOT*                   used                                                                                                                      *
               lead                *CAN                             be                    far           potabLe/drinking                             water         servica.
             *********************                                       g*******               e***************                            &****      e******************

 8676       11/4      X 2 STD BRASS NIPPLE                                          18ea                      18ea             3.676ea              Net                   3.676ea                             66.17




              10%ft01010-0AM%            M4             S10100T(:1




                                                                                                                    È                                            Subtotal                              66.17
                                                                                                                                                                 S&H       CHGS                             0.00
                                                                                                   NJ                              6.625
  Invoice              is      due      by       10/31/20.                                                                                                     Sales         Tax                            4 . 38
All claims for shortage or errors must be madeat ance. Returns require written
authorization and are subject to handling charges.  Special orders are non-returnable·                                                                    Amount             Due                       70.         55
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                          **    Reprint     **   Rep-int      **   Reprint     **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                              RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                                          Invoice

 IDEAL
  sU     P P LY           C

                                                                                                                                                       10/01/20                    S2020570.001
          Communipaw                           Avenue
                                                                                                                                                           -                                      aggggg
  445                                                                                                                                                  Reu1T TO:

              City             NJ      07304                                                                                                       =      s-
  Jersey                                                                                                                                           * ==""    ==
  201-333-2600                        Fax      201-333-7376                                                                                        JERSEYCITY NJ 07304



              BILL       TO:                                                                                          SHIP TO:
              FAHRENHEIT    MECHANICAL                                                                                FAHRENHEIT    MECHANICAL
              120  BROADWAY    36TH   FLOOR                                                                           120  BROADWAY    36TH   FLOOR
              NEW             YORK,         NY          10271                                                         NEW        YORK,           NY        10271




         SMil!BEGli                              !|HÃ                                                     ÈisieE9MM!Etsee!          !ieniseMi                              E EM$sE                  !sElEEli       E E
          47848                        1    MANHATTAN                 WEST                                                                                        Dan        Marucci



  Shelby                Thielmann                                WC    WILL           CAL                       N     T    30      DAfS                           10/01/20                     10/01/20
 PARTNo. .                            DESC81tTION                              ORDEROTY             SIHF en                 LIST            FCPGA                    ET                           M.     PREE
              *********************                                        v*******             ********             ********             *****            **********                  ********
                                                                       Tree"                                                                                                                                *
                   If   NOT      stated                  "Lead                          or        "LF",         t1e        produ:ts                listed                 may        cantain
                 lead        and     *CAN                NOT*         be       used           fMr                                                  water                servic±.                            *
                                                                                                       potable/drinking
             **********************                                        4*******             ********          &*******                k***************                             v*******

 103849      1 X 10'          TYPE K HARD COPPERTUBE                                  300ft                300ft             3.857FT             Net                       3.857FT                               1156.96
 30338       1 C X C CPLG WITH STOP W 01047                                            50ea                   50ea         11.720ea             *.11                       1.289ea                                 64.46
 320         3/4        C X C 90 ELL WB01634                                          200aa                200ea             8.720EA            *.11                       0.959EA                                191.84
 34499       3/8        ELECTRO-GALV STEEL ROD                                         50ea                   50ea           1.172ea             Net                       1.172ea                                 58.60
               COUPLINGS
 42517       1-5/8       X 1-5/8       X 10'     SLOTTED GALV                          50ft                   50ft           1.682ft             Net                       1.682ft                                 84.12
               CHANNEL STRUT 12G
 30295       3/4        C X C CPLG WITH STOP WB01034                                   50ea                   50ea           5.890ea            *.11                      0.648ea                                  32 .4C
 356         1 C X C 90 ELL W 01647                                                   100ea                100ea           21.390ea             *.11                       2.353ea                               235.29
 4841        1 FTG X C 90 ELL WBO2344                                                  24ea                   24ea         32.230ea             *.11                       3.545ea                                 85.09
 25755       1 X 3/4          X 3/4    C X C X C TEE W 04056                           30ea                   30ea         58.390ea             *.11                       6.423ea                               192.69
 25793       1 X 3/4          X 1 C X C X C TEE W 04055                                36ea                   36ea         58.390ea             *.11                       6.423ea                               231.22
 25935       1 X 1 1/4          C X MIPS ADAPTER W 01162                               30ea                   26ea         75.060ea             *.11                      8.257ea                                214.67
 25900       1 X 1 X 1/2            C X C X C TEE WBO4051                              30ea                   30aa         49.090ea             *.11                       5.400ea                                162.00




               %%nOfMMS.0%                     MA          %%%5L




                                                                                                                                                                  Subtotal                             2709.34
                                                                                                                                                                  S&H       CHGS                                0.00
                                                                                                   NJ                           6.625
  Invoice                is      due        by      10/31/20.                                                                                                  Sales          Tax                        179.49
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable'                                                                   AMOunt              Due                      2888.83
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                          **    Reprint      **    Rep int     **      Reprint     **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                                        RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                                                    Invoice

 fDEAL
  SU P P LY              Co

                                                                                                                                                               10/02/20                     S2020702.001
  445       Communipaw                       Avenue                                                                                                            REN1T TO:                                      pmE so
                                                                                                                                                               THE IDEAL SUPPLYCO
  Jersey      City   NJ              07304
                                                                                                                                                               "" °°"""===
  201-333-2600                     Fax       201-333-7376                                                                                                      JERSEYCITY NJ 07304



              BILL      TO:                                                                                               SHIP TO:
              FAHRENHEIT                     MECHANICAL                                                                   FAHRENHEIT    MECHANICAL
              120  BROADWAY                      36TH         FLOOR                                                       120  BROADWAY    36TH   FLOOR
              NEW YORK,   NY                       10271                                                                  NEW            YORK,              NY       10271




 M!#$188|$Me99EE# !E¾!ss!M$Mi###MifMBEff                                          H iÈñEfi599EiE4MErB!B$8:5588EEEiM9i!!                                                                     !!!!sisMetBEEliseMile                  i


          47848                      1   MANATTAN              WEST                                                                                                        Dan        Marucci



  Shelby               Thielmann                              WC       NILL       CAL                              N       T      30         DAfS                          10/02/20                      10/02/20
 PARTNo.                       DE5CRIPDON                                  ORDER QTY       SHIP OTY         UST        FORIMA            NET                                                            ' EXT. PRICE
                  * * * * * * * * * * * * *-k******                    ***   * *T*   * e * * W* * * * e * * * * * * * e * E* * e * * * * * * * *W * e *                                                 **   * * *

                             NOT                                       free"                                                                                                                                      *
                  If                 stated           "Lead                        or           "LF",              t1e            produsts                     listed               may       cMntain
                 lead       and          *CAN         NOT*         bM      used         f3r                                                                    water             servica.                        *
                                                                                                      potabLe/drinking
             k*********************                                    4*******               k*******                  4*******                      k****t**********                           k*******

 117751      WOLVERINE SILVALOY 5% BRAZING ROD                                    20ea                         20ea                38.529EA                  Net                  38.529EA                              770.59
                .050 X .125 X 28 STICKS PER TUBE




                                                                   (




                                                                                    ..... ........................... . ............................. .
                                                                                    féí@ Eht                  M         igEM|$$$15§j                                       Subtotal                            770.           59
                                                                                                                                                                           S&H CHGS                                    0.00
                                                                                                 NJ                                    6.625
  Invoice               is     due       by      11/01/20.                                                                                                               Sales         Tax                       51,05
A11 claims for shortage or errors must be madeat once. Returns require written
authorization and are subject to handling charges.  Special orders are non-returnable,                                                                              hount              Due                     8 2 1 . 64
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                                    **    Reprint     **    Repaint     **   Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF
  "¹   DOC. NO. 20                                                                                                                                                             RECEIVED NYSCEF: 04/08/2022
                                                                                                 |||||||||||||||||||||||||||||||||||||||||||                                             Invoice

 IDEAL
  50     P P L.Y         C9

                                                                                                                                                                     10/05/20                    S2020542.002
  445    Communipaw                          Avenue                                                                                                                reuiT TO:                                  agggggs
            City  NJ                 07304                                                                                                                         = ram --
  Jersey                                                                                                                                                            "    """""^""
  201-333-2600                     Fax       201-333-7376                                                                                                           JERSEYCITY NJ 07304                                       1



             BILL       TO:                                                                                                        SHIP TO:
             FAHRENHEIT    MECHANICAL                                                                                              FAHRENHEIT    MECHANICAL
             120  BROADWAY    36TH   FLOOR                                                                                         120  BROADWAY    36TH   FLOOR
             NEW             YORK,       NY        10271                                                                           NEW           YORK,            NY      10271




  Mif@MElMBEHSsilli lifeelMME#$5íiMBBiiNñ sill$leeilliif$!REMISR|illifelillifeieMBinisilitififMRIMillisiliifelli#e


          47848                      1   MANHATTAN                 WEST                                                                                                         Dan        Marucci



  Shelly               Thielmann                              WC        VILL       CALL                                    N3T             30      DAfS                         10/05/20                     09/30/20
 PART                                DESCRIPTION                            0BER OTV                 SHIP JiY                          LIST                FCPWLA             NEf                            EXT. PRICE
            v*********************                                      +*******                 e*******                       ********                  e****   e**********                        +*******
                                                                     Tree"                                                                                                                                              *
                  If         NOT     stated           "Lead                           or            "LF",                  t1e             products                 listed               may       c>ntain
               lead        and     *CAN               NOT*         be       used           f3r                                                                      water             service.                          *
                                                                                                           potabLe/drinking
             *********************                                      v*******e*******                                        t*******                  e****         e**********                  e*******

 120184     4 PLTD CLEVIS & SHIELD                                                  15ea                              15ea                     5.819ea            Net                    5.819ea                              87.28
               (45 pes sgtk)
 26092      1 1/4       X 1 C X MIPS ADAPTER                                        18ea                              10ea                 76.310ea           *.11                       8.394ea                              83.94
               (22 PCS ONLY)




              1010h03050%5M               MA            t1010541:t




                                         OL




                                                                                                                                                                                Subtotal                            171.22
                                                                                                                                                                                S&H       CHGS                              0.00
                                                                                                     NJ                                         6.625
  Invoice               is     due       by      11/04/20.                                                                                                                    Sales         Tax                         11.34
All claims for shortage or errora must be made at once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable,                                                                                  Amount             Due                     182       . 56
Past due involces     may be subject    to 1.50% Late charge.
                                                                                                                                                                         **    Reprint     **    Rep int     **   Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                   RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                               Invoice

 IDEAL
  SUPP          LY          CP

                                                                                                                                           10/05/20                   S2020850.001
         Communipaw                              Avenue
                                                                                                                                               -
  445                                                                                                                                      aEuIT     To:                           |ggg       giiinsizag
            City  NJ                     07304                                                                                             -            s-
  Jersey                                                                                                                                   *  °°""""     """
  201-333-2600                        Fax        201-333-7376                                                                              JER$2YCITY NJ 01304



               BILL        TO:                                                                                   SHIP TO:
               FAHRENHEIT                        MECHANICAL                                                      FAHRENHEIT    MECHANICAL
               120              BROADWAY             36TH         FLOOR                                          120  BROADWAY    36TH   FLOOR
               NEW              YORK,        NY        10271                                                     NEW        YORK,        NY     10271




            47848                        manhattan                west                                                                                Dan        Marucci



  Shelly                 Thielmann                                WC     WILL      CALG                    NET       30      DAfS                     10/05/20                     10/05/20
 PARTNS.                                OF5CRIPTIO                           WER QW             MP On                 u5T            FORHULA                                        UL     PRICE
               *********************                                     v*******          ********              *******            v****   v**********                    v*******
                                                                         Free"                                                                                                                *
                    If          NOT      stated           "Lead                     or         "LF",       tae       produ:ts              listed          may           c3ntain
                    lead    and       *CAN                NOT*
                                                             be             used         fMr                                               water         servica.                             *
                                                                                                    potabLe/drinking
               *********************t***************t************                                                                              &******************
 59335        TRERICE GAUGE #620B, 0-300PSIf                                        6ea                   6ea        16.764ea            Net                 16.764ea                              100.59
                4-1/2"
                       DIAL, 1/4 LM CONN
                SS CASE
 4890         1/2        X 1/4    STD BRASS HEX BUSH                                8ea                   8ea          3.597ea           Net                   3.597ea                              28.78
 5025         3/4        X 1/4    STD BRASS HEX BUSH                                8ea                   8ea          4.529EA           Net                   4.529EA                              36.23
 36958        3/4X3/4           MPT X MALE HOSE ADAPT                               2ea                   2ea          2.147EA           Net                   2.147EA                               4.29




                1036BIB5           B¾B% MSA                 %%1%¾..




                                                                                                                                                      Subtotal                             169.89
                                                                                                                                                      S&H       CHGS                              0.00
  Invoice                  is      due
                                                                                               NJ                         6. 625
                                            by       11/04/20.                                                                                      Sales         Tax                        11.26
All claims for shortage or errors must be made at once. Returns require written
authorizatioxi and are subject to handling charges.  special orders are non-returnable-                                                        Amount             Due                      181.15
Past due invoices      may be subject    to 1.50% late charge.
                                                                                                                                               **    Reprint     **   Rep'int      **    Reprint     **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                       RECEIVED NYSCEF: 04/08/2022

   DEAL
  S U P P L Y            C9

                                                                                                                                              10/06/20                     S2021030.001
  445    Communipaw                           Avenue                                                                                          RenIT To:                                     me ne.
            City  NJ                  07304
                                                                                                                                             = 1-           ===      a
  Jersey                                                                                                                                     "" °°""'""    """
  201-333-2600                   Fax          201-333-7376                                                                                   JERSEYCITY NJ 07304                                       1



                BILL    TO:                                                                                     SHIP TO:
                FAHRENHEIT            MECHANICAL                                                                FAHRENHEIT                   MECHANICAL
                120          BROADWAY    36TH   FLOOR                                                           120         BROADWAY            36TH   FLOOR
                NEW          YORK,        NY        10271                                                       NEW         YORK,           NY      10271




         47848                        MANHATTAN                WEST                                                                                       Dan        Marucci



  ShelLy               Thielmann                              WC      WILL         CALL                   N3T         30      DATS                        10/06/20                    10/06/20
 PARTNO.                     DESCRIPRON                     ORDER OTY       5HIP OlY          LIST       FORMILA            )ìET                                                       EXT. PRICE
            e * * * * * * * * * * * * * * * * * * * * * e * * * * * * * e * * * * * * * & * * * * * * * & * * * * v * * * * * * ****                                           +*******
            *                                                           Pree"                                                                                                                    *
                  If   NOT      stated                 "Lead                        or       "LF",        t1e         produ3ts                listed               may      cMntain
            *   lead        and     *CAN               NOT*        b3       used         far                                                  water             servic3.                         *
                                                                                                   potabLe/drinking
            t*********************                                      k*******            k*******         k*******               k****         ***********                  ********

 59335      TRERICE GAUGE #620B, 0-300PSI,                                          3ea                  3ea          16.764ea              Net                  16.764ea                              50.29
              4-1/2"
                     DIAL, 1/4 LM CONN
                 SS CASE




                                                                                                                                                          Subtotal                               50.29
                                                                                                                                                          S&H       CHGS                             0.00
                                                                                              NJ                           6.625
  Invoice               is      due      by       11/05/20.                                                                                             Sales         Tax                            3.33
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable.                                                            hount              Due                      53.          62
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                   **    Reprint     **    Rep'int    **   Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                    RECEIVED NYSCEF: 04/08/2022
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 IDEAL
  SUPPLY                  c o
                                                                                                                                                                             M            M||||


                                                                                                                                           10/07/20                     S2021219.001
         Communipaw                              Avenue                                                                                    REH1T TO:
                                                                                                                                                -
  445                                                                                                                                                                                aggggyp
            Cit   NJ                     07304                                                                                             =             s-
  Jersey
  201-333-2                   00     Fax         201-333-7376
                                                                                                                                           =         ==  ^=°"
                                                                                                                                           JERSEYCITY NJ 07304                                       1



              BILL       TO:                                                                                        SHIP TO:
              FAHRENHEIT    MECHANICAL                                                                              FAHRENHEIT    MECHANICAL
              120  BROADWAY    36TH   FLOOR                                                                         120  BROADWAY    36TH   FLOOR
              NEW             YORK,          NY        10271                                                        NEW      YORK,       NY     10271




         47848                           HUDSON           YARD                                                                                         Dan        Marucci



  Shelby               Thielmann                                  WC         ILL      CAL                     NET      30      DAfS                    10/07/20                     10/07/20
 PARTNO.                    DE5CRIPUCN                   CEQER OTY       SHIP OTY          LI5T        FORWLA            NET                                                         EXT. PRICE
            v* * * * * * * * *  * * * * * * W* * * * * * * * * * * * e * * * * * × * e * * * * * * * e * * * * * * * * * * *****e*******

                       NOT                                                  Free"                                      produ2ts                                                                *
                  If            stated                    "Lead                        or       "LF",         t1e                           listed              may       cantain
                lead        and                           NOT*                                                                              water                                              *
                                     *CAN                              b3      used         f3r        potabLe/drinking                                      servic3.
              *********************t*******                                                     v*******         v***********************t*******
 5099       3/4        X 1/2       STD BRASS HEX BUSH                                 16ea                 16ea           4.529ea        Net                    4.529ea                              72.46
 4937       1/2        X 3/8       STD BRASS HEX BUSH                                  4ea                  4ea           3.597ea        Net                    3.597ea                              14.39
 32289      1 1/4        X 1 C X C CPLG WITH STOP W                                   18ea                 18ea        28.450ea         *.15                    4.268ea                              76.82
               01056
 8739       11/4        X 3 STD BRASS NIPPLE                                          18ea                 18ea           8.178EA        Net                    8.178EA                             147.20




              14106%lt't Ot.113ti            Mik            %19E1%.,




                                                                                                                                                       Subtotal                            310.87
                                                                                                                                                       S&H        CHGS                             0.00
                                                                                                 NJ                         6.625
  Invoice                is        due      by       11/06/20.                                                                                       Sales         Tax                       20.60
All claims for abortage or errors must be made at once. Returns require Written
authorization and are subject to handling charges.   Special orders are non-returnable.                                                        Amount              Due                     331.47
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                                               **     Reprint     **    Reprint     **   Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                               RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                                           Invoice

 IDEAL
  SU P P LY               Co

                                                                                                                                                       10/09/20                   S2020542.003
         Communipaw                            Avenue
                                                                                                                                                           -
  445                                                                                                                                              Remy          TO:                            iggggggg
            City  NJ                   07304                                                                                                       =                so-
                                                                                                                                                                    =
  Jersey                                                                                                                                           * ª"""        ^"""
  201-333-2600                        Fax      201-333-7376                                                                                        JERSEYCITY NJ 07304



              BILL       TO:                                                                                             SHIP TO:
              FAHRENHEIT    MECHANICAL                                                                                   FAHRENHEIT            MECHANICAL
              120  BROADWAY    36TH   FLOOR                                                                              120          BROADWAY    36TH  FLOOR
              NEW             YORK,         NY          10271                                                            NEW          YORK,  NY 10271




           47848                       1    MANHATTAN                 WEST                                                                                        Dan       Marucci



  Shelly                Thielmann                                WC    WILL            CAL                        NET          30      DAfS                       10/09/20                     09/30/20
 PARTN0                                DESCRIPT                                ORCER GTV              SHIP 0TY                 LI5T           FORMILA             NET                        MT.?MCE
             +******************                                  *          *******                *******             k*******            k****     V**********                      k* * * * * * *
                                                                           i'ree"                                                                                                                         *
                   If   NOT      stated                  "Lead                           or         "LF",         t1e          produ:ts                listed              may       cMntain
                 lead        and     *CAN                NOT*         be       used           f3r                                                  water        servica.                                  *
                                                                                                         potabLe/drinking
             **********************                                        v***************                            g************                 v******************
 26468       11/4       X 1 X 3/4       C X C X c TEE W                                  6ea                     6ea           90.030ea         *.11                       9.903ea                              59.42
               04075




               %%MMMMf6                     Ma             t161%41: 1




                                       o    u;      t




                                                                                                            Ï                                                    Subtotal                                 59.42
                                                                                                                                                                 S&H CHGS                                     0.00
                                                                                                    NJ                              6.625
  Invoice                is      due        by     11/08/20.                                                                                                    Sales         Tax                             3.94
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable·                                                                   hount               Due                         G.36
Past due 7nvoices     may be subject    to 1.50% late charge.
                                                                                                                                                          **     Reprint     **   Rep int      **   Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                         RECEIVED
                                                                                                                                                               Invoice
                                                                                                                                                                       NYSCEF: 04/08/2022
                                                                                   HEllMIllMilllIIIIIIIMI

 IDEAL
  Su     P P LY          CS

                                                                                                                                                  10/21/20                    S2022684.001
 445       Conununipaw
             City              NJ    07304
                                             Avenue
                                                                                                                                                 =    - -
                                                                                                                                                 REMIT To:
                                                                                                                                                                        =
 Jersey                                                                                                                                          "" ""¹"'      ""
 201-333-2600                       Fax      201-333-7376                                                                                        JERSEYCITY NJ 07304



             BILL        To:                                                                                     SHIP To:
             FAHRENHEIT    MECHANICAL                                                                            FAHRENHEIT    MECHANICAL
             120  BROADWAY    36TH    FLOOR                                                                      120  BROADWAY    36TH   FLOOR
             NEW YORK,   NY     10271                                                                            NEW YORK,   NY   10271




          47848                       HUDSON          YARD                                                                                                   Dan        Marucci



  Shelly               Thielmann                              WC   WILL    CALü                           N3T         30         DAeS                        10/21/20                     10/21/20
 MRT KO.                             DESCRPTM                          ORDEROTY     5MPOW                             WT               FORMA             NET                              EXT. PUCE
              *********************                                k****    k-k* k Ä***-k**                     k*******              k****  k**********                          k-k-k*****
                                                                   free"                                                                                                                             *
                  If       NOT        stated          "Lead                   or        "LF",             tie         produ:ts                    listed             may        cantain
                lead        and      *CAN             NOT*  be     used        far                                                                w-tter           servica.                          *
                                                                                             potable/drinking
            **************************************************************t*******
 51810      1-1/2        X 10'      TYPE K HARD COPPERTUBE                 160ft                   160ft                   5.869FT          Net                       5.869FT                             939.10
 22194      1 1/2        C X C X C TEE W 04084                               8ea                         8ea         108.680ea             *.11                     11.955ea                               95.64
 30426      1 1/2        C X C CPLG WITH STOP W 01063                       14ea                     14ea              29.490ea            *.11                      3.244ea                               45.41
 43859      3/8        PLTD HVY HEX NUTS                                   600ea                   600ea                   0.107ea          Net                      0.107ea                               64.00
 28918      3/8 PLTD ROUNDSTEEL WASHER                                     600ea                   600ea                   0.100ea          Net                      0.100ea                               60.00
 92836      1 X 10' TYPE L HARD COPPERTUBE                                 300ft                   300ft                   2.710ft          Net                      2.710ft                              813.06
 103849     1 X 10'        TYPE K HARD COPPERTUBE                          300ft                   300ft                   3.620FT          Net                      3.620FT                             1086.12
 35335      3/4        APOLLO #70-104-01        BRNZ THRD END               20ea                     20ea             36.850ea             *.56                     20.636ea                              412.72
               BALL
 35387      1 APOLLO #70-105-01                BRNZ THRD END                20ea                     20ea              46.380ea            *.56                     25.973ea                              519.46
              BALL
 27715      11/2        X 11/2      X 1 C X C X C TEE W                      6ea                      6ea              82.520ea            *.11                      9.077ea                               54.46
              04086
 425        1 1/2        C X C 90 ELL W 02085                               12ea                     12ea              53.370ea            *.11                      5.871ea                               70.45
 177751     WOLVERINE SILVALOY 5% BRAZING ROD                               20ea                     20ea              34.118EA             Net                     34.118EA                              682.35
                  .050 X .125 X 28 STICKS PER TUBE
 16629      2 X 12 STD BLK STEEL NIPPLE                                      2ea                      2ea              15.918ea             Net                     15.918ea                               31.84
 5093       2 150# BNI CPLG                                                  6ea                      6ea             38.280ea             *.25                      9.570ea                               57.42
 5128       2 1/2        150# BNI CPLG                                       2ea                      2ea            105.650ea             *.25                     26.413ea                               52.83
 129506     2 X 4 DIELECTRIC NIPPLE TXT                                      6ea                      6ea             16.280ea              Net                     16.280ea                               97.68
               PART# DNTT2040 FLOWTEK
 25023      2 1/2        C X MIPS ADAPTER W 01196                            2ea                      2ea            377.770ea             *.13                     49.110ea                               98.22




                                                                                   **   Reprint     **      Reprint         **   Reprint    **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                               RECEIVED NYSCEF: 04/08/2022
                                                                                                                                           Invoice

 IDEAL
  SU    P P LY         Co

                                                                                                                       10/21/20                   S2022684.001
  445    Communipaw                         Avenue                                                                     Renry 10:                            |ggs            ggg
                                                                                                                       == 1-     soe=        =
            City  NJ                07304
  Jersey                                                                                                               !®""""              ""
  201-333-2600                  Fax         201-333-7376                                                                                                                    2



              BILL    To:                                                                           SHIP TO:
              FAHRENHEIT                    MECHANICAL                                              FAHRENHEIT    MECHANICAL
              120          BROADWAY             36TH        FLOOR                                   120  BROADWAY    36TH   FLOOR
              NEW          YORK,        NY        10271                                             NEW      YORK,    NY   10271




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           47848                    HUDSON           YARD                                                                         Dan        Marucci



  Shelly             Thielmann                              WC      WILL   CAL                NET      30      DAfS               10/21/20                  10/21/20




               2010namossm              na             s1911684..




               LOUEY



                                                                             5 ë¼ã 55          $¼¼555ëege                         subtotal                       5180       . 7 6
                                                                                                                                  S&H        CHGS                        0.00
                                                                                  NJ                        6.625
  Invoice             is      due      by       11/20/20.                                                                       Sales           Tax                343.23
All claims for shortage or errors must be madeat once, Returns require written
authorization and are subject to handling charges.  Special orders are non-returnable.                                     Amount               Due              5523.          99
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                           **    Reprint     **   Reprint   **   Reprint    **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                                         RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                                                     Invoice

 IDEAL
  SU     P P LY             C9

                                                                                                                                                               10/22/20                      S2022974.001
         Communipaw                                Avenue                                                                                                      REnIT To:
                                                                                                                                                                     -
  445                                                                                                                                                                                                            smareggarg
            Cit   NJ                       07304                                                                                                               =              s-
  Jersey                                                                                                                                                        ""°"""     ==
  201-333-2                     00      Fax        201-333-7376                                                                                              JERSEYCITY NJ 07304                                                  1



                 BILL      TO:                                                                                              SHIP To:
                 FAHRENHEIT    MECHANICAL                                                                                   FAHRENHEIT    MECHANICAL
                 120  BROADWAY    36TH   FLOOR                                                                              120  BROADWAY    36TH   FLOOR
                 NEW            YORK,         NY         10271                                                              NEW YORK,   NY   10271



                                                                                                                                                          .......                            .. .............



           47848                           MANHATTAN                WEST                                                                                                    Dan        Marucci
                                                                                      3lWPVIA                                           TERN5                                     SMP DATE                           GRSERDATE


  Shelly                 Thielmann                                  WC     WILL          CALL                         NET        30      DAfS                               10/22/20                            10/22/20
 PARTN0+
     "
                              DE5CRIPTM1                                    ORDER On                      5MP 0W            UST         FORMULA           ET                  EE                                        PREE
             t * * * * * * * * * * & "s * * * * * *'*                * * +* * * * * * *                 * * * * * * * t * * * * * * * t * * * * t * * * * * * * * **v**WW'***
             *                                                                Free"                                                                                                                                        *
                    If          NOT        stated           "Lead                          or           "LF",         tTe        products                    listed                  may        cMntain
             *      lead             and       *CAN         NOT*         be       used          far                                                          water                service.                                 *
                                                                                                              potabie/drinking
             k*********************                                           k*******                k*******            #*******              k****               4**********                      k*******

 35281        1/2        APOLLO #70-103-01            BRNZ THRD END                       24ea                     24ea          22.340EA               *.55                         12.287EA                                    294.89
                  BALL
 27095        3/4        FTG X MIPS ADAPTER W 01446                                       30ea                     30ea          49.730ea               *.11                          5.470ea                                    164.11
 27048        1/2        FTG X MIPS ADAPTER W 01431                                       24ea                     24ea          38.630ea               *.11                          4.249ea                                    101.98
 22057       3/4         C X C X C TEE WBO4031                                            36ea                     36ea          17.400ea               *.11                          1.914ea                                     68.90
 13649       3/4         STD BRASS 90 ELL                                                 12ea                     12ea              6.526EA             Net                          6.526EA                                     78.31
 12204       3/4         X 5 STD BLK STEEL NIPPLE                                          8ea                      8ea              2.291ea             Net                          2.291ea                                     18.33
 35335       3/4         APOLLO #70-104-01            BRNZ THRD END                       24ea                     24ea          36.850ea               *.55                         20.268ea                                    486.42
                  BALL




                 101tf½rn.BBA42%               t-ba           310110%




                                                                                                                                                                            Subtotal                                  1212.94
                                                                                                                                                                            S&H        CHGS                                     0.00
                                                                                                         NJ                           6.625
  Invoice                  is        due      by.      11/21/20.                                                                                                          Sales          Tax                              80.36
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   Special ordere are non-returnable.                                                                              AMOunt              Due                          1293.30
Past due invoices     may be subject    to 1.50% L.ate charge,
                                                                                                                                                                     **    Reprint      **    Reprint           **    Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
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NYSCEF DOC. NO. 20                                                                                                                                                   RECEIVED
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                                                                                                                                                          10/26/20                     S2023257.001
         Communipaw                         Avenue                                                                                                        REN1T TO:
                                                                                                                                                                = s-
   445                                                                                                                                                                                                m:::sessis:
            Cit   NJ                07304                                                                                                                 =
  Jersey                                                                                                                                                  "" °°""""     ^""
   201-333-2               00     Fax       201-333-7376                                                                                                  JERSEYCITY NJ 07304



                BILL     TO:                                                                                            SHIP TO:
                FAHRENHEIT    MECHANICAL                                                                                FAHRENHEIT                        MECHANICAL
                120  BROADWAY    36TH    FLOOR                                                                          120          BROADWAY                36TH   FLOOR
                NEW YORK,   NY     10271                                                                                NEW          YORK,           NY         10271




 Ei!ii             NEEEEEMiM|EEE,                  1iMElMENai!!e1sMEM#i55ee9595                                                    BM!5EEiliseBieiÈiMEilil ilBlMEMMai                                         Alitillisits


          47848                     1    MANHATTAN                WEST                                                                                               Dan        Marucci



  Shelly               Thielmann                             WC     WILL         CALL                             NCT         30      DAfS                           10/26/20                      10/26   / 2 0
 PARTND.                     DESCRIPTIC?t                   DRDER OW                             SUP GTY                      LIST          f0RMULA            NET                                 EXL PRICE
            * * * * * * * * * * * * * * * * * * * * * * * * * * * * *i                       e'* * * * * * * e*          H*          * * * * * * * * * * * * * * * ****                    v*******
            *                                                           ree"                                                                                                                                  *
                  If       NOT      stated           "Lead                         or         "LF",               t1e         produ:ts                    listed             may         cantain
            *   lead        and          *CAN        NOT*         be       used       fMr                                                                 water             servica.                          *
                                                                                                potable/drinking
            **********************                                     v***********************                                              +****            ***********                  v*******

 16629      2 X 12 STD BLK STEEL NIPPLE                                            2ea                          2ea           16.854ea               Net                     16.854ea                                33.71
 5093       2 150# BMI CPLG                                                        6ea                          6ea           38.280ea           *.24                          9.187ea                               55.12
 32978      2 TXT DIELECTRIC CLEARFLOWNIPPLE                                       6ea                          6ea           34.615ea               Net                     34.615ea                               207.69
                  (#19175P)
 42051      2 1/2        DIELECTRIC TXT CLEARFLOW                                  2ea                          2ea         129.000es         *.3852                         49.691ea                                99.38
                 NIPPLE (#19180P)
 25023      2 1/2        C X MIPS ADAPTER W 01196                                  2ea                          2ea       377.770ea              *.15                        56.666ea                               113.33
 10717      3 300# F/S RF W/N FLG                                                 10ea                      10ea              27.961ea               Net                     27.961ea                               279.61
 18030      3 STD C.S.           WELD L/R 45 ELL                                   3ea                          3ea           14.415ea               Net                     14.415ea                                43.25
 38443      3 X 2 STD C. S. WELD CONC                                              4ea                          4ea           20.273ea               Net                     20.273ea                                81.09
 98028      5-3        X 1-1/2   3000#   C/S THREADOLET                            2ea                          2ea           25.750ea           *.35                         9.013ea                                18.03
 97666      36-3        X 1 3000# C/S THREADOLET                                   Bea                        8ea             16.240ea           *.35                         5.684ea                                45.47
 12056      6-5        X 3 3000# C/S THREDOLET                                     3ea                        3ea         119.240ea              *.35                        41.734ea                               125.20
 15444      1 1/2        X 6 STD BLK STEEL NIPPLE                                  2ea                        2ea              6.252ea               Net                      6.252ea                                12.50
 49580      1 SETS STD BLK NIPPS CL/6                (BOXED)                       lea                          1ea           44.053ea               Net                     44.053ea                                44.05
 49578      3/4        SETS STD BLK NIPPS CL/6                                     1ea                          lea           32.749ea               Net                     32.749ea                                32.75
                  (BOXED)
 16542      1 1/4        STD BRASS STR 90 ELL                                      lea                          lea           26.941ea               Net                     26.941ea                                26.94
 123596     3 BRAY S43/466          43-0300-466/GHW          300#                  2ea                        2ea         431.250ea                  Net                    431.250ea                               862.50
                 CS LUG B/F VALVE SS TRIM W/GEAR
                 8"HANDWHEEL
 71850      3/4        X 2 STD PLTD HEX HD CAP SCREWS                            16ea                       16ea               1.060ea               Net                      1.060ea                                16.96
 35432      1 1/4        APOLLO #70-106-01       BRNZ THRD                       20ea                       20ea              77.830ea           *.56                        43.585ea                               871.70
                 END BALL
 8676       11/4        X 2 STD BRASS NIPPLE                                     20ea                       20ea               5.730ea               Net                      5.730ea                               114.60
 120184     4 PLTD CLEVIS & SHIELD                                               40ea                       40ea               8.147ea               Net                      8.147ea                               325.87


                                                                                    È5) burisdict½n                     Tax Rate




                                                                                        **   Reprint       **     Reprint       **    Reprint        **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
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          ' NO. 20                                                                                                                             RECEIVED NYSCEF: 04/08/2022
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                                                                                                                                      10/26/20                    S2023257.001
         Communipaw                         Avenue
  445
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                                                                                                                                  REniT 10:                                     ggggting       gig
            City  NJ                07304                                                                                         =
  Jersey                                                                                                                          "5      """""
  201-333-2600                 Fax          201-333-7376                                                                          JERSEYCITY NJ 07304                                           2



              BILL    To:                                                                                  SHIP TO:
              FAHRENHEIT    MECHANICAL                                                                     FAHRENHEIT    MECHANICAL
              120  BROADWAY    36TH   FLOOR                                                                120  BROADWAY    36TH   FLOOR
              NEW          YORK,        NY        10271                                                    NEW YORK,   NY 10271




           47848                    1   MANHATTAN                WEST                                                                            Dan        Marucci



  Shelly             Thielmann                              WC       WILL   CAL.,                    NCT      30      DATS                       10/26/20                       10/26/20
 PARTNO.                         DE5CPJPTION                           0RDEROTY        5HIP 0 Y               LI5T           FORMULA                  ET                         EXT. PRICE
                                 .   ,,    ,,      ..            .     n..   . ,         ....       ....                   ....    .. .                        . ...    .....                    ... ..
 92836       1 X 10'       TYPE L  HARD COPPERTUBE                          1801t             180ft            3.1111t          Net                        3.1111t                             560.05
 30338       1 C X C CPLG WITH STOP W 01047                                  20ea                20ea         12.740ea         *.15                        1.911ea                              38.22
 22103       1 C X C X C TEE WB04048                                         20ea                20ea         52.160ea         *.15                        7.824ea                             156.48




               1010n011%BAA&.uM                        3161%16'T..




                                                                                                                                                 Subtotal                            4164.50
                                                                                                                                                 S&H    CHGS                                 0.00
                                                                                      NJ                           6.625
  Invoice             is      due       by      11/25/20.                                                                                     Sales            Tax                     275.90
All claims for shortage or errors must be madeat once. Returns require written
authorization and are subject to handling charges.  Special orders are non-returnable.                                                   Amount                Due                   4440.           40
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                                         **    Reprint       **   Rep"int       **   Reprint        **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                             RECEIVED NYSCEF: 04/08/2022
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                                                                                                                                     10/26/20                    S2023437.001
  445    Communipaw                          Avenue                                                                                  REH1T TO:                                 ggagggggg
                                                                                                                                     == ro====
                  NJ                 07304
  Jersey    City
                                                                                                                                     " °°"""==
  201-333-2600                     Fax       201-333-7376                                                                            JERSEYCITY NJ 07304                                        1



                BILL    TO:                                                                                 SHIP TO:
                FAHRENHEIT    MECHANICAL                                                                    FAHRENHEIT    MECHANICAL
                120  BROADWAY    36TH   FLOOR                                                               120  BROADWAY    36TH   FLOOR
                NEW          YORK,       NY        10271                                                    NEW YORK,   NY   10271




          47848                      MANHATTAN                WEST                                                                              Dan        Marucci
                       +,WRITER                                              atIPVIA                                    TERN5                         SHIPMTE                      ORDER
                                                                                                                                                                                       1BTE


  Shelty               Thielmann                              WC     WILL        CALG                 NET        30      DAfS                   10/26/20                      10/26/20
 PART60.                    CESCRIPUCN                    ORDER OTY      5HIP OTY         LIST                                  FORMULA         NET                £XT+,PREE
            e* * * * * * * * * * * * * * * * * * * * * e* * * * * * * e* * * * * * * +* * * * * * *                             * * * * * * * * * * * * * * * * * * * * *
            +                                                        free"                                                                                                               *
                  If         NOT     stated           "Lead                        or    "LF",        tTe        produ:ts            listed              may        cantain
                  lead        and        *CAN         NOT*    bM     used        fMr                                                 water            servica.                           *
                                                                                              potabie/drinking
                *************************************t*******************************
 51811      2 X 10'       TYPE K HARD COPPERTUBE                                 100ft            100ft          10.099FT          Net                   10.099FT                             1009.89
 51810      1-1/2       X 10' TYPE K HARD COPPERTUBE                             100ft            100ft           6.658FT          Net                    6.658FT                              665.72
 103832     1-1/4       X 10' TYPE K HARD COPPERTUBE                              30ft             30ft           5.129FT          Net                    5.129FT                              153.87
 103849     1 X 10' TYPE K HARD COPPERTUBE                                        40ft             40ft           4.106FT          Net                    4.106FT                              164.22
 103848     3/4 X 10' TYPE K HARD COPPERTUBE                                      50ft             50ft           3.094ft          Net                    3.094ft                              154.72
 42517      1-5/8 X 1-5/8 X 10' SLOTTED GALV                                      90ft             90ft           2.860ft          Net                    2.860ft                              257.40
                 CHANNEL STRUT 12G




                 1910hall% B%dtV3 MA                    %101%37..




                                                                                                                                                Subtotal                            2405.88
                                                                                                                                                S&H        CHGS                              0.00
                                                                                         NJ                           6.625
  Invoice               is     due       by      11/25/20.                                                                                    Sales          Tax                      159.39
All claims for shortage or errors must be made at once, Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable'                                                  Amount                                     2565.27
                                                                                                                                                             Due
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                                         **    Reprint      **   Rep 'int     **    Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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  445      Communipaw                            Avenue                                                                                                    REN1T TO:                                an             assis
 Jerse        Cit   NJ                07304                                                                                                                = == so-a =
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 201-3         3-2          00       Fax   201-333-7376                                                                                                    JE,RSKYCITY NJ 07304                                      1



              BILL        TO:                                                                                              SHIP TO:
              FAHRENHEIT    MECHANICAL                                                                                     FAHRENHEIT             MECHANICAL
              120  BROADWAY    36TH   FLOOR                                                                                120           BROADWAY    36TH   FLOOR
              NEW           YORK,           NY         10271                                                               NEW           YORK,  NY 10271




           47848                       1    MANHATTAN                  WEST                           14th          fl         cooling                                 Dan        Marucci



  Shelly                Thielmann                                 WC    WILL         CAL                            N      T      30      DAfS                         10/28/20                     10/28/20
 PARTNO.                             DE5CRFIR                               0RDEROTY                   SH P GTY                  LIST             FCPjWLA             NET                           FE   PR CE
             k*********************                                     k*******                   k*******               k*******               k****    k**********                       k*******
                                                                        ?ree"                                                                                                                                  *
                   If       NOT        stated             "Lead                          or         "LF",           t      e      products                 listed              may        c3ntain
                 lead        and      *CAN                NOT*
                                                             be     used        f3r                                                                        water             servica.                          *
                                                                                                        potabLe/drinking
             ******************************t***************t***********************
 35335       3/4        APOLLo #70-104-01           BRNZ THRD END                        3ea                   3ee                36.850ea           *.56                     20.636ea                               61.91
               BALL
 5099        3/4        X 1/2    STD BRASS HEX BUSH                                      1ea                       1es             4.529ea            Net                       4.529ea                                  4.53
 24841       3/4        C X NIPS ADAPTER WBO1146                                         4ea                       4ea            14.830ea           *.15                       2.225ea                                  8.90
 19615       3/4        STD BRASS TEE                                                    4ea                   4ea                 8.145ea            Net                       8.145ea                              32.58
 5099        3/4        X 1/2    STD BRASS HEX BUSH                                      6ea                       6ea             4.529ea            Net                       4.529ea                              27.17
 5025        3/4        X 1/4    STD BRASS HEX BUSH                                      2ea                   2ea                 4.529EA            Net                       4.529EA                                  9.06
 45162       1/2        TEST PLUG #N-78-02-1/2                                           2ea                   2ea                 3.876ea            Net                      3.876ea                                   7.75
 20588       3/4        #59-004-02     CONBRACOBRZ SCRD                                  1ea                       1ea            25.840EA            Net                     25.840EA                               25.84
               Y STRAINER W/1/2BD
 35281       1/2        APDLLO #70-103-01           BRNZ THRD END                        lea                       lea            22.340EA           *.56                     12.510EA                               12.51
               BALL
 13313       1/2        STD BRASS SQ HEAD PLUG COR                                       1ea                       1es             3.246ea            Net                      3.246ea                                   3.25
 1842        3/4        3000#    F/S SCRD TEE                                            4ea                   4ea                46.070ea          *.20                       9.214ea                               36.86
 31764       3/4        X 1/2    c X C CPLG WITH STOP                                    2ea                   2ea                11.300ea          *.15                        1.695ea                                  3.39
               WB01036
 5971        1/2        X 4 STD BRASS NIPPLE                                         50ea                     50ea                 3.657EA            Net                      3.657EA                              182.82
 41550       SETS 3/4           STD BRASS NIPPLES CL/6                                   4ea                   4ea                46.012ea            Net                     46.012ea                              184.05
               **************              Kit     Components ****      :*********
               * 1 - 3/4          X CL STD BRASS NIPPLE                              *
               * 1 - 3/4          X 11/2         STD BRASS NIPPLE                    *
               * 1 - 3/4          X 2 STD BRASS NIPPLE                               *
               * 1 - 3/4          X 21/2         STD BRASS NIPPLE                    *
               * 1 - 3/4          X 3 STD BRASS NIPPLE                               *
               * 1 - 3/4          X 31/2         STD BRASS NIPPLE                    *
               * 1 - 3/4          X 4 STD BRASS NIPPLE                               *


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                                                                                              **    Reprint   **        Reprint     **    Reprint     **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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  445

  Jersey
           Conununipaw
              City         NJ     07304
                                       Avenue                                                                                   REMIT TO:
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  201-333-2600                  Fax       201-333-7376                                                                           JERSEYCITY NJ 07304                                   2



             BILL    TO:                                                                                   SHIP TO:
             FAHRENHEIT    MECHANICAL                                                                      FAHRENHEIT    MECHANICAL
             120  BROADWAY    36TH    FLOOR                                                                120  BROADWAY    36TH   FLOOR
             NEW YORK,   NY     10271                                                                      NEW YORK,   NY   10271




          47848                    1     MANHATTAN                 WEST                14th          fl     cooling                           Dan        Marucci



  ShelLy            Thielmann                                 WC    TILL     CAL                     NCT      30      DAfS                    10/28/20                  10/28/20
 PARTNO.                         DESCMPTION                             ORER 01Y       S      GiY             u$T            FORMMA               NET                    EXT+PRICE 't
              * 1 - 3/4         X 41/2    STD BRASS NIPPLE                   *
              * 1 - 3/4         X 5 STD BRASS NIPPLE                         *
              * 1 - 3/4         X 51/2    STD BRASS NIPPLE                   *
              * 1 - 3/4         X 6 STD BRASS NIPPLE                         *
              **********************************-:*********
 84256      1-5/8    OD CT CUSH1ONSTRUT CLAMP                               100ea              10Dea           3.077ea         Net                     3.077ea                         307.69
 94485      2-1/8    OD CT CUSHION STRUT CLAMP                              100ea              100ea           4.615ea         Net                     4.615ea                         461.54
 119202     3/4     X 1429 PURPLE-BLUE MONSTER                               12ea               12ea           4.752ea         Net                     4.752ea                          57.03
              TEFLON TAPE EQUAL (27/BOX)
 64805      1 PT PRO-DOPE PIPE JOINT COMPOUND                                    1ea                1es       11.000ea         Net                    11.000ea                          11.00
              15-427




                                                                                                                                              Subtotal                       1437.88
                                                                                                                                              S&H       CHGS                        0.00
                                                                                       NJ                          6.625
  Invoice            is     due          by    11/27/20             .                                                                      Sales         Tax                       95.26
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   special orders are non-returnable
                                                                                                                                      Amount              Due                1533.14
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                                      **    Reprint      **   Rep*int   **   Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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         Commum'paw                         Avenue
                                                                                                                                                                - -
  445                                                                                                                                                      REMIT TO:                                aggge         gre
            City NJ               07304                                                                                                                    -
  Jersey                                                                                                                                                   "5 c°="
 201-333-2600                    Fax        201-333-7376                                                                                                   JERSEYCITY NJ 07304                                    1



               BILL TO:                                                                                                 SHIP TO:
               FAHRENHEIT    MECHANICAL                                                                                 FAHRENHEIT                         MECHANICAL
               120  BROADWAY    36TH    FLOOR                                                                           120             BROADWAY              36TH   FLOOR
               NEW YORK,   NY     10271                                                                                 NEW             YORK,         NY        10271




         47848                        1    manhattan              west                                                                                                 Dan       Marucci



  Shelly              Thielmann                              WC    WILL       CAL                N T     30    DAfS                10/29/20                 10/29/20
 PARTK0.                    DESCRPTION                                  0RDEROTY        SMF QTY          UST         FORMULA           ET                    EXT.PRICE
                                                                                                                 *"                         *'                                                                        "'"
           e * * * * * 1"e * * * * * * * * * * *                  * v * * * * * * W e * #W * * * * v * * * *"* *    "* * * * v * * * *"* *     w X * e******"*
           *                                                             ree"                                                                                                                               *
                 If       NOT         stated         "Lead                         or           "LF",             t1e         produ:ts                      listed             may        cantain
           +     lead     and       *CAN             NOT*         be       used         f>r                                                                 water            service.                       *
                                                                                                     potable/drinking
           e*****************************                                                     e*******               e*******                   ****************                            e*******

 24841     3/4        C X MIPS ADAPTER WB01146                                    40ea                     40ea                14.830ea              *.12                       1.780ea                           71.18
 27095     3/4        FTG X MIPS ADAPTER W 01446                                  60ea                     60ea                49.730ea              *.12                       5.%8ea                           358.06
 35335     3/4        APOLLO #70-104-01         BRNZ THRD END                     60ea                     60ea                36. 850ea             *.55                     20.268ea                          1216.05
                BALL
 13355     3/4        STD BRASS SQ HEAD PLUG COR                                  60ea                     60ea                  4.085ea              Net                       4.085ea                          245.08
 27048     1/2        FTG X MIPS ADAPTER W 01431                                  60ea                     60ea               38.630ea               *.12                       4.636ea                          278.14
 35281     1/2        APOLLO #70-103-01         BRNZ THRD END                     60ea                     60ea               22.340EA               *.55                     12.287EA                           737.22
                BALL
 25371     3/4        X 3/4   X 1/2       C X C X C TEE                           48ea                     48ea                16.570aa              *.12                       1.988ea                           95.44
               WBO4033
 22057     3/4        C X C X C TEE WBO4031                                       48ea                     48ea                17.400ea              *,12                       2.088ea                          100.22
 13313     1/2        STD BRASS SQ HEAD PLUG COR                                  60ea                     60ee                  3.247ea              Net                      3 .247ea                          194. 82
 25975     1 X 1 X 3/4          C X C X C TEE WB04049                             48ea                     48ea               53.360ea               *.12                      6.403ea                           307.35
 25900     1 X 1 X 1/2          C X C X C TEE WB04051                             48ea                     48ea                53.360ea              *.12                      6.403ea                           307.35
 25371     3/4        X 3/4   X 1/2       C X C X C TEE                           48ea                     48ea               16.570ea               *.12                       1.988ea                           95.44
                WBO4033
 31764     3/4        X 1/2   C X C CPLG WITH STOP                                48ea                     48ea               11.300ea               *.12                       1.356ea                           65.09
               WB01036
 24875     1 C X MIPS ADAPTER WB01163                                             18ea                     18ea               37.910ea               *.12                      4.549ea                            81.89
 5265      1 X 3/4        STD BRASS HEX BUSH                                      16ea                     16ea                  5.733ea              Net                      5.733ea                            91.73
 27095     3/4        FTG X MIPS ADAPTER W 01446                                  18ea                     18ea               49.730ea              *.12                       5.968ea                           107.42
 97665     36-1-1/2X3/4          3000#       C/S THREADOLET                        8ea                         Bea               4.882ea              Net                      4.882ea                            39.05
 13156     1 X 5 STD BLK STEEL NIPPLE                                              6ea                       6es                 3.563ea              Net                      3.563ea                            21.38




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                                                                                        **     Reprint    **       Reprint         **    Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                            RECEIVED
                                                                                                                                  Invoice NYSCEF: 04/08/2022

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                                                                                                                   10/29/20                      S2023840.001
  445

  Jersey
         Communipaw
            City  NJ                 07304
                                             Avenue                                                                reuir To:
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                                                                                                                                 -                               ence no,


  201-333-2600                  Fax          201-333-7376                                                          JERSEYCITY NJ 07304                                    2



                 BILL    To:                                                                   SHIP TO:
                 FAHRENHEIT    MECHANICAL                                                      FAHRENHEIT    MECHANICAL
                 120  BROADWAY    36TH    FLOOR                                                120  BROADWAY    36TH   FLOOR
                 NEW YORK,   NY     10271                                                      NEW YORK,   NY   10271




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         47848                       1   manhattan               west                                                          Dan      Marucci



  Shel      ly          Thielmann                           WC          ILL   CALa          NET   30      DAeS                 10 /2      9/20             10 / 29 / 2 0




                  191nnera     nnu%M                   %161MAB..




                                                                                                                               Subtotal                         4 412     . 91
                                                                                                                               S&H      CHGS                            0.00
                                                                                     NJ                6.625
  Invoice                is    due       by      11/28/20          .                                                         Sales         Tax                    292     . 36
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable.                                 Amount             Due                  4 705     . 2 7
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                        **    Reprint     **     Rep'int   **   Reprint     **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                                          RECEIVED NYSCEF: 04/08/2022
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                                                                                                                                                                   10/29/20                    S2023956.001
         Communipaw                          Avenue
                                                                                                                                                                       - -
  445                                                                                                                                                             REu1T TO:                               gg   ggggggg
                  NJ                 07304                                                                                                                        =                      =
  Jersey    City                                                                                                                                                  %°°""-               ""
  201-333-2600                      Fax      201-333-7376                                                                                                                                                                 1



                 BILL TO:                                                                                                 SHIP To:
                 FAHRENHEIT          MECHANICAL                                                                           FAHRENHEIT    MECHANICAL
                 120        BROADWAY    36TH  FLOOR                                                                       120  BROADWAY    36TH  FLOOR
                 NEW        YORK,         NY       10271                                                                  NEW             YORK,              NY         10271




           47848                      1   MANHATTAN                WEST                                                                                                       Dan        Marucci



  Shelty                Thielmann                             WC    WILL           CAL                              NET           30        DAfS                              10/29/20                    10/29/20
 P/aTN0.                             DE5tRIPUCN                            CRDER OTY               5HIPOR                       tf57                     FORTJtA            NET                            EXT. PMCE
             a********W***                     *******                  +**W****               *******                     *******                      e k * * * r * * * * * * ***W               e*******
             +              NOT                                         Tree"                                                                                                                                        *
                   If                 stated          "Lead                         or           "LF",              t1e          produ2ts                         listed             may        cantain
                 lead        and          *CAN        NOT*         b3       used         far                                                                      water             servic3.                         *
                                                                                                     potabLe/drinking
             **********************                                     v*******               k*******                  ********                   v****             e**********                  e*******

 26667       11/4X        11/4    x 3/4   C X C X C TEE W                          28ea                       28ea                77.710ea                  *.12                      9.325ea                            261.11
                 04070
 20148       3/4        C X FIPS ADAPTER WB01246                                   28ea                       28ea                19.260ea                  *.13                      2.504ea                             70.11
 26667       11/4X        11/4    X 3/4   C X C X C TEE W                           8ea                         8ea               77.710aa                  *.13                     10.102ea                             80.82
                 04070
 14122       3/4        X 1/2    FTG X C BUSHING WBO1326                            8ea                         8ea               11.120ea                  *.13                      1.446ea                             11.56
 24799       1/2        C X HIPS ADAPTER WB01131                                    8ea                            Bea              8.870aa                 *.12                      1.064ea                                 8.52
 24908       1 1/4        C X MIPS ADAPTER W 01171                                 20ea                       20ea                54.470ea                  *.12                      6.536ea                            130.73
 5236        1 X 1/2        STD BRASS HEX BUSH                                     12ea                       12ea                  5.735ea                  Net                      5.735ea                             68.82
 32138       11/4x1/2           C X C CPLG WITH STOP W                             12ea                       12ea                30.170ea                  *.12                      3.620ea                             43.44
                 01060
 35432       1 1/4        APOLLO #70-106-01        BRNZ THRD                        4ea                         4ea               43.585ea                   Net                     43.585ea                            174.34
                  END BALL
 28874       2 X 2 X 11/4           C X C X C TEE W 40104                           6ea                         6ea             149.430ea                  *.12                      17.932ea                            107.59
 35534       2 APOLLO #70-108-01               BRNZ THRD END                        2ea                         2sa               69.737ea                   Net                     69.737ea                            139.47
                 BALL
 31405       1/2        X 1/4    C X C CPLG WITH STOP W                             4ea                         4ea                 7.880ea                 *.12                      0.946ea                                 3.78
                 01025
 31661       3/4        X 1/4    C X C CPLG WITH STOP W                             4ea                         4ea               13.740ea                 *.12                       1.649ea                                 6.60
                 01038
 15580       1/2        150# BRASS UNION                                            4ea                         4es               13.898ea                   Net                     13.898ea                             55.59
 15619       3/4        150# BRASS UNION                                            4ea                         4ea               19.104ea                   Net                     19.104ea                             76.41
 32505       11/2X11/4           c X C CPLG WITH STOP W                             4ea                         4ea              47.140ea                  *.12                       5.657ea                             22.63
                 01064
 31869       1 X 3/8        C X C CPLG WITH STOP W                                 12ea                       12ea               25.020ea                  *.12                       3.002ea                             36.03
                 01052

                                                                                     ................................. ..............................




                                                                                         **     Reprint       **    Reprint          **     Reprint          **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                   RECEIVED NYSCEF: 04/08/2022
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         Communipaw                                                                                                                                              mgmpa
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  Jersey    City NJ            07304
                                    Avenue
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                                                                                                                        REN1T To:
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  201-333-2600                Fax   201-333-7376                                                                        JERSEYCITY NJ 07304                                      2



             BILL    To:                                                                         SHI P TO:
             FAHRENHEIT    MECHANICAL                                                            FAHRENHEIT    MECHANICAL
             120  BROADWAY    36TH    FLOOR                                                      120  BROADWAY    36TH   FLOOR
             NEW YORK,   NY     10271                                                            NEW       YORK,      NY        10271




         47848                     1   MANHATTAN             WEST                                                                      Dan        Marucci



  Shel
            by
                    Thielmann                           WC    WILL    CALL                 NET       30      DA(S                      10/29/20                 10/29/20
 PARTNon                        DE5CfdPT10N                      GDER OTf     SHIP tlTY             UST             FORMA                   NET                  EXL PRICE
 390        1 1/4    C X C 90 ELL W 02084                             80ea            80ea           34.460ea        *.12                     4.135ea                           330.82
 20674      1 1/4    #59-006-02        CONBRACOBRZ                      2ea               2ea        56.560EA         Net                    56.560EA                           113.12
                 SCRD Y STRAINER W/3/4BD
 78365      3/4    X 3-1/4    PLTD HEX HD CAP SCREW                   64ea            64ea             1.354ea        Net                     1.354ea                            86.65
 41974      3/4    PLTD HVY HEX NUTS                                  64ea            64ea             0. 692ea       Net                     0. 692ea                           44.31
 14584      4 300# F/S RF S/O FLG                                       Sea               8ea        36.939ea         Net                    36.939ea                           295.51
               (only have 4 pes stk)
 21961      3/4 X 1/2 125# BCI HEX BUSH                               60ea            60ea             2.470ea        Net                     2.470ea                           148.18
 11968      3/4    X 2 STD BLK STEEL NIPPLE                           60ea            60ea             1.548ea        Net                     1.548ea                            92.88




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                                                                                                                                     Subtotal                        2409.02
                                                                                                                                     S&H     CHGS                              0.00
                                                                              NJ                          6.625
  Invoice            is      due       by   11/28/20.                                                                               Sales          Tax                 159.60
All claims for shortage or errors must be madeat once. Returns require written
authorization and are subject to handling charges,  Special orders are non-returnable.                                         Amount              Due               2568        . 62
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                               **    Repri nt **      Rep'int   **   Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                                  RECEIVED
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                                                                                                                                                           10/30/20                  S2024051.001
 445       Communipaw                            Avenue                                                                                                    ReN11 ro

 Jersey      City   NJ                   07304
 201-333-2600                          Fax       201-333-7376                                                                                              JERSEYCITY NJ 07304                                     1



             BILL            TO:                                                                                        SHIP TO:
             FAHRENHEIT                          MECHANICAL                                                             FAHRENHEIT                        MECHANICAL
             120                 BROADWAY            36TH         FLOOR                                                 120             BROADWAY             36TH   FLOOR
             NEW                 YORK,        NY        10271                                                           NEW             YORK,         NY       10271




          47848                           1   MANHATTAN                CAC                           CAC                                                              Dan        Marucci



  Shelly                Thielmann                                 WC        SILL       CAL                       N3T          30         DAfS                         10/30/20                    10/30/20
 PARTB.                  .               DE500PT10N                             ORDEROTY              SW OTS                 UST                  FORMULA           NET                               EXT. PREE
             **ë******************                                          v*******              e**    ****          v******                  *****     **********                       ********
                                                                            free"                                                                                                                            *
                   If            NOT      stated          "Lead                         or         "LF",         tie          produMts                     listed             may       cMntain
               lead        and     *CAN                   NOT*         be       used         fMr       potabLe/drink                                      w ater            servic         e.                *
                                                                                                                                                ing
            &*********************                                          k*******            v*******         &*******                       v****t**********                           v*******

 29827      21/2         X 21/2        X 2 C X C X C TEE W                              2ea                  2ea           371.000ea               *,105                     38.955ea                              77,91
              40124
 24986      2 C X MIPS ADAPTER W 01187                                                  8ea                     8ea        108.010ea               *.105                     11.341ea                              90.73
 35534      2 APOLLO #70-108-01                    BRNZ THRD END                        4ea                     4ea           69.737ea                Net                    69.737ea                             278.95
              BALL
 10798      2 X 6 STD BRASS NIPPLE                                                      4ea                  4ea              22.505ea                Net                    22.505ea                              90.02
 5809       2 X 1 1/2              STD BRASS HEX BUSH                                   4ea                     4ea           17.148ea                Net                    17.148ea                              68.59
 10798      2 X 6 STD BRASS NIPPLE                                                      6ea                  6ea              22.505ea                Net                    22.505ea                             135.03
 10665      2 X 4 STD BRASS NIPPLE                                                      2ea                  2ea              15.244ea                Net                    15.244ea                              30.49
 121655     2 X 3/4              STD BRASS TEE - LEAD FREE                              2ea                  2ea           107.887ea                  Net                   107.887ea                             215.77
              ****            LEAD FREE ****
 20762      2 #59-008-02                 CONBRACOBRZ SCRD Y                             2ea                     2ea        117.320EA                  Net                   117.320EA                             234.64
                  STRAINER W/1-1/4BD
 32642      2 X 1 C X C CPLG WITH STOP W 01075                                          2ea                  2ea              78.370ea             *.105                      8.229ea                              16.46
 9728       11/2         X 4 STD BRASS NIPPLE                                           2ea                  2ea              11.848ea                Net                    11.848ea                              23.70
 15655      1 150# BRASS UNION                                                          4ea                  4ea              28.800ea                Net                    28.800ea                             115.20
 121651     1-1/2         X 3/4        STD BRASS TEE -      LEAD                        4ea                  4ea              66.308ea                Net                    66.308ea                             265.23
                  FREE ****            LEAD FREE ****
 24948      1 1/2            C X MIPS ADAPTER W 01179                                  14ea                 14ea              63.840ea             *.105                      6.703ea                              93.84
 32450      1 1/2         X 1 C X C CPLG WITH STOP W                                    4ea                  4ea              48.020ea             *.105                      5.042ea                              20.17
              01065
 19615      3/4         STD BRASS TEE                                                  80ea                 58ea               8.148ea                Net                     8.148ea                             472.60
 20588      3/4         #59-004-02        CONBRACOBRZ SCRD                             80ea                 80ea              25.827EA                Net                    25.827EA                            2066.13
              Y STRAINER W/1/2BD
 7029       3/4         X 41/2      STD BRASS NIPPLE                                   31ea                 31ea               5.073ea                Net                     5.073ea                             157.26
 5099       3/4         X 1/2      STD BRASS HEX BUSH                                  60ea                 60ea               4.279ea                Net                     4.279ea                             256.73




                                                                                             **   Reprint   **    Reprint          **    Reprint     **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                              RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                          Invoice

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                                                                                                                                       10/30/20                   S2024051.001
         Communipaw                          Avenue                                                                                REMIT TO:
                                                                                                                                           =
  445
            City NJ                  07304                                                                                         =         sueen =
  Jersey                                                                                                                           " °"""""^"""
  201-333-2600                   Fax         201-333-7376                                                                          JERSEYCITY NJ 07304                                       2



              BILL     To:                                                                             SHIP TO:
              FAHRENHEIT    MECHANICAL                                                                 FAHRENHEIT                  MECHANICAL
              120  BROADWAY    36TH  FLOOR                                                             120          BROADWAY          36TH   FLOOR
              NEW          YORK,         NY        10271                                               NEW          YORK,        NY        10271




           47848                     1   MANHATTAN                CAC                CAC                                                          Dan       Marucci



  Shelly             Thielmann                               WC    WILL   CAL                     NET         30        DAYS                      10/30/20                  10/30/20


 6831        3/4     X 2 STD BRASS NIPPLE                                 60ea                  60ea           2.673ea           Net                       2.673ea                          160.38
 15692       1 1/4     150# BRASS UNION                                    5ea                   5ea          41.672ea           Net                    41.672ea                            208.36
 5594        11/2X     1 1/4    STD BRASS HEX BUSH                         6ea                   6ea          13.898ea           Net                      13.898ea                           83.39
 24948       1 1/2     C X MIPS ADAPTER W 01179                            6ea                   6ea          63.840ea         *.105                       6.703ea                           40.22
 32732       2 X 1 1/2       C X C CPLG WITH STOP W                        4ea                   4ea          72.840ea         *.105                       7.648ea                           30.59
               01073
 32289       1 1/4    X 1 C X C CPLG WITH STOP W                           6ea                   6ea          28.450ea         *.105                       2.987ea                           17.92
               01056
 121609      1-1/2     STD BRASS STR 90 ELL - LEAD                         2ea                   2ea          42.873ea           Net                    42.873ea                             85.75
               FREE ****        LEAD FREE ****
 13769       1 1/2    STD BRASS 90 ELL                                    20ea                  14ea          21.237ea           Net                    21.237ea                            297.31
 30426       1 1/2     C X C CPLG WITH STOP W 01063                        5ea                   5ea          29.490ea         *.105                      3.097ea                            15.48
 30380       1 1/4    C X C CPLG WITH STOP W 01055                         5ea                   Sea          22.320ea         *.105                       2.344ea                           11.72
 30338       1 C X C CPLG WITH STOP W 01047                                5ea                   5ea          12.740ea         *.105                       1.338ea                               6.69
 40603       2 1/2 X 101 TYPE K HARD COPPERTUSE                           40ft                  40ft          15.386FT           Net                    15.386FT                            615.45
 500         2 1/2     C X C 90 ELL W 02087                                4ea                   4ea         178.370ea         *.105                    18.729ea                             74.92
 30518       2 1/2     C X C CPLG WITH STOP W 01082                        4ea                   4ea         100.920ea         *.105                    10.597ea                             42.39
 29080       21/2X    3/4    X 21/2      C X C X C TEE W                   2ea                   2ea         509.460ea         *.105                    53.493ea                            106.99
               40222
 29491       21/2    X 2 X 2 C X C X C TEE W 40131                         2ea                   2ea         464.460aa         *.105                    48.768ea                             97.54




                                                                                  hisdiction'
                                                                             U©                         la         te                             Subtotal                       6604        .55
                                                                                                                                                  S&H CHGS                                 0.00
                                                                                    NJ                             6.625
  Invoice             is       due       by      11/29/20.                                                                                     Sales          Tax                  437.55
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable·                                                   hount               Due                7042.10
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                          **    Reprint      **   Rep'int   **   Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                                       RECEIVED
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  445

  Jersey
         Communipaw
            City NJ                  07304
                                          Avenue
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  201-333-2600                      Fax   201-333-7376                                                                                                        JERSEYCITY NJ 07304                                           1



                BILL     TO:                                                                                                SHIP To:
                FAHRENHEIT    MECHANICAL                                                                                    FAHRENHEIT    MECHANICAL
                120  BROADWAY    36TH  FLOOR                                                                                120  BROADWAY    36TH   FLOOR
                NEW           YORK,        NY       10271                                                                   NEW YORK,   NY   10271




          47848                        1   MANHATTAN               WEST                                                                                                   Dan          Marucci



  Shelty               Thielmann                              WC    WILL           CAL                               NlT            30       DAfS                         11/02/20                         11/02/20
 PARTNO.                       DESCRIPTEN                              ORDER GTY                   5MP OTY          LIST       f0PMULA                                           NET                        EXL PREE
                                                                                                                                         *'*'*'
                * * * * * * * * I W'* * * * * * *'*           * * * v* * * * * * * +                 * * * * * v* * * * * * * v* * * * v                                       * * *****              *******
            6                                                       Tree"                                                                                                                                             *
                  If          NOT      stated         "Lead                         or           "LF",               t1e            products                  listed               may            c   ntain
                lead       and             *CAN       NOT*         be       used         far                                                                  water              servica.                             *
                                                                                                       potabLe/drinking
            +*********************                                      k*******               v*******                    v*******                 +****         &**********                         *******

 27754      11/2X11/2           X 11/4     C X C X C TEE W                          4ea                           4ea                82.520ea           *.12                        9.902ea                                 39.61
                 04085
 24948      1 1/2        C X MIPS ADAPTER W 01179                                   8ea                           8ea                63.840ea           *.12                        7.661ea                                 61.29
 24908      1 1/4        C X MIPS ADAPTER W 01171                                   4ea                           4ea                54.470ea           *.12                        6.536ea                                 26.15
 35175      1/4        APOLLO #70-101-01          BRNZ THRD END                     Bea                           8ea                12.510ea               Net                    12.510ea                                100.02
                 BALL
 3901       1/4        X 3 STD BRASS NIPPLE                                         8ea                           Bea                    1.774ea            Net                     1.774ea                                 14.19
 26667      11/4X        11/4    X 3/4     C X C X C TEE W                          4ea                           4ea                77.710ea           *.12                        9.325ea                                 37.30
                 04070
 18948      3/4        STD BRASS STR 45 ELL                                         4ea                           4ea                18.789ea               Net                    18.789ea                                 75.16
 117752     WOLVERINE SILVALOY 15% BRAZING ROD                                     10ea                         10ea                93.063ea                Net                   93.063ea                                 930.63
                 .050     X .125       X 28 STIcKS PER TUBE
 48133      6 PLTD CLEVIS & SHIELD                                                 30ea                         30ea                 11.691ea               Net                    11 .691ea                               350.74
 120184     4 PLTD CLEVIS & SHIELD                                                 40ea                         40ea                     7.231ea            Net                     7.231ea                                289.23
 177751     WOLVERINE SILVALOY 5% BRAZING ROD                                      10ea                         10ea                 37.463EA               Net                   37.463EA                                 374.63
                 .050     X .125       X 28 STICKS PER TUBE



                1010mfD1MMM9tA                          310141%. a




                                                                                                             Ä                                                           Subtotal                               2299.01
                                                                                                                                                                         S&H     CHGS                                     0.00
                                                                                                  NJ                                      6.625
  Invoice                is      due       by     12/02/20.                                                                                                             Sale       s        Tax                   152.31
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable.                                                                            hount                Due                     2451.32
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                                                                   **    Reprint       **     Rep-int     **    Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
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                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                                  RECEIVED NYSCEF: 04/08/2022
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  445      Communipaw                        Avenue                                                                                                     REntr       ro:                              sieggg<;e
                    Cit          NJ07304                                                                                                                =-sue==
  Jersey                                                                                                                                                *"*""""="""
  201-333-2                    00   Fax      201-333-7376                                                                                               JERSEYCITY NJ 07304



               BILL TO:                                                                                                    SHIP TO:
               FAHRENHEIT    MECHANICAL                                                                                    FAHRENHEIT    MECHANICAL
               120  BROADWAY    36TH   FLOOR                                                                               120  BROADWAY    36TH   FLOOR
               NEW             YORK,        NY       10271                                                                 NEW YORK,   NY 10271




           47848                        1   MANHATTAN               CAC                           CAC                                                                Dan        Marucci



  Shelly                 Thielmann                             WC    WILL            CAL.                           NTT        30       DAfS                         11/03/20                     10/30/20

               *********************                                     e***************                                e*******              *****         *******************
                                                                         free"                                                                                                                               *
                    If         NOT      stated         "Lead                           or        "LF",          t1e            produ:ts                 listed                may       cantain
                             and                       NOT*                                                                                             water                                                *
                 lead                       *CAN                    b3       used           fMr       potabLe/drinking                                                     servic3.
             ******************************                                                    v***************                                v***************                           ********

 19615        3/4        SrD BRASS TEE                                               22ea                         4ea               B.148ea            Net                    8.148ea                              32.59
 13769        1 1/2       STD BRASS 90 ELL                                             6ea                        6ea           21.237ea               Net                  21.237ea                              127.42




                220MiB101'.W.54PM                        S2014051:'.




                                                                                                                                                                     Subtotal                             160.01
                                                                                                                                                                     S&H     CHGS                                0.00
                                                                                                 NJ                                 6.625
  Invoice                 is      due       by     12/03/20.                                                                                                       SaleS      Tax                            10.60
All claims for shortage or errors must be madeat once, Returns require written
authorization and are subject to handling charges.  Special orders are non-returnable.                                                                        hount              Due                      170.61
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                                                              **    Reprint     **    Rep'int     **    Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                                           RECEIVED
                                                                                                                                                                                 Invoice
                                                                                                                                                                                         NYSCEF: 04/08/2022

 IDEAL
  SuPPLY                  C o

                                                                                                                                                                  11/05/20                    S2024704.001
 445    Communipaw                             Avenue                                                                                                             REniT TO:                                    PAaENo,

 Jersey    City  NJ                    07304
                                                                                                                                                                  "5 °°"====
 201-333-2600                     Fax          201-333-7376                                                                                                       JERSEYCITY NJ 07304



             BILL TO:                                                                                                        SHIP TO:
             FAHRENBEIT    MECHANICAL                                                                                        FAHRENHEIT    MECHANICAL
             120  BROADWAY    36TH    FLOOR                                                                                  120  BROADWAY    36TH   FLOOR
             NEW YORK,   NY     10271                                                                                        NEW             YORK,           NY       10271




          47848                        1   MANHATTAN                 WEST            15T                  15TH         FL                                                    Dan        Marucci



  Shelly               Thielmann                                WC    WILL            CAL.ú                            N      T    30         DAfS                           11/05/20                     11/05/20
 PARTNO.                           DE5CRIPTION                                0R001OTY                    5HIP OTY                 LW                  FOWULA             NET                             E|CL PMCE
            **********************                                        J*******                    y**f****                *******                r****    k**********                         k**-k****
                                                                          ?ree"                                                                                                                                      *
                  If       NOT         stated           "Lead                              or           "LF",          t1e         products                       listed            may         cantain
                  lead           and       *CAN         NOT*         be       used              for                                                               water            servic3.                          *
                                                                                                            potabie/drinking
            **********************                                        &*******                    ********              ********                 &****          ***********                   &*******

 35335      3/4        APOLLO #70-104-01          BRNZ THRD END                        66ea                       66ea             36.850ea              *.54                       19.899ea                             1313.33
              BALL
 13355      3/4        STD BRASS SQ HEAD PLUG COR                                      66ea                       66ea                 4.083ea               Net                     4.083ea                              269.48
 6831       3/4        X 2 STD BRASS NIPPLE                                            30ea                       30ea                 2.673ea               Net                     2.673ea                               80.19
 5025       3/4        X 1/4    STD BRASS HEX BUSH                                     22ea                       22ea                 4.529EA               Net                     4.529EA                               99.63
 73744      MAIDOMIST #71 AUTO VENT 1/4                   MPT                          22ea                       22ea             29.412ea                  Net                    29.412ea                              647.06
 20631      1 #59-005-02           CONBRACOBRZ SCRD Y                                  22ea                       22ea             30.763EA                  Net                    30.763EA                              676.78
              STRAINER W/3/4BD
 35387      1 APOLLO #70-105-01                 BRNZ THRD END                          22ea                       22ea             46.380ea              *.54                       25.045ea                              550.99
              BALL
 24875      1 C X MIPS ADAPTER WB01163                                                176ea                      176ea             37.910ea              *.12                        4.549ea                              800.66
 24841      3/4        C X MIPS ADAPTER WB01146                                        44ea                       44ea             14.830ea              *.12                         1.780ea                              78.30
 21258      3/4        X 1 C X FIPS ADAPTER                                            44ea                       23ea             64.430ea              *.12                        7.732ea                              177.83
 5265       1 X 3/4        STD BRASS HEX BUSH                                          44ea                       44ea                 5.733ea               Net                     5.733ea                             252.25
 25975      1 X 1 X 3/4          C X C X C TEE W804049                                100ea                      100ea             53.360ea              *.12                        6.403ea                             640.32
 117752     WOLVERINE SILVALOY 15% BRAZ1NG ROD                                         10ea                       10ea             93.750ea                  Net                    93.750ea                             937.50
                  .050 X .125          X 28 STICKS PER TUBE
 64805      1 PT PRO-DOPE PIPE JOINT COMPOUND                                              4ea                     2ea             11,000ea                  Net                    11.000ea                               22.00
              15-427
 119202     3/4        X 1429 PURPLE-BLUE MONSTER                                          6ea                     6ea                 4.752ea               Net                     4.752ea                               28.51
              TEFLON TAPE EQUAL (27/B00
 38013      SPOOL QUICKWICK 1906004                                                    10ea                       10ea                 1.230EA               Net                     1.230EA                               12.30
              25PERBAG.
 92836      1 X 10' TYPE L HARD COPPERTUBE                                            100ft                      100ft                 3.042ft               Net                     3.042ft                             304.22




                                                                                                **     Reprint    **     Reprint        **    Reprint        **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
  "'=1' DOC. NO. 20
NYSCEF                                                                                                                                           RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                           Invoice
                                                                               IllilllillllMlilillMM

 IDEAL
  SU P P LY           Co

                                                                                                                                        11/05/20                   S2024704.001
  445    Communipaw                        Avenue                                                                                      renIT To
                                                                                                                                       r"= io=   sue   co
  Jersey    City  NJ               07304
                                                                                                                                                     ==
                                                                                                                                       "5 °"°"""
  201-333-2600                 Fax         201-333-7376                                                                                JERSEYCITY NJ 07304                                   2



               BILL To:                                                                                         SHIP TO:
               FAHRENHEIT    MECHANICAL                                                                         FAHRENHEIT    MECHANICAL
               120  BROADWAY    36TH  FLOOR                                                                     120  BROADWAY    36TH   FLOOR
               NEW        YORK,        NY        10271                                                          NEW      YORK,       NY     10271




 $5imissiliBREiliff!!!!!EssetBNfMM$$iMNise!HM$EliNf                                            $       !!seBI      E       MRfet!Msell!EiiBBjBisilg!$MMMI!MiBiliBeRW5@$


            47848                  1   MANHATTAN                WEST    15T             15TH             FL                                        Dan        Marucci



  Shelly            Thielmann                              WC    WILL    CAL                             NCT       30      DAfS                    11/05/20                  11/05/20




                                                                                                                                                  Subtotal                        6891.35
                                                                                                                                                  S&H    CHGS                            0.00
                                                                                      NJ                                6.625
  Invoice            is      due       by      12/05/20.                                                                                        Sales      Tax                      456.55
Al l claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.    Special orders are non-returnable.                                                   hount               Due                M47.           90
Past due invoices      may be subject    to 1.50% late charge.
                                                                                                                                           **    Reprint      **   Reprint   **   Reprint    **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF
  83"3 DOC. NO. 20                                                                                                                                                RECEIVED NYSCEF: 04/08/2022
                                                                                                   ||||||5                                                                  Invoice

 IDEAL
  SU P P L Y CS

                                                                                                                                                    11/05/20                         S2024826.001
  445       Communipaw                          Avenue                                                                                             REu1T To:
                                                                                                                                                                                                  gggggg
                                NJ07304                                                                                                            THEIDEAL SUPPLYCO
  Jersey      City                                                                                                                                               ^""""
                                                                                                                                                   "°°=""^"
  201-333-2600                     Fax          201-333-7376                                                                                       JERSEYCITY NJ 07304



               BILL TO:                                                                                              SHIP To:
               FAHRENHEIT    MECHANICAL                                                                              FAHRENHEIT    MECHANICAL
               120  BROADWAY    36TH    FLOOR                                                                        120  BROADWAY    36TH   FLOOR
               NEW YORK,   NY     10271                                                                              NEW         YORK,            NY        10271




         47848                         1    manhattan                   west                                                                                       Dan        Marucci
            .w ..            WRITER                                               SHIP VIA                                        TElm                                   5HIP DATE                    080ERDATE
                           ,    ,          ..    .                        ..         ,            ...        ..,       .          .. ..      ..         .            .....   . ....                   .... .


  Shelby                  Thielmann                              WC      WILL         CALL                    NIT          30      DAfS                            11/05/20                      11/05/20

                *******            * * **        k x******         **     k* * * * * * * k* *       * * *           k*******              k* Ä**             **********                  k* * * * * * *
                                                                          Tree"                                                                                                                             *
                     If  NOT      stated           "Lead                      or     "LF",                produ2ts
                                                                                                              t1e                                   listed                  may        cantain
                  lead        and      *CAN       NOT*        b3     used        far                                                                water                 service.                          *
                                                                                         potable/drinking
              **********************************************************************
 11938        3 STD C.S.         WELD L/R 90 ELL                                      12ea               12ea              16.565EA               Net                      16.565EA                              198.78
 98028        5-3 X 1-1/2         3000#     C/S THREADOLET                             6ea                   6ea           25.750ea          *.35                            9.013ea                              54.08
 35479        1 1/2        APOLLO #70-107-01           BRNZ THRD                       6ea                   6ea           99.380ee          *.54                          53. 665ea                             321.99
                    END BALL
 97665        36-1-1/2X3/4         3000# C/S THREADDLET                                4ea                   4ea           13.940ea          *.35                           4.879ea                               19.52
 8676         11/4        X 2 STD BRASS NIPPLE                                        60ea               60ea                  5.393ea            Net                        5.393ea                             323.58
 35432        1 1/4        APOLLO #70-106-01           BRNZ THRD                      40ea               40ea              77.830aa          *.54                          42.028ea                             1681.13
                    END BALL
 13769        1 1/2        STD BRASS 90 ELL                                           10ea               10ea              21.228ea               Net                      21.228ea                              212.28




                    3.09.0mfBGO%·.0O·5%?½                    ?d.07A94.S.,




                                                                                                                                                                   Subtotal                            2811.36
                                                                                                                                                                   S&H        CHGS                              0.00
                                                                                             NJ                                 6. 625
  Invoice                  is    due       by        12/05/20.                                                                                                   Sales          Tax                      186.25
All claims for shortage or errors must be madeat once. Returns require written
authorization and are subject to handling charges.  Special orders are non-returnable.                                                                      Amount              Due                    2997.61
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                            **    Reprint      **    Rep-int     **    Reprint     **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                                   RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                                               Invoice

 IDEAL
    U P P LY              Co

                                                                                                                                                          11/05/20                      S2024846.001
         Communipaw                           Avenue
                                                                                                                                                               - -
  445                                                                                                                                                 ReuIT TO:                                    ggg     gg
  Jersey    City
  201-333-2600
                  NJ                  07304
                                    Fax       201-333-7376
                                                                                                                                                      =
                                                                                                                                                      * """"
                                                                                                                                                      JERSEYCITY NJ 07304
                                                                                                                                                                                -   =




             BILL        To:                                                                                          SHIP TO:
             FARRENHEIT    MECHANICAL                                                                                 FAHRENHEIT    MECHANICAL
             120  BROADWAY    36TH    FLOOR                                                                           120  BROADWAY    36TH   FLOOR
             NEW YORK,   NY     10271                                                                                 NEW         YORK,             NY         10271




         47848                        MANHATTAN                WEST                                                                                                   Dan        Marucci



  Shelly               Thielmann                               WC    WILL           CALL                       NET         30       DAfS                            |11/05/20                      11/05/20

            **************************************                                                                   v*******              +****             v******************
                                                                     Tree"                                                                                                                                     *
                  If          NOT     stated           "Lead                          or           "LF",       tie         produats                       li-sted              may        c   ntain
               lead        and     *CAN                NOT*                  used          far                                                        w-tter         service.                                  *
                                                                    b3                                  potabLe/drinking
             *********************                                       v*******                &*******            e*******              *****         k**********                          *******

 5099       3/4        X 1/2   STD BRASS HEX BUSH                                    22ea                    22ea               4.529ea             Net                         4.529ea                              99.63
 24841      3/4        C X MIPS ADAPTER WB01146                                     120ea                   120ea           14.830ea               *.12                         1.780ea                             213.55
 22057      3/4        C X C X C TEE WB04031                                        100ea                   100ea           17.400ea               *.12                         2.088ea                             208.80
 24799      1/2        C X MIPS ADAPTER WB01131                                      44ea                    44ea               8.870ea            *.12                         1.064ea                              46.83
 31764      3/4        X 1/2   C X C CPLG WITH STOP                                 44ea                     44ea           11.300ea               *.12                         1.356ea                              59.66
               WM1036
 20588      3/4        #59-004-02      CONBRACOBRZ SCRD                              22ea                    22ea           25.827EA                Net                     25.827EA                                568.19
               Y STRAINER W/1/2BD




              totamsos          os·.co·n?4A              %10144..




                                                                                                                                                                      Subtotal                          1196.66
                                                                                                                                                                      S&H       CHGS                               0.00
                                                                                                   NJ                            6.625
  Invoice                is     due       by      12/05/20.                                                                                                         Sales        Tax                          79.28
All claims for shortage or errors must be made at once. Returns require written                                                                                                                                              .
authorization and are subject to handling charges.   Special orders are non-returnable.                                                                       hount                 Due                 1275         . 94
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                              **     Reprint     **     Rep'int   **    Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                                  RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                                              Invoice

 IDEAL
  Su     P P LY           CS

                                                                                                                                                        11/05/20                      S2024848.001
  445

  Jersey
         Communipaw
            City  NJ                   07304
                                               Avenue
                                                                                                                                                    rus 1-
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                                                                                                                                                    REMIT TO:
                                                                                                                                                                                 =
                                                                                                                                                                                                            PAct so,


  201-333-2600                      Fax        201-333-7376                                                                                         JERSEYCITY NJ 07304



             BILL        TO:                                                                                        SHIP TO:
             FAHRENHEIT    MECHANICAL                                                                               FAHRENHEIT    MECHANICAL
             120  BROADWAY    36TH  FLOOR                                                                           120  BROADWAY    36TH  FLOOR
             NEW              YORK,        NY        10271                                                          NEW YORK,   NY 10271




 188iMMEMitEEUselilsREEEElim!!!EMPEBilissest!EllistliillitlissiMNisslilEE!EEE                                                                                       ff#sseWEERSlHiliMillimineses


          47848                        1   MANHATTAN                 WEST                                                                                           Dan         Marucci



  Shelly               Thielmann                                WC       WILL       CAL                       N3T       30        DAfS                               11/05/20                       11/05          /20
  ARTtD.                     DE5CUPTION                     MDER @Y         SHW OTY           LIST       FORMtRA            NEf                                                                    EXT. PRICE
            v * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * e * * * * * * * e * * * * * * * * * * *****                                                        * *******

                              NOT                                         ree"                                                                                                                                 *
                  If                   stated           "Lead                         or        "LF",          tie        produ          cts            l   isted             may        c ontain
                lead        and     *CAN                NOT*         b       used           f ar     potab         ie/drink                         w iter                servic           e.                  *
                                                                                                                                         ing
              *********************                                      v*******             ********t*******                           v****              *******************
 8676       11/4        X 2 STD BRASS NIPPLE                                          6ea                    6ea          5.393ea                 Net                          5.393ea                               32.36
 35175      1/4        APOLLO #70--101-01         BRNZ THRD END                      12ea                   12ea        22.340ea               *.54                           12.064ea                              144.76
               BALL
 110863     PERMABONDLH050 350ML BOTTLE                                               4ea                    4ea        77.669ea                  Net                      77.669ea                                 310.6B
              THREAD SEALER
 103849     1 X 10' TYPE K HARD COPPERTUBE                                          200ft                 2001t           4.106FT                 Net                          4,106FT                              821.11
 92835      3/4        X 101 TYPE L HARD COPPERTUBE                                 200ft                 200ft           2.087ft                 Net                          2.087ft                              417.33
 1089       1 X 3/4           C X C 90 ELL                                           24ea                  24ea         44.490ea               *.12                            5.339ea                              128.13
 1198       1 1/4        X 1 C X c 90 ELL                                            24ea                  13ea        112.180ea                 *.12                         13.462ea                              175.0C
               (13 PCS ONLY)




                                                                                                                                                                    Subtotal                             2029.37
                                                                                                                                                                    S&H         CHGS                               0.00
                                                                                                 NJ                          6,625
  Invoice                is      due       by      12/05/20.                                                                                                      Sales            Tax                      134.          45
All claims for shortage or errors must be madeat once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable·                                                                      Amount                Due                   2163.            82
Past due invoices     may be sub]ect    to 1 .50% late charge.
                                                                                                                                                             **     Reprint      **   Reprint       **   Reprint         **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                               RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                                           Invoi             ce

 fDEAL
  SU P P LY              C,                                                                                                                          EM5MiiWEEMMMise
                                                                                                                                                       11/05/20                    S2024848.002
  445      Communipaw                           Avenue                                                                                                Reu1T TO
              City  NJ                  07304                                                                                                         M IDE SUPPMm
  Jersey                                                                                                                                              """"""                ==
  201-333-2600                        Fax       201-333-7376                                                                                          JERSEYCITY NJ 07304



                BILL    TO:                                                                                                 SHIP TO:
                FAHRENHEIT                        MECHANICAL                                                                FAERENHEIT    MECHANICAL
                120  BROADWAY                        36TH        FLOOR                                                      120  BROADWAY    36TH   FLOOR
                NEW YORK,   NY                          10271                                                               NEW       YORK,         NY     10271




 fMi EEN#MineMlË! EfeWisMN@MEËËfMHie!                                                   E9EiifB¼r                 selfiGligiËí@@!iinfellist!!iiE illilliMilliB!UREeMEMil?He!Elitese


         47848                          1      MANHATTAN              WEST                                                                                        Dan        Marucci



  Shelby               Thielmann                                 WC          ILL        CAL                           N     T   30      DAfs                      11/05/20                        11/05/20

                * * * * *         *      * * * x*     * -k * * * * * *       * * * * * **              k * * * * * * * 4 * * * * **          *   * * * *   * * * * * * * * * * 0* * * * * * *
            +                                                              free"                                                                                                                             *
                  If     NOT      stated                 "Lead                              or          "LF",         tTe       produ2ts              listed               may        cMntain
                              and      *CAN              NOT*                  used              f3r                                                  water             servic3.                             *
                  lead                                                b3                                     potabLe/drinking
                *****************************                                                          ********t*******t***************                                                 v*******

 46408      SETS 1/4          STD BRASS NIPPLES CL/6                                        2ea                      2ea        25.516ea            Net                    25.516ea                                51.03
                 **************             Kit     Components ****        :*********
                 * 1 - 1/4            X CL STD BRASS NIPPLE                             *
                 * 1 - 1/4            X 11/2      STD BRASS NIPPLE                      *
                 * 1 - 1/4            X 2 STD BRASS NIPPLE                              *
              * 1 - 1/4               X 21/2      STD BRASS NIPPLE                      *
              * 1 - 1/4               X 3 STD BRASS NIPPLE                              *
            · * 1 - 1/4            X 31/2         STD BRASS NIPPLE                      *
                 * 1 - 1/4         X 4 STD BRASS NIPPLE                                 *
                 * 1 - 1/4            X 41/2      STD BRASS NIPPLE                      *
                 * 1 - 1/4            X 5 STD BRASS NIPPLE                              *
                 * 1 - 1/4            X 51/2      STD BRASS NIPPLE                      *
                 * 1 - 1/4            X 6 STD BRASS NIPPLE                              *
                 **********************************                        :*********




                 101Bluf B6 05-903% PM                      $10140




                                                                                                                                                                  Subtotal                                 51.03
                                                                                                                                                                  S&H        CHGS                                0.00
                                                                                                         NJ                          6.625
  Invoice               is        due          by    12/05/20.                                                                                                  Sales          Tax                               3.38
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable.                                                                    Amount              Due                         54.41
Past due invoices     may be subject    to 1,50% late charge.
                                                                                                                                                           **    Reprint      **   Reprint        **   Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                            RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                                        Invoice

 IDEAL
  SUPPLY                  CP

                                                                                                                                                   11/06/20                     S2024051.003
  445    Communipaw                            Avenue                                                                                              nemT   To:
                                                                                                                                                                                            ;gggggg
            City  NJ                   07304                                                                                                             = s«e
  Jersey                                                                                                                                           "5 °°""°""    ""°°
  201-333-2600                      Fax        201-333-7376                                                                                        JERSEYCITY NJ 07304



              BILL       TO:                                                                                          SHIP TO:
              FAHRENHEIT                       MECHANICAL                                                             FAHRENHEIT    MECHANICAL
              120             BROADWAY             36TH         FLOOR                                                 120  BROADWAY    36TH   FLOOR
              NEW             YORK,        NY        10271                                                            NEW        YORK,          NY      10271




           47848                       1   MANHATTAN                 CAC                            CAC                                                        Dan        Marucci



  Shelly                Thielmann                               WC    WILL          CALL                        NET        30      DAfS                        11/06/20                     10/30/20
 naTe.                              DESCRIPT10N                 DRDER QTY                           5MP OTY           UST                   FORMikA                ET                       EX; PREE
              **        * * * * ****    *****   * * * * * * v *******                           * * * * * * * * + * * ****              * * * * * * + * **       * * ****         * * *******
                                                                          Tree"                                                                                                                        *
                   If         NOT      stated           "Lead                        or           "LF",         t1e        produ:ts                listed              may        cantain
                 lead       and       *CAN              NOT*         ba      used         f3r                                                      water             servica.                          *
                                                                                                        potabie/drinking
             v*****************************                                                     e*******            v*******              v***************                          v*******

 19615       3/4        STD BRASS TEE                                               18ea                     18ea              8.148ea          Net                     8.14Bea                             146.67




               1010nUDBM1fA                AA             31014050)




                                                                                                                                                               Subtotal                            146.67
                                                                                                                                                               S&H        CHGS                             0.00
                                                                                                   NJ                           6.625
  Invoice                is      due       by      12/06/20.                                                                                                 Sales          Tax                            9.72
All claims for shortage or errors must be Imadeat once. Returna require written
authorization and are subject to handling charges.    Special orders are non-returnable.                                                                Amount              Due                    156.39
Past due mvoices      may be subject    t o 1 . 50% Late charge.
                                                                                                                                                        **    Reprint     **    Reprint     **   Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
 == DOC.
NYSCEF ' NO. 20                                                                                                                                                     RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                                             Invoice
                                                                                         |||l1|l1|lKl||lg1|l||||1||1||1||||llll||

 IDEAL
  50     P P L Y           co

                                                                                                                                                         11/06/20                     S2024704.002
  445    Communipaw                           Avenue                                                                                                    RENIT TO:                                       Pace to,
            City  NJ                  07304                                                                                                             = ios= sueen
  Jersey                                                                                                                                                "" """""""    ""
  201-333-2600                       Fax      201-333-7376                                                                                              JERSEYCITY NJ 07304



                BILL    To:                                                                                              SHIP TO:
                FAHRENHEIT            MECHANICAL                                                                         FAHRENHEIT    MECHANICAL
                120          BROADWAY    36TH   FLOOR                                                                    120  BROADWAY    36TH   FLOOR
                NEW          YORK,         NY         10271                                                              NEW          YORK,            NY    10271




         47848                        1    MANHATTAN                WEST      15T                 15TH            FL                                                Dan          Marucci



  Shelty               Thielmann                               WC    WILL       CALL                              NET           30      DAfS                        11/06/20                      11/05/20
 PARTN0.                             DE5CRIPTION                          CRDEROTY                 5HIPOTY                   UST                 FORMUA            NET                             EXT. PRICE
                ********              *************                   ********                 v*******                  **¿****               *****    *******************
                                                                      Free"                                                                                                                                  *
                  If         NOT      stated           "Lead                        or          "LF",             tTe          produ:ts                  listed           may           cantain
            +     lead        and      *CAN            NOT*   b3         used            for                                                             water          service.                             *
                                                                                                      potable/drinking
                *****************************4***************                                                                                  &****         +**********e*******
 64805      1 PT PRO-DOPE PIPE JOINT CONPOUND                                       2ea                         2ea             11.000ea               Net                11,000ea                                 22.00
                 15-427




                2010fW00W.32.34            Ma            S2024704:.




                                                                                                                                                                    Subtotal                               22.00
                                                                                                                                                                    S&H     CHGS                                 0.00
                                                                                                 NJ                                  6. 625
  Invoice               is      due        by     12/06/20.                                                                                                       Sale       S    Tax                            1.46
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable.
                                                                                                                                                             hount                Due                      23.46
Past due 7nvoices     may be subject    to 1.50% late charge.
                                                                                                                                                             **    Reprint       **   Reprint     **   Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                                                                   RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                                               Invoice

 IDEAL
  Su     P P LY           co                                                                                                                                                                           M
                                                                                                                                                            11/09/20                    S2025062.001
        Communipaw
                                                                                                                                                                -
 445                                       Avenue                                                                                                           REN1T TO
                                                                                                                                                            =E      sums          -
           City  NJ                07304
 Jersey                                                                                                                                                     * °=""==
 201-333-2600                    Fax       201-333-7376                                                                                                     JERSEYCITY NJ 07304



             BILL        TO:                                                                                          SHIP To:
             FAHRENHEIT                    MECHANICAL                                                                 FAHRENHEIT                            MECHANICAL
             120           BROADWAY            36TH         FLOOR                                                      120             BROADWAY                 36TH           FLOOR
             NEW           YORK,       NY         10271                                                               NEW              YORK,           NY       10271




          47848                    MANHATTAN                WEST                                                                                                       Dan        Marucci



  Shelly               Thielmann                            WC    WILL           CAL                            NET          30         DAfS                           11/09/20                     11/09/20
 PARTNo.                           DE5CRIPTI0tf                           ORDEROTY                 5HIP my                 LIST                  FORMULA           NET                              EXT. PRICE
             *********************                                    k*******                 k*******              k*******                  k****   k**********                          k*******
                                                                  Tree"                                                                                                                                        *
                  If       NOT      stated          "Lead                          or            "LF",          t1e          produ:ts                       listed             may        cMntain
               lead        and     *CAN             NOT*         be       used           far                                                                water            service.                          *
                                                                                                     potable/drinking
             *********************                                    v*******                 v*******              k*******                  4****           k**********                  v*******

 22057      3/4        C X C X C TEE WBO4031                                     100ea                    100ea              17.400ea              *.18                        3.132ea                              313.20
 320        3/4        C X C 90 ELL WB01634                                      100ea                    100ea                 9.480EA            *.18                         1.706EA                             170.64
 4796       3/4        FTG X C 90 ELL W801654                                     30ea                        30ea           13.680ea              *.18                         2.462ea                              73.87
 24841      3/4        C X MIPS ADAPTER W801146                                  100ea                    100ea              14.830aa              *.18                         2.669ea                             266.94
 6907       3/4        X 3 STD BRASS NIPPLE                                      100ea                    100ea                 4.051EA                Net                     4.051EA                              405.10
 5099       3/4        X 1/2   STD BRASS HEX BUSH                                100ea                    100ea                 4.529ea                Net                     4.529ea                              452.88
 19615      3/4        STD BRASS TEE                                             100ea                    100ea                 8.145ea                Net                     8.145ea                              814.50
                  (?????)
 24841      3/4        C X MIPS ADAPTER WB01146                                  100ea                    100ea              14.830ea              *.18                        2.669ea                              266.94
 5971       1/2        X 4 STD BRASS NIPPLE                                      100ea                       88ea               4.143EA                Net                     4.143EA                              364.58
                  (?????)      CANT READ QTY
 5025       3/4        X 1/4   STD BRASS HEX BUSH                                100ea                    100ea                 4.529EA                Net                      4.529EA                             452.88
 27048      1/2        FTG X MIPS ADAPTER W 01431                                 10ea                        10ea           38.630ea              *.18                         6.953ea                              69.53
 121633     3/4        X 1/4 STD BRASS TEE - LEAD FREE                           100ea                       69ea            17.653ea                  Net                    17.653ea                             1218.05
              ****        LEAD FREE ****
              (69 PC ONLY IN STOCK)
 50355      1/4        TEST PLUG #N-76-02-1/4                                     50ea                        50ea              3.307ea                Net                     3.307ea                              165.34
 42517      1-5/8        X 1-5/8 X 10' SLOTTED GALV                              100ft                    100ft                 2.860ft                Net                     2.860ft                              286.00
              CHANNEL STRUT 12G




                                                                                     TO              55tctm             TB×24te




                                                                                         **     Reprint   **      Reprint         **    Reprint        **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 20                                                                                                        RECEIVED NYSCEF: 04/08/2022
                                                                                                                                  Invoice

 IDEAL
  SU    P P LY         Co

                                                                                                               11/09/20                   S2025062.001
  445    Communipaw                       Avenue                                                               Renn ro:
                                                                                                                                                     gggggggg
                                                                                                               Tu- 1o= ===     =
            City  NJ              07304
  Jersey                                                                                                       * """"'""     ""
  201-333-2600                Fax         201-333-7376                                                         JERSEYCITY NJ 07304                                  2



              BILL    TO:                                                               SHIP TO:
              FAHRENHEIT    MECHANICAL                                                  FAHRENHEIT             MECHANICAL
              120  BROADWAY    36TH    FLOOR                                            120         BROADWAY      36TH   FLOOR
              NEW YORK,   NY     10271                                                  NEW         YORK,    NY    10271




           47848                  MANHATTAN               WEST                                                            Dan        Marucci



  Shelly             Thielmann                            WC     WILL   CAL         NET       30      DAfS                11/09/20                  11/09/20




               imman.wmPu                           mism.




                                                                                                                         Subtotal                        5320.          45
                                                                                                                         S&H       CHGS                          0.00
                                                                              NJ                   6.625
  Invoice             is    due      by       12/09/20.                                                                Sales          Tax                  352.48
All claims for shortage or errors must be madeat once. Returns require written
authorization and are aubject to handling charges.  Special orders are non-returnable                             Amount              Due                5 6 72     . 93
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                  **    Reprint      **   Rep"int   **   Reprint    **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 21                                                 RECEIVED NYSCEF: 04/08/2022




                                       EXHIBIT       3
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 21                                                      RECEIVED NYSCEF: 04/08/2022

                               Pier 57 Project Invoices Summary Chart


                     Invoice Date         Invoice #      Amount
                              6/11/2020   S2009132.001   $4,928.80
                              6/16/2020   S2009592.001   $228.17
                              6/16/2020   S2009655.001   $1,870.62
                              6/16/2020   S2009681.001   $211.97
                              6/18/2020   S2009918.001   $720.04
                              6/18/2020   S2009932.001   $493.34
                              6/19/2020   S2010065.001   $750.26
                              6/22/2020   S2010221.001   $18.40
                              6/22/2020   S2010235.001   $75.53
                              6/23/2020   S2010343.001   $457.39
                              6/23/2020   S2010418.001   $201.20
                              6/24/2020   S2010595.001   $3,427.32
                              6/24/2020   S2010602.001   $326.57
                              6/26/2020   S2010751.001   $2,230.90
                              6/26/2020   S2010751.002   $52.02
                              6/26/2020   S2010819.001   $474.33
                              6/29/2020   S2010904.001   $119.77
                              6/29/2020   S2010937.001   $231.56
                              6/29/2020   S2011053.001   $766.22
                             6/30/2020    S2011201.001   $ (149.28)
                             6/30/2020    S2011203.001   $180.67
                              7/1/2020    S2011273.001   $129.52
                              7/2/2020    S2011375.001   $580.40
                              7/7/2020    S2011506.001   $3,999.94
                              7/8/2020    S2011725.001   $568.63
                              7/8/2020    S2011909.001   $2,806.57
                              7/9/2020    S2011937.001   $93.82
                             7/13/2020    S2012058.001   $1,766.93
                             7/13/2020    S2012200.001   $1,271.95
                             7/14/2020    S2012409.001   $224.79
                             7/15/2020    S2012553.001   $152.02
                             7/16/2020    s2012788.001   $115.65
                             7/21/2020    S2013039.001   $277.82
                             7/22/2020    S2013342.001   $934.30
                             7/28/2020    S2013882.001   $2,782.83
                              8/3/2020    S2014492.001   $2,350.89
                              8/4/2020    S2014577.001   $472.99
                              8/4/2020    S2014598.001   $180.15
                              8/5/2020    S2014647.001   $1,884.05
                              8/6/2020    S2014819.001   $956.78
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 21                                                    RECEIVED NYSCEF: 04/08/2022

                             Pier 57 Project Invoices Summary Chart


                             8/7/2020   S2014891.001   $141.69
                             8/7/2020   S2015009.001   $623.49
                            8/10/2020   S2015040.001   $193.93
                            8/12/2020   S2015454.001   $449.26
                            8/13/2020   S2015599.001   $988.49
                            8/14/2020   S2015782.001   $385.17
                            8/19/2020   S2016134.001   $1,104.52
                            8/20/2020   S2016274.001   $2,169.43
                            8/21/2020   S2016571.001   $211.43
                            8/27/2020   S2017092.001   $149.31
                            8/31/2020   S2017391.001   $249.30
                                        Total          $ 45,831.85
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 21                                                                                                                                                                              RECEIVED
                                                                                                                                                                                                    Invoice NYSCEF: 04/08/2022

     IDEAL
      SO P P LY                  Co

                                                                                                                                                                                      06/11/20                    S2009132.001
.     445    Communipaw                                    Avenue                                                                                                                     REnIT ro:                               | gig             uss
                City NJ                            07304                                                                                                                            = r=           so-      =
      Jersey                                                                                                                                                                        "5 =°""       ""
      201-333-2600                            Fax          201-333-7376                                                                                                             JERSEYCITY NJ 07304                                        1



                      BILL      TO:                                                                                                                   SHIP TO:
                      FAHRENHEIT    MECHANICAL                                                                                                        FAHRENHEIT                    MECHANICAL
                      120  BROADWAY    36TH  FLOOR                                                                                                    C/O         PIER         57
                      NEW           YORK,               NY              10271                                                                         25      11TH           AVE
                                                                                                                                                      NEW         YORK,          NY       10000




                48106                              PIER                57                                                                                                                        Dan        Marucci



      Shelly                  Thielmann                                               DT         )OWNTOWN                                       NET         30       DAfS                        06/11/20                     06/10/20
     PARTNO.                                DE5CRFr10N                                               ORDEROTY                    5HIP OTY                   LIST             FORMULA           ET                             W+ PRICE
                  e****                * Ä*****-k*                                         **    k*******                    k*******                k*******               k****  k******-k-k*-k                     k *******
                  +                 NOT                                                          Tree"                                                                                                                                   *
                         If                        stated                   "Lead                                 or           "LF",            t     e     products                listed               may        cMntain
                  +   lead       and                                        NOT*                bM                                                                                  water                                                *
                                           *CAN                                                          used          f3r         potabLe/drinking                                                    servica.
                  k*****************************                                                                             ********                4************                      k**********                   k*******

     147713       3 HF LGT STD BLK A53B ERWPIPE GXG                                                       31ft    6in                  31ft   6in            5.350ft             Net                      5.350ft                             168.53
     5515         3 VICT #10 90 ELL BLK                                                                          10ea                         10ea         223.500ea           *.35                      78.225ea                             782.25
     109216       3 VIC #107 QUICK ZERO FLEX COUPLING                                                            20ea                         20ea         142.000ea           *.35                      49.700ea                             994.00
     28044        QUART CAN VICT LUBRICANT                                                                        Sea                          1ea         136.250ea             Net                   136.250ea                              136.25
     2762         WOODHANDLE DOPE BRUSH                                                                           lea                          lea           1,154EA             Net                      1.154EA                                  1.15
                       1813002
     7119         3 X 2 1/2             VICT #50 CONC RED BLK                                                     lea                          lea         179.000ea           *.35                      62.650ea                              62.65
     8046         2 1/2        X 2 VICT #50 CONC RED BLK                                                          4ea                          4ea         149.000ea           *.35                      52.150ea                             208.60
     2324         2 1/2        VIC 300 B/F VALVE W/LEVE                                                           2ea                          2ea        1263.000ea           *.40                    505.200ea                             1010.4C
     2365         3 VIC 300 B/F VALVE W/LEVER OP                                                                  2ea                          2ea        1317,500ea           *.40                    527.000ea                             1054.00
     5074         2 VICT #40 G X MIPS NIPPLE BLK                                                                  4ea                          4ea          78.000ea           *.35                      27.300ea                             109.20
                    4" LONG STOCK SIZE




                  ----=·                                                                             Î

                      ....................          ................        .J    ..../.
                      signatu                                                    Date




                                                                                                                                                                                                 Subtotal                         4527         . 03
                                                                                                                                                                                                SGH        CHGS                              0.00
                                                                                                                                NEWYORKCI                        8.875
      Invoice                  is            due       by          07/11/20.                                                                                                                  Sales          Tax                      401.77
    All claims for shortage or errors must be made at once. Returns require written
    authorization and are subject to handling charges.   Special orders are non-returnable.                                                                                              AMOunt              Due                  4928         . 80
    Past due invoices     may be subject    to 1 .50% Late charge.
                                                                                                                                                                                         **    Reprint      **    Reprint   **    Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 21                                                                                                                                                      RECEIVED
                                                                                                                                                                            Invoice
                                                                                                                                                                                    NYSCEF: 04/08/2022

 IDEAL
  SU P P LY               C

                                                                                                                                                         06/16/20                         S2009592.001
          Communipaw                          Avenue
                                                                                                                                                                  - -
  445                                                                                                                                                    REMIT TO:

              City NJ                 07304                                                                                                              =
  Jersey
                                                                                                                                                         *  """°"""    ==
  201-333-2600                    Fax         201-333-7376                                                                                               JERSEYCITY NJ 07304



                BILL     TO:                                                                                             SHIP TO:
                FAHRENHEIT    MECHANICAL                                                                                 FAHRENHEIT                     MECHANICAL
                120  BROADWAY    36TH  FLOOR                                                                             C/O  PIER                57
                NEW           YORK,       NY         10271                                                               25        11TH       AVE
                                                                                                                         NEW         YORK,            NY           10000




          48106                        PIER       57                                                                                                                     Dan        Marucci
                              HRETBR                                             SlnP YlA                                             RRM5                                        IP (fAR                  OROGRDATE
                                                    , ,, ,                            .             , ,, ,,                                             ,, ,,,                                              ,,,,,,,


  Shelty               Thielmann                                WC     WILL           CALL                        NIT          30      DA     S                          06/16/20                     06/15/20
 PARTND.                              DESCRIPTION                              ORDEROTY               SHIP 01Y                 U5T            F0PMBLA            NET                                  EXT. PRICE
            k*********************                                         k*******                 *******             k*******             k****   k**********                              k*******
            *                                                          Tree"                                                                                                                                     *
                  If  NOT       stated                  "Lead                          or           "LF",         tie         produ3ts                   listed                   may       c3ntain
            *   lead       and      *CAN                NOT*          b3       used         f3r                                                          water                 service.                          *
                                                                                                         potable/drinking
            e*********************                                         k*******               &*******              k*******             k****               k**********                  k*******

 31710      3/4        X 3/8    C X C CPLG WITH STOP W                                 4ea                       4ea           12.100ea              *.15                         1.815ea                                7.26
                 01037
 320        3/4        C X C 90 ELL WB01634                                           18ea                    18ea                 8.020EA        *.15                            1.203EA                               21.65
 4796       3/4        FTG X C 90 ELL WB01654                                          8ea                       8ea           11.580aa           *.15                            1.737ea                               13.90
 121336     3/4        C X c UNION LEAD FREE W 08004                                   4ea                       4ea           48.480ea           *.15                            7.272ea                               29.09
                 ****     LEAD FREE ****
 22057      3/4        C X C X C TEE W804031                                           4ea                       4ea           14,730ea           *.15                            2.210ea                                8.84
 121350     3/4        C X MIPS UNION LEAD FREE                                        2ea                       2ea          139.860ea           *.15                          20.979ea                                41.96
                 ****     LEAD FREE ****
 25793      1 X 3/4           X 1 C X C X C TEE W 04055                                2ea                       2ea           53.720ea           *.15                            8.058ea                               16.12
 356        1 C X C 90 ELL W 01647                                                    12ea                    12es             19.680ea           *.15                            2.952ea                               35.42
 133969     MUELLER PRS 3/4             P X P COUPLING                                12ea                    12ea                 5.580ea        *.42                            2.344ea                               28.12
                 10146
 59036      SCOTCHBRITE PADS 6 X 9-1/2                       1848001                   6ea                       6ea               1.939ea            Net                         1.939ea                               11.63
                 60 PCS PER BOX




                1910fD%M B7·A13.7 MA                         MM%¼t;




                                                                                                  MM                       MM                                            Subtotal                             213.99
                                                                                                                                                                         S&H        CHGS                              0.00
                                                                                                    NJ                              6.625
  Invoice                is     due      by       07/16/20.                                                                                                            Sales         Tax                         14.18
AJ.1claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnabl"·                                                                           hount              Due                      228.17
Paat due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                                  **    Reprint     **    Reprint     **    Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 21                                                                                                                                                 RECEIVED
                                                                                                                                                                       Invoice NYSCEF: 04/08/2022

 IDEAL
  SuPP           LY      Co

                                                                                                                                                           06/16/20                    S2009655.001
          Commun'
  445                              aw      Avenue                                                                                                         ReNIT To:                                     m a
                  Ci               07304                                                                                                                  T= r==    so-   =
  Jersey                                                                                                                                                  * °°""°"=""""
  201-333-2                00     Fax   201-333-7376                                                                                                      JERSEYCITY NJ 07304



                BILL     To:                                                                                      SHIP TO:
                FAHRENHEIT    MECHANICAL                                                                          FAHRENBEIT                              MECHANICAL
                120  BROADWAY    36TH   FLOOR                                                                     120               BROADWAY                 36TH   FLOOR
                NEW        YORK,        NY       10271                                                            NEW               YORK,  NY                  10271




          47848                     PIER       57                                                                                                                     Dan        Marucci



  Shelby               Thielmann                            WC    WILL           CAL                       NET            30         DAfS                             06/16/20                     06/16/20
 PARTND.                     DESCMPT]0N                               0RDERQTY       SHIP fEY                             WT                  FOMULA           NET                               EXT. PRICE
            # * * * * * * * * ****  * * ******                   Ã k* *    * * * k * * * ** A*                   k*****                     k * * * * k* * ****Ã***                        k* * * * * * *
            *                                                     Tree"                                                                                                                                       *
                  If       NOT      stated          "Lead                         or        "LF",          t1e            produMts                        listed             may         cantain
                  lead        and     *CAN          NOT*         b3       used         fMr                                                                water             servica.                          *
                                                                                                potable/drinking
                *********************                                 k*******           k*******          v*******                         v****            k**********                   k*******

 51399        5" VIC 60 CAP W/3/4"           NPT TAP                              2ea                  2ea            165.000ea                      Net                    165.000ea                             330.0C
 44912      3 VIC 10DR 90 ELL W/ 1" DRAIN                                         2ea                  2ea            228.133ea                      Net                    228.133ea                             456.27
 22891        2 X 1 1/2         125# BCI HEX BUSH                                 2ea                  2ea                21.680ea                  *.25                       5.420ea                             10.84
 15359        1 1/2      X 5 STD BLK STEEL NIPPLE                                 4ea                  4ea                 4 .556ea                  Net                       4.556ea                             18.22
 35479      1 1/2        APOLLO #70-107-01      BRNZ THRD                         4ea                  4ea                99.380ea                  *.57                     56.647ea                             226.59
                 END BALL
 29034        11/2      125# BCI SQ HD PLUG CORED                                 4ea                  4ea                12.820EA                  *.25                      3.205EA                              12.82
 134048       MUELLER PRS 3/4        P X F ADAPTER                               12ea                 12ea                 9.380ea                  *.44                       4.127ea                             49.53
                 01246
 41693        2 1/2      VIC 60 CAP W/3/4"      NPT TAP                           2ea                  2ea            150.000ea                      Net                    150.000ea                             300.0C
 22975        2 X 1 125# BCI HEX BUSH                                             2ea                  2ea                 5.294ea                   Net                       5 .294ea                            10.59
 35387      1 APOLLO #70-105-01              BRNZ THRD END                        6ea                  6ea                46.380aa                  * .57                    26.437ea                             158.62
                 BALL
 35281      1/2        APOLL0 #70-103-01      BRNZ THRD END                       Bea                  Bea                22.340EA              *,57                         12.734EA                             101.87
                 BALL
 5903       1/2        X 3 STD BRASS NIPPLE                                       Bea                  8ea                 2.797ea                   Net                      2.797ea                              22.37
 13313      1/2        STD BRASS SQ HEAD PLUG COR                                 Bea                  Sea                 3.247ea                   Net                      3.247ea                              25.98
 22140      1 X 3/4        125# BCI HEX BUSH                                      8ea                  Bea                 2.599ea                   Net                      2.599ea                              20.79
 36958      3/4X3/4        NPT X NALE HOSE ADAPT                                  4ea                  4ea                 2.147EA                   Net                      2.147EA                               8.59
 38436      3/4        HOSE WASHERS                                              12ea                 12ea                 0.109EA                   Net                      0.109EA                               1.31




                                                                                       **   Reprint   **    Reprint            **    Reprint         **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
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NYSCEF DOC. NO. 21                                                                                                         RECEIVED
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                                                                                                                  06/16/20                   82009655.001
  445    Communipaw                           Avenue                                                              Reurr ro:                                 ggggres
                                                                                                                  Äas 10s^tsu--Lr    co
  Jersey    Cit   NJ                  07304
                                                                                                                  "5 °""""        """"
  201-333-2                00      Fax        201-333-7376                                                        JERSEYCITY NJ 07304                                  2



              BILL    TO:                                                                    SHI P To:
              FARRENHEIT    MECHANICAL                                                       FAHRENHEIT           MECHANICAL
              120  BROADWAY    36TH  FLOOR                                                   120         BROADWAY     36TH           FLOOR
              NEW          YORK,          NY        10271                                    NEW         YORK,  NY    10271




           47848                      PIER        57                                                                         Dan        Marucci



  Shelly             Thielmann                                WC   WILL   CALú        NET          30      DA/S              06/16/20                  06./16/20




                                                                                      iijÏ                                   Subtotal                       1754.39
                                                                                                                             S&H      CHGS                         0.00
                                                                                 NJ                     6. 625
  Invoice             is        due      by       07/16/20.                                                               Sales          Tax                  116.23
All claima for shortage or errors must be made at once, Returns require written
authorir.ation and are subject to handling charges.  Special orders are non-returnable.                              hOunt               Due                1870.62
Past due invoices      may be subject    to 1.50% late charge.
                                                                                                                     **    Reprint      **   Reprint   **   Reprint        **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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  S U P P L Y            C o

                                                                                                                                                  06/16/20                     S2009681.001
  445     Communi                       aw      Avenue                                                                                            REMIT TO:                                     PAGENO
                 Ci                     07304                                                                                                     = 1-         so-      =
  Jersey                                                                                                                                          "' °""""      ""°"
  201-333-2                  00     Fax         201-333-7376                                                                                      JERSEYCITY NJ 013D4



               BILL     To:                                                                                          SHIP TO:
               FAHRENHEIT    MECHANICAL                                                                              FAHRENHEIT                   MECHANICAL
               120  BROADWAY    36TH   FLOOR                                                                         120         BROADWAY            36TH   FLOOR
               NEW           YORK,           NY       10271                                                          NEW         YORK,  NY             10271




          47848                         PIER        57                                                                                                       Dan        Marucci



  Shell.y              Thielmann                                 WC          ILL       CALL                   NET          30      DAfS                      06/16/20                     06/16/20
 PARTNO.                             DESCRIPTION                               0m
                                                                             **"
                                                                                       OTY         5HIP017               LIST              (0MULA                HET                       EXT, PRICE
              e*******"ñ**********                                                    As**     +*******            4*"***GW'e****                    e******"i***'e"I'******
                                                                            ree"                                                                                                                     *
                  If    NOT      stated                  "Lead                          or       "LF",        t-te         produ:ts               listed         may            c3ntain
                 lead        and     *CAN                NOT*         b3       used          fMr                                                 water         service.                              *
                                                                                                      potable/drinking
               *********************                                       e*******            k*******          &*******                 &****g******************
 109216     3 VIC #107 QUICK ZERO FLEX COUPLING                                         4ea                  4ea        142.000ea             *.35                   49.700ea                             198.80




                                                                                                                                                             Subtotal                            198.80
                                                                                                                                                             S&H       CHGS                              0.00
                                                                                                  NJ                            6.625
  Invoice               is        due        by     07/16/20.                                                                                              Sales         Tax                         13.17
All claims for shortage or errors must be made at once. Returns require written
puthorization and are subject to handling charges.   Special orders are non-returnable.                                                               Amount             Due                     211.97
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                      **    Reprint     **     Rep int    **   Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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                                                                                                                                                                              NYSCEF: 04/08/2022

 IDEAL
   S U P P LY              C

                                                                                                                                                         06/18/20                     S2009918.001
         Communipaw                               Avenue
                                                                                                                                                            - -                                                   a
  445                                                                                                                                                 REu1T TO:                                          mE
            City NJ                    07304                                                                                                          =                        =
  Jersey                                                                                                                                              "" °°""""'"   ""°"
  201-333-2600                        Fax   201-333-7376                                                                                              JERSEYCITY NJ 07304



                 BILL     TO:                                                                                            SHIP TO:
                 FAHRENHEIT             MECHANICAL                                                                       FAHRENHEIT    MECHANICAL
                 120           BROADWAY    36TH    FLOOR                                                                 120  BROADWAY    36TH  FLOOR
                 NEW           YORK,  NY     10271                                                                       NEW YORK,   NY 10271




 ##illim            Mil!Elilli!en@TSisinN#NMtE9l!Eligiljjsit!!ilillissiBM                                                  MiMissiiltiliMEEilileliHisiMillMeltli                                      ligielinisie


           47848                           PIER       57/230         vesey                                                                                          Dan      Marucci
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  Shelly       Thielmann                       WC    SILL      CALG               NET     30    DAfS                06/18/20               06/18/20
         ^
 kAF NO.                  DE5CRIPUCN                     0RDERQTY       SHIP GTY          LIST       f0PMMA             NET                 M. PRICEt
         e * * * * * * * * * * * * * * * * * * * * * e * * * * i* * e * * * * * * * v * * * * * * * e * * * * & * * * * * * * * * -A e * * * * * * *
                                                                          Pree"                                                                                                                               *
                   If          NOT         stated          "Lead                        or         "LF",        t1e         products                  listed           may             cantain
             6     lead              and       *CAN        NOT*      b3       used           fMr                                                      water          service.                                 *
                                                                                                        potabie/drinking
                 *********************                                    ****************                           k************                        e******************
 92836       1 X 10'           TYPE L HARD COPPERTUBE                                150f t                 150f t             2.330f t             Net                     2.330ft                                349.50
 15647       1 COPPER PLATED CLEVIS HANGER                                             24ea                  24ea              0.933EA              Net                     0.933EA                                   22.4C
 92835       3/4 X 10' TYPE L HARD COPPERTUBE                                        100ft                  100ft              1,609ft              Net                     1,609ft                                160.89
 133970      MUELLER PRS 1 P X P COUPLING                                              15ea                  15ea            11.210ea             *.42                      4.708ea                                   70.62
                  10147
 133969      MUELLER PRS 3/4                P X P COUPLING                             10ea                  10ea              5.580ea            *.42                      2.344ea                                   23.44
                  10146
                  *******************************
                  230 VESEY
                  ********************************
 5025        3/4        X 1/4   STD BRASS HEX BUSH                                      Bea                   8ea              5.133EA              Net                     5 .133EA                                  41.07
 38013       SPOOL QUICKWICK 1906004                                                    6ea                   6ea              1.230EA              Net                     1,230EA                                    7.38
                  25PERBAG.




                  1010I0%%û%G'PA4              M4              2100%%0




                  Jason



                                                                                                                                                                    Subtotal                              675.           30
                                                                                                                                                                    S&H      CHGS                                 0.00
                                                                                                   NJ                           6.625
  Invoice                 is     due          by      07/18/20.                                                                                                  Sales          Tax                          44.74
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable.                                                                     hount               Due                       720.04
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                                                            **    Reprint      **     Reprint    **    Reprint        **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
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NYSCEF    DOC. NO. 21                                                                                                                                                             RECEIVED    NYSCEF: 04/08/2022
                                                                                                                                                                                      Invoice

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                                                                                                                                                                        06/18/20                    S2009932.001
  445

  Jersey
         Communipaw
            City  NJ                      07304
                                               Avenue                                                                                                               REuIT TO:
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                                                                                                                                                                    "5 ""°""
                                                                                                                                                                                     -                           |ggigrgggggs


  201-333-2600                       Fax         201-333-7376                                                                                                       JERSEYCITY NJ 07304                                           1



              BILL        TO:                                                                                                   SHIP TO:
              FAHRENHEIT               MECHANICAL                                                                               FAHRENHEIT    MECHANICAL
              120             BROADWAY    36TH    FLOOR                                                                         120  BROADWAY    36TH   FLOOR
              NEW             YORK,  NY     10271                                                                               NEW YORK,   NY 10271




           47848                          PIER       57                                                                                                                            Dan        Marucci



  Shelly                Thielmann                                 WC    WILL          CAL                               NCT            30         DA(S                             06/18/20                      06/18/20
 PARTNG.                           0E500PTEN                                    CBCEEQIT             5         OTY                  LIST                       FORMOLA           NET                                EXT. PRICE
                                                                                                                                                                                                                                       ""
             v***************'******                                        ********             ********                    t*******                        *****   ********"*"********¾"*
                                                                            Pree"                                                                                                                                           *
                   If         NOT         stated          "Lead                          or         "LF",               t1e            products                         listed              may        cantain
                   lead             and       *CAN        NOT*         be      used        far      potab                                                            water                                                  *
                                                                                                                 Le/drinking                                                             servica.
             **********************                                         e*******t***************t***************                                                                                     ********

  4671       5 VIC 60 CAP BLK                                                           2ea                           2ea            268.000ea                   *.35                     93.800ea                               187.60
 112021      5 VIC #107 QUICK ZERO FLEX COUPLING                                        2ea                           2ea            254.500ea                   *.35                     89.075ea                               178.15
 70185       HERCULES3202 LEAK DETECTOR45-802                                            Sea                          5ea               19.388ea                  Net                       19.388ea                              96.94




               j/s

                                                                                           ..... .........................................................
                                                                                                                     M                           si$                              Subtotal                              462.           69
                                                                                                                                                                                   S&H        CHGS                              0.00
                                                                                                     NJ                                     6. 625
  Invoice                is     due          by      07/18/20               .                                                                                                    Sales          Tax                         30.65
All claims for shortage or errors must be readeat once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnabl°'                                                                                    Amount               Due                     493.34
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                                            **    Reprint      **   Reprint      **   Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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NYSCEF DOC. NO. 21                                                                                                                                               RECEIVED
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                                                                                                                                                       06/19/20                     S2010065.001
         Communipaw                           Avenue
                                                                                                                                                           -
  445                                                                                                                                              REMIT To:                                    gg
            City  NJ                  07304                                                                                                        =                --
  Jersey                                                                                                                                           "       """""==
  201-333-2600                      Fax       201-333-7376                                                                                         JERSEYCITY NJ 07304



             BILL        TO:                                                                                       SHIP TO:
             FAHRENHEIT    MECHANICAL                                                                              FAHRENHEIT                      MECHANICAL
             120  BROADWAY    36TH    FLOOR                                                                        C/O  PIER                57
             NEW YORK,   NY     10271                                                                              25        11TH        AVE
                                                                                                                   NEW         YORK,             NY        10000




          48106                       pier        57                                                                                                              Dan        Marucci



  Shelty               Thielmann                               WC    WILL          CALL                      NTT        30       DAfS                             06/19/20                     06/19/20
 PARTNO.                            DESCRIPTION                              0RDERGTY           5HIP OTY                 LIST             F0FMULA            NET                                EXT. PRICE
            k*********************                                       k**    ****        k*******              k*******              k****    k**********                            k*******
                                                                     Tree"                                                                                                                                *
                  If          NOT     stated           "Lead                        or          "LF",        t1e        produ:ts                       listed              may       cMntain
                lead        and      *CAN              NOT*         b3      used          fMr                                                      water                 servica.                         *
                                                                                                     potable/drinking
            **********************t***************                                                                 *******              v****            ***********                    k*******

 134067     MUELLER PRS 1-1/4                P X M ADAPTER                          4ea                    4ea          34.650ea                *.44                      15.246ea                              60.98
              01171
 134096     MUELLER PRS 1-1/4                FTG X M PRS ADAPT                      2ea                    2ea          57.070ea                *.44                      25.111ea                              50.22
               01471
 134094     MUELLER PRS 3/4               FTG X M PRS ADAPTER                      10ea                   10ea          29.330ea            *.44                          12.905ea                             129.05
              01446
 5025       3/4        X 1/4 STD BRASS HEX BUSH                                     4ea                     4ea              5.133EA             Net                        5.133EA                             20.53
 92837      1-1/4        X 10' TYPE L HARD COPPERTUBE                              20ft                   20ft           3.244ft                 Net                       3.244ft                              64.89
 134123     MUELLER PRS 1 P X 1 P X 3/4                  P TEE                      6ea                    6ea          22.810ea                *.44                      10.036ea                              60.22
              04049
 152804     3/8        OD X 50'     COPPER REFRIG TUB                               1es                    1ea          29.924ea                 Net                      29.924ea                              29.92
               MUELLER STREAMLINE
 31661      3/4        X 1/4   C X C CPLG WITH STOP W                              12ea                   12ea          11.880ea            *.18                           2.138ea                              25.66
              01038
 29852      3/4        APOLL0 #70-204-01         BRASS SWEAT                       10ea                   10ea          36.850ea            *.60                          22.110ea                             221.10
               END BALL
 5025       3/4        X 1/4   STD BRASS HEX BUSH                                   8ea                    8ea           5.133EA                 Net                       5.133EA                              41.07




                                                                                                                                                                  Subtotal                             703.64
                                                                                                                                                                  S&H        CHGS                             0.00
                                                                                                NJ                           6.625
  Invoice                is     due        by     07/19/20.                                                                                                     Sales          Tax                        46.62
All claims for shortage or errors must be madeat once. Returns require written
authorization and are subject to handling charges.  Special orders are non-returnable.                                                                    Amount               Due                     750.26
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                                                          **     Reprint      **    Reprint    **    Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
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  445    Communipaw                             Avenue                                                                                                REurr       10:                             signagg
                  NJ                    07304                                                                                                         = ==              s-     co
  Jersey    City
                                                                                                                                                      " °°""""      ==
  201-333-2600                         Fax      201-333-7376                                                                                          JERSEYCITY NJ 07304



               BILL       TO:                                                                                            SHIP TO:
               FAHRENHEIT    MECHANICAL                                                                                  FAHRENHEIT                   MECHANICAL
               120  BROADWAY    36TH   FLOOR                                                                             C/O  PIER               57
               NEW             YORK,         NY       10271                                                              25     11TH          AVE
                                                                                                                         NEW        YORK,            NY      10000




            48106                       PIER        57                                                                                                             Dan        Marucci



  Shelly                 Thielmann                               WC    WILL           CAL4                        Ni:T        30      DAfS                         06/22/20                      06/22/20

              v*********************                                         *******e***************                                         ************************
                                                                       Tree"                                                                                                                                *
                    If  NOT       stated                 "Lead                          or       "LF",            t1e         products                listed                 may       c>ntain
                             and                         NOT*                                                                                         water                                                 *
                 lead                 *CAN                            be       used          fMr       potabLe/drinking                                                  servica.
              &*********************                                       v*******             v*******         v*******                    k****         k**********                   k*******

 36958        3/4X3/4          MPT X MALE HOSE ADAPT                                   4ea                    4ea              2.147EA               Net                     2.147EA                                8.59
 22652        1 1/2       X 1 125# BCI HEX BUSH                                        2ea                   2ea              15.480ea           *.28                        4.334ea                                8.67




                                                                                                                                                                   Subtotal                                 17.26
                                                                                                                                                                   S&H        CHGS                              0.00
                                                                         NJ                                                        6.625
  Invoice                 is      due
                                 by    07/22/20.                                                                                                                 Sales          Tax                             1.14
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   special ordere are non-returnable'                                                                     Amount              Due                         18.40
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                                                            **    Reprint      **   Repaint      **   Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 21                                                                                                                                        RECEIVED
                                                                                                                                                              Invoice NYSCEF: 04/08/2022

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  50     P P L Y          Co

                                                                                                                                               06/22/20                      S2010235.001
  445    Communipaw                           Avenue                                                                                          REN1T TO
                  NJ                  07304                                                                                                   -      o-      --        =
  Jersey    City
                                                                                                                                              "" °=""       ==
  201-333-2600                      Fax       201-333-7376                                                                                    JERSEYCITY NJ 07304



             BILL        TO:                                                                                      SHIP TO:
             FAHRENHEIT    MECHANICAL                                                                             FAHRENHEIT    MECHANICAL
             120  BROADWAY    36TH   FLOOR                                                                        120  BROADWAY    36TH  FLOOR
             NEW              YORK,       NY        10271                                                         NEW YORK,   NY   10271




         47848                        PIER        57                                                                                                       Dan        Marucci



  ShelLy               Thielmann                               WC        4ILL        CALL                   NDT       30      DAfS                         06/22/20                     06/22/20

            k*********************                                       k*******            k*******           k*******             k****         k**********                   k*******

                              NOT                                         ree"                                                                                                cMntain              *
                  If                  stated           "Lead                          or       "LF",        t1e       products                 listed               may
               lead        and     *CAN                NOT*         be       used          fMr                                                water               service.                         *
                                                                                                    potabLe/drinking
             *********************                                         *******           ********         k*******               k****         k**********                   ********

 15534      3/4        X 3/4    #74CL BOILER DRAIN NALE                               6ea                 6ea          11.806EA              Net                    11.806EA                             70.84
              TO HOSE




              1û1BfBBI11WM".6%1%A                        £1BMT35..




                                                                                                                                                           Subtotal                                70.84
                                                                                                                                                           S&H CHGS                                    0.00
                                                                                                NJ                         6.625
  Invoice                is     due       by      07/22/20.                                                                                              Sales      Tax                                4.69
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable.                                                            Amount               Due                      75.53
Past due mvoices      may be subject    to 1.50% Late charge.
                                                                                                                                                    **    Reprint      **    Reprint    **   Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 21                                                                                                                                         RECEIVED
                                                                                                                                                               Invoice NYSCEF: 04/08/2022

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  5 UP      P LY          Co

                                                                                                                                                 06/23/20                    S2010343.001
         Communipaw                            Avenue
                                                                                                                                                     -
  445                                                                                                                                          REnIT To:                                         ggggg
            City  NJ                   07304                                                                                                   =      --               co
  Jersey                                                                                                                                       * °"""                ^""
  201-333-2600                      Fax        201-333-7376                                                                                    JERSEYCITY NJ 07304



             BILL        To:                                                                                      SHI P TO:
             FAHRENHEIT                MECHANICAL                                                                 FAHRENHEIT                   MECHANICAL
             120              BROADWAY   36TH   FLOOR                                                             C/O         PIER        57
             NEW              YORK,        NY        10271                                                        25      11TH          AVE
                                                                                                                  NEW         YORK,           NY     10000




          48106                        PIER        57                                                                                                       Dan       Marucci



  Shelby               Thielmann                                WC       TILL        CALL                    NET        30       DA(S                       06/23/20                       06 / 23 / 2 0
 PARTNo.                            DESCRIPHON                   ORDER OTY      WiIP QTY                               LIST             FOR'lflA          NET                               M> PRICE
                                                                 sW"i"
            * * * *×          * * F* * * *"fT* * * * * * * * * *           * **WE* * * * *                         * * * * * * *        * * * * * * * * * * *****e**W****
                                                                          Pree"                                                                                                                     *
                  If          NOT      stated           "Lead                          or       "LF",        t    e     produ:ts                listed               may         cMntain
               lead        and     *CAN                 NOT*           bM    used         f>r                                                   water             service.                           *
                                                                                                     potabLe/drinking
             *********************                                       g***************                        k************                      &**********                    &*******

 134377     MUELLER PRS 3/4               P X P SR 90 ELL                            36ea                 36es            6.600ea         *.39                       2,574ea                               92.66
              01634
 15619      3/4        150// BRASS UNION                                              12ea                12ea          19.104ea              Net                  19.104ea                               229.24
 133969     MUELLER PRS 3/4               P X P COUPLING                              12ea                12ea            5.580ea         *.39                       2.176es                               26.11
              10146
 134065     MUELLER PRS 3/4               P X M ADAPTER                               24ea                24ea            8.650ea         *.39                       3.374ea                               80.96
              01146




              201019tn209mm                 pu             stow242.




                                                                                                         $       ÏE $59                                     Subtotal                              428.97
                                                                                                                                                            S&H       CHGS                               0.00
                                                                                                NJ                           6. 625
  Invoice                is      due       by      07/23        /20.                                                                                      Sales        Tax                          28.42
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to bandling charges.   special orders are non-returnable.                                                              hount                 Due                    457.          39
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                     **    Reprint     **    Reprint       **   Reprint     **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 21                                                                                                                                    RECEIVED
                                                                                                                                                          Invoice
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 IDEAL
  SUPP        L Y        ep

                                                                                                                                            06/23/20                   S2010418.001
  445      Communipaw                           Avenue                                                                                    REMU TO:                                  PR
  Jerse       Ci    NJ                  07304                                                                                             = == a-                 a
  201-
                                                                                                                                          * """°"""     ^"
              3-2            00      Fax        201-333-7376                                                                              JERSEYCITY NJ 07304



             BILL       TO:                                                                                     SHIP TO:
             FAHRENHEIT    MECHANICAL                                                                           FAHRENHEIT                MECHANICAL
             120  BROADWAY    36TH   FLOOR                                                                      C/O  PIER            57
             NEW             YORK,         NY         10271                                                     25     11TH         AVE
                                                                                                                NEW        YORK,      NY         10000




          48106                         PIER        57                                                                                                 Dan       Marucci



  Shelty               Thielmann                                 WC    WILL         CAL                   NET        30      DAfS                      06 /23/20                   06/23/20

             **************************************************                                                                                  **********                      ******
                                                                       Tree"                                                                                                                   *
                  If         NOT        stated           "Lead                         or    "LF",        tTe        produ:ts               listed              may      cantain
               lead        and     *CAN                  NOT*         b3       used        far                                            water       service.                                *
                                                                                                   potabLe/drinking
             *********************                                         ****************t*******e****                                    +**********e*******
 134163     MUELLER PRS 2 X 2 X 1-1/2                    P TEE                        2ea               2ea          75.320ea        *.38                     28.622ea                               57.24
              40103
 134068     NUELLER PRS 1-1/2               P X M ADAPTER                             4ea               4ea          48.590ea        *.38                     18.464ea                               73.86
              01179
 15655      1 150# BRASS UNION                                                        2ea               2ea          28.800ea         Net                     28.800ea                               57.60




              '161%I0%fn0%4.669%                           SIM¾½..




                                                                                                                                                       Subtotal                             188      .70
                                                                                                                                                       S&H     CHGS                                0.00
                                                                                              NJ                          6.625
  Invoice               is        due      by       07/23/20.                                                                                        Sales         Tax                        12,50
All claims for shortage or errors must be made at once, Returns require written
authorization and are subject to bandling charges.   Special orders are non-returnable.
                                                                                                                                                hount              Due                      201.20
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                **    Reprint     **   Rep-int     **     Reprint     **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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  5uPPL            y     e e                                                                                                                             Bi8MBM85seeBBNMEN

                                                                                                                                                              06/24/20                    S2010595.001
  445    Communipaw                        Avenue                                                                                                             REM1T TO:
                                                                                                                                                                                                      ggggggg
            City  NJ               07304                                                                                                                      =-=e==
  Jersey                                                                                                                                                      "5 °°"=^"
  201-333-2600                  Fax        201-333-7376                                                                                                       JERSEYCITY NJ 01304                                     1



                BILL    TO:                                                                                                 SHIP TO:
                FAHRENHEIT         MECHANICAL                                                                               FAHRENHEIT    MECHANICAL
                120       BROADWAY    36TH   FLOOR                                                                          120  BROADWAY    36TH   FLOOR
                NEW       YORK,           NY      10271                                                                     NEW             YORK,       NY        10271




          47848                    pier          57                                                                                                                      Dan        Marucci



  Shelly               Thielmann                              WC    WILL           CALú                               N3T         30         DAfS                        06/24/20                     06/24/20
 RARTN0+          .          E5CRIPTEN                      GCER QM         SHIF OTY          U5T        F0MULA             NET                                                                          EXT. PRICE
            e * * * * * * * * * * * * * * * * * * * * * * * * * * * * * e * * * * * * * * * * * * * * * * * * * * * * * * * * * W***                                                          ********
            *                      stated                           Tree"                                                                                                                                        *
                  If      NOT                         "Lead                         or          "LF",                 t1e         products                    listed             may        cantain
            *   lead        and                       NOT*                                                                                                    water                                              *
                                          *CAN                     ba       used          fMr        potabLe/drinking                                                          service.
            **********************                                      t*******               +*******************************t*******
 133994     MUELLER PRS 1-1/2             P X 1 P COUPLING                          8ea                            8ea            49.480ea             *.38                     18.802ea                             150.42
                 01065
 133991     MUELLER PRS 1-1/4             P X 1 P COUPLING                          4ea                            4ea            29.760ea             *.38                     11.309ea                              45.24
                 01056
 107620     2-1/2       X 10 TYPE L HARD COPPER TUBE                               10ft                        10ft                9.548FT              Net                       9.548FT                             95.48
 121704     2-1/2       X 2 STD BRASS COUPLING - LEAD                               8ea                            5ea        101.786ea                 Net                    101.786ea                             508.93
                 FREE ****      LEAD FREE ****
 121676     2-1/2       STD BRASS COUPLING -           LEAD                         8ea                          8ea              79.463ea              Net                     79.463ea                             635.7C
                 FREE ****      LEAD FREE ****
 25023      2 1/2       C X MIPS ADAPTER W 01196                                    8ea                          8ea          319.750ea                *.16                     51.160ea                             409.28
 134052     MUELLER PRS 2 P X F ADAPTER                                             4ea                          4ea              96.130ea             *.38                     36.529ea                             146.12
                 01287
 134000     MUELLER PRS 2 P X 1-1/2               P COUPLING                        4ea                          4ea              49.320ea             *.38                     18.742ea                              74.97
                 01073
 133999     MUELLER PRS 2 P X 1-1/4               P COUPLING                        4ea                          4ea              63.500ea             *.38                     24.130ea                              96, 52
                 01074
 134066     MUELLER PRS 1 P X M ADAPTER                                            12ea                        12ea               16.160ea             *.38                      6.141ea                              73.69
                 01163
 134065     MUELLER PRS 3/4           P X M ADAPTER                                36ea                        36ea                8.650ea             *.38                      3.287ea                             118.33
                 01146
 134236     MUELLER PRS 1 P X P UNION                                              12ea                        12ea               66.310ea             *.38                     25.198ea                             302.37
                08005
 134235     MUELLER PRS 3/4           P X P UNION                                  36ea                        36ea               40.740ea             *.38                     15.481ea                             557.32
                08004




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FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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NYSCEF DOC. NO. 21                                                                                                               RECEIVED
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 IDEAL
  SU    P P L Y        Co

                                                                                                                      06/24/20                     S2010595.001
         Communipaw
  445

  Jersey    City NJ               07304
                                          Avenue
                                                                                                                      -    -
                                                                                                                      Reux t To:                                   PAct we

                                                                                                                      "'   """""'""        """
  201-333-2600                Fax         201-333-7376                                                                                                                       2



              BILL    10:                                                                       SHIP 10:
              FAHRENHEIT    MECHANICAL                                                          FAHRENHEIT    MECHANICAL
              120  BROADWAY    36TH    FLOOR                                                    120  BROADWAY    36TH   FLOOR
              NEW YORK,   NY     10271                                                          NEW      YORK,      NY     10271




           47848                  pier        57                                                                                  Dan        Marucci



  Shelly
                     Thielmann                           WC   WILL    CAL   L             NET      30      DAfS                   06/24/20                   06/24/20
 PMTtw.                           DE500PTwN                       ORDER
                                                                      OTY       $UP GTY            LIST           F0MULA              NET                     EXT. PRICE




               1010106D.40MtM            PM         9A.0T0505..




                                  CtH-A




                                                                                                                                  Subtotal                        3214.37
                                                                                                                                  S&H       CHGS                        0.00
                                                                                NJ                      6.625
  Invoice             is    due          by   07/24/20        .                                                                 Sales            Tax                212.95
All claims for shortage or errors iaust be madeat once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable.
Past due invoices     may be subject     to 1.50% Late charge.
                                                                                                                           **    Reprint     **    Rep*int   **   Reprint    **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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NYSCEF DOC. NO. 21                                                                                                                                                               RECEIVED
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 IDEAL
  Su    P P L Y          Co

                                                                                                                                                                       06/24/20                    S2010602.001
  445       Conununipaw                   Avenue                                                                                                                   REn1110:                                     ggsgggg
              City            NJ     07304                                                                                                                         M             MPM
  Jersey                                                                                                                                                           "5      °""""    """
  201-333-2600                     Fax      201-333-7376                                                                                                           JERSEYCITY NJ 07304



              BILL      TO:                                                                                                       SHIP TO:
              FAHRENHEIT    MECHANICAL                                                                                            FAHRENHEIT                       MECHANICAL
              120  BROADWAY    36TH    FLOOR                                                                                      120          BROADWAY               36TH   FLOOR
              NEW YORK,   NY     10271                                                                                            NEW          YORK,             NY        10271




 ¾Ñ Î                                         E!ilMBE           M S$##NME EEEEelissies!!!iMBEstEBiBREMsileisiss!HsiiftisisB98951##95t!Eif52

          47848                      PIER        57                                                                                                                               Dan        Marucci



  Shelty               Thielmann                                WC    WILL           CALL                                 NET            30      DAfS                             06/24/20                      06/24/20


             k*********************                                       k*******             k*******                        k*******                 t****            k**********                    4*******
                                                                          Pree"                                                                                                                                            *
                  If         NOT     stated             "Lead                         or           "LF",                  t1e            produMts                      listed              may        contain
                            and                         NOT*                  used                                                                                                                                         *
                lead                *CAN                             b3                    fMr      potable/drinking                                               water                service.
              *********************                                       &*******           k*******          k*******                                 &****            &**********                    &*******

 133995      NUELLER PRS 1-1/2           P X 1-1/4        P CPLG                     14ea                            14ea                43. 810ea              *.38                       16.648ea                             233.07
               01064
 134237      MUELLER PRS 1-1/4           P X P UNION                                  2ea                              2ea               %.330ea                *.38                     36.605ea                                73.21
               11205




                                                                                                                                                                                  Subtotal                             306       .28
                                                                                                                                                                                  S&H        CHGS                              0.00
                                                                                                    NJ                                        6. 625
  Invoice               is     due       by      07/24/20.                                                                                                                      Sales          'fax                        20.29
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable·                                                                                   Amount               Due                     326.57
Past due mvoices      may be subject    to 1.50% late charge.
                                                                                                                                                                          **     Reprint      **   Reprint      **   Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
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  "3   DOC. NO. 21                                                                                                                                        RECEIVED NYSCEF: 04/08/2022
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  5 u P P L Y             e a

                                                                                                                                                06/26/20                    S2010751.001
  445    Communipaw                           Avenue
                                                                                                                                                    = -
                                                                                                                                            RenIT TO:
                  NJ                  07304
                                                                                                                                            =
  Jersey    City
                                                                                                                                            *  °"°"¹"     ""=
  201-333-2600                    Fax         201-333-7376                                                                                  JERSEYCITY NJ 07304



              BILL       TO:                                                                                  SHIP To:
              FAHRENHEIT    MECHANICAL                                                                        FAHRENHEIT                    MECHANICAL
              120  BROADWAY    36TH    FLOOR                                                                  120         BROADWAY                  36TH            FLOOR
              NEW YORK,   NY     10271                                                                        NEW         YORK,           NY        10271




           47848                      PIER        57                                                                                                       Dan         Marucci
                                                                                                                                                                 $.P   DATE                   GRD)ER
                                                                                                                                                                                                   DATE


  Shelly                Thielmann                              WC     NILL         CAL                  NET         30      DAfS                           06/26/20                      06/26/20
 PARTN0+                     DESCRIPTIOR                   ORDER OTY                         SUP an            LIST       FORBULA                              NET                       EXT. PUCE
              * * * * * * * * * * * * * * * * * * * * * e* * * * * * *                     * * * * * * * t * * * * * * * v* * *  e                       * * * * * ****          v *******
                                                                         free"                                                                                                                        *
                   If  NOT       stated                "Lead                         or    "LF",        t   1e      products                    listed              may        cantain
                lead        and      *CAN              NOT*         ba      used        fMr      potabLe/drink                              w ater        servic                 a.                   *
                                                                                                                                   ing
              *********************                                      v****************************                                        v**********                        v*******

 8046        2 1/2       X 2 VICT #50 CONC RED BLK                                   lea              1ea        149.000ea               *.35                       52.150ea                                52.15
 8590        2 1/2       VICT #20 TEE BLK                                           2ea               2ea        196.50Dea               *.35                     68.775ea                                 137.55
 27100       2 1/2       VICT #741 FLG BLK                                          3ea               3ea        517.500ea               *.35                    181.125ea                                 543.38
 109214      2 VIC #107 QUICK ZERO FLEX COUPLING                                    4ea               4ea        108.500ea               *.35                     37.975ea                                 151.90
 109215      2-1/2       VIC #107 QUICK ZERO FLEX                                  24ea              24ea        123.500ea               *.35                     43.225ea                                1037.4C
               COUPLING
 133994      MUELLER PRS 1-1/2            P X 1 P COUPLING                          2ea               2ea           49.480ea             *.38                     18.802ea                                  37.60
                01065
 92835       3/4 X 10'          TYPE L HARD COPPERTUBE                             50ft              50ft            4.234ft             *.38                        1.609ft                                80.44
 133971      MUELLER PRS 1-1/4            P X P COUPLING                            2ea               2ea           14.440ea             *.38                        5.487ea                                10.97
               10148
 134379      MUELLER PRS 1-1/4            P X P SR 90 ELL                           4ea               4ea           26.910ea             *.38                     10.226ea                                  40.90
               02084




               201010trit       t.1t1%    M                $10%7fa.




                                         ADR           )




                                                                                                                                                          Subtotal                             2092.29
                                                                                                                                                           S&H         CHGS                               0.00
                                                                                            NJ                           6.625
  Invoice                is     due      by       07/26/20.                                                                                              Sales          Tax                      138.61
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable.                                                            Amount               Due                    2230         . 90
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                   **     Reprint      **   Rep'int      **    Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
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  SU P P L Y                  c o

                                                                                                                                                                       06/26/20                   s2010751.002
  445       Communipaw                            Avenue                                                                                                               REnIT TO:                                agggg            gg g
              City   NJ                    07304                                                                                                                       = ==         ==       =
  Jersey                                                                                                                                                               "" °°""°"""   ==
  201-333-2600                            Fax   201-333-7376                                                                                                           JERSEYCITY NJ 01304



                  BILL       TO:                                                                                                           SHIP TO:
                  FAHRENHEIT    MECHANICAL                                                                                             FAHRENHEIT    MECHANICAL
                  120  BROADWAY    36TH   FLOOR                                                                                        120  BROADWAY    36TH   FLOOR
                  NEW             YORK,        NY      10271                                                                           NEW YORK,   NY   10271




            47848                          PIER      57                                                                                                                           Dan        Marucci
                         ,        wrr£R                                              SiIPVIA                                                         TEM5                               SNP MIE                     ORDEll0ATE


  Shelty                 Thielmann                                 WC    WILL            CALL                                  NIT            30      DAfS                        06/26/20                     06/26           /20
 PMF N0.                       MSCRIPTEN                      ORDER OTY       5HIP OTt          LIST        F0MULA            NET                                                                              EXT. PRICE
              e * * * * * * * * * * * * * * * * * * * * * v * * * * * * * e * * * * * * * e -A* * * * * * e * * * * v * * * -k * * ****                                                                e*******
              +                                                              free"                                                                                                                                       *
                    If            NOT      stated          "Lead                           or           "LF",                  tTe            produ:ts                 listed          may           cMntain
                    lead        and      *CAN              NOT*         be      used             fMr                                                                   water         service.                            *
                                                                                                               potabLe/drinking
                  *************************************                                                                              v*******                  &***********************
 40730        2 x 10'             STD BLK C/W PIPE TBE                                    10ft                             10ft                 3.910ft              Net                   3.910ft                               39.10
                   2 PCS - 2 X 48"             THRD X THRD
                   *******************************
 28931        2 STANDARDTHREAD END CHARGE                                                  2ea                               2ea                4.844ea              Net                   4.844ea                                   9.69




                                                                                                                                                           È                      Subtotal                               48.79
                                                                                                                                                                                  S&H       CHGS                             0.00
                                                                                                          NJ                                       6.625
  Invoice                    is      due       by    07/26/20.                                                                                                                  Sales         Tax                            3.23
All claims for shortage or errors must be madeat once, Returns require written
authorization and are subject to handling charges.  special orders are non-returnable.                                                                                     Amount             Due                        52.02
Past due invoices     may be subject    to 1,50% late charge.
                                                                                                                                                                           **    Reprint     **   Reprint      **    Reprint         **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 21                                                                                                                                                  RECEIVED
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   DEAL
  s U P P LY                C

                                                                                                                                                           06/26/20                   S2010819.001
         Communipaw                                Avenue
                                                                                                                                                               -
  445                                                                                                                                                  REuIT TO:                                                       ¡
                                                                                                                                                                                                   as
            Cit   NJ                       07304                                                                                                       =      == a
  Jersey                                                                                                                                               * ""¹"   ""
  201-333-2                     00    Fax          201-333-7376                                                                                        JERSEYCITY NJ 07304                                         1



               BILL TO:                                                                                                      SHIP To:
               FAHRENHEIT    MECHANICAL                                                                                      FAHRENHEIT    MECHANICAL
               120  BROADWAY    36TH   FLOOR                                                                                 120  BROADWAY    36TH  FLOOR
               NEW              YORK,          NY        10271                                                               NEW          YORK,      NY        10271




         47848                             PIER        57                                                                                                             Dan        Marucci



  Shelty                 Thielmann                                  WC    'vILL           CALi                       NIT            30       DAfS                     06/26/20                    06/26/20
 PARCNG.                      afi5CWHCN                      0ME 01Y         SH2F01Y           LIST        F0PMULA           ET                                                                    EXT. PRICE
               * * * * * * * * * * * * * * * * * * * * * v * * * * * * * e * * * * * * * v * * * * * * * v * * * * e e * * * * *****                                                       v*******
                                                                              Tree"                                                                                                                          *
                    If          NOT        stated           "Lead                           or         "LF",         t1e            produ:ts           listed           may             cantain
                 lead        and     *CAN                   NOT*         b3       used           fMr                                                   water          service.                               *
                                                                                                             potabLe/drinking
               *********************                                          v***************                              g************                  v******************
 98028        5-3        x 1-1/2      3000#    C/S THREADOLET                               6ea                    6ea              25.750ea        *.35                      9.013ea                              54.08
 35479        1 1/2        APOLLO #70-107-01             BRNZ THRD                          Sea                    Sea              99.380ea        *.70                    69.566ea                              347.83
                END BALL
 15272        1 1/2        X 4 STD BLK STEEL NIPPLE                                         Sea                    8ea               4.471ea         Net                      4.471ea                              35.77
 29034        11/2        125# BCI SQ HD PLUG CORED                                         2ea                    2ea              12.820EA        *.28                      3.590EA                                  7.18




                21%l¾D.4             WM"At     #¾            %1%½%¼.




                                                                                                                                                                      Subtotal                            444.86
                                                                                                                                                                      S&H      CHGS                              0.00
                                                                                                        NJ                               6.625
  Invoice                  is        due      by       07/26/20.                                                                                                   Sales        Tax                         29.47
All claims for shortage or errors must be madeat once, Returns require written
authorization and are subject to handling charges.  Special orders are non-returnable·                                                                        Amount              Due                     474      . 33
Past due invoices     may be subject    to 1.50% tate charge.
                                                                                                                                                              **    Reprint      **   Rep int     **    Reprint     **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF
  83   DOC. NO. 21                                                                                                                                       RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                                   Invoice

 IDEAL
  SU     P P LY           c

                                                                                                                                               06/29/20                    S2010904.001
         Communipaw                           Avenue
                                                                                                                                                   -
  445                                                                                                                                      REMIT TO:

            City  NJ                  07304                                                                                                =                so-
  Jersey                                                                                                                                   "5 "*°""      ^""
  201-333-2600                      Fax       201-333-7376                                                                                 JERSEYCITY NJ 07304



                BILL     TO:                                                                                     SHI P TO:
                FAHRENHEIT    MECHANICAL                                                                         FAHRENHEIT    MECHANICAL
                120  BROADWAY    36TH   FLOOR                                                                    120  BROADWAY    36TH   FLOOR
                NEW           YORK,        NY       10271                                                        NEW        YORK,        NY        10271




          47848                       PIER        57                                                                                                      Dan       Marucci



  Shelby               Thielmann                               WC    TILL           CALL                   N3T       30      DAYS                         06/29/20                     06/29/20
                                                                                                                                                                                                         ''
 PARTD.                               DESCMPTION                            ORDERQTY     5NFOTY                       UST            F0MULA              NET                           ENT. PNCE
            k*********                   Ä***  k*        *****           4* x*****   k*******                   k*******            E***  Ã- k**********                       k*****-k*
            *                                                            Pree"                                                                                                                    *
                  If          NOT      stated          "Lead                         or        "LF",       t1e       produ:ts                  listed              may       c>ntain
            +              and                         NOT*                  used                                                                                                                 *
               lead                *CAN                             ba                     fMr      potabie/drinking                    water                   service.
            &*********************                                       ********             e*******         +************e**********                                        v*******

 92835      3/4        X 10¹    TYPE L HARD COPPERTUBE                              50ft                 50ft          1.478ft           Net                       1.478ft                              73.88
 31764      3/4        X 1/2    C X C CPLG WITH STOP                                 2ea                  2ea          9.570ea          *.18                       1.723ea                                    3.45
                 WB01036
 5903       1/2        X 3 STD BRASS NIPPLE                                          2ea                  2ea          3.169ea           Net                       3.169ea                                    6.34
 134377     MUELLER PRS 3/4               P X P SR 90 ELL                            6ea                  6ea          6. 600ea         *.40                       2.640ea                              15.84
                 01634
 29034      11/2        125# BcI      SQ HD PLUG CORED                               4ea                  4ea          3.204EA           Net                       3.204EA                              12.82




                inwaraBBWT                  MA          MMO%04




                                                                                                                                                          Subtotal                            112.33
                                                                                                                                                          S&H       CHGS                              0.00
                                                                                                NJ                        6.625
  Invoice                is     due        by     07/29/20.                                                                                             Sales         Tax                             7.44
All claims for shortage or errors must be madeat once. Returna reqttire written
authorization and are subject to handling charges.  Special orders are non-returnable.                                                            hount               Due                     119.77
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                  **     Reprint     **    Reprint     **   Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 21                                                                                                                                              RECEIVED
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 IDEAL
  S U P P L Y              Co

                                                                                                                                                       06/29/20                    S2010937.001
  445    Communipaw                            Avenue                                                                                              REMIT TO:

            City  NJ                   07304                                                                                                       = === so- =
  Jersey                                                                                                                                           * °°""°"""    ""°"
  201-333-2600                       Fax       201-333-7376                                                                                        JERSEYCITY NJ 07304



                 BILL     TO:                                                                                      SHIP TO:
                 FAHRENHEIT    MECHANICAL                                                                          FAHRENHEIT    MECHANICAL
                 120  BROADWAY    36TH   FLOOR                                                                     120  BROADWAY    36TH   FLOOR
                 NEW           YORK,        NY       10271                                                         NEW        YORK,              NY        10271




           47848                       PIER        57                                                                                                             Dan        Marucci



  Shelly                Thielmann                               WC    WILL           CALa                    NET        30      DA          S                     06/29/20                     06/29          /20
 PARTNO.                               DE5CRIPTION                           GOER OTY             SHIP OTY              LT5T       FORMULA            NET                EXT. PRICE
             k**********-k**                         *******              4*******              **Â****           k**   * * * * * k * * * * k * * * * * * * * * * Ù * * ** * * *
             *                                                            ?ree"                                                                                                                          *
                   If          NOT      stated          "Lead                         or        "LF",        t1e        produ3ts                   listed                 may        c)ntain
                   lead        and     *CAN             NOT*         be       used         f     r                                                 water                servica.                         *
                                                                                                      potabLe/drinking
                 *********************                                    &*******             ********         e*******                   +****&**********                            &*******

 35335       3/4        APOLLO #70-104-01         BRNZ THRD END                       4ea                   4ea         36.850ea                *.58                      21.373ea                              85.49
                  BALL
 35281       1/2        APOLLO #70-103-01         BRNZ THRD END                       6ea                   6ea         22.340EA                *.58                      12.957EA                              77.74
                  BALL
 134066      MUELLER PRS 1 P X M ADAPTER                                              6ea                   6ea         16.160ea                *.41                       6.626ea                              39.75
                  01163
 134065      MUELLER PRS 3/4               P X M ADAPTER                              4ea                   4ea            8,650ea              *.41                       3.547ea                              14.19
                  01146




                                                                                               MM                                    $ê!                          Subtotal                             217.17
                                                                                                                                                                  S&H       CHGS                              0.00
                                                                                                 NJ                          6.625
  Invoice                 is     due        by     07/29/20.                                                                                                   Sales          Tax                       14.39
All claims for shortage or errors must be madeat once. Returns require Written
authorization and are subject to handling charges.  Special orders are non-returnable·                                                                    Amount              Due                      231.56
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                          **    Reprint      **    Reprint     **   Reprint         **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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                                                                                                                                                              06/29/20                    S2011053.001
        Communipaw
                                                                                                                                                                  - -
  445                                         Avenue                                                                                                          REM1T TO:                                     P at ra
                                                                                                                                                              r-
           City NJ                    07304
 Jersey                                                                                                                                                       = ca"""ª"     ^"
  201-333-2600                      Fax       201-333-7376                                                                                                    JERSEYCITY NJ D7304                                      1



                 BILL     To:                                                                                                 SHIP TO:
                 FAHRENHEIT    MECHANICAL                                                                                     FAHRENHEIT    MECHANICAL
                 120  BROADWAY    36TH   FLOOR                                                                                120  BROADWAY    36TH   FLOOR
                 NEW          YORK,          NY      10271                                                                    NEW YORK,   NY   10271




           47848                      pier          57                                                                                                                   Dan        Marucci



  Shelly                Thielmann                                WC    WILL           CAL                               NCT        30        DAvS                        06    /29/20                  06/29/20
 VART©.                               DESCRIPTI0tt                            GRDER OTY      SHIP OT(                              LIST           FORMULA                     NET                       QT. PRICE
             y ****           w**"*********                *****             k i'* WE* * r * * * * * * * *                         * *           e * * * * y * ***                      k * -k     * * * * * * *
             *                                                             Free"                                                                                                                                  *
                   If         NOT     stated             "Lead                           or           "LF",             tTe        produMts                   listed            may         c3ntain
             *   lead        and             *CAN        NOT*         bM       used           f3r                                                             water            servic3.                           *
                                                                                                           potable/drinking
             **********************                                        ********                 ********t*******                             &****          ***********                      &*******

 8590        2 1/2        VICT #20 TEE BLK                                              2ea                            2ea      196.500ea              *.35                     68.775ea                              137.55
 15359       1 1/2        X 5 STD BLK STEEL NIPPLE                                      1ea                            lea          4.556ea              Net                      4.556ea                                  4.56
 134379      MUELLER PRS 1-1/4               P X P SR 90 ELL                            6ea                            6ea         26.910ea            *.40                     10.764ea                               64.58
                  02084
 36958       3/4X3/4          MPT X MALE HOSE ADAPT                                     4ea                            4ea          2.147EA              Net                     2.147EA                                   8.59
 5962        1 1/2        X 3/4     150# BMI CPLG                                       2ea                            2ea         37.250ea            *.28                     10.430ea                               20.86
 71849       5/8        X 3 STD PLTD HEX HD CAP SCREWS                                  4ea                            4ea          0.907ea              Net                     0.907ea                                   3.63
 41972       5/8        PLTD HVY HEX NUTS                                               4ea                            4ea          0.392ea              Net                     0.392ea                                   1.57
 134377      MUELLER PRS 3/4              P X P SR 90 ELL                              36ea                       36ea              6.600ea            *.40                      2.640ea                               95.04
                  01634
 133969      MUELLER PRS 3/4              P X P COUPLING                               30ea                       30ea              5.580ea            *.40                      2.232ea                               66.96
                  10146
 40612       3/4        X 10 STD BLK A53 C/W PIPE TBE                                 100ft                      100ft              1.400ft              Net                      1.400ft                             140.00
 15726       1 1/2        150# BRASS UNION                                              lea                            1es         46.874ea              Net                    46.874ea                               46.87
 30071       1 1/2        150# BMI 90 ELL                                               6ea                            6ea          6.919ea              Net                     6.919ea                               41.51
 15114       1 1/2       X SH STD BLK STEEL NIPPLE                                      8ea                            8ea          2.672ea              Net                     2.672ea                               21.38
 15272       1 1/2       X 4 STD BLK STEEL NIPPLE                                       6ea                            6ea          4.472ea              Net                     4.472ea                               26.83
 84255       3/4        OD TUBING CUSHION STRUT CLAMP                                  12ea                       12ea              1.935ea              Net                     1.935ea                               23.22
 119881      MILWAUKEE PART# 49-56-0043                   ICE                           lea                            lea          7.233ea              Net                     7.233ea                                   7.23
               HARDENEDTMHOLE SAW 1"
 119906      MILWAUKEE PART# 49-56-7010                   HOLE SAW                      1ea                            1ea          8.233ea              Net                     8.233ea                                   8.23
               SMALL ARBOR 3/8" SHANK




                                                                                          TM Jupistliction                    TBx Ate°




                                                                                              **     Reprint      **     Reprint        **   Reprint     **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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                                                                                                                                                    06/29/20                    S2011053.001
  445       Communipaw                          Avenue                                                                                              Ren1T To:
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  Jerse        Cit   NJ                    07304                                                                                                    =         s«em =
  201-                                                                                                                                              "5 °°""""     ^""
                     3-2         00       Fax   201-333-7376                                                                                        JERSEYCITY NJ 07304                                          2



                 BILL       To:                                                                                           SH1P TO:
                 FAHRENHEIT               MECHANICAL                                                                     FAHRENHEIT                 MECHANICAL
                 120             BROADWAY   36TH    FLOOR                                                                 120         BROADWAY         36TH   FLOOR
                 NEW             YORK,             NY           10271                                                    NEW          YORK,       NY     10271




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        CSI

            47848                           pier               57                                                                                              Dan        Marucci
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                                 WTR                    ....
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                                                                                                                                                                           DATE                   0ER    VATE
                                      ,                                 ,,,, .           , , ,                          , ,                 ,                        . .....,,,           ,,,,....          ,,         ,


  Shelly                   Thielmann                                    WC       WILL       CALL                    N3T         30      DAfS                   06/29/20                      06/29/20
 PARTN                                      DESCRIPTION                             0RDEROTY             SHIP QTY               LIST            F0MWA                NET                      EXT. PRICE




                                                                                                                                                               Subtotal                                 718.61
                                                                                                                                                               S&H      CHGS                                0.00
                                                                                                        NJ                           6.625
  Invoice                   is        due      by          07/29/20.                                                                                         Sales          Tax                           47.61
All claims for shortage or errors must be made at once. Returns require Written
authorization and are subject to handling charges.   Special orders are non-returnable.                                                                 hou11t              Due                         766.22
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                        **    Reprint      **   Reprint      **   Reprint         **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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  Su     P PLY            Co

                                                                                                                                                       06/30/20                     S2011201.001
         Communipaw                      Avenue
                                                                                                                                                            -""ª" s- ""=
  445                                                                                                                                                  REnzT To:                                      PAer xe
            City NJ                 07304                                                                                                             =
  Jersey                                                                                                                                              *
  201-333-2600                     Fax   201-333-7376                                                                                                 JERSEYCITY NJ 07304



              BILL To:                                                                                                  SHIP TO:
              FAHRENHEIT                   MECHANICAL                                                                 FAHRENHEIT    MECHANICAL
               120         BROADWAY            36TH         FLOOR                                                     120  BROADWAY    36TH   FLOOR
              NEW          YORK,  NY              10271                                                               NEW            YORK,           NY      10271




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           47848                    PIER       57     RTN                                                                                                          Dan        Marucci



  Shelly                Thielmann                           OT        OUR        TRUCI                            N3T          30      DATS                        06/30/20                     06/30/20
 PARTNo.                            DE5CRIPTIOR                           0REOTY                            GTY              LI5T             FORMlILA                HET                        EXT. PRICE
  ""'                                                                                                                                         ***'*"*****************'W"
             *************                          ************"W****                                     ****         *******
                                                                      Tree"                                                                                                                                *
                   If      NOT       stated         "Lead                            or           "LF",           t   e        produ:ts               listed                may       cantain
                 lead        and     *CAN           NOT*         be       used            far                                                         water              service.                          *
                                                                                                      potable/drinking
               *********************                                  k*******                  v*******                *******              k****         ***********                  k*******

 40612       3/4        X 10 STD BLK A53 C/W PIPE TBE                            -100ft                    -100ft               1.400ft              Net                    1.400ft                            -140.00
                **      Original    Sale   : S2011053.001        **




                                                                                                                                                                   Subtotal                          -140.00
                                                                                                                                                                   S&H       CHGS                              0.00
                                                                                                   NEWYORKCI                        8.875
                                                                                                                                                                 Sales         Tax                         -9.28
All claims for shortage or errors must be madeat once. Returns require Written
authorization and are subject to handling charges.  Special orders are non-returnable "                                                                     AmOunt             Due                   -149.28
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                            **    Reprint     **    Rep'int     **   Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 21                                                                                                                                                     RECEIVED
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         Communipaw                           Avenue
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  445                                                                                                                                                        REurT TO:                                                     gp;
                                                                                                                                                                                                      gggagg
                 NJ                      07304                                                                                                               =        soeen
  Jersey    City
                                                                                                                                                             "5 """""      ""
  201-333-2600                          Fax   201-333-7376                                                                                                   JERSEYCITY NJ 07304



                  BILL TO:                                                                                                       SHIP TO:
                  FAHRENHEIT    MECHANICAL                                                                                       FAHRENHEIT    MECHANICAL
                  120  BROADWAY    36TH  FLOOR                                                                                   120  BROADWAY    36TH   FLOOR
                  NEW           YORK,        NY        10271                                                                     NEW       YORK,         NY       10271




            47848                        PIER       57                                                                                                                  Dan        Marucci
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  Shelly                 Thielmann                                WC      NILL           CALfa                            NTT        30      DAYS                       06/30/20                     06/30/20
 PARTrm.                                DEscRIPT]0h                               cess on                  smP m                      un          EcRMuta            NET                m. PmcE
              k*****************                                k***          k*******                 4*******                 k * * * * * * * k * -k * * 4 * * * * * * * * * * 4 * * * * * * *
              *                                                               Pree"                                                                                                                             *
                    If          NOT      stated          "Lead                              or           "LF",            t2e        produ:ts                listed              may       cantain
                  lead        and            *CAN        NOT*            be       used           far                                                         water            service.                          *
                                                                                                               potabLe/drinking
              t*********************                                          4*******                 4*******t*******                            k****t**********                          k*******

 92835        3/4        X 10'    TYPE L HARD COPPERTUBE                                 100ft                     100ft               1.694ft           Net                     1,694ft                             169.44




                  to1om         m orns¼ns                     stomos..




                                                                                                            H                                                           Subtotal                            169.44
                                                                                                                                                                        S&H       CHGS                              0.00
                                                                                                          NJ                              6.625
  Invoice                  is      due       by     07 / 3 0 /20.                                                                                                     Sales         Tax                         11.23
All claims for shortage or errors must be madeat once. Returna require written
authorization and are subject to handling charges.  Special orders are non-returnable.
Past due invoices     may be subject    to 1,50% Late charge.
                                                                                                                                                                 **    Reprint     **    Reprint     **   Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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                                                                                                                                                        07/01/20                    s2011273.001
  445

  Jersey
         Communipaw
            City  NJ                     07304
                                                 Avenue                                                                                              REur T To:
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  201-333-2600                          Fax      201-333-7376                                                                                        JERSEYCITY NJ 07304                                         1



               BILL        TO:                                                                                          SHIP TO:
               FAHRENHEIT    MECHANICAL                                                                                 FAHRENHEIT    MECHANICAL
               120  BROADWAY    36TH  FLOOR                                                                             120  BROADWAY    36TH   FLOOR
               NEW              YORK,         NY       10271                                                            NEW         YORK,          NY       10271




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            47848                        PIER         57                                                                                                           Dan        Marucci
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  Shelty                 Thielmann                                 WC        SILL        CALL                     NET         30       DAfS                        07/01/20                     07/01/20
 PART                                        PTI0tt
                                         DESCRI                                  ORDEROTY     5HIP GTY                        LIST             FORVULA            ET                            EXT PRICE
              4*********************                                         k*******     k*******                     k*******               k****   k**********                       k*******
                                                                             free"                                                                                                                         *
                    If          NOT       stated           "Lead                           or         "LF",       t1e        products                listed                may        c3ntain
                 lead        and     *CAN                  NOT*         be       used           fMr                                                  water               service.                          *
                                                                                                           potabLe/drinking
               *********************                                         v***************                          v************                      v**********                   v*******

 134104       MUELLER PRS 1 P X P X P TEE                                                  6ea                   6ea          20.060ea           *.42                       8.425ea                              50.55
                04048
 134049       MUELLER PRS 1 P X F ADAPTER                                                  6ea                   6ea          17.960ea           *.42                      7.543ea                               45 .26
                01263
 31661        3/4        X 1/4    C X C CPLG WITH STOP W                                 12ea                   12ea          11.880ea           *.18                      2.138ea                               25.66
                01038




                                                                                                  þ                                                                Subtotal                            121.47
                                                                                                                                                                   S&H       CHGS                              0.00
                                                                                                      NJ                           6. 625
  Invoice                  is      due        by     07/31/20.                                                                                                  Sales          Tax                             8 . 05
All claims for abortage or errors must be madeat once. Returns require written
authorization and are subject to handling charges.  Special orders are non-returnable.                                                                     Amount                                                     52
                                                                                                                                                                               Due                     129.
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                                                           **    Reprint      **    Rep'int     **   Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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  S u P P L Y               CP

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            Communipaw                              Avenue
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  445                                                                                                                                               REniT TO:
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  Jerse        Cit   NJ                     07304                                                                                                   =
  201-
                                                                                                                                                    ""    °*""
                3-2             00     Fax          201-333-7376                                                                                    JERSEYCITY NJ 07304



               BILL T0;                                                                                                  SHIP TO:
               FAHRENHEIT    MECHANICAL                                                                                  FAHRENHEIT    MECHANICAL
               120  BROADWAY    36TH  FLOOR                                                                              120  BROADWAY    36TH  FLOOR
               NEW              YORK,           NY        10271                                                          NEW       YORK,         NY        10271




            47848                           PIER        57                                                                                                        Dan        Marucci



  Chriatopher                          Luciano                       WC    WILL           CAL                      NET       30       DA(S                        07/02/20                    07/02          /20
 PARTNO.                           DE5CRIPTION                                    GDER QTY         5HIP OTY           LIST                  FORMULA           NET                            EXT. PRICE
              k***********-k*********                                          k * * * * * * * k * * * * * * * k*******                    k****  k**********                          k* * * * * × *
                                                                               Pree"                                                                                                                    *
                    If          NOT         stated           "Lead                          or        "LF",        tTe      produ:ts                listed                may        cmtain
                    lead              and       *CAN         NOT*         b3       used           fMr                                               water               servic3.                        *
                                                                                                           potabie/drinking
               *********************                                           k*******             ********          k*******             +***************                            e*******

 320          3/4        C X C 90 ELL WB01634                                              30ea                  30ea            8.020EA        *.15                       1.203EA                             36.09
 22057        3/4        C X C X C TEE W804031                                             12ea                  12ea        14.730ea           *.15                       2.210ea                             26.51
 6793         3/4        X 11/2       STD BRASS NIPPLE                                     12ea                  12ea            2,137ea         Net                       2.137ea                             25.64
 4796         3/4        FTG X C 90 ELL WB01654                                            12ea                  12ea        11.580ea           *.15                       1.737ea                             20.84
 121350       3/4        C X MIPS UNION LEAD FREE                                           6ea                   6ea       139.860ea           *.15                     20.979ea                             125.87
                ****        LEAD FREE ****
 92835        3/4        X 10'       TYPE L HARD COPPERTUBE                               120ft                120ft             1.881ft         Net                       1.881ft                            225.74
 30295        3/4        C X C CPLG WITH STOP WB01034                                      12ea                  12ea            5.630ea        *.15                      0.845ea                              10.13
 134103       MUELLER PRS 3/4                 P X P X P TEE                                16ea                  16ea        10.940ea           *.42                      4.595ea                              73.52
                04031




                1920IONDU02&53                  fu            31Mm5.




                                                                                                                                                                  Subtotal                            544.34
                                                                                                                                                                  S&H     CHGS                               0.00
                                                                                                       NJ                         6.625
  Invoice                  is        due       by       08/01/20.                                                                                              Sales          Tax                       36.         06
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable.                                                                                       Due
                                                                                                                                                          Amount                                      580.          40
Past due invoices     inay be subject   to 1.50% late charge.
                                                                                                                                                          **    Reprint      **    Reprint    **   Reprint         **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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 445    Communipaw                         Avenue                                                                                                      ReM1T To:                                     me.
                                                                                                                                                       TilE IDEAL SUPPLYCD
                 NJ                07304
 Jersey    City                                                                                                                                         ""°==^"==
 201-333-2600                     Fax      201-333-7376                                                                                                 JERSEYCITY NJ 07304                                      1




             BILL To:                                                                                                  SHIP TO:
             FAHRENHEIT    MECHANICAL                                                                                  FAHRENHEIT    MECHANICAL
             120  BROADWAY    36TH   FLOOR                                                                             120  BROADWAY    36TH   FLOOR
             NEW          YORK,          NY      10271                                                                 NEW         YORK,             NY        10271




          47848                    PIER         57                                                                                                                  Dan       Marucci



  Christopher                     Luciano                    WC    WILL           CAL                           N      T      30        DAfS                        07/07/20                     07/07/20

 PARTNO.                          DESCRIPTION                              DRDEROTY                SHI OTY                 LIST                 F0MBLA             0                             GL PRICE
            k*×*******************                                     k*******                '*******             k*******                   k****   k**********                       k*******
                                                                   Tree"                                                                                                               cMntain              *
                  If  NOT       stated               "Lead                          or          "LF",           t-le         produ3ts                      listed          may
                                                     NOT*                                                                                                                                                   *
               lead        and      *CAN                          be       used           far       potabie/drinking                                       water          servica.
            &*********************                                     k*******              ********          k*******                        k****t**********                          k*******

            MUELLER PRS 3/4             P X P SR 90 ELL                            48ea                    48ea                6.600ea              *.44                     2.904ea                             139.39
 134377
              01634
 134382     MUELLER PRS 3/4             FTG X P SR 90 ELL                          12ea                    12ea                6.870ea              *.44                     3.023ea                              36.27

              01654
 13355      3/4        STD BRASS SQ HEAD PLUG COR                                  18ea                    18ea                4.085ea                Net                    4.085ea                              73.52

            11/2       STD 1/16    NON ASB RING GAS                                12ea                    12ea                0.540ea                Net                    0.540ea                                 6.48
 15160
 15122      11/4       STD 1/16    NON ASB RING GAS                                12ea                    12ea                0.440ea                Net                    0.440ea                                 5.28

            2 1/2       VIC 300 B/F VALVE W/LEVE                                    2ea                      2ea           1263.000ea            *.4000                   505.200ea                             1010.40
 2324
            MUELLER PRS 1-1/2              P X P SR 90 ELL                         12ea                    12ea               50.350ea              *.44                   22.154ea                              265.85
 134380
               02085
 133972     MUELLER PRS 1-1/2              P X P COUPLING                          10ea                    10ea               26.370ea              *.44                   11.603ea                              116.03

               10149
 92835      3/4  X 10'       TYPE L HARD COPPERTUBE                               100ft                   100ft                1.999ft                Net                    1.999ft                             199.88

 13525      2 STD BRASS SQ HEAD PLUG CORED                                          2ea                      2ea              21.257ea                Net                  21.257ea                               42.51
                10' TYPE L HARD COPPERTUBE                                        100ft                   100ft                8.053ft                Net                    8.053ft                             805.25
 92839      2 X
 134381     MUELLER PRS 2 P X P SR 90 ELL                                          18ea                    18ea               70.710ea              *.44                   31.112ea                              560.02

               02086
 133973     MUELLER PRS 2 P X P COUPLING                                           12ea                    12ea               12.817ea                Net                  12.817ea                              153.80

                  10150
 134068     MUELLER PRS 1-1/2              P X M ADAPTER                            8ea                      8ea              48.590ea              *.44                   21.380ea                              171.04

               01179
 13355      3/4 STD BRASS SQ HEAD PLUG COR                                         18ea                    18ea                4.628ea                Net                    4.628ea                              83.31
                                       1-1/2"                                        1ea                     lea              58.905ea                Net                  58.905ea                               58.91
 128651     MILWAUKEE PART# 48-22-4252
                  CONSTANTSWING COPPERTUBING CUTTE:
                                         1" MINI                                     lea                     lea              23.467ea                Net                   23.467ea                              23.47
 128650      MILWAUKEE PART# 48-22-4251
                  CDPPER TUBING CUTTER


                                                                                         To Artsd¾Uon                      Tax Pnta




                                                                                          **    Reprint    **       Reprint        **   Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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                                                                                                                                 07/07/20                   S2011506.001
  445    Communipaw                          Avenue                                                                              remy To:                               as    gem
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  Jersey    Cit   NJ                 07304
                                                                                                                                 "5 °"°"""      ^""
  201-333-2               00     Fax         201-333-7376                                                                        JERSEYCITY NJ 07304                                    2



              BILL   10:                                                                            SHIP 10:
              FAHRENHEIT    MECHANICAL                                                              FAHRENHEIT    MECHANICAL
              120  BROADWAY    36TH   FLOOR                                                         120  BROADWAY    36TH   FLOOR
              NEW         YORK,          NY        10271                                           NEW              YORK,       NY   10271




 Ei!$iMesi55555E!55EE!M#E5                                   IBM          Milg@     senessese     MenEM$8EiiiElseliEE                      ssseiBE          MWMM@i!E5              Esi|812


        47848                        PIER        57                                                                                         Dan        Marucci



  Christopher                    Luciano                     WC    4ILL      CALL               NET         30        DA    S               07/07/20                   07/07/20




              2%B78T           04A6'.3   M             SB\½M.




                                                                                  EEEEM$jM            EEj                                   Subtotal                        3751.41
                                                                                                                                            S&H      CHGS                           0.00
                                                                                                                   6.625
  Invoice            is        due       by      08/06/20.                                                                                Sales         Tax                   248.53
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   Special orders are non-retumable,                                               Amount             Due                 3999.94
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                     **    Reprint     **    Rep int   **   Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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                                                                                                                                                          07/08/20                    S2011725.001
             Communipaw                         Avenue
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  445                                                                                                                                                     REN11 10:                                        gaggggy
  Jers          Cit   NJ                07304                                                                                                             =            so-
  201-
                                                                                                                                                          "' °°""°""    ""
                3-2           0    Fax          201-333-7376                                                                                              JERSEYCITY NJ 07304



               BILL    TO:                                                                                                SHIP TO:
               FAHRENHEIT    MECHANICAL                                                                                   FAHRENHEIT    MECHANICAL
               120  BROADWAY    36TH  FLOOR                                                                               120  BROADWAY    36TH   FLOOR
               NEW          YORK,           NY        10271                                                               NEW YORK,   NY   10271




         47848                          PIER        57                                                                                                               Dan        Marucci



  Christopher                      Luciano                       WC    WILL           CALL                         NET         30       DA(S                         07/08/20                     07/07/20
                                                                                                                                                                                                  EXT.'
 PART    .                       DESCUPTION                    DRDER  OTY                               BBIF GTY               UST              foRNULA           HET                                   PRICE
              e* *     * * ·* * EW * * * * * * * * * * *'W A-***'sˆ**                              t******'*                 ***             * k**  * * v * * *"s ˆW * **'W'E*******
                                                                       free"                                                                                                                                *
                 If         NOT         stated           "Lead                         or            "LF",         t1e         produ:ts                   listed             may        c3ntain
                 lead        and     *CAN                NOT*         b3       used          far                                                          w ater           servic3.                        *
                                                                                                           potabLe/drinking
               *********************                                       k*******                k*******              k*******              k****        #**********                   #*******

 24132        11/2    STD 1/16          RUBBER RING GASK                               6ea                       6ea                0.215ea            Net                    0.215ea                              1.29
 24094        11/4    STD 1/16          RUBBER RING GASK                               6ea                       6ea                0.185ea            Net                    0.185ea                              1.11
 5486         2 1/2    VIcy       #10 90 ELL BLK                                       8ea                       Bea          127.500ea          *.3500                      44.625ea                            357.00
 8046         2 1/2    X 2 VICT #50 CONC RED BLK                                       2ea                       2ee          149.000ea          *.3500                      52.150ea                            104.30
 94485        2-1/8   OD CT CUSHION STRUT CLANP                                        8ea                       Sea                8.700ea            Net                    8.700ea                             69.60




                                                                                        if           M#EM$0!!$0$                EEÍElk                               Subtotal                            533.30
                                                                                                                                                                     S&H        CHGS                            0.00
                                                                                                      NJ                             6.625
  Invoice              is         due      by       08/07/20.                                                                                                      Sales         Tax                       35.33
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable.                                                                       Amount             Due                     568      . 63
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                                                              **    Reprint     **    Rep'int     **   Reprint     **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 21                                                                                                                                                           RECEIVED
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  5U     P P L Y          CP

                                                                                                                                                                  07/08/20                     S2011909.001
  445    Communipaw                         Avenue                                                                                                                REMIT TO:                                        PAGENO
                                                                                                                                                                  r= -oe-          =
  Jersey    City  NJ                07304
                                                                                                                                                                  "' """""      """
  201-333-2600                   Fax        201-333-7376                                                                                                          JERSEYCITY NJ 07304



                BILL     TO:                                                                                               SHIP TO:
                FAHRENHEIT    MECHANICAL                                                                                   FAHRENHEIT                             MECHANICAL
                120  BROADWAY    36TH    FLOOR                                                                             120             BROADWAY                  36TH   FLOOR
                NEW YORK,   NY     10271                                                                                   NEW             YORK,            NY             10271




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          47848                     pier        57                                                                                                                            Dan           Marucci
                           WRITER                                                 5WP VIA                                                  TERME                                    5H5 DATE                     0RDERDATE
                  ,,,                             ,           ,, ,,,,,                                               , ,,,,                                                          ,,,,,,


  Shelby                Thielmann                             WC         TILL        CAL-,                          N3T          30         DA       S                        07/08/20                       07/08/20
 PMT ND.                         E5CfdPUON                                    GTGEROTY                 5HIP CITY                 LIST                F0PHULA            NET                                 EXT. PR1CE
            k***-k*****************                                       k*******                 k*******               k*   k*****              k* ***   k**********                               k* * * * * * *
            *                                                            .Free"                                                                                                                                         *
                  If       NOT      stated            "Lead                            or            "LF",          t1e          produ3ts                         listed               may         c3ntain
            *  lead        and     *CAN               NOT*           be       used           far                                                                  water             service.                            *
                                                                                                         potabLe/drinking
            &*********************                                        &*******                 &*******              &*******                  *****              &**********                     &*******

 7119       3 X 2 1/2          VICT #50 CONCRED BLK                                    2ea                         2ea         179.000ea             *.3500                           62.650ea                              125.30
 8046       2 1/2        X 2 VICT #50 CONCRED BLK                                      2ea                         2ea         149.000ea             *.3500                           52.150ea                              104.3C
 5074       2 VICT #40 G X MIPS NIPPLE BLK                                             2ea                         2ea           78.000ea            *.3500                           27.300ea                               54.6C
 39595      2 X 3/4        X 2 150# BMI TEE                                            2ea                         2ea           88.630ea                  *.24                       21.271ea                               42.54
 23385      2 1/2        X 3/4   125# BC1 HEX BUSH                                     2ea                     2ea               38.970ea                  *.24                         9.353ea                              18.71
 35292      2 1/2        150# BMI TEE                                                  2ea                     2ea             148.070ea                   *.24                       35 .537ea                              71.07
 42051      2 1/2        DIELECTRIC TXT CLEARFLOW                                      2ea                         2ea           89.541ea                   Net                       89.541ea                              179.08
                 NIPPLE (#19180P)
 32978      2 TXT DIELECTRIC CLEARFLOWNIPPLE                                           2ea                         2ea           66.288ea                   Net                       66.288ea                              132.58
                 (#19175P)
 121676     2-1/2        STD BRASS COUPLING - LEAD                                     2ea                         2ea           82.406ea                   Net                       82.406ea                              164.81
                 FREE ****       LEAD FREE ****
 34610      2 STD BRASS CPLG                                                           2ea                     2ea               35.109ea                   Net                       35.109ea                               70.22
 107620     2-1/2        X 10 TYPE L HARD COPPERTUBE                                  50ft                    50ft               10.771FT                   Net                       10.771FT                              538.52
 500        2 1/2        C X C 90 ELL W 02087                                         12ea                    12ea             151.040ea                   *,14                       21.146ea                              253.75
 30518      2 1/2        C X C CPLG WITH STOP W 01082                                  4ea                     4ea               87.320ea                  *.14                       12.225ea                               48.90
 4981       2 FTG X C 90 ELL W 02386                                                   8ea                     8ea             126.710ea                   *.14                       17.739ea                              141.92
 28076      2 X 3/4        X 2 C X C X C TEE W 40248                                   4ea                     4ea             190.390ea                   *.14                       26.655ea                              106.62
 121354     2 C X MIPS UNION LEAD FREE                                                 2ea                     2ea             686.910ea                   *.14                       96.167ea                              192.33
                 ****     LEAD FREE ****
 121340     2 C X C UNION LEAD FREE                                                    2ea                     2ea             447,80Dea                   *.14                       62.692ea                              125.38
                 ****     LEAD FREE ****
 92837      1-1/4        X 10' TYPE L HARD COPPERTU8E                                 40ft                    40ft                  3.658ft                 Net                         3. 658ft                            146.32
 390        1 1/4        C X C 90 ELL W 02084                                         12ea                    12ea               29.160ea                  *.14                         4.082ea                              48.99
 24908      1 1/4        C X MIPS ADAPTER W 01171                                      4ea                     4ea               47.130ea                  *.14                         6.598ea                              26.39
 22148      1 1/4        C X C X C TEE W 04068                                         2ea                     2ea               62.240ea                  *.14                         8.714ea                              17.43




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FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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  445    Communipaw                           Avenue                                                                                        reniT TO:                                 gggg(g;ggregg
            City  NJ                07304                                                                                                   = ra===¤e==
  Jersey                                                                                                                                    * °°"""^"^"""
  201-333-2600                 Fax            201-333-7376                                                                                  JERSEYCITY NJ 07304                                      2



             BILL     TO:                                                                                           SHIP TO:
             FAHRENHEIT    MECHANICAL                                                                               FAHRENHEIT    MECHANICAL
             120  BROADWAY    36TH   FLOOR                                                                          120  BROADWAY    36TH   FLOOR
             NEW           YORK,           NY        10271                                                          NEW       YORK,       NY        10271




         47848                      pier           57                                                                                                      Dan        Marucci



  Shelly
                    Thiel           ann                        WC   NILL   CALG                           NCT           30      DAfS                       07/08/20                  07/08/20
 PART80.                           DEECRIPTION                         ORDER
                                                                           OTY           $HIP GTY                       LIST           FORMlilA                 NET                   EXT. PRICE
 33109      3 X 2 1/2        C X C CPLG WITH STOP W                         lea                         1ea           160.240ea          *.14                    22.434ea                            22.43
              01093




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                                                                                                                I .HhP'F'
                                                                                         ,EEEE$$$EEü                                                       Subtotal                       2632.19
                                                                                                                                                           S&H     CHGS                         0.00
                                                                                         NJ                                  6.625
  Invoice             is      due          by      08/07/20.                                                                                            Sales          'fax                 174.38
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable.                                                            Amount              Due                2806.57
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                                                   **    Reprint      **   Rep'int   **   Reprint    **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
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  445    Communipaw                           Avenue                                                                                                REniT TO
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  Jersey    City  NJ                  07304
                                                                                                                                                    aas ===^"==
  201-333-2600                      Fax       201-333-7376                                                                                          JERSEYCITY NJ D7304



                BILL     To:                                                                                          SHIP TO:
                FAHRENHEIT    MECHANICAL                                                                              FAHRENHEIT    MECHANICAL
                120  BROADWAY    36TH    FLOOR                                                                        120  BROADWAY    36TH   FLOOR
                NEW YORK,   NY     10271                                                                              NEW        YORK,             NY      10271




          47848                       PIER        57                                                                                                             Dan        Marucci



  Shelly               Thielmann                               WC    WILL           CAL                         N     T    30      DAfS                          07/09/20                     07/09/20
 PARTN0.                       DESCRIFN                      ORDER OTY                              SMP GrY           LG          FORMULA           NET                                           W.     PRICE
            v     * * * * * * * * * * * * * * * * * * * * v* * * * * * *                          * * * * * * * v * * * * * * * * * * * * v * * * * * *****                            ********
                                                                         Pree"                                                                                                                              *
                  If          NOT     stated           "Lead                         or           "LF",         t1e        produ3ts                 listed                may       c3ntain
                  lead        and     *CAN             NOT*                  used         f3r                                                       water              servic3.                             *
                                                                    ba                                  potable/drinking
                *********************                                    ********               &*******            ********               *****         ***********                   &*******

 72919      3/8        DROP IN SETTING TOOL                                          4ea                      4ea              5.000ea             Net                    5.000ea                                 20.0C
 71402      1/2        SETTING TOOL                                                  1ea                      1ea              5.OOOea             Net                    5.000ea                                  5.0C
 117751     WOLVERINE SILVALOY 5% BRAZING ROD                                        2ea                      2ea          31.493EA                Net                  31.493EA                                  62.99
                  .050    X .125 X 28 STICKS PER TUBE




                'L01Bib‰0%B%AM            MA            92.0%%37.




                                                                                      (6052                                      Bijsji!                         Subtotal                                  87.99
                                                                                                                                                                 S&H       CHGS                                 0.00
                                                                                                   NJ                           6.625
  Invoice                is     due       by      08/08/20.                                                                                                    Sales         Tax                                5 . 83
All claims for shortage or errors must be made at once. Returns require written
authoritation and are subject to handling charges.   Special orders are non-returnable·                                                                   hount              Due                           93     . 82
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                                                          **    Reprint     **    Rep 'int    **       Reprint     **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
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NYSCEF DOC. NO. 21                                                                                                                                           RECEIVED
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  445    Communipaw                           Avenue                                                                                            ReH1T 10:                                                     gg
            City  NJ                  07304                                                                                                     = 1æ= s- =
  Jersey                                                                                                                                        "5 """""      ""°"
  201-333-2600                     Fax        201-333-7376                                                                                      JERSEYCITY NJ 07304                                            1



             BILL        TO:                                                                                         SHIP To:
             FAHRENHEIT    MECHANICAL                                                                                FAHRENHEIT    MECHANICAL
             120  BROADWAY    36TH  FLOOR                                           .                                120  BROADWAY    36TH   FLOOR
             NEW             YORK,        NY        10271                                                            NEW       YORK,           NY      10271




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         47848                        PIER        57                                                                                                          Dan        Marucci



  Shel      by         Thielmann                               WC    WILL               CAL                    NCT       30      DA     S                     07/13/20                       07/13           / 20
 PARTNo.                            DE5CMPTMi                    0RDEROn                            $MP QTY          LI5T               FORMULA                   ET                          M.     PRICE
             * * *T*           * * * * H"s*  * * * * * * * * v * * * W* * *                       *"¿* * * * * * * * * * * *            * * * * *"ñ           * * ******               *******
                                                                     Tree"                                                                                                                              *
                  If         NOT      stated           "Lead                             or       "LF",        tTe       produ:ts                  listed             may          cMntain
               lead        and     *CAN                NOT*         be       used             f   r                                              water              servic             .                *
                                                                                                       potable/drinking
             *********************                                       k*******                 *******         ********             +****         k**********                       *******

 24650      2 1/2       VICT #77 CPLG BLK                                               12ea                 12ea       126.500ea       *.3500                       44.275ea                                 531.3C
 43315      2 1/2       VIC 732 WYe STRAINER                                             1ea                  1ea     2390.000ea            *.40                    956.000ea                                 956.OC
                 1/2     BD
 30338      1 C X C CPLG WITH STOP W 01047                                              12ea                 12ea        11.020ea           *.18                       1.984ea                                 23.80
 30190      1/4        C X C CPLG WITH STOP W 01009                                     12ea                12ea             2.570ea        *.18                       0.463ea                                     5.55
 2728       1 C X C L/R 90 ELL W 02747                                                  16ea                16ea         34.250ea           *.18                       6.165ea                                 98.64
 2539       1/4        C X C L/R 90 ELL W 02716                                         16ea                 16ea        14.530ea           *.18                       2.615ea                                 41.85




              2%f571%           MMS M                    %1tu.m.




                                                                                                  |EMW           liEMENE31                                    Subtotal                             1657.14
                                                                                                                                                              S&H        CHGS                                0.00
                                                                                                   NJ                         6.625
  Invoice               is      due      by       08/12/20.                                                                                                 Sales            Tax                     109.79
All claime for shortage or errors must be made at once. Returns require written
authorization and are subject to hñadling charges.   Special orders are non-returr>able.                                                              Amount                Due                    1766.93
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                                                       **    Reprint       **    Reprint     **    Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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NYSCEF DOC. NO. 21                                                                                                                                        RECEIVED
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  SU P P LY               Co

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  445    Communipaw                           Avenue                                                                                         REuIT TO:                                         ma
            City  NJ                  07304                                                                                                  =       o=      s-        =
  Jersey                                                                                                                                     "  °""°"""    ==
  201-333-2600                      Fax       201-333-7376                                                                                   JERSEYCITY NJ 07304



             BILL        TO:                                                                                      SHIP TO:
             FAHRENHEIT    MECHANICAL                                                                             FAHRENBEIT    MECHANICAL
             120  BROADWAY    36TH    FLOOR                                                                       120  BROADWAY    36TH  FLOOR
             NEW YORK,   NY     10271                                                                             NEW YORK,   NY 10271




         47848                        PIER        57                                                                                                        Dan        Marucci



  ShelLy               Thielmann                               WC    WILL           CAL                     NIT         30       DAfS                       07/13/20                     07/13/20
 PART&                      DESCRIPTION                   ORDEffGTY                               SNP OTY           LI5T        FORMULA           ET                                   +EXT. PMCE
             * * * * * * * * * * * * * * * * * * * * * v* * * * * * *                           * * * * * * * v * * * * * * * a * * * * e * * * * * *****                        e*******

                              NOT                                        free"                                                                                                                      *
                  If                  stated           "Lead                         or         "LF",       tTe        produ:ts              listed           may              cMntain
               lead        and      *CAN               NOT*         ba       used         fMr                                                water          servica.                                *
                                                                                                     potabLe/drinking
             *************************************                                                               4************                   v******************
 10543      2 X 21/2           STD BRASS NIPPLE                                      2ea                   2ea          11.440ea           Net                      11.440ea                              22.88
 32892      2 1/2        X 2 C X C CPLG WITH STOP W                                  2ea                   2ea        137.700ea           *.18                    24.786ea                                49.57
              01083
 27267      2 FTG X MIPS ADAPTER W 01487                                             2ea                   2ea        348.600ea           *.16                      55.776ea                             111.55
 24986      2 C X MIPS ADAPTER W 01187                                              10ea                  10ea          99.370ea          *.16                    15.899ea                               158.99
 25023      2 1/2        C X MIPS ADAPTER W 01196                                    4ea                   4ea        347.550ea           *.18                    62,559ea                               250.24
 32892      2 1/2        X 2 C X C CPLG WITH STOP W                                  2ea                   2ea        137.700ea           *.18                    24.786ea                                49.57
              01083
 20360      2 1/2        C X FIPS ADAPTER W 01296                                    4ea                   4ea        414.050ea           *.18                    74.529ea                               298.12
 17276      2 1/2        X 5 STD BLK STEEL NIPPLE                                    4ea                   4ea          18.632ea           Net                      18.632ea                              74.53
 35335      3/4        APOLLO #70-104-01         BRNZ THRD END                       8ea                   8ea          36.850ea          *.56                    20.636ea                               165.09
              BALL
 11928      3/4x1        1/2   STD BLK STEEL NIPPLE                                  Bea                   8ea           1.548ea           Net                       1.548ea                              12.38




                                                                                      Äi                                             ÏÚ                   Subtotal                            1192.92
                                                                                                                                                          S&H         CHGS                              0.00
                                                                                                NJ                           6,625
  Invoice                is     due       by      08/12/20.                                                                                              Sales          Tax                         79.03
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges,   Special orders are non-returnable.                                                             Amount              Due                   1271.95
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                    **    Reprint      **   Reprint      **   Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 21                                                                                                                                           RECEIVED
                                                                                                                                                                 Invoice
                                                                                                                                                                         NYSCEF: 04/08/2022

 IDEAL
  SUPPLY                   CP

                                                                                                                                                  07/14/20                     S2012409.001
  445    Communipaw                             Avenue                                                                                           REN1T TO:                                       exas we,
            City  NJ                    07304                                                                                                    = ros= sue=
  Jersey                                                                                                                                         * """""'"     ==
  201-333-2600                         Fax      201-333-7376                                                                                     JERSEYCITY NJ 07304                                        1



              BILL        To:                                                                                    SHIP TO:
              FAHRENHEIT    MECHANICAL                                                                           FAHRENHEIT    MECHANICAL
              120  BROADWAY    36TH   FLOOR                                                                      120  BROADWAY    36TH   FLOOR
              NEW              YORK,          NY      10271                                                      NEW            YORK,           NY     10271




           47848                        PIER        57                                                                                                       Dan         Marucci



  Shelly                Thielmann                                WC    WILL        CAL-,                  NET            30      DAfS                         07/14/20                     07/14/20
 PARTND.                        DESCRIPUM                                   0RDERWY            SHIP QTY                  LI5T            FORMULA         HET                                12T, PB0CE
  '""                                                                                                                                                                                                '
             e*******"ä"****'äW*******                                  e*****"¼'**         e¼"ä"s****          y*****                   ***W  E**********û*ä**×£ä
                                                                        Pree"                                                                                                                         *
                   If          NOT      stated           "Lead                       or       "LF",       t1e            produ2ts                listed                may       cantain
                lead        and     *CAN                 NOT*         bM    used          fMr                                                    water              servica.                          *
                                                                                                  potabLe/drinking
              *********************                                     k*******            &*******        ********                    &****         v**********                  &*******

 92835       3/4        X 10'    TYPE L HARD COPPERTUBE                            90ft                 90ft              1.881ft               Net                    1.881ft                             169.31
 133969      MUELLER PRS 3/4                 P X P COUPLING                        18ea                 18ea              2.306ea               Net                    2.306ea                              41.51
               10146




               1610IBUMB4.1%dB                PW           %1tu.G..




                                                                                          AMM$|ü]%äñ           IEspin)                                        Subtotal                            210.82
                                                                                                                                                             S&H     CHGS                                 0.00
                                                                                               NJ                             6.625
  Invoice                 is      due         by    08/13/20.                                                                                               Sales      Tax                            13.97
All claims for shortage or errors must be made at once.. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable.                                                                Amount             Due                     224.79
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                       **    Reprint     **    Rep int     **   Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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                                                                                                                                                                                04/08/2022

 IDEAL
  5U     P P L Y          C o

                                                                                                                                                    07/15/20                     S2012553.001
  445

  Jersey
         Communipaw
            Cit   NJ                     07304
                                                 Avenue
                                                                                                                                                   Ä= zo-
                                                                                                                                                    * """"
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                                                                                                                                                   REuI T TO:

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                                                                                                                                                                                                  agggess

  201-333-2                   00     Fax         201-333-7376                                                                                      JERSEYCITY NJ 07304                                             1



               BILL       TO:                                                                                        SHIP TD:
               FAHRENHEIT    MECHANICAL                                                                              FAHRENHEIT    MECHANICAL
               120  BROADWAY    36TH   FLOOR                                                                         120  BROADWAY    3 6TH  FLOOR
               NEW            YORK,          NY        10271                                                         NEW         YORK,            NY      10271




           47848                         PIER        57                                                                                                         Dan         Marucci



  Shelly                Thielmann                                 WC     WILL       CAL     L                  NET        30       DAfS                         07/15/20                          07/15/20
 PART    +                          DESCPJPTION                              0RDERQiY           $HIP OTY                   LIST            FORMULA                    NET                         EXT+PRICE
               ****'*'****************                                    ***H***           ********                ********               ****  ********                      * **     * *****       * *
                                                                          Tree"                                                                                                                              *
                   If         NOT        stated           "Lead                        or       "LF     ",      t   Te    produ:ts                  listed               may          cantain
                   lead            and       *CAN         NOT*         b e used           fMr                                                       water             service.                               *
                                                                                                      potable/drinking
               *********************                                     ********t*******                           k*******              v****         k**********                     &*******

 82453       2-1/2        X 10 STD BLK STL PIPE TBE                                  10ft                    10ft              6.258FT            Net                    6,258FT                                   62.58
 87843        1-1/8       OD CT CUSHION STRUT CLAMP                                  12ea                    12ee              3.894ea            Net                    3.894ea                                   46.73
 84254       3/8        OD TUBING CUSHION STRUT CLAMP                                12ea                    12ea              2.772ea            Net                    2.772ea                                   33.26




                1010ISTI½011t0%              M              S10%.VA..




                                                                                        M||MMk                 sessif                                           Subtotal                                142.57
                                                                                                                                                                S&H       CHGS                                   0.00
                                                                                                NJ                              6.625
  Invoice                is        due      by       08/14/20.                                                                                                Sales            Tax                               9.45
All claims for shortage or errors must be madeat once. Returns require written
authorir.ation and are subject to handling charges. Special orders are non-returnable.                                                                   Amount                Due                     152.02
Past due invoices      may be subject    to 1,50% Late charge.
                                                                                                                                                         **    Reprint      **   Rep-int        **   Reprint        **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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NYSCEF DOC. NO. 21                                                                                                                                         RECEIVED
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 IDEAL
  sUP       P L Y        Co

                                                                                                                                                 07/16/20                    S2012788.001
  445    Communipaw                           Avenue                                                                                            asuxT TO:                                      net       so.
            City  NJ                  07304                                                                                                    = 1= s- =
  Jersey                                                                                                                                       * """"" ^"
  201-333-2600                     Fax        201-333-7376                                                                                     JERSEYCITY NJ 07304



             BILL        TO:                                                                                     SHIP TO:
             FAHRENHEIT                       MECHANICAL                                                         FAHRENHEIT                    MECHANICAL
             120             BROADWAY             36TH             FLOOR                                         120         BROADWAY                36TH            FLOOR
             NEW             YORK,       NY         10271                                                        NEW         YORK,            NY     10271




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         47848                        PIER        57                                                                                                        Dan        Marucci



  Shelty               Thielmann                                   WC   WILL       CAL                    N3T          30      DAfS                         07/16/20                     07/16/20

              *********************                                     k*******           t*******             k*******              k****         k**********                    *******
                                                                        Free"                                                                                                                        *
                  If         NOT      stated               "Lead                    or       "LF",        the          produ:ts                 listed               may       cMntain
                lead        and      *CAN                  NOT*
                                                            b3     used       fMr                                                               water             service.                           *
                                                                                                   potabLe/drinking
            **********************************************************************
 94485      2-1/8       OD CT CUSHION STRUT CLAMP                                  'l2ea                12ea               8.031ea            Net                    8.031ea                               96.37
 32808      3/4        150# BMI STR 90 ELL                                          4ea                  4ea           12. 590ea          *.24                       3.022ea                               12.09




              101050UUBMut                M4                S1BW2BS.



                                                       '

                             Artae



                                                                                                                                                            Subtotal                            108.46
                                                                                                                                                            S&H       CHGS                               0.00
                                                                                              NJ                            6. 625
  Invoice               is      due      by       08/15/20.                                                                                               Sales         Tax                              7.19
All claims for shortage or errors must be made at once, Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable.                                                              Amount             Due                     115        . 65
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                     **    Reprint     **    Rep int     **   Reprint          **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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  SU P P LY                c

                                                                                                                                                   07/21/20                     S2013039.001
            Communipaw                         Avenue
                                                                                                                                                       -
  445                                                                                                                                             REn1T To:

              City              NJ     07304                                                                                                      =             a-        a
  Jersey                                                                                                                                          *    """""            ""
  201-333-2600                       Fax       201-333-7376                                                                                       JERSEYCITY NJ 07304



                 BILL     TO:                                                                                          SHIP TO:
                 FAHRENHEIT    MECHANICAL                                                                              FAHRENHEIT    MECHANICAL
                 120  BROADWAY    36TH    FLOOR                                                                        120  BROADWAY    36TH   FLOOR
                 NEW YORK,   NY     10271                                                                              NEW        YORK,         NY     10271




          47848                        PIER        57                                                                                                          Dan        Marucci



  Shelty                Thielmann                               WC    WILL            CAL                        NET        30      DAfS                       07/21/20                      07/21/20
 PARTNG.                      DESCR3PTION                               ORDER OTY                  SHIP GTY                LW                FOREA            IET                             OT. PltICE 'A
      ""
             e * * * * * * * * '*'*'** * *                * * x * * * * * *****                 * *ñ*    * * *          * * **    ***      * * *  * v * * * * * * ****e****'***
                                                                          free"                                                                                                                         *
                   If          NOT     stated           "Lead                            or         "LF",        t1e       produ:ts               listed              may          cantain
             +               and           *CAN         NOT*                  used            fMr                                                 water              servica.                           *
                 lead                                                ba                                  potable/drinking
             **********************                                       ****************                          +*******&***************                                         v*******

 87127       3/4        X 4 PLTD HEX HEAD CAPSCREW                                     16ea                    16ea          1.477ea            Net                     1.477ea                               23.62
 41974       3/4        PLTD HVY HEX NUTS                                              16ea                    16ea          0.692ea            Net                    0.692ea                                11.07
 62737       8 PLTD CLEVIS HANGER                                                       8ea                     8ea         11,627ea            Net                   11.627ea                                93.02
 117751      WOLVERINE SILVALOY 5% BRAZING R00                                          4ea                     4ea         33.213EA            Net                   33.213EA                               132.85
                   .050    X .125      X 28 STICKS PER TUBE




                 9.0%IOTD.TOTAh%           MA             MDWDS.




                                                                                             5555555hä             55                                        subtotal                               2 so      . 56
                                                                                                                                                             S&H         CHGS                               0.00
                                                                                                    NJ                           6.625
  Invoice                 is     due       by      08/20/20.                                                                                               Sales             Tax                      17.26
All claims for shortage or errora must be made at once. Returns require Written
authorization and are subject to handling charges,   Special orders are non-returnable.
                                                                                                                                                      Amount                 Due                    277       . 82
Past due invoices     inay be subject   to 1.50% late charge.
                                                                                                                                                      **    Reprint       **    Reprint      **   Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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   DEAL
  SU P P LY               co

                                                                                                                                                  07/22/20                    S2013342.001
  445    Communipaw                            Avenue                                                                                             REMIT TO:                                     PAGENO
            City NJ                    07304                                                                                                    = 1= == a
  Jersey                                                                                                                                        * """"" """
  201-333-2600                     Fax         201-333-7376                                                                                      JBRSEYCITY NJ D7304



                 BILL    TO:                                                                                       SHIP TO:
                 FAHRENHEIT            MECHANICAL                                                                  FAHRENHEIT                   MECHANICAL
                 120          BROADWAY    36TH  FLOOR                                                              120         BROADWAY            36TH   FLOOR
                 NEW          YORK,        NY        10271                                                         NEW         YORK,           NY     10271




 i###MGMEMERElsBIERBNMteiniÈieMMen8852ME58812131sES                                                                                   enEiMBEiBEEBE$eles                            E     MESeleessE


           47848                       PIER        57                                                                                                        Dan        Marucci



  Shelty                Thielmann                               WC         ILL       CAL                     NBT         30      DAVS                        07/22/20                     07/22/20
 PARTta.                     DESCRIPTION                                      CRQ£R OT't     $@1IP(ITY                 LI5T       FOMDLA                           NET                  M. PRICE
             4* * * * * * * * * * * * * * * * * * * * *                     * * * * * * * k* *  * * * *            * * * * * * * k****   4****                       *****        k* * * * * * *
             *                                                             ree"                                                                                                                       *
                   If  NOT       stated                 "Lead                         or       "LF",         tie         produ3ts                listed               may       cMntain
             *  lead        and      *CAN               NOT*         b3       used         fMr                                                   water             servic3.                           *
                                                                                                   potabLe/drinking
             &*********************                                       &*******           &*******        &*******                  &****         &**********                  &*******

 22241       2 C X C X C TEE W 40102                                                  4ea                   4ea      159.00011             *.18                     28.62011                               114.48
 134052      MUELLER PRS 2 P X F ADAPTER                                              4ea                   4ea          96.130ea         *.395                     37.971ea                               151.89
                  01287
 134068      MUELLER PRS 1-1/2             P X M ADAPTER                              8ea                   8ea          48.590ea         *.395                     19.193ea                               153.54
                  01179
 134238      MUELLER PRS 1-1/2             P X P UNION                                4ea                   4ea      126.070ea            *.395                     49.798ea                               199.19
                  11206
 117654      1 1/4       PROPRESSUNION CXC # 79140                                    4ea                   4ea          42.813ea              Net                  42. 813ea                              171.25
                  ZERO LEAD
 134067      MUELLER PRS 1-1/4             P X M ADAPTER                              4ea                   4ea          34.650ea         *.395                     13.687ea                                54.75
                  01171
 87843       1-1/8       OD CT CUSHION STRUT CLAMP                                    8ea                   8ea            3.894ea             Net                    3.894ea                               31.15




                                                                                       feMMiGMM               H!ilisigag                                     subtotal                            87       6 . 25
                                                                                                                                                             S&H        CHGS                              0.00
                                                                                                NJ                            6.625
  Invoice                is      due      by       08/21/20.                                                                                               Sales         Tax                         58     . 05
All claims for shortage or errors must be madeat once. Returns require written
authorization and are subject to handling charges.  Special orders are non-returnable·                                                                Amount             Due                     934.            30
Past due invo·ices    may be subject    to 1.50% late charge.
                                                                                                                                                      **    Reprint     **    Reprint     **   Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 21                                                                                                                                                   RECEIVED
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 IDEAL
  sU     P P LY          C o                                                                                                                                                                                              ÎÌ


                                                                                                                                                         07/28/20                      S2013882.001
  445    Communipaw                           Avenue                                                                                                   REuIT TO:
                                                                                                                                                                                                    gaggggg
                  NJ                  07304                                                                                                            = n== s-                  a
  Jersey    City
                                                                                                                                                        * """"==
  201-333-2600                     Fax        201-333-7376                                                                                              JERSEYCITY NJ 07304



             BILL       TO:                                                                                              SHIP TO:
             FAHRENHEIT    MECHANICAL                                                                                    FARRENHEIT    MECHANICAL
             120  BROADWAY    36TH  FLOOR                                                                                120  BROADWAY    36TH  FLOOR
             NEW             YORK,        NY          10271                                                              NEW YORK,   NY 10271




        cus?0MERams'.                           ,    CUSTOMER
                                                           ORDMNU ER                                                     tEA5E NMER                                             s , ,, SALES9ERSON
                                                                                                                                                            , , ,


          47848                       PIER          57                                                                                                                Dan       Marucci



  Shelty               Thielmann                                 WC    WILL           CAL                          NET        30       DAfS                           07/28/20                     07/28/20
 PARTN0,                              DESCUPTION                              0RDEROTY                  $HIP QTY              LIST             FORNUtA            NN                               EE     PRI E
            k****                    ****    *********                     k*        **             V*******           k*******                ****   k**********                          4*******
                                                                           Pree"                                                                                                                              *
                  If         NOT      stated             "Lead                          or            "LF",        t1e       produ2ts                    listed                may       cantain
                lead        and     *CAN                 NOT*         b3       used           f3r                                                        water              service.                          *
                                                                                                           potabLe/drinking
              *********************                                        k*******                 &*******           k*******               V****          &**********                   &*******

 42517      1-5/8       X 1-5/8       X 10'    SLOTTED GALV                            30ft                     30ft              1.788ft             Net                      1,788ft                              53.63
              CHANNEL STRUT 12G
 92839      2 X 10' TYPE L HARD COPPERTUBE                                            240ft                    240ft              7.304ft             Net                      7.304ft                            1753.05
 43857      3/8        x 6 PLTD THREADED ROD                                           12ea                     12ea              2.007ea             Net                      2.007ea                              24.09
               (25PCS PER BUNDLE)
 134381     MUELLER PRS 2 P X P SR 90 ELL                                               8ea                      8ea          70.710ea            *.42                       29.698ea                              237.59
               02086
 71811      3/8        PLTD TOP BEAM CLAMPS                                            24ea                     24ea              1.040ea             Net                      1.040ea                              24.96
 129506     2 X 4 DIELECTRIC NIPPLE TXT                                                 2ea                      2ea          11.629ea                Net                    11.629ea                               23.26
               PART# DNTT2040 FLOWTEK
 5093       2 150.# BMI CPLG                                                            2ea                      2ea              9.568ea             Net                      9.568ea                              19.14
 109215     2-1/2       VIC #107 QUICK ZERO FLEX                                        Bea                      8ea         123.500ea         *.3500                        43.225ea                              345.80
               COUPLING
 139986     2 MUELLER PRESS BALL VALVE                                                  2ea                      2ea         152.860ea            *.42                       64.201ea                              128.40
              117-728PV - LEAD FREE




              1B101Mt1%01A3·.1%            M               310W%%1.




                                                                                          È                        0     Ï                                            Subtotal                          2609.92
                                                                                                                                                                      S&H       CHGS                              0.00
                                                                                                      NJ                           6.625
  Invoice               is      due       by        08/27/20.                                                                                                       Sales         Tax                     172.91
All claims for shortage or errors must be made at once.. Returns require written
authorization and are subject to handling charges.   special orders are non-returnable.                                                                       Amount              Due                   2782.83
Past due invoices     may be subject    to 1.50% tate charge.
                                                                                                                                                              **     Reprint     **    Rep'int     **   Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 21                                                                                                                                                                 RECEIVED
                                                                                                                                                                                       Invoice NYSCEF: 04/08/2022

    DEAL
  50PP             LY       ca                                                                                                                                     EMM                            MiMMEMEE
                                                                                                                                                                       08/03/20                   S2014492.001
         Communipaw                            Avenue
                                                                                                                                                                            -
  445                                                                                                                                                                 REMrT TO:                                     PAaEso.
                                                                                                                                                                      ==          sorea
  Jersey    City NJ                    07304
                                                                                                                                                                      44" °°"""""       """"
  201-333-2600                       Fax       201-333-7376                                                                                                           JERSEYCITY NJ 07304



                  BILL      TO:                                                                                                 SHIP TO:
                  FAHRENHEIT    MECHANICAL                                                                                      FAHRENHEIT    MECHANICAL
                  120  BROADWAY    36TH    FLOOR                                                                                120  BROADWAY    36TH   FLOOR
                  NEW YORK,   NY     10271                                                                                     NEW               YORK,           NY         10271




 lifiBiMMIN                  seiM!!si!il$lfliEfM5f@iE                         MF$ilesseiElil!Wils!!!!liB1|lfiN                                          M|ill!5tistifHiltsislillif#E419!Milifil5íi!!!Eiss


          47848                        PIER         57                                                                                                                             Dan       Marucci



  Shelly                  Thielmann                               WC    WILL          CALL                               NET           30         DA(S                             08/O3/20                    O 8/03/        2 0
 WT NS.                              DE5CRIPTION                            ORDER QTY                 .SUP GTY                        LIST         FORMA                              NET                        EXT.PECE
                  *'*"                                                                                                                        *'
              +             * * * * * * * * * * * * *           * * * * + ¿ ¿'W * * *'*             +¿ * * * * * *                  *** * * *    s"*** * * *                    * * * * * * * ***       4****'i"*'*
              *                                                             Pree"                                                                                                                                        *
                     If       NOT       stated            "Lead                         or           "LF",               t1e           produ:ts                        l   isted          may        cMntain
                  lead       and       *CAN               NOT*         b3      used           f3r        potable/drink                                                w ater             servic        e.                *
                                                                                                                                      ing
              e*****************************e*******                                                                v*******t***************                                                           ********

 68518        3/8         X 6 SLT PLTD RD HD M/S                                       16ea                         16ea                  1.508ea                Net                       1.508ea                            24.12
                (TOGGLE BOLTS ONLY)
 125037       2" ID x 10.5" oal 304ss                   braid                           3ea                             3ea            37.356ea                  Net                      37.356ea                           112.07
                                                             w/
                   c.s.      mate NPT each end.           SMN2
 43857        3/8         X 6 PLTD THREADEDROD                                         25ea                         25ea                  2.007ea                Net                       2.007ea                            50.18
                 (25PCS PER BUNDLE)
 42517        1-5/8 X 1-5/8 X 10' SLOTTED BALV                                         20ft                         20ft                  1.788ft                 Net                      1.788ft                            35.75
                   CHANNEL STRUT 12G
 134160       MUELLER PRS 2 X 2 X 3/4                   P TEE                          20ea                         20ea                98.090ea                *.42                      41.198ea                           823.96
                   40106
 34425        3/4         STD BRASS CPLG                                                Sea                             Bea               6. 093ea               Net                       6.093ea                            48.74
 133973       MUELLER PRS 2 P X P COUPLING                                              8ea                             8ea            34.680ea                 *.42                      14.566ea                           116.52
                   10150
 134381       MUELLER PRS 2 P X P SR 90 ELL                                            16ea                         16ea               72.900ea                *.42                       30.618ea                           489.89
                   02086
 94485        2-1/8         OD CT CUSHION STRUT CLAMP                                   8ea                           Sea                 8.031ea                Net                       8.031ea                            64.25
 35281        1/2         APOLLO #70-103-01        BRNZ THRD END                        2ea                           2ea              12.963EA                  Net                      12.963EA                            25.93
                   BALL
 134064       MUELLER PRS 1/2              P X M ADAPTER                                2ea                           2ea                 4.970ea               *.42                       2.087ea                             4.17
                   01131
 134150       MUELLER PRS 2 P X 3/4                P X 2 P TEE                          4ea                           4ea            160.620ea                  *.42                      67.460ea                           269.84
                   40248
 139986       2 MUELLER PRESS BA.LL VALVE                                               2ea                           2ea            158.410ea                 *.44                       69.700ea                           139.4C
                117-728PV - LEAD FREE




                                                                                         .................................................................




                                                                                              **     RepMnt        **      Reprint          **    Reprint        **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 21                                                                                                                 RECEIVED
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  su     P P LY       CS                                                                                                 EMiMMEESEiBMEMEEE
                                                                                                                          08/03/20                    S2014492.001
  445       Communipaw                       Avenue                                                                       ReuiT TO:                                   me       n
  Jers                     NJ        07304                                                                                = ¹== so- =
  201-                                                                                                                    " °°""°""^" ^""
              3-2          0     Fax         201-333-7376                                                                 JERSEYCITY NJ 07304                                      2



              BILL TO:                                                                           SHIP TO:
              FAHRENHEIT    MECHANICAL                                                           FAHRENHEIT               MECHANICAL
              120  BROADWAY    36TH   FLOOR                                                      120         BROADWAY           36TH         FLOOR
              NEW         YORK,          NY        10271                                         NEW         YORK,      NY      10271




         47848                       PIER        57                                                                                  Dan         Marucci



  Shelly            Thielmann                                WC   WILL   CALL              NET         30      DAfS                  08/03/20                   08/03/20
 PARTt0.                          DESCR1PTN                              013
                                                                     ORDER      581F OTf               UST            FORMULA              NET                   EXT. PRICE




              1010m%m30121rt             PM            %10¾A01..




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                                                                                                                                     Subtotal                        2204          . 82
                                                                                                                                     S&H    CHGS                             0.00
                                                                                NJ                          6.625
  Invoice            is        due      by       09/02/20.                                                                        Sales           Tax                  146.07
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable.
                                                                                                                             Amount               Due                2350.             89
Past due invoices     may be subject    to 1.50% late charge.
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FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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                                                                                                                                                     08/04/20                     S2014577.001
  445      Communipaw                     Avenue                                                                                                    RenzT TO:
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                                     07304                                                                                                          r         sueetr co
  Jerse       Cit   NJ
  201-
                                                                                                                                                    * °"°""ª"      ""°
                3-2          00     Fax   201-333-7376                                                                                              JERSEYCITY NJ 07304



                BILL TO:                                                                                               SHIP To:
                FAHRENHEIT    MECHANICAL                                                                               FAHRENHEIT    MECHANICAL
                120  BROADWAY    36TH   FLOOR                                                                          120  BROADWAY    36TH   FLOOR
                NEW          YORK,          NY        10271                                                            NEW YORK,   NY   10271




          47848                          PIER       57                                                                                                           Dan        Marucci



  Shelty               Thielmann                                 WC    WILL            CALú                      NIT         30      DA(S                        08/04/20                     08/04/20

            #*********************                                         k*******t*******                           k*******             k****         k**********t*******
            *                                                              Free"                                                                                                                         *
                  If         NOT         stated          "Lead                            or       "LF",         t     e    produ:ts                 listed               may       c>ntain
            *     lead             and       *CAN        NOT*         be       used            fMr                                                   water             servic3.                          *
                                                                                                         potable/drinking
            **********************                                         k*******               v*******          ********               A****         ***********                  &*******

 34610      2 STD BRASS CPLG                                                             4ea                    4ea          33.159ea              Net                  33.159ea                              132.64
 13808      2 STD BRASS 90 ELL                                                           4ea                    4ea          32.370EA              Net                  32.370EA                              129.48
 68518      3/8        X 6 SLT PLTD RD HD M/S                                         100ea                  100ea               1.507ea           Net                    1.507ea                             150.72
                  (TOGGLE BOLTS ONLY)
 88160      3/8        TOGGLE WING                                                    100ea                  100ea               0.308ea           Net                    0.308ea                              30.76




                191016%I04t%·.03-A7MA                     %10¼5        .




                                                                                                                                                                Subtotal                             443.60
                                                                                                                                                                S&H     CHGS                                 0.00
                                                                                                    NJ                            6.625
  Invoice               is        due       by      09/03/20.                                                                                                  Sales         Tax                       29.39
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable·                                                                   Amount             Due                     472.99
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                          **    Reprint     **    Reprint     **   Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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                                                                                                                                                08/04/20                    S2014598.001
  445    Communipaw                           Avenue                                                                                         REN1T To:                                       a xe
                  NJ                  07304                                                                                                  = o-1so
  Jersey    City                                                                                                                             "" °°""""""""
  201-333-2600                    Fax         201-333-7376                                                                                   JERSEYCITY Na 07304



             BILL TO:                                                                                           SHIP TO:
             FAHRENHEIT    MECHANICAL                                                                           FAHRENHEIT    MECHANICAL
             120  BROADWAY    36TH   FLOOR                                                                      120  BROADWAY    36TH   FLOOR
             NEW             YORK,        NY        10271                                                       NEW YORK,   NY   10271




          47848                       PIER        57    ADD                                                                                                Dan        Marucci



  Shelty               Thielmann                              WC    WILL       CALL                       NTT         30      DA (S                        08/04/20                    08/04/20
 PARTN0+                           DESCRIPTION                          0RDEHQTY            SHWCTY                   LI5T            FORMULA                                            EXT. PRICE
             *****              **"W************W***W*"¿'**********                                             *****'E'i"&****                     **********                    *******
                                                                    Tree"                                                                                                                         *
                  If  NOT      stated           "Lead                           or         "LF",          t1e         products               listed                may       c    ntain
               lead        and      *CAN        NOT*               b3   used         fMr                                                     water               service.                         *
                                                                                                potable/drinking
             *********************t*******t*******                                                            4*******              k****t**********                             R*******

 134107     MUELLER PRS 2 P X P X P TEE                                         lea                     lea           83.810ea           *.44                     36.876ea                              36 .88
              40102
 13808      2STD        BRASS 90 ELL                                            2ea                     2ea           34.260EA             Net                    34.260EA                              68.52
 10502      2 X CL STD BRASS NIPPLE                                             6ea                     6ea           10.593EA             Net                    10.593EA                              63.56




              101010%104%.01.36 M4                      MD¼6%B.




                                                                                                                                                           Subtotal                           168.96
                                                                                                                                                           S&H       CHGS                             0.00
                                                                                           NJ                              6. 625
  Invoice               is      due      by       09/03/20.                                                                                             Sales          Tax                        11.19
All claims for shortage or errors must be madeat once. Returns require written
authorization and are subject to handling charges.  Special prders are non-returnable.                                                             Amount              Due                    180.15
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                   **    Reprint      **    Reprint    **   Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
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  445   Communipaw                           Avenue                                                                                                    REn1T To:                                     Pa
                                                                                                                                                       NE ID     SU Y
 Jersey    City NJ                   07304
                                                                                                                                                       * °°""""="="""
  201-333-2600                      Fax      201-333-7376                                                                                              JERSEYCITY NJ 07304



             BILL TO:                                                                                                SHIP TO:
             FARRENHEIT    MECHANICAL                                                                                FAHRENHEIT    MECHANICAL
             120  BROADWAY    36TH    FLOOR                                                                          120  BROADWAY    36TH  FLOOR
             NEW YORK,   NY     10271                                                                                NEW YORK,   NY   10271




          47848                      PIER        57                                                                                                                Dan        Marucci



  Pete       Fazio             Jr                             WC        VILL      CALL                         NET          30         DAfS                        08/05/20                     08/05/20
 PARTB.                      DESCRIPDCN                                    ORDER  QTY             SMP OTY                   LIST              FORNUtA            NET                          En. PUCE
            * * * * * * * * * * * * * * * * * * x***                     *-k*****             k*******              k****             * * * k****    k*****-k****                       k* * * * * * *

                          NOT                                            ree"                                                                                                         c3ntain              *
                  If                 stated           "Lead                        or          "LF",           tTe          produ3ts                   listed              may
                lead        and      *CAN             NOT*         b3      used          fMr                                                           water                                               *
                                                                                                   potabLe/drinking                                                      service.
            ******************************                                                     *******              v************                         ***********                   v*******

 120798     2 FIP X SOLDER DIELECTRIC UNION                                        4ea                        4ea           106.193EA             Net                    106.193EA                             424.77
               (LF3001A)        LEAD FREE
 134052     MUELLER PRS 2 P X F ADAPTER                                            2ea                        2ea            99.360ea            *.44                     43.718ea                              87.44
              01287
 134000     MUELLER PRS 2 P X 1-1/2                P COUPLING                      4ea                        4ea            51.110ea            *.44                     22.488ea                              89.95
              01073
 134381     MUELLER PRS 2 P X P SR 90 ELL                                         16ea                   16ea                72.900ea            *.44                     32.076ea                             513.22
              02086
 259        3/8        C X C 90 ELL W 01617                                        8ea                        8ea            10.960ea            *.18                       1.973ea                             15.78
 133973     MUELLER PRS 2 P X P COUPLING                                           8ea                        8ea            34.680ea            *.44                     15.259ea                             122.07
              10150
 3815       1/4        X 2 STD BRASS NIPPLE                                       12ea                   12ea                 1.581EA             Net                       1.581EA                             18.97
 3989       1/4        X 4 STD BRASS NIPPLE                                       12ea                   12ea                 2.573ea             Net                       2.573ea                             30.87
 4182       1/4        X 6 STD BRASS NIPPLE                                       12ea                   12ea                 3.711EA             Net                      3.711EA                              44.53
 134052     MUELLER PRS 2 P X F ADAPTER                                            4ea                        4ea           99.360ea             *.44                     43.718ea                             174.87
              01287
 134068     MUELLER PRS 1-1/2             P X M ADAPTER                            4ea                        4ea            50.100ea            *.44                     22.044ea                              88.18
              01179
 92839      2 X 10' TYPE L HARD COPPERTUBE                                        20ft                   20ft                 7.817ft             Net                      7.817ft                             156.34




                                                                                         **    Reprint   **     Reprint          **    Reprint    **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
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  445    Communipaw                     Avenue                                                                   ReuzT To:                                    PAGENO
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  Jersey    City NJ             07304
                                                                                                                 * """""""""
  201-333-2600                 Fax      201-333-7376                                                             JERSEYCITY NJ 07304                                    2



            BILL    TO:                                                                    SHIP TO:
            FAHRENHEIT    MECHANICAL                                                       FAHRENHEIT    MECHANICAL
            120  BROADWAY    36TH    FLOOR                                                 120  BROADWAY    36TH   FLOOR
            NEW YORK,   NY     10271                                                       NEW YORK,   NY   10271




         47848                  PIER        57                                                                               Dan         Marucci



  Pete      Fazio         Jr                            WC   WILL   CATE             NlT      30      DAfS                   08/05/20                   08/05/20
 PM7 NO.                       DE2CRIPTES                       ORDER
                                                                    O      SSP CTE            LIST           F0MULA                NET                   EXL PVICE




                                                                                                                             Subtotal                        1766.99
                                                                                                                             S&H        CHGS                       0.00
                                                                           NJ                      6. 625
  Invoice           is    due        by     09/04/20.                                                                      Sales          Tax                  117.06
All claims for shortage or errors must be madeat once. Returns require written
authorization and are subject to handling charges.  Special orders are non-returnable·                                hount               Due                1884.05
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                      **    Reprint      **   Rep'int   **   Reprint    **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
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  445    Communipaw                              Avenue                                                                                  RenIT TO:                                        ggggs
            City NJ                      07304                                                                                           = r¤= ==
  Jersey                                                                                                                                 ;!|!*°""  ""
  201-333-2600                        Fax        201-333-7376                                                                                                                                        1



                  BILL     To:                                                                                        SHIP TO:
                  FAHRENHEIT             MECHANICAL                                                                   FAHRENHEIT    MECHANICAL
                  120           BROADWAY    36TH   FLOOR                                                              120  BROADWAY    36TH   FLOOR
                  NEW           YORK,           NY     10271                                                          NEW     YORK,    NY        10271




            47848                        pier        57                                                                                                 Dan       Marucci



  Shelly                 Thielmann                                WC   WILL     CAL                     NIT     30    DAfS               08/06/20              08/06/20
 PART60.                       DESCUPTIOR                                  DRDEILQTY          SHIF QTr          LI5T       FMULA             NET                EXT. PREE
              * * * * * * * * * * * * * * * * * * * * * *                * * * *   *      e * * * * * * * * * * * * * * * V* * -A* * * * * * * * * * * * e * * * * * * *
              +                                                        Tree"                                                                                                                   *
                    If          NOT      stated           "Lead                   or        "LF",               t1e      produ:ts        listed                 may        cantain
                    lead       and       *CAN             NOT*         used       far                                                    water                                                 *
                                                                b3                                potabLe/drinking                                            servic3.
                  *********************************************************************
 30475        2 C X C CPLG WITH STOP W 01072                                      2ea                      2ea           45.270ea     *.17                       7.696ea                             15.39
 25023        2 1/2        C X MIPS ADAPTER W 01196                               2ea                      2ea          347.550ea     *.17                     59.084ea                             118.17
 134004       MUELLER PRS 2-1/2                 P X 2 P COUPLING                  4ea                      4ea          213.950ea     *.41                     87.720ea                             350.88
                   010B3
 1-33940      MUELLER PRS 2-1/2                 P X P LR 90 ELL                   2ea                      2ea          212.380ea     *.41                     87.076ea                             174.15
                   02082
 13355        3/4        STD BRASS SQ HEAD PLUG COR                              12ea                    12ea               3.858ea    Net                      3.858ea                              46.29
 13524        1/4        STD BRASS 90 ELL                                         8ea                      8ea              4.611EA    Net                       4.611EA                             36.89
 5025         3/4        X 1/4    STD BRASS HEX BUSH                              4ea                      4ea              4.279EA    Net                       4.279EA                             17.12
 134379       MUELLER PRS 1-1/4                 P X P SR 90 ELL                  10ea                    10ea            27.750ea     *.41                     11.378ea                             113.78
                   02084
 13399        1 STD BRASS SQ HEAD PLUG CORED                                      4ea                      4ea              6.166ea    Net                      6.166ea                              24.66




                                                                                                                                                        Subtotal                            897.33
                                                                                                                                                        S&H       CHGS                             0.00
                                                                                             NJ                              6.625
  Invoice                  is      due      by       09/05/20.                                                                                       Sales          Tax                       59.45
All claims for shortage or errors must be Tradeat once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnabl°-
                                                                                                                                                AMOunt              Due                     956.78
Past due invoices     may be sub]ect    to 1.50% late charge.
                                                                                                                                                **    Reprint      **    RepMnt      **   Reprint     **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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                                                                                                                                                                08/07/20                    S2014891.001
  445    Communipaw                             Avenue                                                                                                      aEurT TO:
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                                                                                                                                                                 «-a susetr co
  Jersey    City  NJ                    07304
                                                                                                                                                            "5 °°=""      """"
  201-333-2600                     Fax          201-333-7376                                                                                                JERSEYCITY NJ 01304                                          1



             BILL       TO:                                                                                                SHIP TO:
             FAHRENHEIT    MECHANICAL                                                                                      FAHRENHEIT    MECHANICAL
             120  BROADWAY    36TH   FLOOR                                                                                 120  BROADWAY    36TH   FLOOR
             NEW            YORK,           NY        10271                                                                NEW YORK,   NY   10271




         47848                          PIER        57                                                                                                                     Dan        Marucci



  Shelby              Thielmann                                  WC    WILL        CALL                             NCT             30        DA tS                        08/07/20                      08/O7/20

            e*********                    * * * * * * * * * * * *          * * * * * * * e          * * * * * * v * * * * * * * e * * * * v * * * * ******                                          *******
                                                                       Tree"                                                                                                                                       *
                 If         NOT         stated           "Lead                      or            "LF",             t1e            produ:ts                 listed                 may        c    ntain
                 lead             and       *CAN         NOT*         be    used          f>r                                                               water                servica.                          *
                                                                                                       potabLe/drinking
             *****************************                                                      v*******                 *************                            v**********                     v*******

 92837      1-1/4       X 10'     TYPE L HARD COPPERTUBE                           20ft                        20ft                   3.907ft             Net                       3.907ft                              78.13
 32689      2 X 1 1/4          C X C CPLG WITH STOP W                               2ea                          2ea                67.010ea             *.18                      12.062ea                              24.12
               01074
 24908      1 1/4       C X MIPS ADAPTER W 01171                                    lea                          lea                50.110ea             *.18                       9.020ea                                  9.02
 27676      11/2X       11/2    X 3/4      C X C X C TEE W                          1ea                          1ea                75.920ea             *.18                     13.666ea                               13.67
              04087
 32397      11/2      x3/4     C X C CPLG WITH STOP W                               1ea                          lea                44.180ea             *.18                       7.952ea                                  7.95
              01067




                                                                                     ..... .......... ................- ... ..........................
                                                                                     M                        MI             EniMM                                         Subtotal                             132.8          9
                                                                                                                                                                           S&H       CHGS                              0.00
                                                                                                  NJ                                       6.625
  Invoice              is       due        by       09/06/20.                                                                                                           Sales          Tax                             8 . 80
All claims for shortage or errors must be madeat once. Returns require written
authorization and are subject to handling charges.  Special crders are non-returnable·                                                                             hount               Due                      141.69
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                                                                   **    Reprint      **    Reprint     **    Reprint     **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
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NYSCEF DOC. NO. 21                                                                                                                                            RECEIVED
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         Communipaw                                                                                                                                                                                             a
  445

  Jersey    City  NJ                    07304
                                                Avenue
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  201-333-2600                      Fax         201-333-7376                                                                                    JERSEYCITY NJ 07304                                                 1



               BILL TO:                                                                                             SHIP TO:
               FAHRENHEIT               MECHANICAL                                                                  FAHRENHEIT                  MECHANICAL
               120             BROADWAY    36TH   FLOOR                                                             120         BROADWAY           36TH   FLOOR
               NEW             YORK,       NY         10271                                                         NEW         YORK,         NY        10271




            47848                       PIER        57    ADD                                                                                                  Dan          Marucci



  ShelLy                 Thielmann                               WC    WILL           CAL      a              N3T         30      DAfS                         08/07/20                      08/07/20
 PARTE                                  DESCRNUCN                              CRDEROTY           50P OTY                LIST              FORMJLA            NET                                M.     PRICE
              e*********************                                       e*******           ********            e*******               *****    e**********                         ********
                                                                       Tree"                                                                                                       cMntain                  *
                    If  NOT       stated                 "Lead                         or       "LF",         tTe         produ2ts                  listed              may
                 lead        and      *CAN               NOT*         be       used         fMr                                                 witter               servica.                               *
                                                                                                     potable/drinking
               *********************t*******                                                  ********          &*******t****                         *******************
 32892        2 1/2       X 2 C X C CPLG WITH STOP W                                   4ea                  4ea        137.700ea             *.17                     23.409ea                                      93.64
                01083
 30518        2 1/2        C X C CPLG WITH STOP W 01082                                2ea                  2ee           92.850ea           *.17                     15.785ea                                      31.57
 500          2 1/2        C x C 90 ELL W 02087                                        4ea                  4ea        164,100sa             *.17                     27.897ea                                   111 .59
 25023        2 1/2        C X MIPS ADAPTER W 01196                                    4ea                  4ea       347.550ea              *.17                     59.084ea                                   236.33
 139981       3/4 MUELLER PRESS BALL VALVE                                             2ea                  2ea           29.910ea           *.44                     13.160ea                                      26.32
                117-724PV - LEAD FREE
 109624       3/4        APOLLO 77W-104-HC PRESS X HOSE                                2ea                  2ea           72.290ea           * .59                    42.651ea                                      85.30
                END BALL VALVE




                                                                                                                                                               Subtotal                                 584         . 75
                                                                                                                                                               S&H          CHGS                                0.00
                                                                                                   NJ                          6.625
  Invoice                 is      due      by       09/06/20               .                                                                                 Sale       s    Tax                            38.74
All claims for shortage or errors must be madeat once. Returns require written
authorization and are subject to handling charges.  Special orders are non-returnable.                                                                 hount                 Due                        623.            49
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                       **     Reprint       **   Rep"int     **       Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
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         Communipaw                            Avenue                                                                                                                                                                      a
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  445                                                                                                                                                             REnzT TO:                                      mE
                  NJ                   07304                                                                                                                     -              s--
  Jersey    City
                                                                                                                                                                 "  """°""^"""
  201-333-2600                        Fax      201-333-7376                                                                                                      JERSEYCITY NJ 07304                                           1



             BILL TO:                                                                                                          SHIP To:
             FAHRENHEIT    MECHANICAL                                                                                          FAHRENHEIT                        MECHANICAL
             120  BROADWAY    36TH   FLOOR                                                                                         120         BROADWAY                 36TH           FLOOR
             NEW              YORK,         NY       10271                                                                     NEW             YORK,            NY      10271




          47848                        PIER        57                                                                                                                         Dan        Marucci



  Shelly               Thielmann                                WC    WILL           CALa                               NET              30      DAfS                         08/10/20                      08/10/20
 PMT N0,                     DESCRJPTION                                     CRDEft0iY               5HIP OTY                       LI5T                 FORMUA                   NET                      EXT. PRICE
            V * * * * * * * * * * * * * ********                           ****-k**            k       ** Ä**                k******                        k-k k*              ****           * * * V* * * * * *
                                                                      Tree"                                                                                                                                            *
                  If          NOT      stated           "Lead                         or           "LF",                t      e         produ:ts                  listed              may        cMntain
               lead        and              *CAN        NOT*         be      used          fMr                                                                   water              service.                           *
                                                                                                   potabLe/drinking
             *********************                                        &*******           &*******        &*******                                   &****         k**********                    &*******

 134379     MUELLER PRS 1-1/4               P X P SR 90 ELL                           8ea                            8ea                 27.750ea           *.44                      12.210ea                                 97.68
              02084
 134050     MUELLER PRS 1-1/4               P X F ADAPTER                             2ea                            2ea                 42.610ea           *.44                       18.748ea                                37.50
              01271
 134105     MUELLER PRS 1-1/4               P X P X P TEE                             lea                            1ea                 35.730ea           *.44                       15.721ea                                15.72
              04068
 11075      1/2        X 3 STD BLK STEEL NIPPLE                                       4ea                            4ea                  1.489ea               Net                     1.489ea                                    5.96
 35281      1/2        APOLLo #70-103-01           BRNZ THRD END                      2ea                            2ea                 22.340EA           *.56                      12.510EA                                 25.02
              BALL




              %%mBl%½91%                    M             %0WAW




                                                                                                                                                                              Subtotal                            181.88
                                                                                                                                                                              S&H        CHGS                              0.00
                                                                                                   NJ                                         6.625
  Invoice                is      due        by     09/09/20.                                                                                                                Sales          Tax                      12.05
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable-                                                                                Amount              Due                    193.93
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                                       **    Reprint      **     Rep*int   **   Reprint        **
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      445    Communipaw                            Avenue                                                                                                       REmir TO:
                                                                                                                                                                                                              ggggg
                                                                                                                                                                THE IDEAL SUPPLYCO
                City  NJ                   07304
      Jersey                                                                                                                                                    * °ª"""       ""°"
      201-333-2600                       Fax       201-333-7376                                                                                                 JERSEYCITY NJ 07304



                     BILL TO:                                                                                                   SHIP TO:
                     FAHRENHEIT    MECHANICAL                                                                                   FAHRENHEIT                      MECHANICAL
                     120  BROADWAY   36TH    FLOOR                                                                              120          BROADWAY                   36TH           FLOOR
                     NEW YORK,   NY    10271                                                                                    NEW          YORK,            NY        10271




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               47848                       pier        57                                                                                                                      Dan         Marucci



      Shelty                Thielmann                               WC   NILL       CALG                                NET            30      DATS                            08/12/20                      08/12/20
 PARTNÆ                                  DESCRISTION                         ORDEROTY            .5IIIFOTY                           UST              FORMDLA                        NET                     EXT. PREE
                 e*********************                                  ********              ********                       ********               e****t**********                                v*******
                 +                                                       Tree"                                                                                                                                          *
                       If          NOT     stated           "Lead                    or           "LF",                 t1e            produ2ts                 listed           may              c->ntain
                       lead        and      *CAN            NOT*   b3        used          fMr                                                                  water          service.                                 *
                                                                                                         potabie/drinking
                     *********************************************                                                                                   *****          e******************
 92835           3/4        X 10'    TYPE L HARD COPPERTUBE                         20ft                            20ft                1.832ft               Net                      1.832ft                                36.64
  5812           1/2        X 11/2   STD BRASS NIPPLE                                6ea                              6ea               1.610ea               Net                      1.610ea                                 9.66
 35281           1/2        APOLLO #70-103-01          BRNZ THRD END                 4ea                              4ea              22.340EA              *.58                     12.957EA                                51.83
                      BALL
 134377          MUELLER PRS 3/4               P X P SR 90 ELL                      24ea                            24ea                6.810ea              *.42                      2.860ea                                68.64
                     01634
 35335           3/4        APOLL0 #70-104-01          BRNZ THRD END                10ea                            10ea               36.B50ea              *.58                     21.373ea                               213.73
                      BALL
  13355          3/4        STD BRASS SQ HEAD PLUG COR                              10ea                            10ea                4.085ea               Net                      4.085ea                                40.85




                     1010f0%M.D½fr.¼              MA          S1B½¾4..




                                                                                                                                                                               Subtotal                             421.35
                                                                                                                                                                               S&H      CHGS                                0.00
                                                                                                   NJ                                       6.625
      Invoice                 is     due          by   09/11/20.                                                                                                            Sales           Tax                       27.91
All claims for shortage or errors must be made at once, Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable,                                                                                hount                Due                     449.26
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                                       **    Reprint       **   Reprint      **   Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
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         Communipaw                            Avenue
  445

  Jersey    City  NJ                    07304                                                                                                     as  -
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  201-333-2600                         Fax   201-333-7376                                                                                        JERSEYCITY NJ 07304



               BILL       TO:                                                                                   SHIP TO:
               FAHRENHEIT    MECHANICAL                                                                         FAHRENHEIT    MECHANICAL
               120  BROADWAY    36TH  FLOOR                                                                     120  BROADWAY    36TH   FLOOR
               NEW             YORK,          NY     10271                                                      NEW YORK,   NY   10271




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            47848                      fier        57                                                                                                        Dan        Marucci



  Shelly                 Thielmann                              WC    NILL          CALL                  NIT         30      DAfS                           08/13/20                        08/13/20
 PARTNO.                               DESCRIPTION                            GCEROTY          SHIP OTY             UST                f0}tbliA                  ET                          EE PRICE
               **E*****************                                       e*******          e*   *****        e*******               *****            **       *******             *******
                                                                          free"                                                                                                                         *
                    If         NOT      stated          "Lead                         or      "LF",       tae         produ:ts                listed          may                c3ntain
                 lead        and     *CAN               NOT*         be       used        fMr                                                water         service.                                     *
                                                                                                   potabLe/drinking
              &*********************                                      ************************                                   ************************
 15758        2 150// BRASS UNION                                                     3ea               3ea           63.087ea              Net                       63.087ea                               189.26
 22241        2 C X C X C TEE W 40102                                                 2ea               2ea       159.00011               *.16                     25.44011                                   50.88
 27267        2 FTG X MIPS ADAPTER W 01487                                            4ea               4ea       348.600ea               *.16                        55.776ea                               223.10
 24986        2 C X MIPS ADAPTER W 01187                                              4ea               4ea           99.370ea            *.16                        15.899ea                                63.60
 32892        2 1/2       X 2 C X C CPLG WITH STOP W                                  2ea               2ea       137.700ea               *.16                     22.032ea                                   44.06
                01083
 134098       MUELLER PRS 2 FTG X M PRS ADAPTER                                       2ea               2ea       131.880ea               *.42                     55.390ea                                  110.78
                01487
 134069       MUELLER PRS 2 P X M ADAPTER                                             2ea               2ea           96.410ea            *.42                     40.492ea                                   80.98
                01187
 500          2 1/2       C X C 90 ELL W 02087                                        2ea               2ea       164.100ea               *.16                     26.256ea                                   52.51
 15070        2 1/2       X 2 FTG X C BUSHING W 01367                                 2ea               2ea       129.700ea               *.16                     20.752ea                                   41.50
 134107       MUELLER PRS 2 P X P X P TEE                                             2ea               2ea           83.810ea            *.42                     35.200ea                                   70.40
                40102




                ').010M½B40.-0.½V½                        110½50




                                                                                                                M(å                                          Subtotal                               927.07
                                                                                                                                                             S&H        CHGS                                0.00
                                  due                                                         NJ                           6.625
  Invoice                 is                  by   09/12/20.                                                                                               Sales          Tax                           61.42
All claims for shortage or errors must be madeat once. Returns require written
authorization and are subject to handling charges.  Special orders are non-returnable.
                                                                                                                                                     hount                                          988.49
                                                                                                                                                                          Due
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                                                     **     Reprint      **   Repaint      **   Reprint         **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
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         Communipaw                           Avenue
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  445                                                                                                                                           rEuIT To
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            City NJ                   07304
  Jersey                                                                                                                                        ** """"""     ^"
  201-333-2600                      Fax       201-333-7376                                                                                      JERSEYCITY NJ 07304



               BILL TO:                                                                                             SHIP TO:
               FAHRENHEIT    MECHANICAL                                                                             FAHRENHEIT    MECHANICAL
               120  BROADWAY    36TH    FLOOR                                                                       120  BROADWAY    36TH   FLOOR
               NEW YORK,   NY     10271                                                                             NEW YORK,   NY 10271




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           47848                      pier        57                                                                                                          Dan        Marucci



  Shelly                Thielmann                              WC    WILL           CAL                       NCT        30      DAfS                         08/14/20                    08/14/20
 PARTNo.                         DESCRIPTIOtt                                ORDEROTY     SHIP OTY                        LI5T           FORMULA         ET                                EXT, PRICE
              k****·kÑ*ÃÃ***********Ä                                    k*·kkÄÂ**    k*******                     k******Ä             kx***  k * * * * ******                      *******
                                                                         Tree"                                                                                                                       *
                   If         NOT     stated           "Lead                            or       "LF",        the        produ:ts                  listed              may      cantain
                 lead        and     *CAN              NOT*         bM       used            fMr                                                witter          servic               .               *
                                                                                                      potable/drinking
               *********************                                     k*******              k*******          v*******               &****       &**********                    k*******

 121354       2 C X MIPS UNION LEAD FREE                                                2ea                  2ea        746.650ea           *.18                    134.397ea                             268.79
                ****      LEAD FREE ****
 35534        2 APOLLO #70-108-01              BRNZ THRD END                            lea                  1ea        124.530ea           *.56                     69 .737ea                             69.74
                BALL
 35553        2 C X C CPLG WITHOUT STOP W 01909                                         1ea                  1ea         57.560ea           *.18                     10.361ea                              10.36
 35599        2 1/2      C X C CPLG WITHOUT STOP W                                      1ea                  lea         68.620ea           *.18                     12.352ea                              12.35
                01910




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                                                                                        Ïj Ï üü0ÏÌÈÌÏ                                                         Subtotal                           361.24
                                                                                                                                                              S&H       CHGS                             0.00
                                                                                                  NJ                          6.625
  Invoice                is     due       by      09/13/20.                                                                                                 Sales         Tax                      23.93
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable.                                                               Amount              Due                    385.17
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                      **     Reprint     **   Rep'int     **   Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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  445    Communipaw                                 Avenue                                                                                               ReMIT To:                                          PAGENC,
                  NJ                    07304                                                                                                            = 1«= sueen m
  Jersey    City
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  201-333-2600                         Fax          201-333-7376                                                                                         JERSEYCITY NJ 07304                                          1



                  BILL To:                                                                                                    SHIP To:
                  FAHRENHEIT    MECHANICAL                                                                                    FAHRENHEIT    MECHANICAL
                  120  BROADWAY    36TH   FLOOR                                                                               120  BROADWAY    36TH   FLOOR
                  NEW          YORK,               NY     10271                                                               NEW YORK,   NY   10271




            47848                       PIER            57                                                                                                              Dan        Marucci
                               WUTER                                               ,mIP   VIA                                           ERHS                        ,       5}IF BAR,                     GRDE$&TE
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  Shelly                 Thielmann                                   WC    WILL           CALL                        NIT        30      DAfS                           08/19/20                     08/19/20
 PARTND.                               DE500PTM                                    ORDEROTY    SHIF QTY                          LI5T            FORMULA                    NET                     EE PRICE
              4********                      Ä***********                      k*******     kÅ******                      4    ******           V****  k**                ****          * * * V* * * * * * *
              +                                                                ?ree"                                                                                                                            *
                    If         NOT      stated               "Lead                         or           "LF",         t1e        produ:ts                  listed              may         c3ntain
                    lead        and     *CAN                 NOT*         be       used         far                                                        water              servica.                          *
                                                                                                              potable/drinking
                  *********************                                        &*******               ********            &*******              &****         k**********                    k*******

 5109         2 1/2    VICT #40 G X MIPS NIPPLE                                            4ea                      4ea          90.000ea           *.35                       31.500ea                              126.00
                   (STK SIZE 4" LONG)
 6202         2 1/2       X 2 150# BMI CPLG                                                2ea                      2ea          93.260ea           *.25                       23.315ea                               46.63
 5128         2 1/2       150# BMI CPLG                                                    4ea                      4ea         105.650ea           *.25                       26.413ea                              105.65
 28076        2 X 3/4          X 2 C X C X C TEE W 40248                                   2ea                      2ea         207.000ea           *.18                       37.260ea                               74.52
 24986        2 C X MIPS ADAPTER W 01187                                                   4ea                      4ea          99.370ea           *.18                       17.887ea                               71.55
 34610        2 STD BRASS CPLG                                                             2ea                      2ea          35.095ea               Net                    35.095ea                               70.19
 129507       21/2       X 6 DIELECTRIC NIPPLE TXT                                         4ea                      4ea          25.015ea               Net                    25.015ea                              100.06
                   FLOWTEKPART# DNTT2560
 500          2 1/2       C X C 90 ELL W 02087                                             4ea                      4ea         164.100ea           *.15                       24.615ea                               98.46
 5024         2 1/2       FTG X C 90 ELL W 02387                                           4ea                      4ea         214.700ea           *.15                       32.205ea                              128.82
 464          2 C X C 90 ELL W 02086                                                      10ea                     10ea          90.030ea           *.15                       13.505ea                              135.05
 35599        2 1/2       C X C CPLG WITHOUT STOP W                                        4ea                      4ea          68.620ea           *.15                       10.293ea                               41.17
                  01910
 35553        2 C X C CPLG WITHOUT STOP W 01909                                            4ea                      4ea          57.560ea           *.15                        8.634ea                               34.54
 38781        1 X 520 TEFLON TAPE                                                          2ea                      2ea              1.626EA            Net                      1.626EA                                  3.25



                  101%lB%MB4M'AAAA                             %1%½u4..




                                                                                                                                                                        Subtotal                           1035.           89
                                                                                                                                                                        S&H       CHGS                              0.00
                                                                                                         NJ                           6.625                                                                  . 68.63
  Invoice                 is      due              by   09/18/20.                                                                                                   Sales           Tax
All claims for shortage or errors must be made at once. Returns require Written
authorization and are subject to handling charges.   Special orders are non-returnable·                                                                        Amount               Due                    1104.52
Past due invoices     may be subject    to 1.50% Late charge.
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FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
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         Communipaw                            Avenue
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  445                                                                                                                                                           REM1T TO
            Cit   NJ                   07304                                                                                                                    -            soem      co
  Jersey                                                                                                                                                        = °===               ^==
  201-333-2                   00      Fax      201-333-7376                                                                                                     JERSEYCITY NJ 07304



                 BILL       TO:                                                                                            SHIP To:
                 FAHRENHEIT    MECHANICAL                                                                                  FAHRENHEIT               MECHANICAL
                 120  BROADWAY    36TH   FLOOR                                                                             120             BROADWAY    36TH   FLOOR
                 NEW          YORK,          NY      10271                                                                 NEW             YORK,  NY   10271




              47848                     PIER       57                                                                                                                      Dan        Marucci



     Shelly                Thielmann                            WC    WILL        CAL                                N     T     30         DAfS                           08/20/20                     08/20/20
 0    T NO.                     rE5CRIril0N                   0RDEROTY       SHIP OTY                                            LN                 FORMULA           NET                               EXT. PRICE
                e* * * * * * * * * * * * * * * * * * * * * +* * * * * * * v* * * * * * *                                       * * * * * *          * * * * v * * * * * ***W*                   e*******
                                                                      .Tree"                                                                                                                                       *
                      If  NOT       stated              "Lead                      or           "LF",                t1e         products                       listed             may        cMntain
                   lead        and      *CAN            NOT*         bM    used          for                                                                    water             service.                         *
                                                                                                   potabLe/drinking
                 *********************                                 k*******             k*******         k*******                              V****            #**********                 k*******

 107620         2-1/2       X 10 TYPE L HARD COPPERTUBE                           20ft                          20ft              11.178FT                 Net                     11.178FT                            223.56
 129506         2 X 4 DIELECTRIC NIPPLE TXT                                        2ea                           2ea              11.629ea                 Net                     11.629ea                             23.26
                  PART# DNTT2040 FLOWTEK
 29080          21/2X       3/4    X 21/2    C X C X C TEE W                       1ea                              lea         468.700ea              *.16                        74.992ea                             74.99
                  40222
 134381         MUELLER PRS 2 P X P SR 90 ELL                                     14ea                          14ea              72.900ea             *.40                        29.160ea                            408.24
                  02086
 134150         MUELLER PRS 2 P X 3/4             P X 2 P TEE                      2ea                              2ea          160.620ea             *.40                        64.248ea                            128.50
                  40248
 134000         MUELLER PRS 2 P X 1-1/2              P COUPLING                    2ea                           2ea              51.110ea             *.40                        20.444ea                             40.89
                  01073
 92839          2 x 10' TYPE L HARD COPPERTUBE                                    80ft                         80ft                7.858ft                 Net                      7.858ft                            628.64
 133973         MUELLER PRS 2 P X P COUPLING                                       8ea                           8ea              34.680ea             *.40                        13.872ea                            110.98
                  10150
 16699          2 COPPER PLATED RISER CLAMPS                                       2ea                           2ea               5,000ea                 Net                      5.000ea                             10.0C
 134377         MUELLER PRS 3/4             P X P SR 90 ELL                       12ea                          12ea               6.810ea             *.40                         2.724ea                             32.69
                  01634
 133%9          MUELLER PRS 3/4             P X P COUPLING                        10ea                         10ea                S.760ea             *.40                         2.304ea                             23.04
                  10146
 92838          1-1/2       X 10'    TYPE L HARD COPPERTUBE                       20ft                         20ft                4.893f t                Net                      4.893ft                             97.87
 117751         WOLVERINE SILVALOY 5% BRAZING ROD                                  6ea                           6ea             38.663EA                  Net                     38.663EA                            231.98
                   .050 X .125 X 28 STICKS PER TUBE




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                                                                                         **    Reprint         **      Reprint        **    Reprint        **
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                                                                              lh||||||MKM||||H                    M|                          Invoice NYSCEF: 04/08/2022

 IDEAL
  Su     P P L Y        c

                                                                                                                                08/20/20                    S2016274.001
  445    Communipaw                         Avenue                                                                              Reuir     10:                          agggagg
            City  NJ                07304                                                                                       =   r«=3-a             =
  Jersey                                                                                                                        *   """'"           ""
  201-333-2600                  Fax         201-333-7376                                                                        JF,RSEY
                                                                                                                                      CITY NJ 37304                                   2



               BILL TO:                                                                                SHIP 10:
               FAHRENHEIT            MECHANICAL                                                        FAHRENBEIT               MECHANICAL
                120         BROADWAY    36TH    FLOOR                                                  120         BROADWAY        36TH   FLOOR
               NEW          YORK,  NY     10271                                                        NEW         YORK,       NY   10271




          47848                     PIER        57                                                                                         Dan         Marucci



  Shell.y             Thielmann                             WC   WILL   CAL                      NIT         30      DA    S               08/20/20                   08/20/20
 PARTND.                            DESCRIPTMV                      0 EROTY          $@HP                    LI5T          FORM)A                NET                   EXT. PRICE
        II I IIII                        "




                                                                                M                                                          Subtotal                        2034.64
                                                                                                                                           S&H      CHGS                         0.00
                                                                                    NJ                            6. 625
  Invoice              is     due      by       09/19/20.                                                                                Sales           Tax                 134.79
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable.                                             Amount               Due               2169.43
Past due invoices     may be subject    to 't.50% Late charge.
                                                                                                                                    **    Reprint      **   Reprint   **   Reprint    **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 21                                                                                                                                          RECEIVED
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                                                                                                                                                   08/21/20                    S2016571.001
  445    Communipaw                             Avenue                                                                                           aEnIT      To:                            as         gggs
  Jersey    City  NJ                    07304
                                                                                                                                                 "5 °°
  201-333-2600                       Fax        201-333-7376                                                                                     JERSEYCITY NJ 07304                                        1



                  BILL    TO:                                                                                          SHIP To:
                  FAHRENHEIT    MECHANICAL                                                                             FAHRENHEIT    MECHANICAL
                  120  BROADWAY    36TH    FLOOR                                                                       120  BROADWAY    36TH   FLOOR
                  NEW YORK,   NY     10271                                                                             NEW        YORK,         NY     10271




            47848                       CITY        WINERY            PIER          57                                                                        Dan        Marucci
   IEitEietEEseBEssesindlia:Bene                                leMissiiMMGMBisssW$HBB#ëMissi                            tseeis!!BieSEliasiiN                       MMISMisasselen


  Shelly                 Thielmann                               WC    %TILL          CALL                       NET        30       DAfS                     08/21/20                     08/21/20
 PARTE                         DE5CRIPTION                    0EDEttOTY      SHIF OTY          LIST       FORMULA                                                   ET                      EXT. PRICE
              e * * * * * * * * * * *"*'* * * * * * * * * * * * * * * * * +"*V * * * * * * * * * * * * * + * * * * + * *'*                                        * * * ************
              *                                                        Tree"                                                                                                                          *
                    If         NOT      stated           "Lead                           or         "LF",        t1e        products             listed               may        cMntain
                  lead        and           *CAN         NOT*         be       used           far                                                water              service.                          *
                                                                                                         potable/drinking
              **********************                                       &***************                          ********t****                   v**********                   e*******

 133921       MUELLER PRS 2 P X P 45 ELL                                                 2ea                   2ea          61.590ea        *.44                     27.100ea                               54.2C
                   03059
 134000       MUELLER PRS 2 P X 1-1/2                 P COUPLING                         2ea                   2ea          51.110ea        *.44                      22.488ea                              44.98
                   01073
 26390        11/4X3/4          X 1 1/4    C X C X C TEE W                               2ea                   2ea          91.790ea        *.18                      16.522ea                              33.04
                   04078
 390          1 1/4       C X C 90 ELL W 02084                                           6ea                   6ea          31.700ea        *.18                       5.706ea                              34.24
 30380        1 1/4       C X C CPLG WITH STOP W 01055                                   4ea                   4ea          20.530ea        *.18                       3.695ea                              14.78
 4889         1 1/4       FTG X C 90 ELL W 02384                                         2ea                   2ea          47.370ea        *.18                       8.527ea                              17.05




                  202Bl0Brn04-5t1%          PM             S2016670.




                                                                                                                                                              Subtotal                            198.29
                                                                                                                                                              S&H        CHGS                             0.00
                                                                                                    NJ                           6.625
  Invoice                 is      due      by       09/20/20.                                                                                              Sales          Tax                         13.14
All claims for abortage or errors must be made at once. Returns require written
authorization and are subject to handling charges,   Special orders are non-returnable                                                                                                            211.43
                                                                                                                                                      Amount              Due
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                      **    Reprint      **    Reprint     **   Reprint       **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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NYSCEF DOC. NO. 21                                                                                                                                          RECEIVED
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                                                                                                                                                  08/27/20                    S2017092.001
         Communipaw                           Avenue
                                                                                                                                                      -
  445                                                                                                                                         REn1T TO
                  NJ                     07304                                                                                                =                a-         =
  Jersey    City
  201-333-2600                          Fax     201-333-7376
                                                                                                                                              %"!"                     """
                                                                                                                                                                                                            1



               BILL        TO:                                                                                          SHIP To:
               FAHRENHEIT    MECHANICAL                                                                                 FAHRENHEIT    MECHANICAL
               120  BROADWAY    36TH   FLOOR                                                                            120  BROADWAY    36TH   FLOOR
               NEW              YORK,           NY     10271                                                            NEW YORK,   NY   10271




        CUSTOERRUMBER                                 CUSTOMER0âER
                                                                 NEMER                                                  RELEASE
                                                                                                                              NtMER                                              3ALESPER5ON


            47848                        pier        57                                                                                                      Dan        Marucci



  Shelby                 Thielmann                                WC    WILL           CALú                     NTT         30      DAfS                     08/27/20                      08/27/20
 PARTB.                        DESCRIPUDN                    ORDER On        EF 0TY            LLST       FORM(A             ET                 UT. PRICE
              v W * * * * A * T W* * * * * * * * * * * * * * * * * * * * v * * * * * * * * * * * * * * * & * * * * * * * * * * * * * * * v * * * * * * *
                                                                            Free"                                                                                                                     *
                    If          NOT      stated           "Lead                         or        "LF",         t1e        produ:ts               listed              may        c>ntain
                  lead       and     *CAN                 NOT*         ba       used          far                                             w tter        service.                                  *
                                                                                                        potable/drinking
              g*********************                                        &*******             ********          ********g****                &**********                        v*******

 134160       MUELLER PRS 2 X 2 X 3/4                 P TEE                             lea                    1ea          98.090ea       *.44                       43.160ea                              43.16
                 40106
 92835        3/4 X 10'           TYPE L HARD COPPERTUBE                               10ft                  10ft            2.142ft        Net                        2.142ft                              21.41
 35335        3/4        APOLLO #70-104-01           BRNZ THRD END                      2ea                    2ea          21.741ea        Net                       21.741ea                              43.48
                BALL
 6989         3/4        x 4 STD BRASS NIPPLE                                           2ea                    2ea           5.284ea        Net                        5.284ea                              10.57
 92835        3/4        X 10' TYPE L HARD COPPERTUBE                                  10ft                  10ft            2.142ft        Net                        2.142ft                              21.41




                161010%m 04·.04% PM                         %10U001..




                                          O        u it



                                                                                                                    È                                       Subtotal                              140.03
                                                                                                                                                            S&H         CHGS                              0.00
                                                                                                   NJ                            6.625
  Invoice                  is     due         by     09/26/20.                                                                                             Sales          Tax                             9.28
All claims for shortage or errors must be made at once, Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable,                                                              hOunt                                        149.31
                                                                                                                                                                          Due
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                                                     **     Reprint      **   Rep 'int     **   Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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 fDEAL
  5U     P P L Y         Co

                                                                                                                                               08/31/20                     S2017391.001
  445    Communipaw                       Avenue                                                                                              REuzT TO:
                                                                                                                                                    -
                                                                                                                                                                                                  at wo.
            City  NJ                 07304                                                                                                    =          soee
  Jersey                                                                                                                                      * °°""""""      " "
  201-333-2600                     Fax      201-333-7376                                                                                      JERSEYCITY NJ 07304



                BILL    TO:                                                                                      SHIP TO:
                FAHRENHEIT    MECHANICAL                                                                         FAHRENHEIT    MECHANICAL
                120  BROADWAY    36TH    FLOOR                                                                   120  BROADWAY    36TH  FLOOR
                NEW YORK,   NY     10271                                                                         NEW YORK,   NY 10271




         47848                       PIER       57                                                                                                         Dan        Marucci



  Shelly               Thielmann                             WC     WILL        CAL                        N3T        30      DAfS                         08/31/20                       08/31/20
 PART .                       DESCRIPTION                    CRDER 0W        SHIP QTF                                 LIST       F0MAA                ET                                M.   PRICE
            k * -k * * * * * * * * * * * x * * * * * * * k k * * * * * * k*******                               k * * * * * * * k * * * * k**********                             k* * * * * * *
            +                                                       Tree"                                                                                                                            *
                  If         NOT     stated          "Lead                         or       "LF",          t1e       produ2ts                  listed               may         cMntain
            *   lead       and           *CAN        NOT*         b a used              f 3r    potab           Le/drink                      w ater                              3.                 *
                                                                                                                                     ing                         servic
            k*********************                                  ********t*******                            ********             k****         ***********                    ********

 73744      MAIDOMIST #71 AUTO VENT 1/4                MPT                        6ea                     6ea         38.450ea               Net                    38.450ea                              230.70
 38397      3/4        HOSE END CAP BRASS                                         2ea                     2ea          1.444EA               Net                     1.444EA                                2.89
 38436      3/4        HOSE WASHERS                                               2ea                     2ea          0.109EA               Net                     0.109EA                                0.22




                1610BStat 03.3fr.½ PhA                 10.0U39L.




                                                                                                                                                           Subtotal                              233.81
                                                                                                                                                           S&H    CHGS                                   0.00
                                                                                               NJ                          6.625
  Invoice               is     due       by     09/30/20.                                                                                                Sales            Tax                      15.49
All claims for shortage or errors must be made at once, Returns require written
authorization and are subject to handling charges ,  Special orders are non-returnable·
                                                                                                                                                    Amount                Due                    249.30
Past due invoices     may be subject    to 1.50% Late charge.
                                                                                                                                                    **    Reprint      **   Reprint       **   Reprint      **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 22                                                 RECEIVED NYSCEF: 04/08/2022




                                       EXHIBIT       4
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 22                                                           RECEIVED NYSCEF: 04/08/2022


                               Varick Street Project Invoice Summary Chart



                Invoice Date       Invoice #      Amount
                         6/16/2020 S2009686.001   $18.90
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 22                                                                                                                                               RECEIVED
                                                                                                                                                                     Invoice NYSCEF: 04/08/2022

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                                                                                                                                                      06/16/20                    82009686.001
  445    Communipaw                           Avenue                                                                                                 rEury To:                                       AaE wo
            City  NJ                  07304                                                                                                          = 1o= -ru =
  Jersey                                                                                                                                             "5 °°""""      ^"""
  201-333-2600                     Fax        201-333-7376                                                                                           JE.RSEYCITY NJ 07304



              BILL    TO:                                                                                                SHI P TO:
              FAHRENHEIT    MECHANICAL                                                                                   FAHRENHEIT    MECHANICAL
              120  BROADWAY    36TH   FLOOR                                                                              120  BROADWAY    36TH   FLOOR
              NEW          YORK,            NY       10271                                                               NEW      YORK,             NY    10271




         47848                        201        VARICK                                                                                                          Dan        Marucci



  Catharine                 E      Hack                        WC    WILL           CAL                            NET      30       DAfS                        06/16/20                      06/16/20
 PARTN0,                              DESCDPTION                             0RDEROTY               5EDF0IY                 UST              00RWLA           ET                               EXL PRICE
            e*****D'**************                                       ********               ********             **                     +****   "fswi"E*************
                                                                         Free"                                                                                                                            *
                 If        NOT        stated           "Lead                         or           "LF",            tMe      produ3ts                 listed           may            cMntain
                lead        and     *CAN               NOT*         b3       used         for                                                        water          servica.                              *
                                                                                                        potable/drinking
              *********************                                      e*******               v***************                            *****        v******************
 15791      10 300# FLEX CG GASKET                                                   1ea                       1ea           17.733ea               Net                   17.733ea                              17.73




              1010fD01%ût.6Fr.W             N                    .
                                                         %100f4B%%.




                                                 O



                                                                                                                                                                 Subtotal                                 17.73
                                                                                                                                                                 S&H        CHGS                              0.00
                                                                                                   NJ                            6.625
  Invoice             is        due         by    07/16/20.                                                                                                    Sales         Tax                              1.17
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   Special orders are non-returnable.
                                                                                                                                                          hount               Due                     18        . 90
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                                          **    Reprint      **   Reprint   **    Reprint         **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 23                                                 RECEIVED NYSCEF: 04/08/2022




                                      EXHIBIT        5
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                                                                              NO. 152298/2021
NYSCEF DOC. NO. 23                                                        RECEIVED NYSCEF: 04/08/2022


                                LaGuardia Project Invoice Summary Chart



                Invoice Date       Invoice #      Amount
                         4/22/2020 S2005146.002   $42.87
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 23                                                                                                                              RECEIVED
                                                                                                                                                    Invoice NYSCEF: 04/08/2022

 IDEAL
  5 u P P LY              C o

                                                                                                                                     04/22/20                    S2005146.002
  445    Communipaw                             Avenue                                                                               REMIT TD:                                      PAGENO<
            City  NJ                    07304                                                                                        = as= soe= =
  Jersey                                                                                                                             "5 °°""""'""  ""
  201-333-2600                         Fax      201-333-7376                                                                         JERSEYCITY NJ 07304



              BILL       TO:                                                                                 SHIP To:
              FAHRENHEIT    MECHANICAL                                                                       FAHRENHEIT      MECHANICAL
              120  BROADWAY   36TH    FLOOR                                                                  C/O  LAGUARDIA       AIRPORT                          CTB       REPL.
              NEW                            NY         10271                                                RUNWAY    DRIVE    -   HANGER                         5A
                              YORK,
                                                                                                             FLUSHING,            NY      11371




           48226                        LAGUARDIA                                                                                               Dan        Marucci
                              BlITER              s                            S(BIPVIA                                  TERE                         5ESPDATE                    ORDER
                                                                                                                                                                                      DATE


  Shelly                Thielmann                                 WC   TILL        CALL                NET        30      DAYS                  04/22/20                     04/21/20

             R*********************t*******t*******                                                        k*******k***************k*******
                                                                       free"                                                                                                            *
                   If         NOT       stated            "Lead                      or   "LF",        tTe        produ:ts           listed              may       contain
                lead        and      *CAN                 NOT*
                                                            be     used        far                                                   water            service.                          *
                                                                                               potable/drinking
              *************************************************************t*******
 34380       1/2        STD BRASS CPLG                                             14ea             14ea           3,062ea        Net                    3.062ea                              42.87




                                                                                                                                                Subtotal                               42.87
                                                                                                                                                SSH CHGS                                    0.00
                                                                                          NJ                           6.625
  Invoice                is      due         by       05/22/20.                                                                               Sales         Tax                             0.00
All claims for shortage or errors must be made at once. Returns require written
authorization and are subject to handling charges.   Special ordera are non-returnable'
                                                                                                                                         hount              Duej                       42.87
Past due invoices     may be subject    to 1.50% late charge.
                                                                                                                                         **    Reprint     **    Reprint     **    Reprint     **
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
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                                     EXHIBIT        11
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            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 37                                                                                          RECEIVED NYSCEF: 04/08/2022




    From:                                           Elizabeth Marchionni
    Sent:                                           Monday, November 22, 2021 10:56 AM
    To:                                             ctravis@travislawnyc.com; 'Joseph DeBlase'
    Cc:                                             Erik Ortmann; Andrew Kao
    Subject:                                        RE: The Ideal Supply Company, et al. v. Fahrenheit Mechanical LLC, et al. - Index No.:
                                                    152298/2021
    Attachments:                                    First Set of Interrogatories to Defendant Rusi.pdf; Demand for DI to Defendant Rusi.pdf


    Chris and Joseph:

    Please advise as to Mr. Rusi’s intentions with respect to his overdue responses to Plaintiff’s Demand for D&I and
    Interrogatories (served October 29, 2021)(copies attached).
    As a courtesy, Plaintiff will provide a 10-day extension of time to respond through December 2, 2021.
    This is our good faith effort to resolve any dispute before seeking court intervention. Thank you.

    Regards,
    Liz




    Elizabeth Marchionni
    Partner




    135 Crossways Park Drive, Suite 201
    Woodbury,NY11797

    Direct:     516-283-8723
    Cell:       845-721-3198
    Main:       516-681-1100
    Email:      emarchionni@kdvlaw.com



    WWW.KDVLAW.COM



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    CALIFORNIA

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            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 37                                                                           RECEIVED NYSCEF: 04/08/2022

    From: Kim Renny <krenny@kdvlaw.com>
    Sent: Friday, October 29, 2021 5:01 PM
    To: ctravis@travislawnyc.com; ctzifas@semetislaw.com
    Cc: Erik Ortmann <eortmann@kdvlaw.com>; Elizabeth Marchionni <emarchionni@kdvlaw.com>; Andrew Kao
    <akao@kdvlaw.com>
    Subject: The Ideal Supply Company, et al. v. Fahrenheit Mechanical LLC, et al. - Index No.: 152298/2021

    Please see the attached on behalf of Erik A. Ortmann, Esq.

    Please contact this office with any questions.

    Thank you,
    Kim


    Kim Renny
    Legal Assistant




    135 Crossways Park Drive, Suite 201
    Woodbury,NY11797

    Direct:     516-283-8733
    Main:       516-681-1100
    Fax:        516-681-1101
    Email:      krenny@kdvlaw.com



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            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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NYSCEF DOC. NO. 36                                                 RECEIVED NYSCEF: 04/08/2022




                                      EXHIBIT       10
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022
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                                                                              NO. 152298/2021
NYSCEF DOC. NO. 36
                16                                                                             RECEIVED NYSCEF: 04/08/2022
                                                                                                                10/29/2021




           SUPREME COURT OF THE STATE OF NEW YORK
           COUNTY OF NEW YORK
           ---------------------------------------------------------------------X
           THE IDEAL SUPPLY COMPANY, individually and on                            Index No.: 152298/2021
           behalf of all lienors, claimants, and creditors similarly
           situated to share funds received by Fahrenheit Mechanical
           LLC a/k/a Fahrenheit Mechanical, under Article 3-A of the
           New York State Lien Law,                                                 PLAINTIFF’S FIRST SET OF
                                                                                    INTEROGGATORIES TO
                                                    Plaintiff,                      DEFENDANT RUSI

                                 -against-

           FAHRENHEIT MECHANICAL LLC, et. al.,

                                                     Defendants.
           ---------------------------------------------------------------------X

                  PLEASE TAKE NOTICE that Plaintiff The Ideal Supply Company (“Ideal” or

         “Plaintiff”) by and through its attorneys, Kaufman, Dolowich & Voluck, LLP, hereby demands

         that Defendant David Rusi (“Rusi" or “Defendant”) answer the following interrogatories under

         oath pursuant to CPLR § 3132, and serve its answers to interrogatories upon Kaufman, Dolowich

         & Voluck, LLP, 135 Crossways Park Drive, Suite 201, Woodbury, New York 11797, within

         twenty (20) days hereof.

                                                     DEFINITIONS

                  Unless specifically indicated, or otherwise required by the context in which the terms,

          names and instructions are used, the following definitions shall be applicable herein:

          1.      The term “document” shall be construed to include, without limiting the

          generality of its meaning, all originals, non-identical copies, drafts and/or drafts with marginalia

          of any printed, typewritten, handwritten or otherwise recorded or graphic matter of whatever

          character, however produced or reproduced, whether or not now in existence, including but not

          limited to, contracts, files, agreements, administrative complaints, agency forms or questionnaires,

          correspondence, e-mails, telegrams, notes or sound recordings of any type of conversation,




                                                                 1 of 5
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022
                                   10/29/2021 11:4704:59 AM
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          meeting or conference, memoranda, graphs, charts, inter-office communications, jottings,

          announcements, depositions, affidavits, photographs, motion pictures, studies, analyses, reports,

          summaries and results of investigations and tests, reviews, statistical records, ledgers, books of

          account, vouchers, bank checks, handbooks, manuals, bank statements, audit reports and other

          statements, invoices, receipts, confirmations, computer-developed, stored or produced data,

          notebooks, desk calendars, appointment books, newspaper articles, diaries or papers similar to any

          of the foregoing, however entitled, denominated or described.

                 2.      The terms “concerning” or “related” shall be construed broadly to mean relating to,

          referring to, describing, evidencing, constituting, pertaining to, constituting, comprising,

          containing, setting forth, showing, disclosing, or describing, directly, tangentially or indirectly.

                 3.      "Ideal Supply" or "Plaintiff' shall mean the plaintiff Ideal Supply Company and/or

          any of its present or former officers, directors, employees, partners, agents, representatives,

          consultants, experts, attorneys, joint venturers, corporate parents, subsidiaries or affiliates.

                 4.       “Fahrenheit” means Fahrenheit Mechanical Inc. and/or Fahrenheit Mechanical

          LLC any of its present or former officers, directors, employees, partners, agents, representatives,

          consultants, experts, attorneys, joint venturers, corporate parents, subsidiaries or affiliates,

          including but not limited to David Rusi.

                 5.      "Rusi" or “Defendant” shall mean the defendant David Rusi.

                 6.      “Complaint" shall refer to Plaintiff’s Amended Complaint in the above-captioned

          action, including any initial and all amended pleadings.

                 7.      "Project(s)" shall mean the private and/or public improvement projects referred to

          and defined in the Complaint, including those located or known as:

                         a. 230 Vesey Street, New York, New York 100000 (“Vesey Street Project”);

                         b. 47 Hall Street, Brooklyn, New York 11201 (the “Hall Street Project”);
                                                             2


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                         c. 1 Manhattan West, New York, New York (“Manhattan West Project”);

                         d. Pier 57 located at 25 11th Avenue, New York, New York (“Pier 57 Project”);

                         e. 201 Varick Street, New York, New York (“Varick Street Project”);

                         f. LaGuardia     Airport     located    in   Flushing   New     York    (“LaGuardia

                            Project”)(collectively the “Projects”).

                 8.      "Answer" shall refer to Rusi’s Answer in the above-captioned action, including any

          initial and all amended pleadings.

                 9.      The terms “and/or” and “any and all” shall be read conjunctively or disjunctively

          as necessary to make your response as inclusive as possible rather than as exclusive as possible.

                 10.     “Parties” means and refers to any persons or entities involved in these proceedings,

          including Plaintiff, Rusi, and Defendant.

                 11.     For all references herein, when gender is used, the masculine form will be taken to

          include the feminine. The singular form will be taken to include the plural.

                                               CLAIM OF PRIVILEGE

                 If the responding party claims that the response to any interrogatory is privileged or for any

          other reason not discoverable, the response hereto shall state the nature of the factual and legal

          basis for the privilege claimed or other ground for non-production.

                                               INTERROGATORIES

                 1.      Identify the individuals who assisted in the preparation of the answers to these

          interrogatories and set forth which interrogatory each person assisted in preparing the answer

          thereto.

                 2.      Identify the name and address of witnesses whose testimony Defendant intends to

          rely upon in defense of Plaintiff’s Complaint.


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                 3.     Identify the name and address of witnesses whose testimony Defendant intends to

          rely upon in support of Defendant’s Affirmative Defenses set forth in his Answer.

                 4.     Identify the name and addresses of any person, corporate officer, principal, or agent

          of Fahrenheit who authorized or approved the use of any Project trust funds from 2019 to the

          present.

                 5.     Identify the name and addresses of any individual named as a signatory on any

         account in which Project trust funds were deposited between 2019 through the present.

                 6.     Identify the name and addresses of any individual or company that was identified

         by Fahrenheit as a beneficiary to any Project trust fund between 2019 through the present.

                 7.     Itemize and list all trust funds or assets received by Fahrenheit on each of the

         Project from 2019 to the present, including the source of such funds or assets and the date and

         amount received.

                 8.     Itemize and list all trust funds or assets paid or transferred by Fahrenheit on each

         of the Project from 2019 to the present, including the name and address of the transferee, date of

         transfer, and amount(s).

                 9.     Identify the documentary evidence relied upon in his Eleventh Affirmative Defense

         set forth in Defendant’s Answer.

                 10.    Itemize and breakdown any amounts claimed to have been paid to Ideal after 2019

         as asserted in the Thirteenth Affirmative Defenses set forth in Defendant’s Answer.

                 11.    Identify the release(s) relied upon in the Sixteenth Affirmative Defense set forth in

         Defendant’s Answer.

                 PLEASE TAKE NOTICE that Plaintiff reserves the right to serve additional

         interrogatories as permitted.



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          Dated: Woodbury, New York
                 October 29, 2021
                                                 KAUFMAN DOLOWICH & VOLUCK, LLP
                                                 Attorneys for Plaintiff Ideal Supply Company


                                                 By :      _________________________________
                                                           Erik A. Ortmann, Esq.
                                                           Elizabeth V. Marchionni, Esq.
                                                           135 Crossways Park Drive, Suite 201
                                                           Woodbury, New York 11797
                                                           (516) 681-1100

          To:   (VIA NYSCEF)
                Christopher R. Travis, Esq.
                Attorney for Defendants
                Fahrenheit Mechanical LLC and David Rusi
                80 Maiden Lane, Suite 304
                New York, New York 10038
                Tel: (212) 248-2120




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                                      EXHIBIT        6
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      Interest Due Through March 21, 2022:

      Vesey Project:                    $748.05
      Manhatatn West Project:        $24,877.00
      Pier 57 Project:                $8,894.59
      Varick Street Project:              $3.82
      LaGuardia Project:                  $9.43

      Total Interest Due through
      3/21/2022:                     $34,532.89
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      Vesey Street Project Interest Due through March 21, 2022

                                                                                                  Monthly                                   Daily
                                                                                                                                                                            Interest Due Under GBL
      Invoice Date     Invoice Number    Invoice Amount    Invoice Due   Months Late Days Late    Interest          Monthly Total           Interest Daily Total
                                                                                                                                                                            (12% per annum)
                                                                                                  Rate                                      Rate
            6/5/2020      S2008619.001         $2,320.95      7/5/2020            20         17              0.01                   $464.19 0.000323               $12.74                 $476.93
           6/22/2020      S2010319.001          $340.90      7/22/2020            20          0              0.01                    $68.18 0.000323                $0.00                  $68.18
           6/24/2020      S2010583.001          $257.32      7/24/2020            19         26              0.01                    $48.89 0.000323                $2.16                  $51.05
           6/26/2020      S2010791.001          $102.04      7/26/2020            19         24              0.01                    $19.39 0.000323                $0.79                  $20.18
           6/30/2020      S2011206.001          $268.77      7/30/2020            19         22              0.01                    $51.07 0.000323                $1.91                  $52.98
            7/8/2020      S2011754.001          $255.59       8/7/2020            19         15              0.01                    $48.56 0.000323                $1.24                  $49.80
            7/9/2020      S2011934.001          $148.71       8/8/2020            19         14              0.01                    $28.25 0.000323                $0.67                  $28.93

      Totals:                                  $3,694.28                                                                            $728.53                        $19.52                 $748.05
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      Manhattan West Project Interest Due through March 21, 2022

                                                                                                                                                                      Interest Due
                                                                                                Monthly                             Daily Interest
      Invoice Date Invoice Number   Invoice Amount     Invoice Due Months Late Days Late                           Monthly Total                       Daily Total    Under GBL (12%
                                                                                                Interest Rate                       Rate
                                                                                                                                                                      per annum)
        6/26/2020 S2010797.001             $4,734.74    7/26/2020           19             24               0.01         $899.60            0.000323           $36.70           $936.30
        6/29/2020 S2010936.001              $500.31     7/29/2020           19             22               0.01           $95.06           0.000323            $3.56            $98.61
         7/1/2020 S2011208.001                $10.66    7/31/2020           19             20               0.01            $2.03           0.000323            $0.07             $2.09
         7/6/2020 S2011500.001             $5,490.24     8/5/2020           19             17               0.01        $1,043.15           0.000323           $30.15         $1,073.29
         7/8/2020 S2011910.001              $469.91      8/7/2020           19             15               0.01           $89.28           0.000323            $2.28            $91.56
         7/9/2020 S2011923.001              $602.15      8/8/2020           19             14               0.01         $114.41            0.000323            $2.72           $117.13
         7/9/2020 S2011944.001              $256.03      8/8/2020           19             14               0.01           $48.65           0.000323            $1.16            $49.80
        7/13/2020 S2012183.001             $3,082.00    8/12/2020           19             10               0.01         $585.58            0.000323            $9.95           $595.53
        7/15/2020 S2012550.001              $652.79     8/14/2020           19              8               0.01         $124.03            0.000323            $1.69           $125.72
        7/16/2020 S2012778.001              $289.49    8/15/2020            19              7               0.01           $55.00           0.000323            $0.65            $55.66
        7/17/2020 S2012806.001              $514.40     8/16/2020           19              6               0.01           $97.74           0.000323            $1.00            $98.73
        7/20/2020 S2012550.002              $115.25     8/19/2020           19              3               0.01           $21.90           0.000323            $0.11            $22.01
        7/20/2020 S2012939.001             $3,205.38    8/19/2020           19              3               0.01         $609.02            0.000323            $3.11           $612.13
        7/22/2020 S2012550.003                $10.66    8/21/2020           19              1               0.01            $2.03           0.000323            $0.00             $2.03
        7/23/2020 S2013364.001             $1,703.72    8/22/2020           19              0               0.01         $323.71            0.000323            $0.00           $323.71
        7/29/2020 S2013781.001             $3,502.70    8/28/2020           18             22               0.01         $630.49            0.000323           $24.89           $655.38
         8/5/2020 S2014638.001             $3,254.73     9/4/2020           18             18               0.01         $585.85            0.000323           $18.92           $604.77
         8/5/2020 S2014645.001              $804.11      9/4/2020           18             18               0.01         $144.74            0.000323            $4.68           $149.41
         8/7/2020 S2014956.001              $159.13      9/6/2020           18             16               0.01           $28.64           0.000323            $0.82            $29.47
        8/13/2020 S2014956.002              $326.53     9/12/2020           18             10               0.01           $58.78           0.000323            $1.05            $59.83
        8/13/2020 S2015641.001            $13,606.81    9/12/2020           18             10               0.01        $2,449.23           0.000323           $43.95         $2,493.18
        8/14/2020 S2015656.001              $734.15     9/13/2020           18              9               0.01         $132.15            0.000323            $2.13           $134.28
        8/17/2020 S2015876.001             $2,792.01    9/16/2020           18              6               0.01         $502.56            0.000323            $5.41           $507.97
        8/19/2020 S2016139.001                $51.67    9/18/2020           18              4               0.01            $9.30           0.000323            $0.07             $9.37
        8/25/2020 S2016779.001             $1,281.63    9/24/2020           17             26               0.01         $217.88            0.000323           $10.76           $228.64
        8/26/2020 S2016964.001             $1,519.64    9/25/2020           17             25               0.01         $258.34            0.000323           $12.27           $270.61
        8/27/2020 S2017062.001             $2,370.90    9/26/2020           17             24               0.01         $403.05            0.000323           $18.38           $421.43
        8/31/2020 S2017387.001             $5,029.51    9/30/2020           17             22               0.01         $855.02            0.000323           $35.74           $890.76
        8/31/2020 S2017399.001              $299.62     9/30/2020           17             22               0.01           $50.94           0.000323            $2.13            $53.06
         9/2/2020 S2017659.001             $4,171.79    10/2/2020           17             20               0.01         $709.20            0.000323           $26.95           $736.15
         9/3/2020 S2017747.001             $5,422.09    10/3/2020           17             19               0.01         $921.76            0.000323           $33.28           $955.03
        9/22/2020 S2019525.001             $6,295.74   10/22/2020           17              0               0.01        $1,070.28           0.000323            $0.00         $1,070.28
        9/23/2020 S2019525.002              $590.80    10/23/2020           16             27               0.01           $94.53           0.000323            $5.15            $99.68
        9/24/2020 S2019525.003             $1,598.27   10/24/2020           16             26               0.01         $255.72            0.000323           $13.42           $269.15
        9/25/2020 S2019525.004             $1,361.25   10/25/2020           16             25               0.01         $217.80            0.000323           $10.99           $228.79
        9/25/2020 S2019880.001             $1,571.73   10/25/2020           16             25               0.01         $251.48            0.000323           $12.69           $264.17
        9/25/2020 S2019893.001             $2,148.52   10/25/2020           16             25               0.01         $343.76            0.000323           $17.35           $361.11
        9/25/2020 S2020037.001             $1,630.50   10/25/2020           16             25               0.01         $260.88            0.000323           $13.17           $274.05
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        9/28/2020 S2020107.001        $25.60   10/28/2020   16   22   0.01        $4.10   0.000323       $0.18        $4.28
        9/28/2020 S2020112.001       $190.88   10/28/2020   16   22   0.01       $30.54   0.000323       $1.36       $31.90
        9/29/2020 S2020224.001       $626.78   10/29/2020   16   22   0.01      $100.28   0.000323       $4.45      $104.74
        9/29/2020 S2020328.001        $82.35   10/29/2020   16   22   0.01       $13.18   0.000323       $0.59       $13.76
        9/30/2020 S2020397.001     $2,859.68   10/30/2020   16   22   0.01      $457.55   0.000323      $20.32      $477.87
        9/30/2020 S2020397.002       $260.91   10/30/2020   16   22   0.01       $41.75   0.000323       $1.85       $43.60
        9/30/2020 S2020542.001     $1,848.41   10/30/2020   16   22   0.01      $295.75   0.000323      $13.13      $308.88
        10/1/2020 S2020037.002        $70.55   10/31/2020   16   22   0.01       $11.29   0.000323       $0.50       $11.79
        10/1/2020 S2020570.001     $2,888.83   10/31/2020   16   22   0.01      $462.21   0.000323      $20.53      $482.74
        10/2/2020 S2020702.001       $821.64    11/1/2020   16   21   0.01      $131.46   0.000323       $5.57      $137.04
        10/5/2020 S2020542.002       $182.56    11/4/2020   16   18   0.01       $29.21   0.000323       $1.06       $30.27
        10/5/2020 S2020850.001       $181.15    11/4/2020   16   18   0.01       $28.98   0.000323       $1.05       $30.04
        10/6/2020 S2021030.001        $53.62    11/5/2020   16   17   0.01        $8.58   0.000323       $0.29        $8.87
        10/7/2020 S2021219.001       $331.47    11/6/2020   16   16   0.01       $53.04   0.000323       $1.71       $54.75
        10/9/2020 S2020542.003        $63.36    11/8/2020   16   14   0.01       $10.14   0.000323       $0.29       $10.42
       10/21/2020 S2022684.001     $5,523.99   11/20/2020   16    2   0.01      $883.84   0.000323       $3.57      $887.41
       10/22/2020 S2022974.001     $1,293.30   11/21/2020   16    1   0.01      $206.93   0.000323       $0.42      $207.35
       10/26/2020 S2023257.001     $4,440.40   11/25/2020   15   25   0.01      $666.06   0.000323      $35.86      $701.92
       10/26/2020 S2023437.001     $2,565.27   11/25/2020   15   25   0.01      $384.79   0.000323      $20.71      $405.51
       10/28/2020 S2023569.001     $1,533.14   11/27/2020   15   23   0.01      $229.97   0.000323      $11.39      $241.36
       10/29/2020 S2023840.001     $4,705.27   11/28/2020   15   22   0.01      $705.79   0.000323      $33.44      $739.23
       10/29/2020 S2023956.001     $2,568.62   11/28/2020   15   22   0.01      $385.29   0.000323      $18.25      $403.55
       10/30/2020 S2024051.001     $7,042.10   11/29/2020   15   21   0.01    $1,056.32   0.000323      $47.77    $1,104.08
        11/2/2020 S2024260.001     $2,451.32    12/2/2020   15   20   0.01      $367.70   0.000323      $15.84      $383.53
        11/3/2020 S2024051.002       $170.61    12/3/2020   15   19   0.01       $25.59   0.000323       $1.05       $26.64
        11/5/2020 S2024704.001     $7,347.90    12/5/2020   15   17   0.01    $1,102.19   0.000323      $40.35    $1,142.53
        11/5/2020 S2024826.001     $2,997.61    12/5/2020   15   17   0.01      $449.64   0.000323      $16.46      $466.10
        11/5/2020 S2024846.001     $1,275.94    12/5/2020   15   17   0.01      $191.39   0.000323       $7.01      $198.40
        11/5/2020 S2024848.001     $2,163.82    12/5/2020   15   17   0.01      $324.57   0.000323      $11.88      $336.45
        11/5/2020 S2024848.002        $54.41    12/5/2020   15   17   0.01        $8.16   0.000323       $0.30        $8.46
        11/6/2020 S2024051.003       $156.39    12/6/2020   15   16   0.01       $23.46   0.000323       $0.81       $24.27
        11/6/2020 S2024704.002        $23.46    12/6/2020   15   16   0.01        $3.52   0.000323       $0.12        $3.64
        11/9/2020 S2025062.001     $5,672.93    12/9/2020   15   13   0.01      $850.94   0.000323      $23.82      $874.76
                                 $144,635.83                                 $24,107.72                $769.28   $24,877.00
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      Pier 57 Project Interest Due through March 21, 2022


                                                                                                                                                                                      Interest
                                                                                                                                  Monthly                   Daily                     Due Under
      Invoice Date                           Invoice Number   Invoice Amount       Invoice Due    Months Late        Days Late    Interest Monthly Total    Interest    Daily Total   GBL (12%
                                                                                                                                  Rate                      Rate                      per
                                                                                                                                                                                      annum)
                                  6/11/2020 S2009132.001              $4,928.80       7/11/2020                 20           11        0.01       $985.76    0.000323        $17.51 $1,003.27
                                  6/16/2020 S2009592.001                $228.17       7/16/2020                 20            6        0.01        $45.63    0.000323         $0.44    $46.08
                                  6/16/2020 S2009655.001              $1,870.62       7/16/2020                 20            6        0.01       $374.12    0.000323         $3.63   $377.75
                                  6/16/2020 S2009681.001                $211.97       7/16/2020                 20            6        0.01        $42.39    0.000323         $0.41    $42.80
                                  6/18/2020 S2009918.001                $720.04       7/18/2020                 20            4        0.01       $144.01    0.000323         $0.93   $144.94
                                  6/18/2020 S2009932.001                $493.34       7/18/2020                 20            4        0.01        $98.67    0.000323         $0.64    $99.31
                                  6/19/2020 S2010065.001                $750.26       7/19/2020                 20            3        0.01       $150.05    0.000323         $0.73   $150.78
                                  6/22/2020 S2010221.001                 $18.40       7/22/2020                 20            0        0.01         $3.68    0.000323         $0.00     $3.68
                                  6/22/2020 S2010235.001                 $75.53       7/22/2020                 20            0        0.01        $15.11    0.000323         $0.00    $15.11
                                  6/23/2020 S2010343.001                $457.39       7/23/2020                 19           27        0.01        $86.90    0.000323         $3.99    $90.89
                                  6/23/2020 S2010418.001                $201.20       7/23/2020                 19           27        0.01        $38.23    0.000323         $1.75    $39.98
                                  6/24/2020 S2010595.001              $3,427.32       7/24/2020                 19           26        0.01       $651.19    0.000323        $28.78   $679.97
                                  6/24/2020 S2010602.001                $326.57       7/24/2020                 19           26        0.01        $62.05    0.000323         $2.74    $64.79
                                  6/26/2020 S2010751.001              $2,230.90       7/26/2020                 19           25        0.01       $423.87    0.000323        $18.01   $441.89
                                  6/26/2020 S2010751.002                 $52.02       7/26/2020                 19           25        0.01         $9.88    0.000323         $0.42    $10.30
                                  6/26/2020 S2010819.001                $474.33       7/26/2020                 19           25        0.01        $90.12    0.000323         $3.83    $93.95
                                  6/29/2020 S2010904.001                $119.77       7/29/2020                 19           22        0.01        $22.76    0.000323         $0.85    $23.61
                                  6/29/2020 S2010937.001                $231.56       7/29/2020                 19           22        0.01        $44.00    0.000323         $1.65    $45.64
                                  6/29/2020 S2011053.001                $766.22       7/29/2020                 19           22        0.01       $145.58    0.000323         $5.44   $151.03
                                  6/30/2020 S2011201.001               ($149.28)                                                       0.01         $0.00    0.000323         $0.00     $0.00
                                  6/30/2020 S2011203.001                $180.67       7/30/2020                 19           22        0.01        $34.33    0.000323         $1.28    $35.61
                                   7/1/2020 S2011273.001                $129.52       7/31/2020                 19           22        0.01        $24.61    0.000323         $0.92    $25.53
                                   7/2/2020 S2011375.001                $580.40        8/1/2020                 19           21        0.01       $110.28    0.000323         $3.94   $114.21
                                   7/7/2020 S2011506.001              $3,999.94        8/6/2020                 19           16        0.01       $759.99    0.000323        $20.67   $780.66
                                   7/8/2020 S2011725.001                $568.63        8/7/2020                 19           15        0.01       $108.04    0.000323         $2.76   $110.79
                                   7/8/2020 S2011909.001              $2,806.57        8/7/2020                 19           15        0.01       $533.25    0.000323        $13.60   $546.85
                                   7/9/2020 S2011937.001                 $93.82        8/8/2020                 19           14        0.01        $17.83    0.000323         $0.42    $18.25
                                  7/13/2020 S2012058.001              $1,766.93       8/12/2020                 19           10        0.01       $335.72    0.000323         $5.71   $341.42
                                  7/13/2020 S2012200.001              $1,271.95       8/12/2020                 19           10        0.01       $241.67    0.000323         $4.11   $245.78
                                  7/14/2020 S2012409.001                $224.79       8/13/2020                 19            9        0.01        $42.71    0.000323         $0.65    $43.36
                                  7/15/2020 S2012553.001                $152.02       8/14/2020                 19            8        0.01        $28.88    0.000323         $0.39    $29.28
                                  7/16/2020 s2012788.001                $115.65       8/15/2020                 19            8        0.01        $21.97    0.000323         $0.30    $22.27
                                  7/21/2020 S2013039.001                $277.82       8/20/2020                 19            2        0.01        $52.79    0.000323         $0.18    $52.97
                                  7/22/2020 S2013342.001                $934.30       8/21/2020                 19            1        0.01       $177.52    0.000323         $0.30   $177.82
                                  7/28/2020 S2013882.001              $2,782.83       8/27/2020                 18           23        0.01       $500.91    0.000323        $20.67   $521.58
                                   8/3/2020 S2014492.001              $2,350.89        9/2/2020                 18           20        0.01       $423.16    0.000323        $15.19   $438.35
                                   8/4/2020 S2014577.001                $472.99        9/3/2020                 18           19        0.01        $85.14    0.000323         $2.90    $88.04
                    Case 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 16:42:59                      INDEX NO. 152298/2021
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                      8/4/2020 S2014598.001      $180.15    9/3/2020   18   19   0.01      $32.43   0.000323     $1.11    $33.53
                      8/5/2020 S2014647.001    $1,884.05    9/4/2020   18   18   0.01     $339.13   0.000323    $10.95   $350.08
                      8/6/2020 S2014819.001      $956.78    9/5/2020   18   17   0.01     $172.22   0.000323     $5.25   $177.47
                      8/7/2020 S2014891.001      $141.69    9/6/2020   18   16   0.01      $25.50   0.000323     $0.73    $26.24
                      8/7/2020 S2015009.001      $623.49    9/6/2020   18   16   0.01     $112.23   0.000323     $3.22   $115.45
                     8/10/2020 S2015040.001      $193.93    9/9/2020   18   13   0.01      $34.91   0.000323     $0.81    $35.72
                     8/12/2020 S2015454.001      $449.26   9/11/2020   18   11   0.01      $80.87   0.000323     $1.60    $82.46
                     8/13/2020 S2015599.001      $988.49   9/12/2020   18   10   0.01     $177.93   0.000323     $3.19   $181.12
                     8/14/2020 S2015782.001      $385.17   9/13/2020   18    9   0.01      $69.33   0.000323     $1.12    $70.45
                     8/19/2020 S2016134.001    $1,104.52   9/13/2020   18    9   0.01     $198.81   0.000323     $3.21   $202.02
                     8/20/2020 S2016274.001    $2,169.43   9/19/2020   18    3   0.01     $390.50   0.000323     $2.10   $392.60
                     8/21/2020 S2016571.001      $211.43   9/20/2020   18    2   0.01      $38.06   0.000323     $0.14    $38.19
                     8/27/2020 S2017092.001      $149.31   9/26/2020   17   24   0.01      $25.38   0.000323     $1.16    $26.54
                     8/31/2020 S2017391.001      $249.30   9/30/2020   17   22   0.01      $42.38   0.000323     $1.77    $44.15
                               Total          $45,831.85                                $8,672.46              $222.12 $8,894.59
                    Case 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 16:42:59                                                                                  INDEX NO. 152298/2021
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NYSCEF DOC. NO. 24                                                                                                                                                  RECEIVED NYSCEF: 04/08/2022


      Varick Street Project Interest Due through March 21, 2022

                                                                                                                                                                                         Interest
                                                                                                                                                                                         Due
                                                                                                                               Monthly                   Daily
                                                                                                                                                                                         Under
      Invoice Date   Invoice NumberInvoice Amount                 Invoice Due               Months Late        Days Late       Interest    Monthly Total Interest    Daily Total
                                                                                                                                                                                         GBL (12%
                                                                                                                               Rate                      Rate
                                                                                                                                                                                         per
                                                                                                                                                                                         annum)
          6/16/2020 S2009686.001                         $18.90                 7/16/2020                 20               6        0.01            $3.78 0.000323                 $0.04      $3.82
                    Case 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 16:42:59                                         INDEX NO. 152298/2021
FILED: NEW YORK COUNTY  CLERK 04/08/2022 11:47 AM
NYSCEF DOC. NO. 24                                                                                                         RECEIVED NYSCEF: 04/08/2022


      LaGuardia Project Interest Due through March 21, 2022

                                                                                                                                        Interest
                                                                                                                                        Due
                                                                                            Monthly                Daily
                                                                                                                                        Under
      Invoice Date   Invoice Number    Invoice Amount    Invoice Due Months Late Days Late Interest Monthly Total Interest Daily Total
                                                                                                                                        GBL (12%
                                                                                            Rate                   Rate
                                                                                                                                        per
                                                                                                                                        annum)
         4/22/2020 S2005146.002                   $42.87     5/22/2020          22        0      0.01         $9.43 0.000323      $0.00      $9.43
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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                                       EXHIBIT       8
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 25                                                                       RECEIVED NYSCEF: 04/08/2022
                                                                                                        Statement

   DEA                                                                                             REMIT TO:
                                                                                                  THE IDEAL SUPPLY CO
  SU P P LY            CE                                                                         445 COPMUNIPAWAVENUE
                                                                                                  JERSEY CITY NJ 07304
                                                                                                  201-333-2600
  445    Communipaw                       Avenue
  Jersey    City  NJ              07304
  201-333-2600                  Fax       201-333-7376




                       CUSTOMER                                                                        04/30/20                      47848
                       FAHRENHEIT               MECHANICAL
                       120      BROADWAY            36TH        FLOOR
                       NEW      YORK,                      NY     10271                                           1   of       2




  03/04/20              S2001463.001                              3,261.89             3,261.89                              9,094.49
  03/04/20              S2001466.001                                    197.74             197.74                            9,292.23
  03      0    /20           2001$00          001                       282       59       282         39                    9,574           62
  03      04      20    S2001501.001                                    131.92             131.92                            9,706.54
  03      04/20         S2001502.001                                    170.78             170.78                            9,877.32
  03/05/20              S2001623.001                              2,324.44             2,324.44                            12,201.76
  03/06/20              S2001836.001                              7,133.37             7,133.37                            19,335.13
  03/06/20              S2001843.001                                      20.36                20.36                       19,355.49
  03/06/20                   2001900          001                       597        O   1,397           50                  20,752            99
  03/06/20              S2001924              001                       172       59       172.59                          20,925.58
  03/09f20              S2001987.001                              4,800.07             4,800.07                            25,725.65
  03/09/20              S2002030.001                              1,815.80             1,815.80                            27,541.45
  03/09/20              S2002030.002                                    310.15             310.15                          27,851.60
  03/10/20              S2002030.005                                      87.78                87.78                       27,939.38
  03/10/20              $2002194              001                 2     825041         2,823           41                  30,762            79
  03/11           20    S2002030              004                       268       90       268.90                          31,031.69
  03      11/20         S2002340.001                                    514.94             514.94                          31,546.63
  03/13/20              S2002602.001                              9,575.44             9,575.44                            41,122.07
  03/13/20              S2002713.001                              2,075.53             2,075.53                            43,197.60
  03/13/20              S2002728.001                                    326.84             326.84                          43,524.44
  03/18/20                   200301           001                       569       29   1,369           29                  44,893            73
  03/18/20              S2003075              001                 5 ,360          68   5,360.68                            50,254.41
  03      20f20         S2003346.001                                      47.80                47.80                       50,302.21
  03/24/20              S2003547.001                              1,571.55             1,571.55                            51,873.76
  03/24/20              S2003547.002                                      30.14                30.14                       51,903.90
  03/24/20              S2003547.003                                    577.04             577.04                          52,480.94


  03/27/20              S2003883              001                       253       68       253.68                          53,770.38
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 25                                                                                                                 RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                    Statement

    DEA                                                                                                                                       REMIT TO:
                                                                                                                                             THE IDEAL SUPPLY CO
  SU P P L Y CE                                                                                                                              445 COPMUNIPAWAVENUE
                                                                                                                                             JERSEY CITY NJ 07304
                                                                                                                                             201-333-2600
  445    Communipaw                       Avenue
  Jersey    City  NJ              07304
  201-333-2600                  Fax       201-333-7376




                       CUSTOMER                                                                                                                    04/30/20                     47848
                       FAHRENHEIT               MECHANICAL
                       120      BROADWAY              36TH         FLOOR
                       NEW      YORK,                        NY      10271                                                                                    2   of       2




  04/01/20                  S2004117.001                                     87.44                                                     87.44                           56,596.16
  04/08/20                  S2004339.001                                   761.00                                                    761.00                            57,357.16
  04/08/20                  S2004481          001                          317       37                                              317           37                  57,674           53
  04/09/20                  S2004600          001                          277       23                                              277.23                            57,951.76
  04/14/20                  S2004685          001                    1,501.53                                                    1,501.53                              59,453.29
  04/14/20                  S2004697.001                                     30.00                                                     30.00                           59,483.29
  04/15/20                  S2004770.001                                   426.77                                                    426.77                            59,910.06
  04/16/20                  S2004843.001                                   276.70                                                    276.70                            60,186.76
  04/17/20                  S2004902          001                          854       48                                              854           48                  61,041           24
  04/20/20                  S2005065          001                    2 ,033.61                                                   2,033.61                              63,074.85
  04/22/20                  S2005146          001                    2,067.43                                                    2,067.43                              65,142.28
  04/22/20                  S2005146.002                                     42.87                                                     42.87                           65,185.15
  04/22/20                  S2005258.001                                     92.60                                                     92.60                           65,277.75
  04/24/20                  S2005332.001                             1,601.70                                                    1,601.70                              66,879.45
  04/27/20                  S2005480          Ó01                          594       00                                              594           00                  67,473           45
  04/27          20         S2005500          001                          191       27                                              191.27                            67,664.72
  04/27/20                  S2005511          001                          644.20                                                    644.20                            68,308.92
  04/29/20                  S2005632.001                                   607.43                                                    607.43                            68,916.35




          53,770.38                                   0.00                           0.00           15,145.97                               0.00                       68,916.35




                       0.00               15,145.97                    53,770.38                                0.00                        0.00


  All     past        due     balances        subject         to    SERVICE          CHARGES   of     1.50%       per   month.
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 25                                                                       RECEIVED NYSCEF: 04/08/2022
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   DEA                                                                                             REMIT TO:
                                                                                                  THE IDEAL SUPPLY CO
  SU P P LY            CE                                                                         445 COPMUNIPAWAVENUE
                                                                                                  JERSEY CITY NJ 07304
                                                                                                  201-333-2600
  445    Communipaw                       Avenue
  Jersey    City  NJ              07304
  201-333-2600                  Fax       201-333-7376




                       CUSTOMER                                                                        04/30/20                      47848
                       FAHRENHEIT               MECHANICAL
                       120      BROADWAY            36TH        FLOOR
                       NEW      YORK,                      NY     10271                                           1   of       2




  03/04/20              S2001463.001                              3,261.89             3,261.89                              9,094.49
  03/04/20              S2001466.001                                    197.74             197.74                            9,292.23
  03      0    /20           2001$00          001                       282       59       282         39                    9,574           62
  03      04      20    S2001501.001                                    131.92             131.92                            9,706.54
  03      04/20         S2001502.001                                    170.78             170.78                            9,877.32
  03/05/20              S2001623.001                              2,324.44             2,324.44                            12,201.76
  03/06/20              S2001836.001                              7,133.37             7,133.37                            19,335.13
  03/06/20              S2001843.001                                      20.36                20.36                       19,355.49
  03/06/20                   2001900          001                       597        O   1,397           50                  20,752            99
  03/06/20              S2001924              001                       172       59       172.59                          20,925.58
  03/09f20              S2001987.001                              4,800.07             4,800.07                            25,725.65
  03/09/20              S2002030.001                              1,815.80             1,815.80                            27,541.45
  03/09/20              S2002030.002                                    310.15             310.15                          27,851.60
  03/10/20              S2002030.005                                      87.78                87.78                       27,939.38
  03/10/20              $2002194              001                 2     825041         2,823           41                  30,762            79
  03/11           20    S2002030              004                       268       90       268.90                          31,031.69
  03      11/20         S2002340.001                                    514.94             514.94                          31,546.63
  03/13/20              S2002602.001                              9,575.44             9,575.44                            41,122.07
  03/13/20              S2002713.001                              2,075.53             2,075.53                            43,197.60
  03/13/20              S2002728.001                                    326.84             326.84                          43,524.44
  03/18/20                   200301           001                       569       29   1,369           29                  44,893            73
  03/18/20              S2003075              001                 5 ,360          68   5,360.68                            50,254.41
  03      20f20         S2003346.001                                      47.80                47.80                       50,302.21
  03/24/20              S2003547.001                              1,571.55             1,571.55                            51,873.76
  03/24/20              S2003547.002                                      30.14                30.14                       51,903.90
  03/24/20              S2003547.003                                    577.04             577.04                          52,480.94


  03/27/20              S2003883              001                       253       68       253.68                          53,770.38
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                                                                              NO. 152298/2021
NYSCEF DOC. NO. 25                                                                                                                 RECEIVED NYSCEF: 04/08/2022
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    DEA                                                                                                                                       REMIT TO:
                                                                                                                                             THE IDEAL SUPPLY CO
  SU P P L Y CE                                                                                                                              445 COPMUNIPAWAVENUE
                                                                                                                                             JERSEY CITY NJ 07304
                                                                                                                                             201-333-2600
  445    Communipaw                       Avenue
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                       CUSTOMER                                                                                                                    04/30/20                     47848
                       FAHRENHEIT               MECHANICAL
                       120      BROADWAY              36TH         FLOOR
                       NEW      YORK,                        NY      10271                                                                                    2   of       2




  04/01/20                  S2004117.001                                     87.44                                                     87.44                           56,596.16
  04/08/20                  S2004339.001                                   761.00                                                    761.00                            57,357.16
  04/08/20                  S2004481          001                          317       37                                              317           37                  57,674           53
  04/09/20                  S2004600          001                          277       23                                              277.23                            57,951.76
  04/14/20                  S2004685          001                    1,501.53                                                    1,501.53                              59,453.29
  04/14/20                  S2004697.001                                     30.00                                                     30.00                           59,483.29
  04/15/20                  S2004770.001                                   426.77                                                    426.77                            59,910.06
  04/16/20                  S2004843.001                                   276.70                                                    276.70                            60,186.76
  04/17/20                  S2004902          001                          854       48                                              854           48                  61,041           24
  04/20/20                  S2005065          001                    2 ,033.61                                                   2,033.61                              63,074.85
  04/22/20                  S2005146          001                    2,067.43                                                    2,067.43                              65,142.28
  04/22/20                  S2005146.002                                     42.87                                                     42.87                           65,185.15
  04/22/20                  S2005258.001                                     92.60                                                     92.60                           65,277.75
  04/24/20                  S2005332.001                             1,601.70                                                    1,601.70                              66,879.45
  04/27/20                  S2005480          Ó01                          594       00                                              594           00                  67,473           45
  04/27          20         S2005500          001                          191       27                                              191.27                            67,664.72
  04/27/20                  S2005511          001                          644.20                                                    644.20                            68,308.92
  04/29/20                  S2005632.001                                   607.43                                                    607.43                            68,916.35




          53,770.38                                   0.00                           0.00           15,145.97                               0.00                       68,916.35




                       0.00               15,145.97                    53,770.38                                0.00                        0.00


  All     past        due     balances        subject         to    SERVICE          CHARGES   of     1.50%       per   month.
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
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                                                                              NO. 152298/2021
NYSCEF DOC. NO. 25                                                                       RECEIVED NYSCEF: 04/08/2022
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   DEA                                                                                             REMIT TO:
                                                                                                  THE IDEAL SUPPLY CO
  SU P P LY            CE                                                                         445 COPMUNIPAWAVENUE
                                                                                                  JERSEY CITY NJ 07304
                                                                                                  201-333-2600
  445    Communipaw                       Avenue
  Jersey    City  NJ              07304
  201-333-2600                  Fax       201-333-7376




                       CUSTOMER                                                                        05/31/20                      47848
                       FAHRENHEIT               MECHANICAL
                       120      BROADWAY            36TH        FLOOR
                       NEW      YORK,                      NY     10271                                           1   of       3




  03/04/20              S2001463.001                              3,261.89             3,261.89                              9,094.49
  03/04/20              S2001466.001                                    197.74             197.74                            9,292.23
  03      0    /20           2001$00          001                       282       59       282         39                    9,574           62
  03      04      20    S2001501.001                                    131.92             131.92                            9,706.54
  03      04/20         S2001502.001                                    170.78             170.78                            9,877.32
  03/05/20              S2001623.001                              2,324.44             2,324.44                            12,201.76
  03/06/20              S2001836.001                              7,133.37             7,133.37                            19,335.13
  03/06/20              S2001843.001                                      20.36                20.36                       19,355.49
  03/06/20                   2001900          001                       597        O   1,397           50                  20,752            99
  03/06/20              S2001924              001                       172       59       172.59                          20,925.58
  03/09f20              S2001987.001                              4,800.07             4,800.07                            25,725.65
  03/09/20              S2002030.001                              1,815.80             1,815.80                            27,541.45
  03/09/20              S2002030.002                                    310.15             310.15                          27,851.60
  03/10/20              S2002030.005                                      87.78                87.78                       27,939.38
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  03/11           20    S2002030              004                       268       90       268.90                          31,031.69
  03      11/20         S2002340.001                                    514.94             514.94                          31,546.63
  03/13/20              S2002602.001                              9,575.44             9,575.44                            41,122.07
  03/13/20              S2002713.001                              2,075.53             2,075.53                            43,197.60
  03/13/20              S2002728.001                                    326.84             326.84                          43,524.44
  03/18/20                   200301           001                       569       29   1,369           29                  44,893            73
  03/18/20              S2003075              001                 5 ,360          68   5,360.68                            50,254.41
  03      20f20         S2003346.001                                      47.80                47.80                       50,302.21
  03/24/20              S2003547.001                              1,571.55             1,571.55                            51,873.76
  03/24/20              S2003547.002                                      30.14                30.14                       51,903.90
  03/24/20              S2003547.003                                    577.04             577.04                          52,480.94


  03/27/20              S2003883              001                       253       68       253.68                          53,770.38
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 25                                                                         RECEIVED NYSCEF: 04/08/2022
                                                                                                         Statement

   DEA                                                                                                REMITTO:
                                                                                                    THEIDEALSUPPLYCO
  SUPPLY                  CE                                                                        445COPMUNIPAWAVENUE
                                                                                                    JERSEYCITYNJ07304
                                                                                                    201-333-2600
  445      Communipaw                       Avenue
  Jersey           City         NJ07304
  201-333-2600                     Fax      201-333-7376




                          CUSTOMER                                                                     05/31/20                     47848
                          FAHRENHEIT              MECHANICAL
                          120      BROADWAY           36TH        FLOOR
                          NEW      YORK,                     NY     10271                                         2   of       3




  04/01/20                 S2004117.001                                     87.44              87.44                       56,596.16
  04/08/20                 S2004339.001                                   761.00             761.00                        57,357.16
  04/08/20                      2004481         00                          17      57       31h37                         57,674           53
  04/09/20                 S2004600             001                       277       23       277.23                        57,951.76
  04       14/20           S2004685             001                 1,501.53             1,501.53                          59,453.29
  04/14/20                 S2004697.001                                     30.00              30.00                       59,483.29
  04/15/20                 S2004770.001                                   426.77             426.77                        59,910.06
  04/16/20                 S2004843.001                                   276.70             276.70                        60,186.76
  04/17/20                      2004902         001                       854à8              854       48                  61,041           24
  04/20/20                 S2005065             001                 2 ,033.61            2,033.61                          63,074.85
  04       22/20           S2005146.001                             2,067.43             2,067.43                          65,142.28
  04/22/20                 S2005146.002                                     42.87              42.87                       65,185.15
  04/22/20                 S2005258.001                                     92.60              92.60                       65,277.75
  04/24/20                 S2005332.001                             1,601.70             1,601.70                          66,879.45
  04/21/20                 $2005480             Ó01                       594       00       594       00                  67,473           45
  04/27            20      S2005500             001                       191       27       191.27                        67,664.72
  04       27/20           S2005511.001                                   644.20             644.20                        68,308.92
  04/29/20                 S2005632.001                                   607.43             607.43                        68,916.35
  05/01/20                 S2005726.001                             1,831.86             1,831.86                          70,748.21
  05/01/20                 S2005831.001                                   100.36             100.36                        70,848.57
  05/01/20                 $2005851             001                         90      26         90      26                  70,938           83
  05/01/20                 S2005855             001                         62      75         62.75                       71,001.58
  05/04/20                 S2005936.001                             1,274.09             1,274.09                          72,275.67
  05/05/20                 S2006135.001                                   643.44             643.44                        72,919.11
  05/06/20                 S2006239.001                                   337.68             337.68                        73,256.79
  05/07/20                 S2004946.001                                   805.95             805.95                        74,062.74
  05/11/20                 $2006           77   001                       547       54       54n54                         74,610           28
  05/11            20      S2006570             001                       181       83       181.83                        74,792.11
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 25                                                                                                             RECEIVED NYSCEF: 04/08/2022
                                                                                                                                          Statement

    DEA                                                                                                                             REMIT TO:
                                                                                                                                   THE IDEAL SUPPLY CO
  5 U P P L Y          CE                                                                                                          445 COPMUNIPAWAVENUE
                                                                                                                                   JERSEY CITY NJ 07304
                                                                                                                                   201-333-2600
  445    Communipaw                       Avenue
  Jersey    City  NJ              07304
  201-333-2600                  Fax       201-333-7376




                      CUSTOMER                                                                                                           05/31/20                   47848
                      FAHRENHEIT                   MECHANICAL
                       120      BROADWAY                36TH         FLOOR
                      NEW       YORK,                          NY      10271                                                                        3   of      3




  .............................................




          68,916.35                                     0.00                         0.00            6,040.69                     0.00                       74,957,04




                       0.00                  6,040.69                    15,145.97                  53,770.38                     0.00


  All     past       due      balances            subject       to    SERVICE        CHARGES   of     1.50%     per   month.
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 25                                                                       RECEIVED NYSCEF: 04/08/2022
                                                                                                        Statement

   DEA                                                                                             REMIT TO:
                                                                                                  THE IDEAL SUPPLY CO
  SU P P LY            CE                                                                         445 COPMUNIPAWAVENUE
                                                                                                  JERSEY CITY NJ 07304
                                                                                                  201-333-2600
  445    Communipaw                       Avenue
  Jersey    City  NJ              07304
  201-333-2600                  Fax       201-333-7376




                       CUSTOMER                                                                        06/30/20                      47848
                       FAHRENHEIT               MECHANICAL
                       120      BROADWAY            36TH        FLOOR
                       NEW      YORK,                      NY     10271                                           1   of       4




  03/04/20              S2001463.001                              3,261.89             3,261.89                              9,094.49
  03/04/20              S2001466.001                                    197.74             197.74                            9,292.23
  03      0    /20           2001$00          001                       282       59       282         39                    9,574           62
  03      04      20    S2001501.001                                    131.92             131.92                            9,706.54
  03      04/20         S2001502.001                                    170.78             170.78                            9,877.32
  03/05/20              S2001623.001                              2,324.44             2,324.44                            12,201.76
  03/06/20              S2001836.001                              7,133.37             7,133.37                            19,335.13
  03/06/20              S2001843.001                                      20.36                20.36                       19,355.49
  03/06/20                   2001900          001                       597        O   1,397           50                  20,752            99
  03/06/20              S2001924              001                       172       59       172.59                          20,925.58
  03/09f20              S2001987.001                              4,800.07             4,800.07                            25,725.65
  03/09/20              S2002030.001                              1,815.80             1,815.80                            27,541.45
  03/09/20              S2002030.002                                    310.15             310.15                          27,851.60
  03/10/20              S2002030.005                                      87.78                87.78                       27,939.38
  03/10/20              $2002194              001                 2     825041         2,823           41                  30,762            79
  03/11           20    S2002030              004                       268       90       268.90                          31,031.69
  03      11/20         S2002340.001                                    514.94             514.94                          31,546.63
  03/13/20              S2002602.001                              9,575.44             9,575.44                            41,122.07
  03/13/20              S2002713.001                              2,075.53             2,075.53                            43,197.60
  03/13/20              S2002728.001                                    326.84             326.84                          43,524.44
  03/18/20                   200301           001                       569       29   1,369           29                  44,893            73
  03/18/20              S2003075              001                 5 ,360          68   5,360.68                            50,254.41
  03      20f20         S2003346.001                                      47.80                47.80                       50,302.21
  03/24/20              S2003547.001                              1,571.55             1,571.55                            51,873.76
  03/24/20              S2003547.002                                      30.14                30.14                       51,903.90
  03/24/20              S2003547.003                                    577.04             577.04                          52,480.94


  03/27/20              S2003883              001                       253       68       253.68                          53,770.38
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 25                                                                         RECEIVED NYSCEF: 04/08/2022
                                                                                                         Statement

   DEA                                                                                                REMITTO:
                                                                                                    THEIDEALSUPPLYCO
  SUPPLY                  CE                                                                        445COPMUNIPAWAVENUE
                                                                                                    JERSEYCITYNJ07304
                                                                                                    201-333-2600
  445      Communipaw                       Avenue
  Jersey           City         NJ07304
  201-333-2600                     Fax      201-333-7376




                          CUSTOMER                                                                     06/30/20                     47848
                          FAHRENHEIT              MECHANICAL
                          120      BROADWAY           36TH        FLOOR
                          NEW      YORK,                     NY     10271                                         2   of       4




  04/01/20                 S2004117.001                                     87.44              87.44                       56,596.16
  04/08/20                 S2004339.001                                   761.00             761.00                        57,357.16
  04/08/20                      2004481         00                          17      57       31h37                         57,674           53
  04/09/20                 S2004600             001                       277       23       277.23                        57,951.76
  04       14/20           S2004685             001                 1,501.53             1,501.53                          59,453.29
  04/14/20                 S2004697.001                                     30.00              30.00                       59,483.29
  04/15/20                 S2004770.001                                   426.77             426.77                        59,910.06
  04/16/20                 S2004843.001                                   276.70             276.70                        60,186.76
  04/17/20                      2004902         001                       854à8              854       48                  61,041           24
  04/20/20                 S2005065             001                 2 ,033.61            2,033.61                          63,074.85
  04       22/20           S2005146.001                             2,067.43             2,067.43                          65,142.28
  04/22/20                 S2005146.002                                     42.87              42.87                       65,185.15
  04/22/20                 S2005258.001                                     92.60              92.60                       65,277.75
  04/24/20                 S2005332.001                             1,601.70             1,601.70                          66,879.45
  04/21/20                 $2005480             Ó01                       594       00       594       00                  67,473           45
  04/27            20      S2005500             001                       191       27       191.27                        67,664.72
  04       27/20           S2005511.001                                   644.20             644.20                        68,308.92
  04/29/20                 S2005632.001                                   607.43             607.43                        68,916.35
  05/01/20                 S2005726.001                             1,831.86             1,831.86                          70,748.21
  05/01/20                 S2005831.001                                   100.36             100.36                        70,848.57
  05/01/20                 $2005851             001                         90      26         90      26                  70,938           83
  05/01/20                 S2005855             001                         62      75         62.75                       71,001.58
  05/04/20                 S2005936.001                             1,274.09             1,274.09                          72,275.67
  05/05/20                 S2006135.001                                   643.44             643.44                        72,919.11
  05/06/20                 S2006239.001                                   337.68             337.68                        73,256.79
  05/07/20                 S2004946.001                                   805.95             805.95                        74,062.74
  05/11/20                 $2006           77   001                       547       54       54n54                         74,610           28
  05/11            20      S2006570             001                       181       83       181.83                        74,792.11
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 25                                                                             RECEIVED NYSCEF: 04/08/2022
                                                                                                            Statement

   DEA                                                                                                   REMITTO:
                                                                                                       THEIDEALSUPPLYCO
  SUPPLY                CE                                                                             445COPMUNIPAWAVENUE
                                                                                                       JERSEYCITYNJ07304
                                                                                                       201-333-2600
  445    Communipaw                          Avenue
  Jersey    City  NJ               07304
  201-333-2600                   Fax         201-333-7376




                        CUSTOMER                                                                          06/30/20                     47848
                        FAHRENHEIT                 MECHANICAL
                        120      BROADWAY              36TH        FLOOR
                        NEW      YORK,                        NY     10271                                           3   of       4




  06/09/20               S2008868.001                                      136.89               136.89                        77,414.88
  06/09/20               S2008869.001                                      624.15               624.15                        78,039.03
  06/10/20                    2009038            001                       868       55   1,    868       35                  79,907           38
  06/10            20    S2009045                001                       542       38         542.38                        80,449.76
  06/11/20               S2009132.001                                4,928.80             4,928.80                            85,378.56
  06/15/20               S2006579.001                                        77.31                77.31                       85,455.87
  06/16/20               S2009592.001                                      228.17               228.17                        85,684.04
  06/16/20               S2009655.001                                1,870.62             1,870.62                            87,554.66
  06/16/20               $2009681                001                       211097               211       97                  87,766           63
  06/16/20               S2009686                001                         18      90           18.90                       87,785.53
  06/18/20               S2009918.001                                      720.04               720.04                        88,505.57
  06/18/20               S2009932.001                                      493.34               493.34                        88,998.91
  06/19/20               S2010065.001                                      750.26               750.26                        89,749.17
  06/22/20               S2010221.001                                        18.40                18.40                       89,767.57
  06/22/20                    201023             001                         7        3           75      53                  89,843           10
  06/22            20    S2010319                001                       340       90         340.90                        90,184.00
  06       23/20         S2010343.001                                      457.39               457.39                        90,641.39
  06/23/20               S2010418.001                                      201.20               201.20                        90,842.59
  06/23/20               S2010421.001                                      274.87               274.87                        91,117.46
  06/24/20               S2010562.001                                      207.46               207.46                        91,324.92
  06/24/20               $2010$85                001                       257       52         257       32                  91,582           24
  06/24            20    S2010585                001                       119       44         119.44                        91,701.68
  06       24/20         S2010595.001                                3,427.32             3,427.32                            95,129.00
  06/24/20               S2010602.001                                      326.57               326.57                        95,455.57
  06/26/20               S2010751.001                                2,230.90             2,230.90                            97,686.47
  06/26/20               S2010751.002                                        52.02                52.02                       97,738.49
  06/26/20                    2010791            001                       102       04         102       04                  97,840           53
  06/26            20    S2010797                001                 4 ,734          74   4,734.74                       102,575.27
    6/26                 S              81                                           33        474.33                    1q3           49.6
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 25                                                                                                              RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                 Statement

    DEA                                                                                                                                   REMIT TO:
                                                                                                                                          THE IDEAL SUPPLY CO
  S U P P L Y       CE                                                                                                                    445 COPMUNIPAWAVENUE
                                                                                                                                          JERSEY CITY NJ 07304
                                                                                                                                          201-333-2600
  445    Communipaw                    Avenue
  Jersey    City  NJ           07304
  201-333-2600               Fax       201-333-7376




                    CUSTOMER                                                                                                                    06/30/20                 47848
                    FAHRENHEIT               MECHANICAL
                    120      BROADWAY              36TH         FLOOR
                    NEW      YORK,                        NY      10271                                                                                    4   of   4




  06/29/20             S2010936.001                                     500.31                                                    500.31                       103,669.68
  06/29/20             S2010937.001                                     231.56                                                    231.56                       103,901.24
  06/29/20             S2011053            001                          766        22                                             766           22             104,667           46
  06/29/20             S2011064            001                          374        15                                             374.15                       105,041.61
  06/30/20             S2011201.001                                                                 -149.28                       149.28                       104,892.33
  06/30/20             S2011203.001                                     180.67                                                    180.67                       105,073.00
  06/30/20             S2011206.001                                     268.77                                                    268.77                       105,341.77




        74,957.04                                  0.00                   -149.28                 30,534.01                              0.00                  105,341.77




                    0.00               30,384.73                        6,040.69                  15,145.97                  53,770.38


  All   past     due       balances        subject         to    SERVICE           CHARGES   of     1.50%     per   month.
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
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                                                                              NO. 152298/2021
NYSCEF DOC. NO. 25                                                                        RECEIVED NYSCEF: 04/08/2022
                                                                                                         Statement

   DEA                                                                                               REMITTO:
                                                                                                   THEIDEALSUPPLYCO
  SUPPLY               CE                                                                          445COPMUNIPAWAVENUE
                                                                                                   JERSEYCITYNJ07304
                                                                                                   201-333-2600
  445    Communipaw                       Avenue
  Jersey    City  NJ              07304
  201-333-2600                  Fax       201-333-7376




                       CUSTOMER                                                                         07/31/20                      47848
                       FAHRENHEIT               MECHANICAL
                       120      BROADWAY            36TH        FLOOR
                       NEW      YORK,                      NY     10271                                            1   of       4




  03/13/20              S2002713.001                              2,075.53              2,075.53                              3,197.60
  03/13/20              S2002728.001                                    326.84              326.84                            3,524.44
  03/18/20                   2003015          00                        569        29   1,369           29                    4,893           73
  03/18/20              S2003075.001                              5 ,360           68   5,360.68                            10,254.41
  03      20f20         S2003346.001                                      47.80                 47.80                       10,302.21
  03/24/20              S2003547.001                              1,571.55              1,571.55                            11,873.76
  03/24/20              S2003547.002                                      30.14                 30.14                       11,903.90
  03/24/20              S2003547.003                                    577.04              577.04                          12,480.94
  03/26/20                   2003661          001                       035        16   1,035           76                  13,516            70
  03/27/20              S2003883              001                       253        68       253.68                          13,770.38
  04/01/20              S2004015.001                              2,613.83              2,613.83                            16,384.21
  04/01/20              S2004037.001                                    124.51              124.51                          16,508.72
  04/01/20              S2004117.001                                      87.44                 87.44                       16,596.16
  04/08/20              S2004339.001                                    761.00              761.00                          17,357.16
  04/08/20                   2004481          001                       517        57       317         37                  17,674            53
  04/09/20              S2004600              001                       277        23       277.23                          17,951.76
  04      14/20         S2004685.001                              1,501.53              1,501.53                            19,453.29
  04/14/20              S2004697.001                                      30.00                 30.00                       19,483.29
  04/15/20              S2004770.001                                    426.77              426.77                          19,910.06
  04/16/20              S2004843.001                                    276.70              276.70                          20,186.76
  04/17/20                   2004902          001                       854        48       854         48                  21,041            24
  04/20/20              S2005065              001                 2 ,033           61   2,033.61                            23,014.85
  04/22/20              S2005146.001                              2,067.43              2,067.43                            25,142.28
  04/22/20              S2005146.002                                      42.87                 42.87                       25,185.15
  04/22/20              S2005258.001                                       92.60                92.60                       25,277.75
  04/24/20              S2005332.001                              1,601.70              1,601.70                            26,879.45
  04/21/20              $2005480              Ó01                       594        00       594         00                  27,473            45
  04/27           20    S2005500              001                       191        27       191.27                          27,664.72
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
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                                                                              NO. 152298/2021
NYSCEF DOC. NO. 25                                                                           RECEIVED NYSCEF: 04/08/2022
                                                                                                          Statement

      DEA                                                                                              REMITTO:
                                                                                                     THEIDEALSUPPLYCO
  SUPPLY                  CE                                                                         445COPMUNIPAWAVENUE
                                                                                                     JERSEYCITYNJ07304
                                                                                                     201-333-2600
  445      Communipaw                      Avenue
  Jersey           City         NJ07304
  201-333-2600                     Fax     201-333-7376




                          CUSTOMER                                                                      07/31/20                     47848
                          FAHRENHEIT             MECHANICAL
                          120      BROADWAY          36TH        FLOOR
                          NEW      YORK,                    NY     10271                                           2   of       4




  05/01/20                 S2005726.001                            1,831.86             1,831.86                            30,748.21
  05/01/20                 S2005831.001                                  100.36               100.36                        30,848.57
  0        01/20                200$8$1        001                         90      26           90      26                  30,938           83
  05/01/20                 S2005855.001                                    62      75           62.75                       31,001.58
  05/04/20                 S2005936.001                            1,274.09             1,274.09                            32,275.67
  05/05/20                 S2006135.001                                  643.44               643.44                        32,919.11
  05/06/20                 S2006239.001                                  337.68               337.68                        33,256.79
  05/07/20                 S2004946.001                                  805.95               805.95                        34,062.74
  0        11/20           $20064}7            001                       547       54         547       54                  34,610           28
  05/11/20                 S2006570            001                       181       83         181.83                        34,792.11
  05/18/20                 S2007112.001                                  164.93               164.93                        34,957.04
  06/05/20                 S2008619.001                            2,320.95             2,320.95                            37,277.99
  06/09/20                 S2008868.001                                  136.89               136.89                        37,414.88
  06/09/20                 S2008869.001                                  624.15               624.15                        38,039.03
  06/10/20                 $2009038            001                       868       3    1,    868       35                  39,907           38
  06/10            20      S2009045            001                       542       38         542.38                        40,449.76
  06/11/20                 S2009132.001                            4,928.80             4,928.80                            45,378.56
  06/15/20                 S2006579.001                                    77.31                77.31                       45,455.87
  06/16/20                 S2009592.001                                  228.17               228.17                        45,684.04
  06/16/20                 S2009655.001                            1,870.62             1,870.62                            47,554.66
  06/16        /20         $2009681            001                       211097               211       97                  47,766           63
  06/16            20      S2009686            001                         18      90           18.90                       47,785.53
  06/18/20                 S2009918.001                                  720.04               720.04                        48,505.57
  06/18/20                 S2009932.001                                  493.34               493.34                        48,998.91
  06/19/20                 S2010065.001                                  750.26               750.26                        49,749.17
  06/22/20                 S2010221.001                                    18.40                18.40                       49,767.57
  06/22/20                 $2010235            001                             s   53           75      53                  49,843           10
  06/22            20      S2010319            001                       340       90         340.90                        50,184.00
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 25                                                                       RECEIVED NYSCEF: 04/08/2022
                                                                                                        Statement

   DEA                                                                                              REMITTO:
                                                                                                   THEIDEALSUPPLYCO
  SUPPLY               CE                                                                          445COPMUNIPAWAVENUE
                                                                                                   JERSEYCITYNJ07304
                                                                                                   201-333-2600
  445    Communipaw                       Avenue
  Jersey    City  NJ              07304
  201-333-2600                  Fax       201-333-7376




                       CUSTOMER                                                                        07/31/20                      47848
                       FAHRENHEIT               MECHANICAL
                       120      BROADWAY            36TH        FLOOR
                       NEW      YORK,                      NY     10271                                           3   of       4




  06/23/20              S2010421.001                                    274.87             274.87                          51,117.46
  06/24/20              S2010562.001                                    207.46             207.46                          51,324.92
  06/24/20                   2010585          00                        257       52       257         32                  51,582            24
  06/24           20    S2010585.00                                     119.44             119.44                          51,701.68
  06      24/20         S2010595.001                              3,427.32             3,427.32                            55,129.00
  06/24/20              S2010602.001                                    326.57             326.57                          55,455.57
  06/26/20              S2010751.001                              2,230.90             2,230.90                            57,686.47
  06/26/20              S2010751.002                                      52.02                52.02                       57,738.49
  06/26/20                   2010791          00                           02     04       102         04                  57,840            53
  06/26/20              S2010797              00                  4 ,734          74   4,734.74                            62,575.27
  06      26/20         S2010819.001                                    474.33             474.33                          63,049.60
  06/29/20              S2010904.001                                    119.77             119.77                          63,169.37
  06/29/20              S2010936.001                                    500.31             500.31                          63,669.68
  06/29/20              S2010937.001                                    231.56             231.56                          63,901.24
  06/29/20                   201105á          00                        766       22       766         22                  64,667            46
  06/29/20              S2011064              00                        374       15       374.15                          65,041.61
  06/30/20              S2011201.001                                                     -149.28                           64,892.33
  06/30/20              S2011203.001                                    180.67             180.67                          65,073.00
  06/30/20              S2011206.001                                    268.77             268.77                          65,341.77
  07/01/20              S2011208.001                                      10.66                10.66                       65,352.43
  07/01/20                   2011275          00                        129       52       129         52                  65,481            95
  07/02/20              S2011372              00                    ,892          69   1,892.69                            67,374.64
  07/02/20              S2011375.001                                    580.40             580.40                          67,955.04
  07/06/20              S2011500.001                              5,490.24             5,490.24                            73,445.28
  07/06/20              S2011505.001                                    262.70             262.70                          73,707.98
  07/07/20              S2011506.001                              3,999.94             3,999.94                            77,707.92
  07/07/20              $2011745              001                 12100e95             1,100           95                  7 8,808           87
  07/08/20              S2011725              001                       568       63       568.63                          79,377.50
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 25                                                                                                                  RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                     Statement

    DEA                                                                                                                                        REMIT TO:
                                                                                                                                              THE IDEAL SUPPLY CO
  SU P P LY             CE                                                                                                                    445 COPMUNIPAWAVENUE
                                                                                                                                              JERSEY CITY NJ 07304
                                                                                                                                              201-333-2600
  445    Communipaw                         Avenue
  Jersey    City  NJ                07304
  201-333-2600                    Fax       201-333-7376




                        CUSTOMER                                                                                                                    07/31/20                     47848
                        FAHRENHEIT                MECHANICAL
                        120       BROADWAY              36TH         FLOOR
                        NEW       YORK,                        NY      10271                                                                                   4   of       4




  07/08/20                   S2011910.001                                    469.91                                                   469.91                            82,909.57
  07/09/20                   S2011923.001                                    602.15                                                   602.15                            83,511.72
  07/09/20                     2011934          00                           148d1                                                    148           71                  83,660           43
  07/09/20                   S2011937           001                            93      82                                                 93.82                         83,754.25
  07/09/20                   S2011944.001                                    256.03                                                   256.03                            84,010.28
  07/13/20                   S2012039.001                              1,547.63                                                   1,547.63                              85,557.91
  07/13/20                   S2012058.001                              1,766.93                                                   1,766.93                              87,324.84
  07/13/20                   S2012183.001                              3,082.00                                                   3,082.00                              90,406.84
  07/15/20                     2012200          00                       ,271d5                                                   1,271             95                  91,678           79
  07/14           20         S2012409           001                          224       79                                             224.79                            91,903.58
  07      15/20              S2012550.001                                    652.79                                                   652.79                            92,556.37
  07/15/20                   S2012553.001                                    152.02                                                   152.02                            92,708.39
  07/16/20                   S2012778.001                                    289.49                                                   289.49                            92,997.88
  07/16/20                   S2012785.001                                    526.47                                                   526.47                            93,524.35
  07/16/20                     2012788          00                           115       65                                             115           65                  93,640           00
  07/17           20         S2012806           001                          514       40                                             514.40                            94,154.40
  07      20f20              S2012550.002                                    115.25                                                   115.25                            94,269.65
  07/20/20                   S2012939.001                              3,205.38                                                   3,205.38                              97,475.03
  07/21/20                   S2013039.001                                    277.82                                                   277.82                            97,752.85
  07/22/20                   S2012550.003                                      10.66                                                      10.66                         97,763.51
  07/22/20                     2013542          00                           934       50                                             934           30                  98,697           81
  07/23/20                   S2013364           001                    1,703.72                                                   1,703.72                         100,401.53
  07/23/20                   S2013454.001                                    136.80                                                   136.80                       100,538.33
  07/28/20                   S2013882.001                              2,782.83                                                   2,782.83                         103,321.16
  07/29/20                   S2013781.001                              3,502.70                                                   3,502.70                         106,823.86




        105,341.77                          40,000.00                                  0.00           41,482.09                              0.00                  106,823.86




                        0.00                41,482.09                   30,384.73                      6,040.69                  28,916.35


  All     past         due     balances         subject         to    SERVICE          CHARGES   of     1.50%     per   month.
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
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                                                                              NO. 152298/2021
NYSCEF DOC. NO. 25                                                                        RECEIVED NYSCEF: 04/08/2022
                                                                                                       Statement

   DEA                                                                                             REMITTO:
                                                                                                   THEIDEALSUPPLYCO
  SUPPLY              CE                                                                           445COPMUNIPAWAVENUE
                                                                                                   JERSEYCITYNJ07304
                                                                                                   201-333-2600
  445    Communipaw                      Avenue
  Jersey    City  NJ             07304
  201-333-2600                 Fax       201-333-7376




                      CUSTOMER                                                                        08/31/20                      47848
                      FAHRENHEIT               MECHANICAL
                      120      BROADWAY            36TH        FLOOR
                      NEW      YORK,                      NY     10271                                           1   of       5




  03/13/20             S2002713.001                              2,075.53             2,075.53                              3,197.60
  03/18/20             S2003015.001                              1,369.29             1,369.29                              4,566.89
  03/20/20                  2003546          00                          4h80                 47      80                    4,614           69
  03/24/20             S2003547.001                              1,571           55   1    571.55                           6,186.24
  03/24/20             S2003547.002                                      30.14                30.14                         6,216.38
  03/24/20             S2003547.003                                    577.04              577.04                           6,793.42
  03/26/20             S2003661.001                              1,    035.76         1,035.76                              7,829.18
  03/27/20             S2003883.001                                    253.68              253.68                           8,082.86
  04/22/20                  2005146          002                         42      87           42      87                    8,125           73
  06/05/20             S2008619              001                 2,320           95   2,320.95                            10,446.68
  06/09f20             S2008868.001                                    136.89              136.89                         10,583.57
  06/09/20             S2008869.001                                    624.15              624.15                         11,207.72
  06/10/20             S2009038.001                              1,868.35             1,868.35                            13,076.07
  06/10/20             S2009045.001                                    542.38              542.38                         13,618.45
  06/11/20             $2009132              001                 0928            80   4,928           80                  18,547            25
  06/16          20    S2009592              001                       228       17        228.17                         18,775.42
  06/16/20             S2009655.001                              1,870.62             1,870.62                            20,646.04
  06/16/20             S2009681.001                                    211.97              211.97                         20,858.01
  06/16/20             S2009686.001                                      18.90                18.90                       20,876.91
  06/18/20             S2009918.001                                    720.04              720.04                         21,596.95
  06/18      /20       $2009932              001                       493       54       493         34                  22,090            29
  06/19/20             S2010065              001                       750       26        750.26                         22,840.55
  06/22/20             S2010221.001                                      18.40                18.40                       22,858.95
  06/22/20             S2010235.001                                      75.53                75.53                       22,934.48
  06/22/20             S2010319.001                                    340.90              340.90                         23,275.38
  06/23/20             S2010343.001                                    457.39             457.39                          23,732.77
  06/25/20             $2010418              001                       201e20              201        20                  23,933            97
  06/24/20             S2010583              001                       257       32        257.32                         24,191.29
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
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                                                                              NO. 152298/2021
NYSCEF DOC. NO. 25                                                                RECEIVED NYSCEF: 04/08/2022
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   DEA                                                                                       REMIT TO:
                                                                                             THE IDEAL SUPPLY CO
  SU P P L Y CE                                                                              445 COPMUNIPAWAVENUE
                                                                                             JERSEY CITY NJ 07304
                                                                                             201-333-2600
  445    Communipaw                 Avenue
  Jersey    City  NJ        07304
  201-333-2600            Fax       201-333-7376




                 CUSTOMER                                                                      08/31/20                     47848
                 FAHRENHEIT               MECHANICAL
                 120      BROADWAY            36TH        FLOOR
                 NEW      YORK,                      NY     10271                                         2   of       5




  06/24/20        S2010602.001                                    326.57            326.57                         28,064.62
  06/26/20        S2010751.001                              2,230.90            2,230.90                           30,295.52
  06/26/20        $2010751              002                         52     02           52     02                  30,347           54
  06/26/20        S2010791              001                         02     04       102.04                         30,449.58
  06/26/20        S2010797.001                              4,734.74            4,734.74                           35,184.32
  06/26/20        S2010819.001                                    474.33            474.33                         35,658.65
  06/29/20        S2010904.001                                    119.77            119.77                         35,778.42
  06/29/20        S2010936.001                                    500.31            500.31                         36,278.73
  06/29/20             2010937          001                       231      56       231        56                  36,510           29
  06/29/20        S2011053.001                                    766      22       766.22                         37,276.51
  06/29/20        S2011064.001                                    374.15            374.15                         37,650.66
  06/30/20        S2011201.001                                                    -149.28                          37,501.38
  06/30/20        S2011203.001                                    180.67            180.67                         37,682.05
  06/30/20        S2011206.001                                    268.77            268.77                         37,950.82
  07/01/20             2011208          001                         10     66           10     66                  37,961           48
  07/01/20        S2011273.001                                      29     52       129.52                         38,091.00
  07/02/20        S2011372.001                              1,892.69            1,892.69                           39,983.69
  07/02/20        S2011375.001                                    580.40            580.40                         40,564.09
  07/06/20        S2011500.001                              5,490.24            5,490.24                           46,054.33
  07/06/20        S2011505.001                                    262.70            262.70                         46,317.03
  07/07/20             2011506          001                   , 999        94   3,999          94                  50,316           97
  07/07/20        S2011743              001                   ,100         95   1,100.95                           51,417.92
  07/08f20        S2011725.001                                    568.63            568.63                         51,986.55
  07/O8/20        S2011754.001                                    255.59            255.59                         52,242.14
  07/08/20        S2011909.001                              2,806.57            2,806.57                           55,048.71
  07/08/20        S2011910.001                                    469.91            469.91                         55,518.62
  07/09/20             201192           001                       602      15       602        15                  56,120           77
  07/09/20        S2011934              001                       148      71       148.71                         56,269.48
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 25                                                                       RECEIVED NYSCEF: 04/08/2022
                                                                                                        Statement

   DEA                                                                                              REMITTO:
                                                                                                    THEIDEALSUPPLYCO
  SUPPLY                  CE                                                                        445COPMUNIPAWAVENUE
                                                                                                    JERSEYCITYNJ07304
                                                                                                    201-333-2600
  445      Communipaw                      Avenue
  Jersey           City         NJ07304
  201-333-2600                     Fax     201-333-7376




                          CUSTOMER                                                                    08/31/20                     47848
                          FAHRENHEIT             MECHANICAL
                          120      BROADWAY          36TH        FLOOR
                          NEW      YORK,                    NY     10271                                         3   of       5




  07/13/20                 S2012039.001                            1,547.63            1,547.63                           58,166.96
  07/13/20                 S2012058.001                            1,766.93            1,766.93                           59,933.89
  07/15/20                      2012185        00                  á ,082         00   3,082          00                  63,015           89
  07/13            20      S2012200.001                            1,271          95   1,271.95                           64,287.84
  07       14/20           S2012409.001                                  224.79            224.79                         64,512.63
  07/15/20                 S2012550.001                                  652.79            652.79                         65,165.42
  07/15/20                 S2012553.001                                  152.02            152.02                         65,317.44
  07/16/20                 S2012778.001                                  289.49            289.49                         65,606.93
  07/16/20                      2012785        001                       526ü7             526        47                  66,133           40
  07/16/20                 S2012788            001                       115      65       115.65                         66,249.05
  07/17/20                 S2012806.001                                  514.40            514.40                         66,763.45
  07/20/20                 S2012550.002                                  115.25            115.25                         66,878.70
  07/20/20                 S2012939.001                            3,205.38            3,205.38                           70,084.08
  07/21/20                 S2013039.001                                  277.82            277.82                         70,361.90
  07/22/20                 $2012550            005                         10     66           10     66                  70,372           56
  07/22            20      S2013342            001                       934      30       934.30                         71,306.86
  07       23/20           S2013364.001                            1,703.72            1,703.72                           73,010.58
  07/23/20                 S2013454.001                                  136.80            136.80                         73,147.38
  07/28/20                 S2013882.001                            2,782.83            2,782.83                           75,930.21
  07/29/20                 S2013781.001                            3,502.70            3,502.70                           79,432.91
  08/03/20                 $2014492            001                 2     550       9   2,350          89                  81,783           80
  08/04            20      S2014577            001                       472      99       472.99                         82,256.79
  08/04/20                 S2014598.001                                  180.15            180.15                         82,436.94
  08/05/20                 S2014638.001                            3,254.73            3,254.73                           85,691.67
  08/05/20                 S2014645.001                                  804.11            804.11                         86,495.78
  08/05/20                 S2014647.001                            1,884.05            1,884.05                           88,379.83
  08/06/20                 $2014819            Ó01                       956      78       956        78                  89,336           61
  08/07            20      S2014891            001                       141      69       141.69                         89,478.30
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 25                                                                          RECEIVED NYSCEF: 04/08/2022
                                                                                                           Statement

   DEA                                                                                                 REMITTO:
                                                                                                       THEIDEALSUPPLYCO
  SUPPLY               CE                                                                              445COPMUNIPAWAVENUE
                                                                                                       JERSEYCITYNJ07304
                                                                                                       201-333-2600
  445    Communipaw                       Avenue
  Jersey    City  NJ              07304
  201-333-2600                  Fax       201-333-7376




                       CUSTOMER                                                                           08/31/20                     47848
                       FAHRENHEIT               MECHANICAL
                       120      BROADWAY            36TH        FLOOR
                       NEW      YORK,                      NY      10271                                             4   of       5




  08/10/20              S2015037.001                               5,416.57               5,416.57                            95,677.49
  08/10/20              S2015040.001                                    193.93                193.93                          95,871.42
  08/12/20                201$ü$4             001                       449        26         449         26                  96,320           68
  08/13           20    S2014956.002                                    326.53                326.53                          96,647.21
  08/13/20              S2015599.001                                    988.49                988.49                          97,635.70
  08/13/20              S2015641.001                             13,606.81              13,606.81                        111,242.51
  08/14/20              S2015037.002                               2,706.23               2,706.23                       113,948.74
  08/14/20              S2015617.001                                    237.56                237.56                     114,186.30
  08/1        /20       $201$6$6              d0l                       73ü                   734         15             114,920               45
  08/14/20              S2015782              001                       385        17         385.17                     115,305.62
  08/17/20              S2015843.001                                    607.20                607.20                     115,912.82
  08/17/20              S2015876.001                               2,792.01               2,792.01                       118,704.83
  08/18/20              S2015037.003                                       32.15                  32.15                  118,736.98
  08/19/20              S2016134.001                               1,104.52               1,104.52                       119,841.50
  08/19/20                   2016139          001                                  67             51      67             119,893               17
  08/20/20              S2016273              001                  1,128           74     1,128.74                       121,021.91
  08      20f20         S2016274.001                               2,169.43               2,169.43                       123,191.34
  08/21/20              S2016571.001                                    211.43                211.43                     123,402.77
  08/24/20              S2012684.001                             15,971.24              15,971.24                        139,374.01
  08/25/20              S2016779.001                               1,281.63               1,281.63                       140,655.64
  08/26/20              $2016964              001                    ,519          64     1,519           64             142,175               28
  08/27           20    S2017062              001                  2 ,370          90     2,370.90                       144,546.18
  08      27/20         S2017092.001                                    149.31                149.31                     144,695.49
  08/28/20              S2012684.002                               1,384.85               1,384.85                       146,080.34
  08/28/20              S2017104.001                                    460.57                460.57                     146,540.91
  08/31/20              S2012684.003                                       82.12                  82.12                  146,623.03
  08/31/20              $2017387              001                  52029           51     5,029           51             151,652               54
  08/31           20    S2017391              001                       249        30         249.30                     151,901.84
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
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                                                                              NO. 152298/2021
NYSCEF DOC. NO. 25                                                                                                              RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                 Statement

    DEA                                                                                                                                   REMIT TO:
                                                                                                                                          THE IDEAL SUPPLY CO
  S U P P L Y          CE                                                                                                                 445 COPMUNIPAWAVENUE
                                                                                                                                          JERSEY CITY NJ 07304
                                                                                                                                          201-333-2600
  445    Communipaw                       Avenue
  Jersey    City  NJ              07304
  201-333-2600                  Fax       201-333-7376




                      CUSTOMER                                                                                                                  08/31/20                47848
                      FAHRENHEIT                   MECHANICAL
                       120      BROADWAY                36TH         FLOOR
                      NEW       YORK,                          NY      10271                                                                               5   of   5




  .............................................




        106,823.86                         27,008.37                           -382.58             72,768.55                             0.00                  152,201.46




                       0.00                72,768.55                    41,482.09                  29,825.09                  8,125.73


  All     past       due      balances            subject       to    SERVICE       CHARGES   of     1.50%     per   month.
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
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                                                                              NO. 152298/2021
NYSCEF DOC. NO. 25                                                                        RECEIVED NYSCEF: 04/08/2022
                                                                                                       Statement

   DEA                                                                                             REMITTO:
                                                                                                   THEIDEALSUPPLYCO
  SUPPLY              CE                                                                           445COPMUNIPAWAVENUE
                                                                                                   JERSEYCITYNJ07304
                                                                                                   201-333-2600
  445    Communipaw                      Avenue
  Jersey    City  NJ             07304
  201-333-2600                 Fax       201-333-7376




                      CUSTOMER                                                                        09/30/20                      47848
                      FAHRENHEIT               MECHANICAL
                      120      BROADWAY            36TH        FLOOR
                      NEW      YORK,                      NY     10271                                           1   of       5




  03/13/20             S2002713.001                              2,075.53             2,075.53                              3,197.60
  03/18/20             S2003015.001                              1,369.29             1,369.29                              4,566.89
  03/20/20                  2003546          00                          4h80                 47      80                    4,614           69
  03/24/20             S2003547.001                              1,571           55   1    571.55                           6,186.24
  03/24/20             S2003547.002                                      30.14                30.14                         6,216.38
  03/24/20             S2003547.003                                    577.04              577.04                           6,793.42
  03/26/20             S2003661.001                              1,    035.76         1,035.76                              7,829.18
  03/27/20             S2003883.001                                    253.68              253.68                           8,082.86
  04/22/20                  2005146          002                         42      87           42      87                    8,125           73
  06/05/20             S2008619              001                 2,320           95   2,320.95                            10,446.68
  06/09f20             S2008868.001                                    136.89              136.89                         10,583.57
  06/09/20             S2008869.001                                    624.15              624.15                         11,207.72
  06/10/20             S2009038.001                              1,868.35             1,868.35                            13,076.07
  06/10/20             S2009045.001                                    542.38              542.38                         13,618.45
  06/11/20             $2009132              001                 0928            80   4,928           80                  18,547            25
  06/16          20    S2009592              001                       228       17        228.17                         18,775.42
  06/16/20             S2009655.001                              1,870.62             1,870.62                            20,646.04
  06/16/20             S2009681.001                                    211.97              211.97                         20,858.01
  06/16/20             S2009686.001                                      18.90                18.90                       20,876.91
  06/18/20             S2009918.001                                    720.04              720.04                         21,596.95
  06/18      /20       $2009932              001                       493       54       493         34                  22,090            29
  06/19/20             S2010065              001                       750       26        750.26                         22,840.55
  06/22/20             S2010221.001                                      18.40                18.40                       22,858.95
  06/22/20             S2010235.001                                      75.53                75.53                       22,934.48
  06/22/20             S2010319.001                                    340.90              340.90                         23,275.38
  06/23/20             S2010343.001                                    457.39             457.39                          23,732.77
  06/25/20             $2010418              001                       201e20              201        20                  23,933            97
  06/24/20             S2010583              001                       257       32        257.32                         24,191.29
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 25                                                                RECEIVED NYSCEF: 04/08/2022
                                                                                                 Statement

   DEA                                                                                       REMIT TO:
                                                                                             THE IDEAL SUPPLY CO
  SU P P L Y CE                                                                              445 COPMUNIPAWAVENUE
                                                                                             JERSEY CITY NJ 07304
                                                                                             201-333-2600
  445    Communipaw                 Avenue
  Jersey    City  NJ        07304
  201-333-2600            Fax       201-333-7376




                 CUSTOMER                                                                      09/30/20                     47848
                 FAHRENHEIT               MECHANICAL
                 120      BROADWAY            36TH        FLOOR
                 NEW      YORK,                      NY     10271                                         2   of       5




  06/24/20        S2010602.001                                    326.57            326.57                         28,064.62
  06/26/20        S2010751.001                              2,230.90            2,230.90                           30,295.52
  06/26/20        $2010751              002                         52     02           52     02                  30,347           54
  06/26/20        S2010791              001                         02     04       102.04                         30,449.58
  06/26/20        S2010797.001                              4,734.74            4,734.74                           35,184.32
  06/26/20        S2010819.001                                    474.33            474.33                         35,658.65
  06/29/20        S2010904.001                                    119.77            119.77                         35,778.42
  06/29/20        S2010936.001                                    500.31            500.31                         36,278.73
  06/29/20             2010937          001                       231      56       231        56                  36,510           29
  06/29/20        S2011053.001                                    766      22       766.22                         37,276.51
  06/29/20        S2011064.001                                    374.15            374.15                         37,650.66
  06/30/20        S2011201.001                                                    -149.28                          37,501.38
  06/30/20        S2011203.001                                    180.67            180.67                         37,682.05
  06/30/20        S2011206.001                                    268.77            268.77                         37,950.82
  07/01/20             2011208          001                         10     66           10     66                  37,961           48
  07/01/20        S2011273.001                                      29     52       129.52                         38,091.00
  07/02/20        S2011372.001                              1,892.69            1,892.69                           39,983.69
  07/02/20        S2011375.001                                    580.40            580.40                         40,564.09
  07/06/20        S2011500.001                              5,490.24            5,490.24                           46,054.33
  07/06/20        S2011505.001                                    262.70            262.70                         46,317.03
  07/07/20             2011506          001                   , 999        94   3,999          94                  50,316           97
  07/07/20        S2011743              001                   ,100         95   1,100.95                           51,417.92
  07/08f20        S2011725.001                                    568.63            568.63                         51,986.55
  07/O8/20        S2011754.001                                    255.59            255.59                         52,242.14
  07/08/20        S2011909.001                              2,806.57            2,806.57                           55,048.71
  07/08/20        S2011910.001                                    469.91            469.91                         55,518.62
  07/09/20             201192           001                       602      15       602        15                  56,120           77
  07/09/20        S2011934              001                       148      71       148.71                         56,269.48
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                                                                              NO. 152298/2021
NYSCEF DOC. NO. 25                                                                       RECEIVED NYSCEF: 04/08/2022
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   DEA                                                                                              REMITTO:
                                                                                                    THEIDEALSUPPLYCO
  SUPPLY                  CE                                                                        445COPMUNIPAWAVENUE
                                                                                                    JERSEYCITYNJ07304
                                                                                                    201-333-2600
  445      Communipaw                      Avenue
  Jersey           City         NJ07304
  201-333-2600                     Fax     201-333-7376




                          CUSTOMER                                                                    09/30/20                     47848
                          FAHRENHEIT             MECHANICAL
                          120      BROADWAY          36TH        FLOOR
                          NEW      YORK,                    NY     10271                                         3   of       5




  07/13/20                 S2012039.001                            1,547.63            1,547.63                           58,166.96
  07/13/20                 S2012058.001                            1,766.93            1,766.93                           59,933.89
  07/15/20                      2012185        00                  á ,082         00   3,082          00                  63,015           89
  07/13            20      S2012200.001                            1,271          95   1,271.95                           64,287.84
  07       14/20           S2012409.001                                  224.79            224.79                         64,512.63
  07/15/20                 S2012550.001                                  652.79            652.79                         65,165.42
  07/15/20                 S2012553.001                                  152.02            152.02                         65,317.44
  07/16/20                 S2012778.001                                  289.49            289.49                         65,606.93
  07/16/20                      2012785        001                       526ü7             526        47                  66,133           40
  07/16/20                 S2012788            001                       115      65       115.65                         66,249.05
  07/17/20                 S2012806.001                                  514.40            514.40                         66,763.45
  07/20/20                 S2012550.002                                  115.25            115.25                         66,878.70
  07/20/20                 S2012939.001                            3,205.38            3,205.38                           70,084.08
  07/21/20                 S2013039.001                                  277.82            277.82                         70,361.90
  07/22/20                 $2012550            005                         10     66           10     66                  70,372           56
  07/22            20      S2013342            001                       934      30       934.30                         71,306.86
  07       23/20           S2013364.001                            1,703.72            1,703.72                           73,010.58
  07/23/20                 S2013454.001                                  136.80            136.80                         73,147.38
  07/28/20                 S2013882.001                            2,782.83            2,782.83                           75,930.21
  07/29/20                 S2013781.001                            3,502.70            3,502.70                           79,432.91
  08/03/20                 $2014492            001                 2     550       9   2,350          89                  81,783           80
  08/04            20      S2014577            001                       472      99       472.99                         82,256.79
  08/04/20                 S2014598.001                                  180.15            180.15                         82,436.94
  08/05/20                 S2014638.001                            3,254.73            3,254.73                           85,691.67
  08/05/20                 S2014645.001                                  804.11            804.11                         86,495.78
  08/05/20                 S2014647.001                            1,884.05            1,884.05                           88,379.83
  08/06/20                 $2014819            Ó01                       956      78       956        78                  89,336           61
  08/07            20      S2014891            001                       141      69       141.69                         89,478.30
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
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   DEA                                                                                                 REMITTO:
                                                                                                       THEIDEALSUPPLYCO
  SUPPLY               CE                                                                              445COPMUNIPAWAVENUE
                                                                                                       JERSEYCITYNJ07304
                                                                                                       201-333-2600
  445    Communipaw                       Avenue
  Jersey    City  NJ              07304
  201-333-2600                  Fax       201-333-7376




                       CUSTOMER                                                                           09/30/20                     47848
                       FAHRENHEIT               MECHANICAL
                       120      BROADWAY            36TH        FLOOR
                       NEW      YORK,                      NY      10271                                             4   of       5




  08/10/20              S2015037.001                               5,416.57               5,416.57                            95,677.49
  08/10/20              S2015040.001                                    193.93                193.93                          95,871.42
  08/12/20                201$ü$4             001                       449        26         449         26                  96,320           68
  08/13           20    S2014956.002                                    326.53                326.53                          96,647.21
  08/13/20              S2015599.001                                    988.49                988.49                          97,635.70
  08/13/20              S2015641.001                             13,606.81              13,606.81                        111,242.51
  08/14/20              S2015037.002                               2,706.23               2,706.23                       113,948.74
  08/14/20              S2015617.001                                    237.56                237.56                     114,186.30
  08/1        /20       $201$6$6              d0l                       73ü                   734         15             114,920               45
  08/14/20              S2015782              001                       385        17         385.17                     115,305.62
  08/17/20              S2015843.001                                    607.20                607.20                     115,912.82
  08/17/20              S2015876.001                               2,792.01               2,792.01                       118,704.83
  08/18/20              S2015037.003                                       32.15                  32.15                  118,736.98
  08/19/20              S2016134.001                               1,104.52               1,104.52                       119,841.50
  08/19/20                   2016139          001                                  67             51      67             119,893               17
  08/20/20              S2016273              001                  1,128           74     1,128.74                       121,021.91
  08      20f20         S2016274.001                               2,169.43               2,169.43                       123,191.34
  08/21/20              S2016571.001                                    211.43                211.43                     123,402.77
  08/24/20              S2012684.001                             15,971.24              15,971.24                        139,374.01
  08/25/20              S2016779.001                               1,281.63               1,281.63                       140,655.64
  08/26/20              $2016964              001                    ,519          64     1,519           64             142,175               28
  08/27           20    S2017062              001                  2 ,370          90     2,370.90                       144,546.18
  08      27/20         S2017092.001                                    149.31                149.31                     144,695.49
  08/28/20              S2012684.002                               1,384.85               1,384.85                       146,080.34
  08/28/20              S2017104.001                                    460.57                460.57                     146,540.91
  08/31/20              S2012684.003                                       82.12                  82.12                  146,623.03
  08/31/20              $2017387              001                  52029           51     5,029           51             151,652               54
  08/31           20    S2017391              001                       249        30         249.30                     151,901.84
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
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    DEA                                                                                                                                         REMITTO:
                                                                                                                                                THEIDEALSUPPLYCO
  SUPPLY               CE                                                                                                                       445COPMUNIPAWAVENUE
                                                                                                                                                JERSEYCITYNJ07304
                                                                                                                                                201-333-2600
  445    Communipaw                       Avenue
  Jersey    City  NJ              07304
  201-333-2600                   Fax      201-333-7376




                       CUSTOMER                                                                                                                     09/30/20                  47848
                       FAHRENHEIT               MECHANICAL
                       120       BROADWAY             36TH         FLOOR
                       NEW       YORK,                       NY       10271                                                                                    5   of    5




  09/02/20                  S2017447.001                                                                -127.38                       -127.38                      153,484.42
  09/02/20                  S2017659.001                             4,171.79                                                     4,171.79                         157,656.21
  09/05/20                  S2017747          00                      5    422         09                                         5,422             09             163,078            30
  09/04/20                  S2017692          001                   28,526             00                                        28    526.00                      191       604.30
  09/22/20                  S2019525.001                              6,295.74                                                    6,295.74                         197,900.04
  09/23/20                  S2019525.002                                     590.80                                                    590.80                      198,490.84
  09/24/20                  S2019525.003                              1,598.27                                                    1,598.27                         200,089.11
  09/25/20                  S2019525.004                              1,361.25                                                    1,361.25                         201,450.36
  09/25/20                  S2019880          001                         ,571         73                                         1,571             73             203,022            09
  09/25          20         S2019893          001                     2,148            52                                         2,148.52                         205,170.61
  09/25/20                  S2020037.001                              1,630.50                                                    1,630.50                         206,801.11
  09/28/20                  S2020107.001                                       25.60                                                      25.60                    206,826.71
  09/28/20                  S2020112.001                                     190.88                                                    190.88                      207,017.59
  09/29/20                  S2020224.001                                     626.78                                                    626.78                      207,644.37
  09/29/20                  S2020528          001                              82      55                                                 82        35             207,726            72
  09/29/20                  S2020374          001                              12      30                                                 12.30                    207,739.02
  09/30/20                  S2020397.001                              2 ,859.68                                                   2,859.68                         210,598.70
  09/30/20                  S2020397.002                                     260.91                                                    260.91                      210,859.61
  09/30/20                  S2020542.001                              1,848.41                                                    1,848.41                         212,708.02




        152,201.46                                    0.00                       -127.38              60,633.94                              0.00                  212   ,708.02




                       0.00               66,167.11                       67,108.00                   41,482.09                  37,950.82


  All     past        due     balances        subject         to    SERVICE            CHARGES   of     1.50%     per   month.
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
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   DEA                                                                                             REMITTO:
                                                                                                   THEIDEALSUPPLYCO
  SUPPLY              CE                                                                           445COPMUNIPAWAVENUE
                                                                                                   JERSEYCITYNJ07304
                                                                                                   201-333-2600
  445    Communipaw                      Avenue
  Jersey    City  NJ             07304
  201-333-2600                 Fax       201-333-7376




                      CUSTOMER                                                                        09/30/20                      47848
                      FAHRENHEIT               MECHANICAL
                      120      BROADWAY            36TH        FLOOR
                      NEW      YORK,                      NY     10271                                           1   of       5




  03/13/20             S2002713.001                              2,075.53             2,075.53                              3,197.60
  03/18/20             S2003015.001                              1,369.29             1,369.29                              4,566.89
  03/20/20                  2003546          00                          4h80                 47      80                    4,614           69
  03/24/20             S2003547.001                              1,571           55   1    571.55                           6,186.24
  03/24/20             S2003547.002                                      30.14                30.14                         6,216.38
  03/24/20             S2003547.003                                    577.04              577.04                           6,793.42
  03/26/20             S2003661.001                              1,    035.76         1,035.76                              7,829.18
  03/27/20             S2003883.001                                    253.68              253.68                           8,082.86
  04/22/20                  2005146          002                         42      87           42      87                    8,125           73
  06/05/20             S2008619              001                 2,320           95   2,320.95                            10,446.68
  06/09f20             S2008868.001                                    136.89              136.89                         10,583.57
  06/09/20             S2008869.001                                    624.15              624.15                         11,207.72
  06/10/20             S2009038.001                              1,868.35             1,868.35                            13,076.07
  06/10/20             S2009045.001                                    542.38              542.38                         13,618.45
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  06/16/20             S2009681.001                                    211.97              211.97                         20,858.01
  06/16/20             S2009686.001                                      18.90                18.90                       20,876.91
  06/18/20             S2009918.001                                    720.04              720.04                         21,596.95
  06/18      /20       $2009932              001                       493       54       493         34                  22,090            29
  06/19/20             S2010065              001                       750       26        750.26                         22,840.55
  06/22/20             S2010221.001                                      18.40                18.40                       22,858.95
  06/22/20             S2010235.001                                      75.53                75.53                       22,934.48
  06/22/20             S2010319.001                                    340.90              340.90                         23,275.38
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                                                                                             THE IDEAL SUPPLY CO
  SU P P L Y CE                                                                              445 COPMUNIPAWAVENUE
                                                                                             JERSEY CITY NJ 07304
                                                                                             201-333-2600
  445    Communipaw                 Avenue
  Jersey    City  NJ        07304
  201-333-2600            Fax       201-333-7376




                 CUSTOMER                                                                      09/30/20                     47848
                 FAHRENHEIT               MECHANICAL
                 120      BROADWAY            36TH        FLOOR
                 NEW      YORK,                      NY     10271                                         2   of       5




  06/24/20        S2010602.001                                    326.57            326.57                         28,064.62
  06/26/20        S2010751.001                              2,230.90            2,230.90                           30,295.52
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  06/26/20        S2010819.001                                    474.33            474.33                         35,658.65
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  06/29/20             2010937          001                       231      56       231        56                  36,510           29
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  06/30/20        S2011206.001                                    268.77            268.77                         37,950.82
  07/01/20             2011208          001                         10     66           10     66                  37,961           48
  07/01/20        S2011273.001                                      29     52       129.52                         38,091.00
  07/02/20        S2011372.001                              1,892.69            1,892.69                           39,983.69
  07/02/20        S2011375.001                                    580.40            580.40                         40,564.09
  07/06/20        S2011500.001                              5,490.24            5,490.24                           46,054.33
  07/06/20        S2011505.001                                    262.70            262.70                         46,317.03
  07/07/20             2011506          001                   , 999        94   3,999          94                  50,316           97
  07/07/20        S2011743              001                   ,100         95   1,100.95                           51,417.92
  07/08f20        S2011725.001                                    568.63            568.63                         51,986.55
  07/O8/20        S2011754.001                                    255.59            255.59                         52,242.14
  07/08/20        S2011909.001                              2,806.57            2,806.57                           55,048.71
  07/08/20        S2011910.001                                    469.91            469.91                         55,518.62
  07/09/20             201192           001                       602      15       602        15                  56,120           77
  07/09/20        S2011934              001                       148      71       148.71                         56,269.48
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   DEA                                                                                              REMITTO:
                                                                                                    THEIDEALSUPPLYCO
  SUPPLY                  CE                                                                        445COPMUNIPAWAVENUE
                                                                                                    JERSEYCITYNJ07304
                                                                                                    201-333-2600
  445      Communipaw                      Avenue
  Jersey           City         NJ07304
  201-333-2600                     Fax     201-333-7376




                          CUSTOMER                                                                    09/30/20                     47848
                          FAHRENHEIT             MECHANICAL
                          120      BROADWAY          36TH        FLOOR
                          NEW      YORK,                    NY     10271                                         3   of       5




  07/13/20                 S2012039.001                            1,547.63            1,547.63                           58,166.96
  07/13/20                 S2012058.001                            1,766.93            1,766.93                           59,933.89
  07/15/20                      2012185        00                  á ,082         00   3,082          00                  63,015           89
  07/13            20      S2012200.001                            1,271          95   1,271.95                           64,287.84
  07       14/20           S2012409.001                                  224.79            224.79                         64,512.63
  07/15/20                 S2012550.001                                  652.79            652.79                         65,165.42
  07/15/20                 S2012553.001                                  152.02            152.02                         65,317.44
  07/16/20                 S2012778.001                                  289.49            289.49                         65,606.93
  07/16/20                      2012785        001                       526ü7             526        47                  66,133           40
  07/16/20                 S2012788            001                       115      65       115.65                         66,249.05
  07/17/20                 S2012806.001                                  514.40            514.40                         66,763.45
  07/20/20                 S2012550.002                                  115.25            115.25                         66,878.70
  07/20/20                 S2012939.001                            3,205.38            3,205.38                           70,084.08
  07/21/20                 S2013039.001                                  277.82            277.82                         70,361.90
  07/22/20                 $2012550            005                         10     66           10     66                  70,372           56
  07/22            20      S2013342            001                       934      30       934.30                         71,306.86
  07       23/20           S2013364.001                            1,703.72            1,703.72                           73,010.58
  07/23/20                 S2013454.001                                  136.80            136.80                         73,147.38
  07/28/20                 S2013882.001                            2,782.83            2,782.83                           75,930.21
  07/29/20                 S2013781.001                            3,502.70            3,502.70                           79,432.91
  08/03/20                 $2014492            001                 2     550       9   2,350          89                  81,783           80
  08/04            20      S2014577            001                       472      99       472.99                         82,256.79
  08/04/20                 S2014598.001                                  180.15            180.15                         82,436.94
  08/05/20                 S2014638.001                            3,254.73            3,254.73                           85,691.67
  08/05/20                 S2014645.001                                  804.11            804.11                         86,495.78
  08/05/20                 S2014647.001                            1,884.05            1,884.05                           88,379.83
  08/06/20                 $2014819            Ó01                       956      78       956        78                  89,336           61
  08/07            20      S2014891            001                       141      69       141.69                         89,478.30
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 25                                                                          RECEIVED NYSCEF: 04/08/2022
                                                                                                           Statement

   DEA                                                                                                 REMITTO:
                                                                                                       THEIDEALSUPPLYCO
  SUPPLY               CE                                                                              445COPMUNIPAWAVENUE
                                                                                                       JERSEYCITYNJ07304
                                                                                                       201-333-2600
  445    Communipaw                       Avenue
  Jersey    City  NJ              07304
  201-333-2600                  Fax       201-333-7376




                       CUSTOMER                                                                           09/30/20                     47848
                       FAHRENHEIT               MECHANICAL
                       120      BROADWAY            36TH        FLOOR
                       NEW      YORK,                      NY      10271                                             4   of       5




  08/10/20              S2015037.001                               5,416.57               5,416.57                            95,677.49
  08/10/20              S2015040.001                                    193.93                193.93                          95,871.42
  08/12/20                201$ü$4             001                       449        26         449         26                  96,320           68
  08/13           20    S2014956.002                                    326.53                326.53                          96,647.21
  08/13/20              S2015599.001                                    988.49                988.49                          97,635.70
  08/13/20              S2015641.001                             13,606.81              13,606.81                        111,242.51
  08/14/20              S2015037.002                               2,706.23               2,706.23                       113,948.74
  08/14/20              S2015617.001                                    237.56                237.56                     114,186.30
  08/1        /20       $201$6$6              d0l                       73ü                   734         15             114,920               45
  08/14/20              S2015782              001                       385        17         385.17                     115,305.62
  08/17/20              S2015843.001                                    607.20                607.20                     115,912.82
  08/17/20              S2015876.001                               2,792.01               2,792.01                       118,704.83
  08/18/20              S2015037.003                                       32.15                  32.15                  118,736.98
  08/19/20              S2016134.001                               1,104.52               1,104.52                       119,841.50
  08/19/20                   2016139          001                                  67             51      67             119,893               17
  08/20/20              S2016273              001                  1,128           74     1,128.74                       121,021.91
  08      20f20         S2016274.001                               2,169.43               2,169.43                       123,191.34
  08/21/20              S2016571.001                                    211.43                211.43                     123,402.77
  08/24/20              S2012684.001                             15,971.24              15,971.24                        139,374.01
  08/25/20              S2016779.001                               1,281.63               1,281.63                       140,655.64
  08/26/20              $2016964              001                    ,519          64     1,519           64             142,175               28
  08/27           20    S2017062              001                  2 ,370          90     2,370.90                       144,546.18
  08      27/20         S2017092.001                                    149.31                149.31                     144,695.49
  08/28/20              S2012684.002                               1,384.85               1,384.85                       146,080.34
  08/28/20              S2017104.001                                    460.57                460.57                     146,540.91
  08/31/20              S2012684.003                                       82.12                  82.12                  146,623.03
  08/31/20              $2017387              001                  52029           51     5,029           51             151,652               54
  08/31           20    S2017391              001                       249        30         249.30                     151,901.84
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 25                                                                                                                    RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                     Statement

    DEA                                                                                                                                         REMITTO:
                                                                                                                                                THEIDEALSUPPLYCO
  SUPPLY               CE                                                                                                                       445COPMUNIPAWAVENUE
                                                                                                                                                JERSEYCITYNJ07304
                                                                                                                                                201-333-2600
  445    Communipaw                       Avenue
  Jersey    City  NJ              07304
  201-333-2600                   Fax      201-333-7376




                       CUSTOMER                                                                                                                     09/30/20                  47848
                       FAHRENHEIT               MECHANICAL
                       120       BROADWAY             36TH         FLOOR
                       NEW       YORK,                       NY       10271                                                                                    5   of    5




  09/02/20                  S2017447.001                                                                -127.38                       -127.38                      153,484.42
  09/02/20                  S2017659.001                             4,171.79                                                     4,171.79                         157,656.21
  09/05/20                  S2017747          00                      5    422         09                                         5,422             09             163,078            30
  09/04/20                  S2017692          001                   28,526             00                                        28    526.00                      191       604.30
  09/22/20                  S2019525.001                              6,295.74                                                    6,295.74                         197,900.04
  09/23/20                  S2019525.002                                     590.80                                                    590.80                      198,490.84
  09/24/20                  S2019525.003                              1,598.27                                                    1,598.27                         200,089.11
  09/25/20                  S2019525.004                              1,361.25                                                    1,361.25                         201,450.36
  09/25/20                  S2019880          001                         ,571         73                                         1,571             73             203,022            09
  09/25          20         S2019893          001                     2,148            52                                         2,148.52                         205,170.61
  09/25/20                  S2020037.001                              1,630.50                                                    1,630.50                         206,801.11
  09/28/20                  S2020107.001                                       25.60                                                      25.60                    206,826.71
  09/28/20                  S2020112.001                                     190.88                                                    190.88                      207,017.59
  09/29/20                  S2020224.001                                     626.78                                                    626.78                      207,644.37
  09/29/20                  S2020528          001                              82      55                                                 82        35             207,726            72
  09/29/20                  S2020374          001                              12      30                                                 12.30                    207,739.02
  09/30/20                  S2020397.001                              2 ,859.68                                                   2,859.68                         210,598.70
  09/30/20                  S2020397.002                                     260.91                                                    260.91                      210,859.61
  09/30/20                  S2020542.001                              1,848.41                                                    1,848.41                         212,708.02




        152,201.46                                    0.00                       -127.38              60,633.94                              0.00                  212   ,708.02




                       0.00               66,167.11                       67,108.00                   41,482.09                  37,950.82


  All     past        due     balances        subject         to    SERVICE            CHARGES   of     1.50%     per   month.
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 25                                                                    RECEIVED NYSCEF: 04/08/2022
                                                                                                    Statement

   DEA                                                                                           REMIT TO:
                                                                                               THE IDEAL SUPPLY CO
  SU P P L Y CE                                                                                445 COPMUNIPAWAVENUE
                                                                                               JERSEY CITY NJ 07304
                                                                                               201-333-2600
  445      Communipaw                  Avenue
  Jersey      City          NJ07304
  201-333-2600                 Fax     201-333-7376




                      CUSTOMER                                                                    11/30/20                      47848
                      FAHRENHEIT             MECHANICAL
                      120      BROADWAY          36TH        FLOOR
                      NEW      YORK,                    NY     10271                                         1   of       6




  06/05/20             S2008619.001                            2,320.95             2,320.95                            2,363.82
  06/11/20             S2009132.001                            4,928.80             4,928.80                            7,292.62
  06/16/20                  2009592        00                        228       17       228       17                    7,520           79
  06/16/20             S2009655            00                    ,870.62            1,870.62                            9,391.41
  06/16/20             S2009681.001                                  211.97             211.97                          9,603.38
  06/16/20             S2009686.001                                    18.90              18.90                         9,622.28
  06/18/20             S2009918.001                                  720.04             720.04                        10,342.32
  06/18/20             S2009932.001                                  493.34             493.34                        10,835.66
  06/19/20                  2010065        001                       750       26       750       26                  11,585            92
  06/22/20             S2010221            001                         18      40         18.40                       11,604.32
  06/22/20             S2010235.001                                    75.53              75.53                       11,679.85
  06/22/20             S2010319.001                                  340.90             340.90                        12,020.75
  06/23/20             S2010343.001                                  457.39             457.39                        12,478.14
  06/23/20             S2010418.001                                  201.20             201.20                        12,679.34
  06/24/20                  201058         001                       257        2       257       32                  12,936            66
  06/24          20    S2010585            001                       119       44       119.44                        13,056.10
  06/24/20             S2010595.001                            3,427.32             3,427.32                          16,483.42
  06/24/20             S2010602.001                                  326.57             326.57                        16,809.99
  06/26/20             S2010751.001                            2,230.90             2,230.90                          19,040.89
  06/26/20             S2010751.002                                    52.02              52.02                       19,092.91
  06/26/20                  2010791        001                       102       04       102       04                  19,194            95
  06/26/20             S2010797            001                 4 ,734          74   4,734.74                          23,929.69
  06/26/20             S2010819.001                                  474.33             474.33                        24,404.02
  06/29/20             S2010904.001                                  119.77             119.77                        24,523.79
  06/29/20             S2010936.001                                  500.31             500.31                        25,024.10
  06/29/20             S2010937.001                                  231.56             231.56                        25,255.66
  06/29/20             $2011053            001                       766       22       766       22                  26,021            88
  06/29/20             S2011064            001                       374       15       374.15                        26,396.03
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
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NYSCEF DOC. NO. 25                                                                       RECEIVED NYSCEF: 04/08/2022
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   DEA                                                                                              REMITTO:
                                                                                                  THEIDEALSUPPLYCO
  SUPPLY              CE                                                                          445COPMUNIPAWAVENUE
                                                                                                  JERSEYCITYNJ07304
                                                                                                  201-333-2600
  445    Communipaw                      Avenue
  Jersey    City  NJ             07304
  201-333-2600                 Fax       201-333-7376




                      CUSTOMER                                                                         11/30/20                      47848
                      FAHRENHEIT               MECHANICAL
                      120      BROADWAY            36TH        FLOOR
                      NEW      YORK,                      NY     10271                                            2   of        6




  06/30/20             S2011206.001                                    268.77              268.77                          26,696.19
  07/01/20             S2011208.001                                      10.66                 10.66                       26,706.85
  07/01/20                  2011273          00                          29       52       129         52                  26,a36            37
  07/02/20             S2011372              001                 1,892            69   1,892.69                            28       729.06
  07/02/20             S2011375.001                                    580.40              580.40                          29,309.46
  07/06/20             S2011500.001                              5,490.24              5,490.24                            34,799.70
  07/06/20             S2011505.001                                    262.70              262.70                          35,062.40
  07/07/20             S2011506.001                              3,999.94              3,999.94                            39,062.34
  07/07/20                  2011743          001                      ,100        95   1,100           95                  40,163            29
  07/08/20             S2011725              001                       568        63       568.63                          40,731.92
  07/08f20             S2011754.001                                    255.59              255.59                          40,987.51
  07/O8/20             S2011909.001                              2,806.57              2,806.57                            43,794.08
  07/08/20             S2011910.001                                    469.91              469.91                          44,263.99
  07/09/20             S2011923.001                                    602.15              602.15                          44,866.14
  07/09/20             $2011934             ed01                       148        11       148         71                  45   , 014ea5
  07/09/20             S2011937              001                             93   82           93.82                       45,108.67
  07/09f20             S2011944.001                                    256.03              256.03                          45,364.70
  07/13/20             S2012039.001                              1,547.63              1,547.63                            46,912.33
  07/13/20             S2012058.001                              1,766.93              1,766.93                            48,679.26
  07/13/20             S2012183.001                              3,    082.00          3,082.00                            51,761.26
  07/13/20             $2012200              Ó01                       271        95   1,271           95                  53,033            21
  07/14          20    S2012409              001                       224        79       224.79                          53,258.00
  07/15/20             S2012550.001                                    652.79              652.79                          53,910.79
  07/15/20             S2012553.001                                    152.02              152.02                          54,062.81
  07/16/20             S2012778.001                                    289.49              289.49                          54,352.30
  07/16/20             S2012785.001                                    526.47              526.47                          54,878.77
  07/16/20             $2012188              001                       115        65       115         65                  54,994            42
  07/17/20             S2012806              001                       514        40       514.40                          55,508.82
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
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                                                                              NO. 152298/2021
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   DEA                                                                                            REMITTO:
                                                                                                THEIDEALSUPPLYCO
  SUPPLY              CE                                                                        445COPMUNIPAWAVENUE
                                                                                                JERSEYCITYNJ07304
                                                                                                201-333-2600
  445      Communipaw                  Avenue
  Jersey      City          NJ07304
  201-333-2600                 Fax     201-333-7376




                      CUSTOMER                                                                     11/30/20                     47848
                      FAHRENHEIT             MECHANICAL
                      120      BROADWAY          36TH        FLOOR
                      NEW      YORK,                    NY     10271                                          3   of       6




  07/21/20             S2013039.001                                  277.82              277.82                        59,107.27
  07/22/20             S2012550.003                                    10.66               10.66                       59,117.93
  07/22/20                  2013542        00                        934       50        934       30                  60,052           23
  07/23/20             S2013364.001                            1 ,703.72             1,703.72                          61,755.95
  07/23/20             S2013454.001                                  136.80              136.80                        61,892.75
  07/28/20             S2013882.001                            2,782.83              2,782.83                          64,675.58
  07/29/20             S2013781.001                            3,502.70              3,502.70                          68,178.28
  08/03/20             S2014492.001                            2,350.89              2,350.89                          70,529.17
  08/04/20                  2014577        001                       472       99        472       99                  71,002           16
  08/04          20    S2014598            001                       180       15        180.15                        71,182.31
  08/05/20             S2014638.001                            3,254.73              3,254.73                          74,437.04
  08/05/20             S2014645.001                                  804.11              804.11                        75,241.15
  08/05/20             S2014647.001                            1,884.05              1,884.05                          77,125.20
  08/06/20             S2014819.001                                  956.78              956.78                        78,081.98
  08/07/20             $2014891            001                       141       69        141       69                  18,223           67
  08/07          20    S2014956.001                                  159       13        159.13                        18,382.80
  08/07f20             S2015009.001                                  623.49              623.49                        79,006.29
  08/10/20             S2015037.001                            5,416.57              5,416.57                          84,422.86
  08/10/20             S2015040.001                                  193.93              193.93                        84,616.79
  08/12/20             S2015454.001                                  449.26              449.26                        85,066.05
  08/13/20             $2014956            002                       52643               326       53                  85,392           58
  08/13          20    S2015599            001                       988       49        988.49                        86,381.07
  08/13/20             S2015641.001                           13,606.81             13,606.81                          99,987.88
  08/14/20             S2015037.002                            2,706.23              2,706.23                     102,694.11
  08/14/20             S2015617.001                                  237.56              237.56                   102,931.67
  08/14/20             S2015656.001                                  734.15              734.15                   103,665.82
  08/14/20             $2015782            001                       585       17        385       17             104,050               99
  08/17          20    S2015843            001                       607       20        607.20                   104,658.19
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
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                                                                              NO. 152298/2021
NYSCEF DOC. NO. 25                                                                          RECEIVED NYSCEF: 04/08/2022
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   DEA                                                                                                 REMITTO:
                                                                                                       THEIDEALSUPPLYCO
  SUPPLY               CE                                                                              445COPMUNIPAWAVENUE
                                                                                                       JERSEYCITYNJ07304
                                                                                                       201-333-2600
  445    Communipaw                       Avenue
  Jersey    City  NJ              07304
  201-333-2600                  Fax       201-333-7376




                       CUSTOMER                                                                            11/30/20                 47848
                       FAHRENHEIT               MECHANICAL
                       120      BROADWAY            36TH        FLOOR
                       NEW      YORK,                      NY      10271                                              4   of   6




  08/19/20              S2016134.001                               1,104.52               1,104.52                        108,586.87
  08/19/20              S2016139.001                                       51.67                   51.67                  108,638.54
  08/20/20                   2016275          00                        128        74     1,128            74             109,767           28
  08/20           20    S2016274.001                               2,169.43               2,169.43                        111,936.71
  08      21/20         S2016571.001                                    211.43                   211.43                   112,148.14
  08/24/20              S2012684.001                             15,971.24              15,971.24                         128,119.38
  08/25/20              S2016779.001                               1,281.63               1,281.63                        129,401.01
  08/26/20              S2016964.001                               1,519.64               1,519.64                        130,920.65
  08/21/20                   2017062          001                  2    570        90     2,370            90             133,291           55
  08/27           20    S2017092              001                       149        31            149.31                   133,440.86
  08/28/20              S2012684.002                               1,384.85               1,384.85                        134,825.71
  08/28/20              S2017104.001                                    460.57                460.57                      135,286.28
  08/31/20              S2012684.003                                       82.12                   82.12                  135,368.40
  08/31/20              S2017387.001                               5,   O29.51            5,029.51                        140,397.91
  08/31/20                   2017591          001                       249        50            249       30             140,647           21
  08/31           20    S2017399              001                       299        62            299.62                   140,946.83
  09/01/20              S2017383.001                               1,410.34               1,410.34                        142,357.17
  09/02/20              S2017447.001                                                        -127.38                       142,229.79
  09/02/20              S2017659.001                              4,171.79                4,171.79                        146,401.58
  09/O3/20              S2017747.001                               5,422.09               5,422.09                        151,823.67
  09/04/20                   2017692          00                 28     526        00   28,526             00             180,349           67
  09/22           20    S2019525              001                  6 ,295          74     6,295.74                        186,645.41
  09/23/20              S2019525.002                                    590.80                   590.80                   187,236.21
  09/24/20              S2019525.003                               1,598.27               1,598.27                        188,834.48
  09/25/20              S2019525.004                               1,361.25               1,361.25                        190,195.73
  09/25/20              S2019880.001                               1,571.73               1,571.73                        191,767.46
  09/25/20                   2019895          00                   2    148        52     2,148            52             193,915           98
  09/25           20    S2020037              001                  1,630           50     1,630.50                        195,546.48
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
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                                                                              NO. 152298/2021
NYSCEF DOC. NO. 25                                                                         RECEIVED NYSCEF: 04/08/2022
                                                                                                           Statement

   DEA                                                                                                REMITTO:
                                                                                                      THEIDEALSUPPLYCO
  SUPPLY              CE                                                                              445COPMUNIPAWAVENUE
                                                                                                      JERSEYCITYNJ07304
                                                                                                      201-333-2600
  445    Communipaw                      Avenue
  Jersey    City  NJ             07304
  201-333-2600                 Fax       201-333-7376




                      CUSTOMER                                                                           11/30/20                 47848
                      FAHRENHEIT               MECHANICAL
                      120      BROADWAY            36TH        FLOOR
                      NEW      YORK,                      NY      10271                                             5   of   6




  09/29/20             S2020224.001                                    626.78                626.78                     196,389.74
  09/29/20             S2020328.001                                       82.35                  82.35                  196,472.09
  09/29/20               2020á74             00                           12      50             12      30             196,484           39
  09/30          20    S2020397              001                  2,859.68               2,859.68                       199,344.07
  09/30/20             S2020397.002                                    260.91                260.91                     199,604.98
  09/30/20             S2020542.001                               1,848.41               1,848.41                       201,453.39
  10/01/20             S2020037.002                                       70.55                  70.55                  201,523.94
  10/01/20             S2020570.001                               2,888.83               2,888.83                       204,412.77
  10/02/20                  2020102          001                       821        64         821         64             205,234           41
  10/05/20             S2020542              002                       182        56         182.56                     205,416.97
  10/05/20             S2020850.001                                    181.15                181.15                     205,598.12
  10/05/20             S2020851.001                               1,650.00               1,650.00                       207,248.12
  10/05/20             S2020854.001                                    143.51                143.51                     207,391.63
  10/06/20             S2020977.001                             32,161.04              32,161.04                        239,552.67
  10/06/20                  2021030          00                           55      62             53      62             239,606           29
  10/07          20    S2021219              001                       331        47         331.47                     239,937.76
  10/09f20             S2020542.003                                       63.36                  63.36                  240,001.12
  10/12/20             S2020977.002                               1,497.40               1,497.40                       241,498.52
  10/13/20             S2021737.001                             11,855.24              11,855.24                        253,353.76
  10/13/20             S2021842.001                                       75.92                  75.92                  253,429.68
  10/15/20                  2021737          002                       707        87         707         87             254,137           55
  10/16/20             S2022276              001                  1,327           04     1,327.04                       255,464.59
  10/16/20             S2022277.001                                                    -3,213.88                        252,250.71
  10/19/20             S2021737.003                                    107.83                107.83                     252,358.54
  10/21/20             S2022684.001                               5,523.99               5,523.99                       257,882.53
  10/22/20             S2022276.002                               2,654.08               2,654.08                       260,536.61
  10/22/20                  2022974          00                     ,295          50     1,293           30             261,829           91
  10/26/20             S2023003              001                  1 ,280          74     1,280.74                       263,110.65
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 25                                                                                                               RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                 Statement

    DEA                                                                                                                                  REMIT TO:
                                                                                                                                         THE IDEAL SUPPLY CO
  SU P P LY          CE                                                                                                                  445 COPMUNIPAWAVENUE
                                                                                                                                         JERSEY CITY NJ 07304
                                                                                                                                         201-333-2600
  445    Communipaw                     Avenue
  Jersey    City  NJ            07304
  201-333-2600                Fax       201-333-7376




                     CUSTOMER                                                                                                                  11/30/20                 47848
                     FAHRENHEIT               MECHANICAL
                     120      BROADWAY              36TH         FLOOR
                     NEW      YORK,                        NY      10271                                                                                  6   of   6




  10/28/20             S2023569.001                                1,533.14                                                  1,533.14                         271,649.46
  10/29/20             S2023003.002                                      260.92                                                   260.92                      271,910.38
  10/29/20             S2023840             00                     1     705       27                                        4    705          27             276,615           65
  10/29/20             S2023956             001                    2,568           62                                        2,568.62                         279,184.27
  10f30/20             S2024051.001                                7,042.10                                                  7,042.10                         286,226.37
  11/02/20             S2024260.001                                2,451.32                                                  2,451.32                         288,677.69
  11/O3/20             S2024051.002                                      170.61                                                   170.61                      288,848.30
  11/O3/20             S2024376.001                                      659.45                                                   659.45                      289,507.75
  11/05/20             S2024410             00                           512       60                                             312          60             289,820           35
  11/04/20             S2024555             001                          174       88                                             174.88                      289,995.23
  11/05/20             S2024704.001                                7,347.90                                                  7,347.90                         297,343.13
  11/05/20             S2024826.001                                2,997.61                                                  2,997.61                         300,340.74
  11/05/20             S2024846.001                                1,275.94                                                  1,275.94                         301,616.68
  11/05/20             S2024848.001                                2,163.82                                                  2,163.82                         303,780.50
  11/05/20             S2024848             002                            5441                                                     54         41             303,834           91
  11/06/20             S2024051.003                                      156       39                                             156.39                      303,991.30
  11/06/20             S2024704.002                                        23.46                                                    23.46                     304,014.76
  11/09/20             S2025062.001                                5,672.93                                                  5,672.93                         309,687.69
  11/10/20             S2025126.001                                      700.88                                                   700.88                      310,388.57




        297,481.00                      13,223.54                                  0.00           26,131.11                             0.00                  310,388.57




                     0.00               24,162.20                      84,772.98                  66,167.11              135,286.28


  All    past    due        balances        subject         to    SERVICE          CHARGES   of     1.50%     per   month.
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 25                                                                    RECEIVED NYSCEF: 04/08/2022
                                                                                                    Statement

   DEA                                                                                           REMIT TO:
                                                                                               THE IDEAL SUPPLY CO
  SU P P L Y CE                                                                                445 COPMUNIPAWAVENUE
                                                                                               JERSEY CITY NJ 07304
                                                                                               201-333-2600
  445      Communipaw                  Avenue
  Jersey      City          NJ07304
  201-333-2600                 Fax     201-333-7376




                      CUSTOMER                                                                    12/31/20                      47848
                      FAHRENHEIT             MECHANICAL
                      120      BROADWAY          36TH        FLOOR
                      NEW      YORK,                    NY     10271                                         1   of       6




  06/05/20             S2008619.001                            2,320.95             2,320.95                            2,363.82
  06/11/20             S2009132.001                            4,928.80             4,928.80                            7,292.62
  06/16/20                  2009592        00                        228       17       228       17                    7,520           79
  06/16/20             S2009655            00                    ,870.62            1,870.62                            9,391.41
  06/16/20             S2009681.001                                  211.97             211.97                          9,603.38
  06/16/20             S2009686.001                                    18.90              18.90                         9,622.28
  06/18/20             S2009918.001                                  720.04             720.04                        10,342.32
  06/18/20             S2009932.001                                  493.34             493.34                        10,835.66
  06/19/20                  2010065        001                       750       26       750       26                  11,585            92
  06/22/20             S2010221            001                         18      40         18.40                       11,604.32
  06/22/20             S2010235.001                                    75.53              75.53                       11,679.85
  06/22/20             S2010319.001                                  340.90             340.90                        12,020.75
  06/23/20             S2010343.001                                  457.39             457.39                        12,478.14
  06/23/20             S2010418.001                                  201.20             201.20                        12,679.34
  06/24/20                  201058         001                       257        2       257       32                  12,936            66
  06/24          20    S2010585            001                       119       44       119.44                        13,056.10
  06/24/20             S2010595.001                            3,427.32             3,427.32                          16,483.42
  06/24/20             S2010602.001                                  326.57             326.57                        16,809.99
  06/26/20             S2010751.001                            2,230.90             2,230.90                          19,040.89
  06/26/20             S2010751.002                                    52.02              52.02                       19,092.91
  06/26/20                  2010791        001                       102       04       102       04                  19,194            95
  06/26/20             S2010797            001                 4 ,734          74   4,734.74                          23,929.69
  06/26/20             S2010819.001                                  474.33             474.33                        24,404.02
  06/29/20             S2010904.001                                  119.77             119.77                        24,523.79
  06/29/20             S2010936.001                                  500.31             500.31                        25,024.10
  06/29/20             S2010937.001                                  231.56             231.56                        25,255.66
  06/29/20             $2011053            001                       766       22       766       22                  26,021            88
  06/29/20             S2011064            001                       374       15       374.15                        26,396.03
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
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                                                                              NO. 152298/2021
NYSCEF DOC. NO. 25                                                                       RECEIVED NYSCEF: 04/08/2022
                                                                                                         Statement

   DEA                                                                                              REMITTO:
                                                                                                  THEIDEALSUPPLYCO
  SUPPLY              CE                                                                          445COPMUNIPAWAVENUE
                                                                                                  JERSEYCITYNJ07304
                                                                                                  201-333-2600
  445    Communipaw                      Avenue
  Jersey    City  NJ             07304
  201-333-2600                 Fax       201-333-7376




                      CUSTOMER                                                                         12/31/20                      47848
                      FAHRENHEIT               MECHANICAL
                      120      BROADWAY            36TH        FLOOR
                      NEW      YORK,                      NY     10271                                            2   of        6




  06/30/20             S2011206.001                                    268.77              268.77                          26,696.19
  07/01/20             S2011208.001                                      10.66                 10.66                       26,706.85
  07/01/20                  2011273          00                          29       52       129         52                  26,a36            37
  07/02/20             S2011372              001                 1,892            69   1,892.69                            28       729.06
  07/02/20             S2011375.001                                    580.40              580.40                          29,309.46
  07/06/20             S2011500.001                              5,490.24              5,490.24                            34,799.70
  07/06/20             S2011505.001                                    262.70              262.70                          35,062.40
  07/07/20             S2011506.001                              3,999.94              3,999.94                            39,062.34
  07/07/20                  2011743          001                      ,100        95   1,100           95                  40,163            29
  07/08/20             S2011725              001                       568        63       568.63                          40,731.92
  07/08f20             S2011754.001                                    255.59              255.59                          40,987.51
  07/O8/20             S2011909.001                              2,806.57              2,806.57                            43,794.08
  07/08/20             S2011910.001                                    469.91              469.91                          44,263.99
  07/09/20             S2011923.001                                    602.15              602.15                          44,866.14
  07/09/20             $2011934             ed01                       148        11       148         71                  45   , 014ea5
  07/09/20             S2011937              001                             93   82           93.82                       45,108.67
  07/09f20             S2011944.001                                    256.03              256.03                          45,364.70
  07/13/20             S2012039.001                              1,547.63              1,547.63                            46,912.33
  07/13/20             S2012058.001                              1,766.93              1,766.93                            48,679.26
  07/13/20             S2012183.001                              3,    082.00          3,082.00                            51,761.26
  07/13/20             $2012200              Ó01                       271        95   1,271           95                  53,033            21
  07/14          20    S2012409              001                       224        79       224.79                          53,258.00
  07/15/20             S2012550.001                                    652.79              652.79                          53,910.79
  07/15/20             S2012553.001                                    152.02              152.02                          54,062.81
  07/16/20             S2012778.001                                    289.49              289.49                          54,352.30
  07/16/20             S2012785.001                                    526.47              526.47                          54,878.77
  07/16/20             $2012188              001                       115        65       115         65                  54,994            42
  07/17/20             S2012806              001                       514        40       514.40                          55,508.82
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
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   DEA                                                                                               REMITTO:
                                                                                                   THEIDEALSUPPLYCO
  SUPPLY               CE                                                                          445COPMUNIPAWAVENUE
                                                                                                   JERSEYCITYNJ07304
                                                                                                   201-333-2600
  445    Communipaw                       Avenue
  Jersey    City  NJ              07304
  201-333-2600                  Fax       201-333-7376




                       CUSTOMER                                                                       12/31/20                     47848
                       FAHRENHEIT               MECHANICAL
                       120      BROADWAY            36TH        FLOOR
                       NEW      YORK,                      NY     10271                                          3   of       6




  07/21/20              S2013039.001                                    277.82              277.82                        59,107.27
  07/22/20              S2012550.003                                      10.66               10.66                       59,117.93
  07/22/20                   2013542          00                        934       50        934       30                  60,052           23
  07/23/20              S2013364.001                              1,703.72              1,703.72                          61,755.95
  07      23/20         S2013454              001                       136.80              136.80                        61,892.75
  07/28/20              S2013882.001                              2,782.83              2,782.83                          64,675.58
  07/29/20              S2013781.001                              3,502.70              3,502.70                          68,178.28
  08/03/20              S2014492.001                              2,350.89              2,350.89                          70,529.17
  08/0        /20            2014577          001                       472       99        472       99                  71,002           16
  08/04           20    S2014598              001                       180       15        180.15                        71,182.31
  08/05/20              S2014638.001                              3,254.73              3,254.73                          74,437.04
  08/05/20              S2014645.001                                    804.11              804.11                        75,241.15
  08/05/20              S2014647.001                              1,884.05              1,884.05                          77,125.20
  08/06/20              S2014819.001                                    956.78              956.78                        78,081.98
  08/07/20                   2014891          001                       141       69        141       69                  18,223           67
  08/07           20    S2014956.001                                    159       13        159.13                        18,382.80
  08/07f20              S2015009.001                                    623.49              623.49                        79,006.29
  08/10/20              S2015037.001                              5,416.57              5,416.57                          84,422.86
  08/10/20              S2015040.001                                    193.93              193.93                        84,616.79
  08/12/20              S2015454.001                                    449.26              449.26                        85,066.05
  08/15/20                   2014956          002                       526       53        326       53                  85,392           58
  08/13           20    S2015599              001                       988       49        988.49                        86,381.07
  08      13/20         S2015641.001                             13,606.81             13,606.81                          99,987.88
  08/14/20              S2015037.002                              2,706.23              2,706.23                     102,694.11
  08/14/20              S2015656.001                                    734.15              734.15                   103,428.26
  08/14/20              S2015782.001                                    385.17              385.17                   103,813.43
  08/17/20                   2015845          001                       607       20        607       20             104,420               63
  08/17           20    S2015876              001                 2,792           01    2,792.01                     107,212.64
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
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                                                                              NO. 152298/2021
NYSCEF DOC. NO. 25                                                                            RECEIVED NYSCEF: 04/08/2022
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   DEA                                                                                                  REMITTO:
                                                                                                       THEIDEALSUPPLYCO
  SUPPLY              CE                                                                               445COPMUNIPAWAVENUE
                                                                                                       JERSEYCITYNJ07304
                                                                                                       201-333-2600
  445    Communipaw                  Avenue
  Jersey    City  NJ         07304
  201-333-2600              Fax      201-333-7376




                      CUSTOMER                                                                              12/31/20                 47848
                      FAHRENHEIT           MECHANICAL
                      120   BROADWAY           36TH        FLOOR
                      NEW   YORK,                     NY     10271                                                     4   of   6




  08/19/20             S2016139.001                                  51.67                          51.67                  108,400.98
  08/20/20             S2016273.001                          1,128.74                       1,128.74                       109,529.72
  08/20/20               2016274         001                 2     169        3             2,169           43             111,699           15
  08/21/20             S2016571.001                                211       43                 211.43                     111,910.58
  08/25/20             S2016779.001                          1,281.63                       1,281.63                       113,192.21
  08/26/20             S2016964.001                          1,519.64                       1,519.64                       114,711.85
  08/27/20             S2017062.001                          2,370.90                       2,370.90                       117,082.75
  08/27/20             S2017092.001                                149.31                       149.31                     117,232.06
  08/31/20             $2017387          001                 5     029       51             5,029           51             122,261           57
  08/31          20    S2017391          001                       249       30                 249.30                     122,510.87
  08/31/20             S2017399.001                                299.62                       299.62                     122,810.49
  09/02/20             S2017659.001                          4,171.79                       4,171.79                       126,982.28
  09/O3/20             S2017747.001                          5,422.09                       5,422.09                       132,404.37
  09/04/20             S2017692.001                         28,526.00             35.97   28,490.03                        160,894.40
  09/22/20             $2019525          001                 6     295       14             6,295           74             167,190           14
  09/23          20    S2019525          002                       590       80                 590.80                     167,780.94
  09/24/20             S2019525.003                          1,598.27                       1,598.27                       169,379.21
  09/25/20             S2019525.004                          1,361.25                       1,361.25                       170,740.46
  09/25/20             S2019880.001                          1,571.73                       1,571.73                       172,312.19
  09/25/20             S2019893.001                          2,148.52                       2,148.52                       174,460.71
  09/25/20             $2020037          001                       630       50             1,630           50             176,091           21
  09/28          20    S2020107          001                         25      60                     25.60                  176,116.81
  09/28/20             S2020112.001                                190.88                       190.88                     176,307.69
  09/29/20             S2020224.001                                626.78                       626.78                     176,934.47
  09/29/20             S2020328.001                                  82.35                          82.35                  177,016.82
  09/29/20             S2020374.001                                  12.30                          12.30                  177,029.12
  09/30/20             $2020397          001                 2     859       68             2,859           68             179,888           80
  09/30          20    S2020397          002                       260       91                 260.91                     180,149.71
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
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NYSCEF DOC. NO. 25                                                                    RECEIVED NYSCEF: 04/08/2022
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   DEA                                                                                          REMIT TO:
                                                                                               THE IDEAL SUPPLY CO
  SU P P LY      CE                                                                            445 COPMUNIPAWAVENUE
                                                                                               JERSEY CITY NJ 07304
                                                                                               201-333-2600
  445    Communipaw                 Avenue
  Jersey    City  NJ        07304
  201-333-2600            Fax       201-333-7376




                 CUSTOMER                                                                           12/31/20                 47848
                 FAHRENHEIT               MECHANICAL
                 120      BROADWAY            36TH        FLOOR
                 NEW      YORK,                      NY      10271                                             5   of   6




  10/01/20        S2020570.001                               2,888.83               2,888.83                       184,957.50
  10/02/20        S2020702.001                                    821.64                821.64                     185,779.14
  10    05/20          2020542          002                       182        56         182         56             185,961           70
  10    05/20     S2020850.001                                    181        15         181.15                     186,142.85
  10    06/20     S2020977.001                             32,161.04              32,161.04                        218,303.89
  10/06/20        S2021030.001                                       53.62                  53.62                  218,357.51
  10/07/20        S2021219.001                                    331.47                331.47                     218,688.98
  10/09/20        S2020542.003                                       63.36                  63.36                  218,752.34
  10/12/20             2020977          002                       497        40     1,497           40             220,249           74
  10/16/20        S2022276              001                  1,327           04     1,327.04                       221,576.78
  10/21/20        S2022684.001                               5,523.99               5,523.99                       227,100.77
  10/22/20        S2022276.002                               2,654.08               2,654.08                       229,754.85
  10/22/20        S2022974.001                               1,293.30               1,293.30                       231,048.15
  10/26/20        S2023003.001                               1,280.74               1,280.74                       232,328.89
  10/26/20             2023257          00                  4     440        40     4,440           40             236,769           29
  10/26/20        S2023437              001                  2,565           27     2,565.27                       239,334.56
  10/28/20        S2023569.001                               1,533.14               1,533.14                       240,867.70
  10/29/20        S2023003.002                                    260.92                260.92                     241,128.62
  10/29/20        S2023840.001                              4,705.27                4,705.27                       245,833.89
  10/29/20        S2023956.001                               2,568.62               2,568.62                       248,402.51
  10/30/20             2024051          00                   7    042        10     7,042           10             255,444           61
  11/02/20        S2024260              001                  2,451           32     2,451.32                       257,895.93
  11/03/20        S2024051.002                                    170.61                170.61                     258,066.54
  11/O3/20        S2024376.001                                    659.45                659.45                     258,725.99
  11/O3/20        S2024410.001                                    312.60                312.60                     259,038.59
  11/O4/20        S2024555.001                                    174.88                174.88                     259,213.47
  11/05/20             2024704          dd                   7    347        9Ò     7,347           90             266,561           37
  11/05/20        S2024826              001                  2 ,997          61     2,997.61                       269,558.98
FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
            YORK   COUNTY CLERK 04/08/2022 11:47 AM                     16:42:59
                                                                              NO. 152298/2021
NYSCEF DOC. NO. 25                                                                                                                RECEIVED NYSCEF: 04/08/2022
                                                                                                                                                    Statement

    DEA                                                                                                                                     REMIT TO:
                                                                                                                                            THE IDEAL SUPPLY CO
  S U P P L Y         CE                                                                                                                    445 COPMUNIPAWAVENUE
                                                                                                                                            JERSEY CITY NJ 07304
                                                                                                                                            201-333-2600
  445    Communipaw                       Avenue
  Jersey    City  NJ              07304
  201-333-2600                  Fax       201-333-7376




                      CUSTOMER                                                                                                                    12/31/20                  47848
                      FAHRENHEIT                MECHANICAL
                      120       BROADWAY              36TH         FLOOR
                      NEW       YORK,                        NY      10271                                                                                   6   of    6




  11/05/20                 S2024848.002                                      54.41                                                    54.41                      273,053.15
  11/06/20                 S2024051.003                                    156.39                                                   156.39                       273,209.54
  11/06720                 S2024704           002                            23      46                                               23          46             273       233      00
  11/09/20                 S2025062           001                    5 ,672          93                                         5,672.93                         278,905.93
  11/10/20                 S2025126.          001                          700.      88                                             700.88                       279,606.81




        310,388.57                        30,781.76                                  0.00                       0.00                       0.00                  279,606.81




                      0.00                            0.00            24,162.20                     73,446.49               181,998.12


  All     past       due     balances         subject         to    SERVICE          CHARGES   of     1.50%      per   month.
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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK
          ----------------------------------------x
          THE IDEAL SUPPLY COMPANY, individually and on            Index No.: 152298/2021
          behalf of all lienors, claimants and creditors similarly
          situated entitled to share funds received by Fahrenheit
          Mechanical LLC a/k/a Fahrenheit Mechanical, under
          Article 3-A of the New York State Lien Law,              AFFIRMATION IN SUPPORT
                                                                   .
                                    Plaintiff,
                                                                   Motion Seq. No. 1
                   -against-

          FAHRENHEIT MECHANICAL LLC, DAVID RUSI,
          CONTINENTAL CASUALTY COMPANY, “JANE DOE
          #1” THROUGH “JANE DOE #10”, AND FAHRENHEIT
          MECHANICAL INC.,

                          Defendants.
          ----------------------------------------x
          STATE OF NEW YORK    )
                               ) ss.
          COUNTY OF NASSAU     )

                 ELIZABETH V. MARCHIONNI, an attorney duly admitted to practice law in the State

          of New York hereby affirms as follows under the penalties of perjury:

                 1.      I am a partner of Kaufman Dolowich & Voluck, LLP, attorneys for The Ideal

          Supply Company (“Ideal Supply” or “Plaintiff”), the plaintiff in the above-captioned matter. I

          am fully familiar with all of the facts and circumstances herein and have personal knowledge of

          the facts supporting the statements contained herein.

                 2.      I submit this affirmation in support of Plaintiff’s motion for an Order pursuant to

          CPLR § 3212(e) directing the entry of summary judgment in favor of Plaintiff and against

          Defendant Fahrenheit Mechanical Inc. and/or Fahrenheit Mechanical LLC on its First, Second,

          Fifth, Sixth, and Seventh Causes of Action for breach of contract in the sum of $194,223.73 plus

          statutory interest through March 21, 2022 in the amount of $34,532.89, for a combined amount




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          of $228,756.62, together with costs and disbursements; or, in the alternative, the sum of

          $194,223.73 on its Eighth Cause of Action for an account stated, plus statutory interest through

          March 21, 2022 pursuant to GBL § 756-b in the amount of $34,532.89, for a combined amount

          of $228,756.62, together with an award of costs and disbursements; or, in the alternative, the sum

          of $194,223.73 on its Ninth Cause of Action for Quantum Meruit/Unjust Enrichment; plus

          statutory interest through March 21, 2022 pursuant to GBL § 756-b in the amount of $34,532.89,

          for a combined amount of $228,756.62, together with an award of costs and disbursements each

          based upon the ground that said Defendant possesses no defenses thereto.

                 3.      This affirmation is also submitted in support of that portion of Plaintiff’s motion

          for a conditional order, compelling Defendant David Rusi to respond to Plaintiff’s Demand for

          Bill of Particulars, Demand for Discovery and Inspection, and First Set of Interrogatories, within

          a time set by the Court, or otherwise have his Answer stricken; and for such other and further

          relief as may be just, proper and equitable.

          The Pleadings and Procedural History

                 4.      Plaintiff commenced this action on March 5, 2021 by filing a Summons and

          Complaint against Defendants Fahrenheit Mechanical Inc., David Rusi, and Continental Casualty

          Company (NYSCEF Doc. No. 1, 2).

                 5.      On or about March 19, 2021 Plaintiff filed as of right a Supplemental Summons

          and Amended Complaint adding Fahrenheit Mechanical LLC as a Defendant (NYSCEF Doc.

          No. 3, 4). A copy of the Supplemental Summons and Amended Complaint are annexed hereto as

          Exhibit “1”.




                                                           2


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                 6.      Between March 23, 2021 and May 3, 2021, Plaintiff personally served each of the

          Defendants in this action and duly filed each affidavit of service (NYSCEF Doc. Nos. 5, 6, 7, 8,

          9, and 10).

                 7.      Defendant Continental Casualty Company appeared and filed its Answer to the

          Amended Complaint on May 26, 2021 (NYSCEF Doc. No. 12). A copy of Continental Casualty

          Company’s Answer is annexed hereto as Exhibit “2”.

                 8.      Counsel for Defendants Fahrenheit Mechanical LLC and David Rusi reached out

          to my office to request additional answering time through June 4, 2021, which Plaintiff agreed to

          provide by Stipulation (NYSCEF Doc. No. 11).

                 9.      As a part of those discussions, said Defendants’ counsel requested a copy of the

          Demand for a Verified Statement that Plaintiff previously served pursuant to New York Lien

          Law Sec. 76 (“Demand for Trust Accounting”), as well as copies of Plaintiff’s outstanding

          invoices.

                 10.     On May 18, 2021 and June 1, 2021, I provided a copy of Ideal Supply’s Demand

          for Trust Accounting as well as copies of all outstanding invoices to counsel for Defendants

          Fahrenheit Mechanical and David Rusi (the “Voluntary Production”). Copies of the May 18,

          2021 and June 1, 2021 Emails are annexed collectively as Exhibit “3”.

                 11.     Included in the Voluntary Production were also copies of the material

          delivery/ship tickets, a copy of a May 2021 account statement, and other documents that Plaintiff

          intended to rely upon in this Action.

                 12.     In reply, counsel for said Defendants confirmed receipt of the Voluntary

          Production by email on June 1, 2021. A copy of the June 1, 2021 Email Reply is attached as

          Exhibit “4”.



                                                          3


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                  13.   On June 4, 2021 Defendants Fahrenheit Mechanical and David Rusi filed their

          Answer to the Amended Complaint. (NYSCEF Doc. No. 13). A copy of said Defendants’

          Answer is annexed as Exhibit “5”.

                  14.   Although Defendants Fahrenheit Mechanical LLC and David Rusi answered and

          appeared, no Verified Statement or Trust Accounting was ever provided.

                  15.   On July 6, 2021, Plaintiff filed and served a Demand for Bill of Particulars as to

          Affirmative Defenses raised by Defendants Fahrenheit Mechanical LLC and David Rusi

          (NYSCEF Doc. No. 14). A copy of Plaintiff’s Demand for Bill of Particulars as to Affirmative

          Defenses is annexed as Exhibit “6”.

                  16.   No response was received; as such, I sent a good faith email to counsel for

          Defendants Fahrenheit Mechanical and Rusi on September 27, 2021. A copy of the September

          27, 2021 Email is annexed as Exhibit “7”.

                  17.   No response was received and a further good faith email was sent on October 25,

          2021. A copy of the October 25, 2021 Email is annexed as Exhibit “8”.

                  18.   On October 29, 2021, Plaintiff served Defendant Rusi with a Demand for

          Documents and Inspection and Interrogatories (NYSCEF Doc. Nos. 15, 16). Copies of

          Plaintiff’s Demand for Discovery and Inspection to Defendant Rusi and First Set of

          Interrogatories to Defendant Rusi are annexed hereto as Exhibits “9” and “10” respectively.

                  19.   After receiving no response, I sent a good faith email to counsel for Defendants

          Fahrenheit Mechanical and Rusi on November 22, 2021, and provided a 10 day courtesy

          extension for the responses. A copy of the November 22, 2021 Email is annexed as Exhibit

          “11”.




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                 20.     To date, Plaintiff has received no responses to the various outstanding discovery

          from Defendants Fahrenheit Mechanical and David Rusi despite Plaintiff’s good faith efforts and

          courtesy extensions.

                 21.     Said Defendants have intentionally failed and refused to provide information

          regarding their Affirmative Defenses as well as basic information required in connection with

          Plaintiff’s claim for Lien Law Art. 3-A trust fund diversion.

                 22.     Said Defendants’ failure has delayed this matter and prejudiced Plaintiff’s ability

          to seek class certification under Lien Law Art. 3-A.

          Plaintiff’s Motion for Summary Judgment & A Condition Order Should Be Granted

                 23.     Summary judgment provides for the expeditious resolution of cases such as this

          that may properly be resolved as a matter of law. Where, as here, no genuine issues of material

          fact are present, summary judgment should be granted.

                 24.     As set forth in greater detail in the accompanying memorandum of law, Plaintiff

          is entitled to summary judgment against Fahrenheit Mechanical on its claims of breach of

          contract on five separate projects for which Plaintiff supplied materials, or, in the alternative, on

          its claim for an account stated, or, in the alternative, on its claim for quantum meruit.

                 25.     It is indisputable that Plaintiff provided the materials and that Fahrenheit

          Mechanical accepted the materials. The cost of the materials Plaintiff provided is established by

          the monthly statements and invoices sent by Plaintiff, and it is undisputed that Fahrenheit

          Mechanical at no time ever objected to any statement or invoice it received from Plaintiff.

                 26.     In contrast to the incontrovertible evidence supporting Plaintiff’s right to

          payment, there exists no support in the record for any defense provided by Fahrenheit




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          Mechanical or David Rusi. Indeed, said Defendants provided nothing at all despite repeated

          requests by Plaintiff for proof of any basis for non-payment.

                  27.    Further, this motion is not premature because Plaintiff voluntarily disclosed

          documents relied upon and no relevant discovery remains that is in the sole possession of

          Plaintiff.

                  28.    Moreover, to the extent this Court grants Plaintiff’s request for an order

          compelling Defendant Rusi to respond to Plaintiff’s Demand for Bill of Particulars, Demand for

          Discovery and Inspection, and First Set of Interrogatories, Plaintiff reserves all rights to seek

          leave for class certification based on any trust accounting information provided by Rusi.

                  29.    Based on the foregoing and for all the reasons further set forth in Plaintiff’s

          Memorandum of Law in Support, this Court should grant Plaintiff’s motion for summary

          judgment in an amount not less than $194,223.73, plus interest, pursuant to New York General

          Business Law § 756-b; and issue a conditional order compelling Defendant Rusi to substantively

          respond to Plaintiff’s outstanding discovery, or otherwise striking Rusi’s Answer.

                  WHEREFORE, The Ideal Supply Company respectfully requests this Court grant its

          motion for summary judgment against Defendants Fahrenheit Mechanical in its entirety and

          grants its motion to compel or preclude against Defendant David Rusi, together with such other

          and further relief the Court deems just.

          Dated: Woodbury, New York
                 April 1, 2022

                                                         _________________________________________
                                                         ELIZABETH V. MARCHIONNI




                                                            6


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                                     EXHIBIT          1
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           SUPREME                  COURT               OF THE               STATE           OF     NEW YORK
           COUNTY                  OF      NEW YORK
           - - - - - - - - - - -----------------------                                                           - - - - - - - x                Index         No.:          152298/2021
           THE        IDEAL              SUPPLY            COMPANY,                        individually            and         on               Date        Purchased:              3/5/21
           behalf       of all          lienors,      chimants               and      creditors         similarly
           situated         entitled         to share        funds           received          by    Fahrenheit                                 SUPPLEMENTAL
           Mechanical               LLC         a/k/a     Fahrenheit                 Mechanical,                under                            SUMMONS
           Article         3-A      of the New             York         State         Lien     Law,
                                                                                                                                                Plaintiff            designates            New       York

                                                           Plaintiff,                                                                           County           as the         place      for     trial.


                             -against-                                                                                                           The     basis        for     venue        is Defendant's
                                                                                                                                                residence.
           FAHRENHEIT                        MECHANICAL                            LLC,       DAVID              RUSI,
           CONTINENTAL                              CASUALTY                   COMPANY,                    "JANE            DOE
           #1"
                     THROUGH                   "JANE         DOE             #10",      AND FAHRENHEIT
           MECHANICAL                          INC.,


                                                           Defendants.
           ----------------------------------------x
           To the       above-named                     Defendant(s):


                           YOU ARE                   HEREBY               SUMMONED                        to     answer             the     Amended                Verified          Complaint                in this


           action       and         to     serve        a copy          of     your        answer,          or,     if    same            is    not     served           with       this       Supplemental



           Summons,                to     serve      a notice        of       âppearance              upon         the      Plaintiff's               attorney          within           twenty        (20)       days


           after     the     service          of this      Summons,                  exclusive            of the         day     of service             (or     within          thirty      (30)      days        after


           the     service         is complete             if this      Summons                is not      personally                delivered            to you          within         the     State      ofNew


           York);          and      in     case      of   your       failure          to     appear        or     answer,            judgment               will       be taken            against          you      by


           default         for     the     relief     demanded                in the       Amended               Verified            Complaint.


           Dated:          Woodbury,                New      York
                           April         13, 2021                                                         KAUFMAN                     DOLOWICH                         & VOLUCK,                    LLP
                                                                                                        Attorneys              for        Plaintiff         The       Ideal      Supply           Company


                                                                                                          By:
                                                                                                                          Erik       A.        Ortmann,            Esq.
                                                                                                                          Elizabeth              V.     Marchionni,                Esq.
                                                                                                                          135        Crossways                Park      Drive,           Suite     201

                                                                                                                          Woodbury,                   New        York         11797

                                                                                                                          (516)           681-1100




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           DEFENDANTS'
                                        ADDRESS:


           FAHRENHEIT                 MECHANICAL               LLC
                                      36*
           120   Broadway,                     Floor
           New     York,        New     York      10271


           DAVID       RUSI

           c/o   FAHRENHEIT                  MECHANICAL               INC.
                                      36th
           120   Broadway,                     FlOOr

           New     York,        New     York      10271


           CONTINENTAL                      CASUALTY          COMPANY
           C/O   NYS        DEPARTMENT                    OF FINANIAL        SERVICES
           333   S. Wabash            Ave,
           Chicago,        IL   60604



           FAHRENHEIT                 MECHANICAL               INC.
                                      36*
           120   Broadway,                     Floor
           New     York,        New     York      10271




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           SUPREME                COURT                 OF THE           STATE              OF NEW             YORK
           COUNTY              OF NEW                 YORK
           ----------------------------------------x
           THE        IDEAL           SUPPLY               COMPANY,                    individually             and     on
           behalf       of all       lienors,         claimants           and     creditors           similarly                        Index          No.:     152298/2021
           situated        entitled          to share           funds     received           by     Fahrenheit
           Mechanical             LLC         a/k/a       Fahrenheit             Mechanical.,                 under                    AMENDED
           Article       3-A      of the        New          York       State     Lien       Law,                                      VERIFIED                 COMPLAINT


                                                           Plaintiff,
                           -against-



           FAHRENHEIT                     MECHANICAL                            LLC,        DAVID             RUSI,
           CONTINENTAL                          CASUALTY                     COMPANY,
                                       #1"
            "JANE          DOE                  THROUGH                   "JANE   DOE                  #10",
           AND FAHRENHEIT                                MECHANICAL                         INC.,


                                                           Defendants.
           ----------------------------------------x


                                                                                                                       Supply"
                         Plaintiff           The        Ideal       Supply        Company                ("Ideal                        or     "Plaintiff"),          by     and     through         its


           attorneys,          Kaufman             Dolowich              & Voluck,              LLP,       as and       for   its Amended                Verified      Complaint             against



           defendants,            Fahrenheit               Mechanical                LLC,       Fahrenhcit            Mechanical               Inc.     ("Fahrenheit"),             David      Rusi,


           Continental                Casualty               Company,                and        Jane       Doe         #1      through            Jane         Doe     #10         (collectively


           "Defendants"),                alleges          as follows:


                          1.            At      all      relevant          times,           Ideal      Supply          was       and/or          is    a foreign           corporation             duly


           organized           and      existing           under        and     by     virtue       of the      laws        of the    State       of Delaware              and    authorized           to


           conduct         business           in the         State      of New         York.


                         2.             That          upon        information               and     belief,        at all     times         hereinafter         mentioned,            Defendant


           Fahrenheit            Mechanical                  LLC         was/is         a domestic                limited       liability         company            duly        organized          and



           existing        under        and        by    virtue         of the       laws       of the     State       of New         York        with       a principal         office      located


                                                36th
           at 120       Broadway,                         Floor,        New       York,         New       York.




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                           3.                 That        upon        information               and      belief,            at all     times          hereinafter             mentioned,                  Defendant


           Fahrenheit                 Inc.     ("Fahrêñhcit")                  was/is          a domestic                   corporation              duly       organized           and         existing              under


           and by virtue                 of the        laws       ofthe       State       ofNew             York           with     a principal             office      located         at 120 Broadway,


                   1
           36          Floor,         New       York,           New      York.


                           4.                 Upon          information                and       belief,            defeñdañt                David           Rusi      is     and      was           at       all     times


           hereinafter                mentioned,                principal,          officer         and/or          owner          of Defeñdent                 Fahreñheit.


                           5.                 Upon          information                and       belief            Continental                 Casualty              Company               is     an         insurance



           company                authorized               to do business                 in the        State          of New             York,       with      a principal             place           of     business


           located          at 151 North                   Franklin          Street,       Chicago,                Illinois.


                                                                                                                                                               "#1"                                                  "#10"
                           6.                 Upon         information              and       belief,        defendants                "Jane         Doe                 through           Jane           Doe


           are     fictitious            names            of    individuals,            their        true     names               being       unknown               to Plaintiff,           but       are       persons


           intended              to be either              members,            reañagcrs,               or member                  managers            of Fahrenheit                or are persons                        who


           received              funds          for       the     improvement                  of     real      property              further          described              herein        in       trust          for    the


           Plaintiff            under         the     provisions             of New           York        Lien          Law        Article          3-A,      and     have      either          converted                 said


           trust        funds         or diverted               same       and/or       applied             or consented                  to the       application             of   said        trust         funds        for


           purposes              other        than        allowed         trust     purposes            as specified                  in Section             71 of the         Lien      Law.


                                                                 AS AND             FOR          A FIRST                    CAUSE             OF ACTION
                                                                        (Breach        of Contract                 -                  Street
                                                                                                                           Vesey                     Project)

                                                                                                                                                                                                               "1"
                            7.                Plaintiff          repeats       and      realleges            all       of the       allegations              set forth        in paragraphs


                                "6"
           through                     as if fully              set forth      herein.


                            8.                Plaintiff          and      Defendant             Fahicñhcit                  entered          into    certain         purchase          order(s)               whereby


           Plaintiff             agreed          to       supply          Defendant              certain            plumbing                 materials          on      its    behalf           to      the         private


           improvement                       located        at 230        Vesey        Street,          New            York,       New        York          10000       ("Vesey           Street             Project").


                            9.                Plaintiff          duly      furnished            and     Defendant                  Fahrêñhcit              accepted           plumbiñg               materials             for



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           Vesey        Street      Project            in the       agreed         upon       price        of $3,694.28.


                         10.           Despite              Plaintiff's            complete            performance,                Defendant                Fahrenheit            failed         to    remit


           payment         to Plaintiff               under         the     foregoing          purchase             orders      in the      amount           of $3,694.28.


                         11.           As        of August                9, 2020,       a balance           of $3,694.28                remains       due      and      owed         to Plaintiff


           from        Defendant            Fahrenheit               for     materials          furnished            to the      Vesey       Street         Project.


                         12.           Despite              due      demand                    Defendant             Fahrenheit            has     failed      to pay         Plaintiff          all    sums
                                                                                      for,


           due    to it and        Plaintiff            is entitled          to a judgment                 in the     amount        of $3,694.28,               plus     contractual               interest


           thereon        at the      rate       of     1.5 Percent            per     month.


                                                            AS AND            FOR         A SECOND                   CAUSE               OF ACTION
                                                               (Breach          of Contract                - Manhattan             West      Project)

                                                                                                                                                                                                 "1"
                         13.           Plaintiff             repeats         and      realleges        all    of the         allegations         set forth        in paragraphs


                          "12"
           through                   as if fully             set forth         herein.


                          14.          Plaintiff             and     Defendant               Fahrenheit             entered       into     certain      purchase              order(s)       whereby


           Plaintiff       agreed           to    supply            Defendant             Fahicaheit               certain       plumbing            materials           on     its    behalf          to   the


           private        improvement                   located            at 1 Manhattan                  West,      New        York,      New        York       (the        "Manhattan                West


           Project").


                          15.          Plaintiff             duly         furnished          and     Defendant           Fahrenheit           accepted           plumbing               materials           for


           the    Manhattan            West            Project        in the       agreed           upon     price      of $144,635.83.


                          16.          Despite              Plaintiff's            complete            performance,                Defendant                Fahrenheit            failed         to    remit


           payment          to Plaintiff               under        the      aforementioned                  purchase           orders      in the      amount           of     $144,635.83                 for


           materials            furnished             for   the     Manhattan                West     Project.


                          17.          As        of December                  9, 2020,         a balance            of $144,635.83                 remains        due     and         owed       to


           Plaintiff       from       Defendant                Fahrenheit              for    materials            furnished        to the       Manhattan              West          Project.




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                         18.            Despite        due      demand            for,    Defeñdañt                  Fahrêñheit                 has     failed      to pay          Plaintiff         all    sums


           due    to     it and       Plaintiff        is entitled          to     a judgmcñt                  in        the     amount           of    $144,635.83,                 plus        contractüâl


           interest      thereon         at the      rate     of     1.5 Percent           per     month.


                                                        AS AND              FOR          A THIRD                    CAUSE                  OF ACTION
                                                            (Breach         of Contract             - Hammel                         Houses       Project)

                                                                                                                                                                                                      "1"
                         19.            Plaintiff       repeats        and       realleges         all     of the               allegations            set forth       in paragraphs


                          "18"
           through                  as if fully         set forth         herein.


                         20.            Plaintiff       and        Defendant             Fahrenheit                 entered            into     certain      purchase           order(s)           whcrchy


           Plaintiff           agreed        to      supply          Defendant                 Fahrenheit                  certain             plu-bhig             materials             for       a       public


           improvcmcnt                known         as Hammel             Houses           owned           by New                 York         City    Housing          Authority               and     located


           in Queens,            New       York       (the     "Hammel             Houses           Project").


                         21.            Plaintiff       duly        furnished            and     Defendant                     Fahrenheit             accepted        plumbing              materials            for


           the   Hammel            Houses           Project        in the    agreed            upon       price            of $17,711.83.


                         22.            Despite         Plaintiff's          complete              perf6rmañce,                         Defendant                Fahrenheit             failed        to     remit


           payment         to Plaintiff             under      the    aforementioned                     purchase                 orders         in the     amount          of $17,711.83.


                         23.            As     of    December               10,     2020,         a balance                     of     $17,711.83                remains        due         and       owed           to


           Plaintiff       from       Defendant              Fahrenheit            for    materials             furnished                  to the      Hammel          Houses            Project.


                         24.            Despite        due      demand            for,    Defêñdañt                  Fahrenheit                 has     failed      to pay          Plaintiff         all    sums


           due     and    Plaintiff          is entitled           to a judgment                 in the        amount                 of      $17,711.83,           plus      contractual               interest


           thereon        at the      rate    of     1.5 Percent          per      month.


                                                      AS AND            FOR          A FOURTH                            CAUSE                OF ACTION
                         (Payment            Bond       Claim         Against            Continental                                          Company-             Hammel
                                                                                                                     Casualty                                                         Houses)

                                                                                                                                                                                                                "1"
                         25.            Plaintiff        repeats        and        realleges             all        of     the        allegations           set     forth      in      paragraphs


                          "24"
           through                    as if fully       set forth         herein.




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                        26.                Continental               Casualty            Company,                     as surety,             issued      a Labor             and           Material           Payment


           Bond        No.         30038701                (the      "Bond"),                in    the       principal              sum       of     $139,222,000                    for      the     befit         of    the


           Hammel             Houses              Project,          pursuant            to        State         Finance             Law      Section         137.          A       copy        of     the     Bond          is


           annexed           hereto          as Exhibit              "1".


                         27.               Pursuant           to the         Bond,       Continental                      Casualty           Compañy          bound               itself      to promptly                 pay


           all   persons           having           claims         for      materials             supplied            to the        Project,         among        others.


                         28.                The      materials              supplied              by     Plaintiff           to     Fahreñlieit          Mechanical                   under           the     Hammel


           Houses            Project             purchase            orders          were              provided              for,     and       reasonably                required             for      use         in    the


           performance                of,     the       Project.


                         29.                Plaintiff         has not          been      paid           in full        for    said        material       in the      sum           of $17,711.83.


                         30.                Within         the      applicable               period,            Plaintiff           duly      provided        notice           under           the     Bond          of    its


           claim       for     sums         due      for     materials           supplied               to the        Hammel                Houses       Project.


                         31.                Plaintiff         has complied                   with         all    requirements                 of the     Bond.


                         32.                Continental              Casualty           Company                   is liable          under         the Bond         for     all     sums        due         and     owing


           Plaintiff         for     its material             supplied           to the           Hammel               Houses             Project.


                         33.                Continental              Casualty           Company                   has failed              to make      payment             to Plaintiff               for the value


           of the      material             supplied          to the         Hasimci               Houses             Project         for    which       it remains               unpaid.


                         34.                By      reason         of the       foregoing,                 Plaintiff            is entitled          to a judgment                   agaiñst           Continental



           Casualty            Company                  and        the      Bond        in        the      amount             of     $17,711.83,             plus          interest            and      reasonable


           attorney's              fees     pursuant          to State          Finance                Law        Section            137.


                                                              AS AND               FOR             A FIFTH                   CAUSE            OF ACTION
                                                                            (Breach           of Contract                 - Pier          57 Project)

                                                                                                                                                                                                              "1"
                         35.                Plaintiff         repeats          and      realleges               all    of the        allegations          set forth          in paragraphs


                             "34"
           through                        as if fully         set forth          herein.



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                        36.            Plaintiff           and     Defendant               Fahrcñheit            entered         into     certain            purchase          order(s)          whereby


           Plaintiff       agreed          to     supply          Defendant             Fahrenheit               certain      plumbing              materials             on     its        behalf         to   the


           private      improvement                  located            at Pier      57, New          York,         New       York        (the      "Pier        57 Project").


                        37.            Plaintiff           duly      furnished             and    Defendant               Fahicñheit         accepted                plumbiñg               materials           for


           the   Pier      57 Project             in the      agreed         upon       price      of $45,831.85.


                        38.            Despite             Plaintiff's            complete           performance,                 Defendant                  Fahreñheit              failed          to     remit


           payment          to Plaintiff            under         the     foregoing           purchase            orders      in the       amount             of $45,831.85.


                        39.            As       of September                30,     2020,        a balance           of $45,831.85                 remains             due     and      owed          to


           Plaintiff       from       Defendant               Fahrenheit             for    materials            furnished         to the        Pier        57 Project.


                        40.            Despite             due     demand           for,    Defendant              Fahrenheit             has      failed        to pay         Plaintiff            all    sums


           due to it and           Plaintiff         is entitled           to a judgment              in the amount               to be determined                      at trial,       but      estimated


           to be at least           $45,831.85,               plus        contractual            interest        thereon         at the     rate        of    1.5 percent              per     month


                                                           AS AND             FOR          A SIXTH                CAUSE           OF ACTION
                                                                  (Breach         of Contract              - Varick          Street       Project)

                                                                                                                                                                                                     "1"
                        41.            Plaintiff           repeats         and      realleges        all     of the        allegations           set forth           in paragraphs


                           "40"
           through                   as if fully           set forth         herein.


                        42.            Plaintiff           and     Defendant               Fahrenheit             entered        into     certain            purchase          order(s)          whereby


           Plaintiff        agreed          to     supply          Defendant               certain          plumbing             materials              on     its     behalf          to     the         private


           improvemeñt               located          at 201         Varick         Street,       New        York,         New     York          (the        "Varick         Street          Project").


                        43.            Plaintiff           duly         furnished          and    Defeñdañt               Fahrêñheit         accepted                plumbing               materials           for


           the    Varick          Street         Project          in the      agreed          upon      price        of     $18.90.          Despite             Plaintiff's            performance,


           Defendant           Fahrenheit              failed        to remit          payment             to Plaintiff          under       the        foregoing            purchase               orders          in


           the   amount           of $18.90.




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                         44.           As          of    July     16,     2020,      a balâñcc              of       $18.90          remains            due    and        owed       to Plaintiff                from


           Defendant           Fahrêñhcit                 for    matcrials          furnished          for           the    Varick         Street        project.


                         45.            Despite             due     demand          for,      Defendant                    Fahrêñheit            has     failed      to pay        Plaintiff             all    sums


           due to it and Plaintiff                       is entitled       to a judgñient             in the âñioüñt                      to be determined                  at trial,       but        estimated


           to be at least          $18.90,               plus     contractual          interest       thereon                 at the      rate     of     1.5 Percent            per    month.


                                                          AS AND            FOR        A SEVENTHCAUSE                                         OF ACTION
                                                            (Breach          of Contract           - La              Guardia         Airport            Project)

                                                                                                                                                                                                         "1"
                         46.            Plaintiff           repeats        and      realleges         all        of the        allegations              set forth         in paragraphs

                          "45"
           through                 as if fully               set forth       herein.


                         47.            Plaintiff           and     Defendant              Fahreñheit                 entered          into      certain       purchase            order(s)            whereby


           Plaintiff        agreed            to        supply       Defendant              certain          plumbing                  materials              on    its     behalf          to     the         public


           improvement             known                 as La     Guardia          Airport        located                 in East      Elmhurst,             New         York       (the        "La     Guardia


           Airport        Project").


                         48.            Plaintiff           duly        furnished          and    Defendant                   Fahrêñheit            accepted              plumbing           materials              for


           the    La    Guardia          Airport            Project        in the      agreed         upon            price      of $47.87.


                         49.            Despite             Plaintiff's           complete            performance,                        Defendant               Fahrenheit            failed           to     remit


           payment          to Plaintiff                under      the    aforementioned                    purchase             orders          in the       amount         of $47.87.


                         50.            As         of May         21,     2020,     a balance           of $42.87                remains            due       and    owed         to Plaintiff


           from        Defendant          Fahrenheit                for    materials           furnished               to the        La    Guardia            Airport        Project.


                         51.            Despite             due     demand          for,      Defcñdant                    Fahrenheit            has     failed      to pay        Plaintiff             all    sums


           due    to     it and    Plaintiff              is entitled         to a judgment                  in the           smount          of    $47.87,          plus        contractual              interest


           thereon        at the       rate        of    1.5 Percent          per    month




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                                                       AS AND              FOR AN EIGHTH                                CAUSE            OF ACTION
                                                               (Account           Stated          against           Defendant          Fahrenheit)

                                                                                                                                                                                             "1"
                            52.         Plaintiff          repeats         and     realleges             all    of the      allegations          set forth        in paragraphs


                             "51"
           through                     as if fully         set forth         herein.


                            53.         Plaintiff              supplied           Defendant                Fahrenheit             with        certain          plumbiñg             supplies         and


           materials              at Defendant's               request.


                            54.         Plaintiff          sent     and      Defendant                Fahrcñheit            received         various         invoices        for    the    plumbing


           supplies          and      materials          furnished           by    Plaintiff.


                            55.          On    or about           January          21,        2021,      Plaintiff        sent,    and       Defendant            Fahreñheit             received     an


           acc0üñt            statement           of     all     0ütstsñding                  invoices           past    due      and        owing        to    Plaintiff          by     Defendant


           Fahrenheit.


                            56.         Defendant                Fahrenheit             retained           and       accepted          and     did     not     object       to     any    invoice     or


           account           statement         provided            by      Plaintiff.


                            57.          Upon          information             and      belief,        Defendant             Fahrenheit              has failed         to remit         payment      to


           Plaintiff          under      the      past      due      invoices            or     accounting              statement.           The      amount         outstanding             and     due


           from        Defendant           Fahrenheit              amount          to the         sum          of $211,935.56,            plus        contractual           interest       thereon     at


           a rate      of     1.5 Percent            per       month.


                                                           AS AND              FOR A NINTH                           CAUSE         OF ACTION
                                                                        (Unjust          Enrichment/Quantum                          Meruit)

                                                                                                                                                                                             "1"
                            58.          Plaintiff         repeats         and     realleges             all    of the      allegations          set forth        in paragraphs


                             "57"
           through                     as if set forth             herein.


                            59.          Plaintiff             furnished           Defendant                   Fahrenheit         with         certain         plumbiñg             supplies         and


           materials              at Defendant             Fahrenheit's              request.




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                         60.             Plaintiff's                plumbing                supplies           provided             to    Defendant                   Fahrenheit                 did      cñhâñce            the


           value       of the      Projects           to the            benefit       of the        Defendant                 Fahrenheit              and          others.


                         61.             The        fair      and       reasonable                value        of the     amount             still     outstanding                    and        due     from


           Defendant            Fahrenheit                  for     the     Projects          in excess            of $211,935.56.


                         62.             Defendant                  Fahrenheit               has     been        unjustly            cariched            by         Plaintiff         having             supplied           and


           furnished           various         plumbing                   supplies          and      materials            without            due      compensation.


                         63.             Despite             due        demand              therefor,           Defendant                Fahrenheit                 has      failed         to pay            Plaintiff       in


           the     sum     of $211,935.56                         and     Plaintiff          is entitled          to a judgment                      in the         amount            of $211,935.56,                      plus



           statutory         interest         thereon               or in the           alternative,              quarúüm                meruit        against              Defendant                  Fahrenheit            for


           the     materials          supplied              by      Plaintiff         for     its various              Projects.


                                                    AS AND                  FOR AN ELEVENTH                                      CAUSE                OF ACTION
                                                                             (Lien       Law         Art.       3-A      Trust       Diversion)

                                                                                                                                                                                                                            "1"
                         64.             Plaintiff                repeats         and       realleges            all     of    the        allegations                 set     forth         in    paragraphs


                          "63"
           through                     as if set forth                  herein.


                         65.             The               funds             received                   by        Fahrenheit                      Mechanical                        from                the         various


           owners/construction                        managers                   or otherwise                 constituted            trust        funds            within       the     mëñing                  of Article


           3-A      of the      Lien         Law      were           and     are required                 to be held           and        applied            for     the     payment              of the         costs      and


           expenditures                for     the         improvement                   of       the        foregoing           Project             prior          to      being      used            for      any       other


           purpose.


                         66.             Upon              information                  and        belief,        Fahrenheit                 and/or            David            Rusi,             as     its     principal


           responsible             for        the      administration                        of     Project            funds         (hereinafter                    together           referred               to     as     the


           "Trustees"),             have           converted                or    been        the       recipients             of    converted                 trust         funds,         or     diverted               same,


           and/or        applied         or consented                     to the      application               of trust         funds       for      purposes                other     than           those        allowed



           by Article           3-A      of the            Lien       Law.



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                       67.             On      or about          February          2, 2021,          Plaintiff         served         a demand              on Fahrenheit                   and     David



           Rusi,     pursuant          to Section             76 of the        Lien        Law      seeking           an accounting                 of the       trust       funds.


                       68.             To      date,     no respóñse             or accoüñting                   has been       provided             by     Trustees            to Plaintiff.


                       69.             Upon         information            and      belief,        the      Trustees         have       failed       to maintain               trust        accounting


           books      and     records          as required          by law         and,      as such,           a presumption                that    said      Trustees          has misapplied


           or diverted,          and/or         consented          to the       misapplication                    and/or      diversion             of trust        funds        arises.


                        70.            Upon         information            and belief,             Trustees         have      transferred             said      trust        funds      or permitted


           the transfer          of said       funds         to their    own        accounts             and to other          transferees,               Jane      Does        #1 through            #10,


           the     names      of which             are unknown              at this        time.


                        71.            Upon         information            and belief,             said     transferees         were         not     furnishers              of labor,        materials


           or supplies         for     the     improvement               of the          subject         real    property       and      were         not      trust     beneficiaries              of the


           funds      received            by      Trustees        from       the         owñêr/coñstruction                    manager,              or     other        beneficiaries              under


           Article      3-A      of the        Lien     Law.


                        72.            In addition             to Plaintiff,             there     may          be other      contractors,                materialmen                 and     suppliers


           who       furnished            labor        and     materials           for     the     improvemêñt                 of     the      Projects           such         as named             lienor


           defêñdants,           the    existence,            nature,      extent          and     correctness             of whose           claims         are not          presently           known.


                                                                                                           Trustees'
                        73.            Upon         information            and belief,             the                       diversion              was     committed                with     the   intent


           to deprive         Plaintiff           and    other     potential             beneficiaries             of trust         funds.


                        74.            This        cause      of action        is brought            as a class            action      under         Article           3-A     of the        Lien    Law.


                        75.            Plaintiff         has no adequate                   remedy           at law.




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           WHEREFORE,                        Plaintiff            The     Ideal      Supply             Company,            hereby       demands           judgment:



                          (a)         On      the       First       Cause         of Action,             judgment           against       Defendant           Fahrenheit           Mechanical



           Inc.,     in   favor      of     Plaintiff,            in    an     amount        of        $3,694.28           plus      contractual           interest      at the      rate    of     1.5


           Percent        from      August          9, 2020             thereon;


                          (b)         On        the         Second              Cause         of         Action,          judgment              against        Dêfêñdâñt             Fahrenheit


           Mechanical             Inc.,     in favor             of Plaintiff,          in an amount                of $144,635.83                plus     contractual        interest        at the


           rate     of    1.5 Pcrcêñt          from         December               9, 2020         thereon;


                          (c)         On the           Third           Cause       of Action,            judgment            against      Defendant            Fahrenheit          Mechanical


           Inc.,     in   favor     of     Plaintiff,             in an amount               of        $17,711.83           plus      contractual          interest      at the      rate     of    1.5


           Percent         from     December                10, 2020            thereon;


                          (d)         On      the       Fourth           Cause       of Action,            judgment            against      Defendant             Continental             Casualty


           Insurance            Company           and       the        Bond       in in favor            of Plaintiff,         in an amount               of $17,711.83            plus     interest


           and      reasonable            attorney's             fees;


                          (e)         On      the        Fifth         Cause      of Action             judgmcñt            against       Defcñdañt           Fahrêñheit           Mechanical


           Inc.,     in   favor     of     Plaintiff,             in an amount               of        $45,831.85           plus      contractual          interest      at the      rate     of    1.5


           Percent         from     September                30,       2020      thereon;


                          (f)         On      the        Sixth         Cause       of Action,            judgmcñt            against      Defendant            Fahrenheit          Mechanical



           Inc.,     in favor      of Plaintiff,                 in an amount            of $18.90            plus        contractual        interest        at the    rate   of    1.5 Percent


           from       July      16, 2020        thereon;


                          (g)         On         the        Seventh              Cause            of     Action,           judgment             against        Defendant             Fahicaheit


           Mechañical             Inc.,      in favor            of Plaintiff,          in an amount                 of     $42.87       plus      contractual         interest      at the        rate


           of      1.5 Percent        from       May         21,        2020      thereon;




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                        (h)              On the Eighth                     Cause           of Action,            judgment                 against        Dcfêñdâüt                   Fahrenheit               Mechanical



           Inc.,       in       favor            of          Plaintiff,              in         an        amount              of          $211,935.56,                     together                   with           statutory


           interest         thereon,            from        January           21,        2021          and     the    costs        and      disbursement                   of this               action.



                         (i)             On the             Ninth         Cause           of Action,             judgment                 against         Defêñdant                   Fahrenheit


           Mechanical             Inc.,         in favor           of Plaintiff,                in the         amount         of $211,935.56,                      together                  with        statutory


           interest         thereon            and     the     costs        and      disbursement                     of this           action;      and



                         (j)             On the Tenth                     Cause           of Action             against       Defendant                  Fahrenheit                  Mechañical                  Inc.,     David


           Rusi       and/or      Jane          Does         #1 through                  #10      as follows:


                                           i.          declaring              that        Defendant                  Fahrenheit              Mechanical                  Inc.,             David          Rusi      and         Jane


                                                       Does         #1 through                  #10      are trustees               of the payments                     received                 on the Project,                 and


                                                       that      Plaintiff               and     all    others         who         may      join        in this         action,             be adjudged                  to have


                                                       a claim             thereon             for      the     amount             of    their      respective                 claims             with       prejudgment



                                                       interest;


                                         ii.           compelling                 Defendant                   Fahrenheit                Mechanical              Inc.,      David             Rusi          and     Jane     Does


                                                       #1 threügh               #10         to disclose               all transactions                  with      reference                  to the         improvcmcñt


                                                       hereinbefore                      described,             including                a statement             of      all     monies              held        or paid          on


                                                       acc0üñt             thereof,             and      to whom           paid           and     the     dates         of such              payments;


                                        iii.           compelling                 Defeñdañt                   Fahrenheit                Mech5mical              Inc.,      David             Rusi          and     Jane     Does


                                                       #1 through                 #10          to disclose,            account             for     and     pay        over           all    sums         of money               held


                                                       or      received             by         each      on      accotmt            of      said        improvement,                        and      account              for     the


                                                       disposition                  of     any         such      sums         of        money           disposed               of,         and     also      the     place         or



                                                       places,            property             and       assets       of every            kind      and        nature           into        which          the     said         sums


                                                       or any          part     thereof                have     been       placed;




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                               iv.         adjudging               and        determining             that      Plaintiff               have      a money                  judgment           against          all


                                           aforesaid               Defendants                on     behalf           of        itself       and       all     other          labor        and     material


                                           suppliers              similarly          situated,        and      declaring                 that     a trust          has been          created          against


                                           the    Defendemts                   herein        for    the     sum           of    $211,935.56                   on behalf              of   Plaintiff           and


                                           in an additional                     amount             to be determined                        at trial         for      the    amount           determined


                                           to     be     due         from        the       Defendants                 to       all      other       labor            and      material           suppliers



                                           similarly           situated          who        join     in this         action          by reason               of the        diversion         and       breach


                                           of the        provisions              of Article           3-A      of the             Lien       Law,           with      prejudgment                interest;


                                 v.        that     this     Court            take      such       proceedings                   as may           be necessary                 to bring          before             it


                                           and      under           its   control          all     such      trust         funds           and    all       property           of    every       type         and


                                           nature          into      which           the    same      may         have           been        diverted,             and       distribute          the        same



                                           among           all parties           and       person         entitled             thereto;

                                                                                      attorneys'
                               vi.         for     its     reasonable                                       fees          and        the     costs          and       disbursements                    of     this



                                           action;


                              vii.         for    punitive            damages              in the     sum         of $1,000,000;

                                                                                                                                                                                       attorneys'
                             viii.         awarding               Plaintiff          the costs        of this         action,           including             reasonable                                     fees


                                           and     expenses,                expert's         fees     and      other            disbursements;                       and



                      (k)        Plus     interest,         costs         and    disbursements                 in connection                      with        this     action,         and      such        other


            and   further   relief      as this      Court          may        deem        just     and     proper.


                                                                           [Signature              Page      To       Follow]




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           Dated:   Woodbury,     New   York   KAUFMAN               DOLOWICH                  & VOLUCK,              LLP
                    April   13, 2021           Attorneys      for     Plaintiff      The Ideal            Supply     Company




                                                           Erik     A.   Ortmann,         Esq.
                                                           Elizabeth        V.     Marchionni,             Esq.
                                                           135      Crossways           Park     Drive,      Suite    201

                                                           Woodbury,              New     York      11797

                                                           (516)      681-1100




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                                                                                   ATTORNEY                             VERIFICATION




           STATE               OF NEW                  YORK                   )
                                                                              ) ss.
           COUNTY                 OF NASSAU                                   )




                           ERIK             A.     ORTMANN,                       being           duly         sworn,         deposes          and        says:


                           I am a partner                    with     the         law     firm          Kaufman               Dolowich             & Voluck             LLP,      attorneys         for      Plaintiff


           The       Ideal       Supply               Company.             I have            read        the    foregoing             Amended                 Complaint           and    know      the       contents


           therein         to be true                 and     the     same         is true          to deponent's                     own      knowledge                and    according          to the         books


           and       papers        of the             Plaintiff,          except         as to matters                   thereon         stated           to be alleged           upon     information               and


           belief,         and    as to this                matters        deponent                 believes            them       to be true.


                           This        verification                 is made             by        deponent              and     not     by     the        Plaintiff,      because         the    Plaintiff          does


           not       reside       nor            ==     a+=½        its    office            in     the                        where         the      deponent            -=intains         his      office.         The
                                                                                                               county


           grounds             of deponent's                  beliefas            to all matters                  not    stated         upon       deponent's             knowledge             are based           upon


           a review            of the            facts,      pleadings,             and       proceedings                     in this    matter,             as well      as conversations                with       the


           Plaintiff           and         its employees.


                           The       undersigned                    affirms         that          the     foregoing             statcmcats                are true,       under     the    penalties           of


           perjury.                                                                                                                                           .




                                                                                                                                      ERIK           A.     ORTMANN

           S               t     before           me      this
           13          a         f April,             2021
                                                                                                                                                                  Solomon   Abramor
                                                                                                                                                Notary            Public, State of New
                                                                                                                                                                  No. 02AB6358691
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           No                        lic




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          SUPREME                 COURT                OF THE                STATE           OF    NEW YORK
          COUNTY                OF       NEW YORK                                                                                                  Index    No.:         152298/2021
          -----------------------------------------------------------------X
          THE         IDEAL            SUPPLY                 COMPANY,                     individually
          and     on behalf            of     all    lienors,         claimants             and    creditors

          similarly           situated          entitled         to    share        funds       received          by
         Fahrenheit             Mechanical                    LLC       a/k/a       Fahrenheit

         Mechanical,                  under         Article         3-A       of the

         New        York        State         Lien      Law,                                                                                       VERIFIED                ANSWER
                                                                                                                                                   OF CONTINENTAL
                                                                            Plaintiff                                                              CASULATY                   COMPANY

                         -against-



          FAHRENHEIT                        MECHANICAL                            LLC,
          DAVID            RUISI,           CONTINENTAL
                                                                                                          #1"
          CASUALTY                     COMPANY                      and       "JANE          DOE
          THREOUGH                      "JANE            DOE          #10",


                                                                            Defendants.
          -----------------------------------------------------------------X



                         Defendant,                  Continental                Casualty          Company                ("Continental"),              by      its    attorneys,        Arthur           J.



          Semetis,            P.C.,      answers              the     Amended                Verified           Complaint          ("Complaint")                 of    Plaintiff,      The       Ideal



          Supply         Company                ("Ideal          Supply"),               as follows:


                         1.              Denies            knowledge                or    information              sufficient       to      form    a belief          as to    the   truth   of     the


          allegations            contained              within         paragraph              1 of the          Complaint.


                         2.              Denies            knowledge                or    information              sufficient       to      form    a belief          as to    the   truth   of     the


          allegations            contained              within         paragraph              2 of the          Complaint.


                         3.              Denies            knowledge                or    information              sufficient       to      form    a belief          as to    the   truth   of     the


          allegations            contained              within         paragraph              3 of the          Complaint.


                         4.              Admits            the      truth       of the      allegations            contained        within         paragraph           4 of the      Complaint.


                         5.              Denies            knowledge                or    information              sufficient       to      form    a belief          as to    the   truth   of     the


          allegations            contained              within         paragraph              5 of the          Complaint.




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                                            AS AND FOR A RESPONSE TO
                                             A FIRST CAUSE OF ACTION
                                       (Breach of Contract – Vesey Street Project)

                6.      With respect to the allegations contained within paragraph 6 of the Complaint,

         Continental repeats, reiterates and realleges its responses to the allegations contained within

         paragraphs 1 through 5 of the Complaint as if fully set forth herein.

                7.      Denies knowledge or information sufficient to form a belied as to the truth of the

         allegations contained within paragraph 7 of the Complaint.

                8.      Denies knowledge or information sufficient to form a belied as to the truth of the

         allegations contained within paragraph 8 of the Complaint.

                9.      Denies knowledge or information sufficient to form a belied as to the truth of the

         allegations contained within paragraph 9 of the Complaint.

                10.     Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 10 of the Complaint.

                11.     Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 11 of the Complaint.

                                          AS AND FOR A RESPONSE TO
                                          A SECOND CAUSE OF ACTION
                                    (Breach of Contract – Manhattan West Project)

                12.     With respect to the allegations contained within paragraph 12 of the Complaint,

         Continental repeats, reiterates and realleges its responses to the allegations contained within

         paragraphs 1 through 11 of the Complaint as if fully set forth herein.

                13.     Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 13 of the Complaint.



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                 14.    Denies knowledge or information sufficient to form a belief as to the truth of the

          allegations contained within paragraph 14 of the Complaint.

                 15.    Denies knowledge or information sufficient to form a belief as to the truth of the

          allegations contained within paragraph 15 of the Complaint.

                 16.    Denies knowledge or information sufficient to form a belief as to the truth of the

          allegations contained within paragraph 16 of the Complaint.

                 17.    Denies knowledge or information sufficient to form a belief as to the truth of the

          allegations contained within paragraph 17 of the Complaint.

                                          AS AND FOR A RESPONSE TO
                                           A THIRD CAUSE OF ACTION
                                    (Breach of Contract – Hammel Houses Project)

                 18.    With respect to the allegations contained within paragraph 18 of the Complaint,

         Continental repeats, reiterates and realleges its responses to the allegations contained within

         paragraphs 1 through 17 of the Complaint as if fully set forth herein.

                 19.    Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 19 of the Complaint.

                 20.    Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 20 of the Complaint.

                 21.    Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 21 of the Complaint.

                 22.    Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 22 of the Complaint.

                 23.    Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 23 of the Complaint.

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                                        AS AND FOR A RESPONSE TO
                                        A FOURTH CAUSE OF ACTION
                            (Payment Bond Claim Against Continental Casualty Company
                                            Hammel Houses Project)

                24.     With respect to the allegations contained within paragraph 24 of the Complaint,

         Continental repeats, reiterates and realleges its responses to the allegations contained within

         paragraphs 1 through 23 of the Complaint as if fully set forth herein.

                25.     Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 25 of the Complaint, and respectfully refers the Court to

         the Payment Bond at the trial of this action for its true terms and conditions.

                26.     Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 26 of the Complaint, and respectfully refers the Court to

         the Payment Bond at the trial of this action for its true terms and conditions.

                27.     Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 27 of the Complaint.

                28.     Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 28 of the Complaint.

                29.     Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 29 of the Complaint.

                30.     Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 30 of the Complaint.

                31.     Denies the truth of the allegations contained within paragraph 31 of the Complaint.

                32.     Denies the truth of the allegations contained within paragraph 32 of the Complaint.

                33.     Denies the truth of the allegations contained within paragraph 33 of the Complaint.


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                                            AS AND FOR A RESPONSE TO
                                             A FIFTH CAUSE OF ACTION
                                          (Breach of Contract – Pier 57 Project)

                 34.     With respect to the allegations contained within paragraph 34 of the Complaint,

          Continental repeats, reiterates and realleges its responses to the allegations contained within

          paragraphs 1 through 33 of the Complaint as if fully set forth herein.

                 35.     Denies knowledge or information sufficient to form a belief as to the truth of the

          allegations contained within paragraph 35 of the Complaint.

                 36.     Denies knowledge or information sufficient to form a belief as to the truth of the

          allegations contained within paragraph 36 of the Complaint.

                 37.     Denies knowledge or information sufficient to form a belief as to the truth of the

          allegations contained within paragraph 37 of the Complaint.

                 38.     Denies knowledge or information sufficient to form a belief as to the truth of the

          allegations contained within paragraph 38 of the Complaint.

                 39.     Denies knowledge or information sufficient to form a belief as to the truth of the

          allegations contained within paragraph 39 of the Complaint.

                                            AS AND FOR A RESPONSE TO
                                             A SIXTH CAUSE OF ACTION
                                       (Breach of Contract – Varick Street Project)

                 40.     With respect to the allegations contained within paragraph 40 of the Complaint,

         Continental repeats, reiterates and realleges its responses to the allegations contained within

         paragraphs 1 through 39 of the Complaint as if fully set forth herein.

                 41.     Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 41 of the Complaint.



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                 42.    Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 42 of the Complaint.

                 43.    Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 43 of the Complaint.

                 44.    Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 44 of the Complaint.

                                           AS AND FOR A RESPONSE TO
                                         A SEVENTH CAUSE OF ACTION
                                  (Breach of Contract – La Guiardia Airport Project)

                 45.    With respect to the allegations contained within paragraph 45 of the Complaint,

         Continental repeats, reiterates and realleges its responses to the allegations contained within

         paragraphs 1 through 44 of the Complaint as if fully set forth herein.

                 46.    Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 46 of the Complaint.

                 47.    Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 47 of the Complaint.

                 48.    Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 48 of the Complaint.

                 49.    Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 49 of the Complaint.

                 50.    Denies knowledge or information sufficient to form a belief as to the truth of the

          allegations contained within paragraph 50 of the Complaint.




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                                          AS AND FOR A RESPONSE TO
                                          A EIGHTH CAUSE OF ACTION
                                    (Account Stated Against Defendant Fahrenheit)

                51.     With respect to the allegations contained within paragraph 51 of the Complaint,

         Continental repeats, reiterates and realleges its responses to the allegations contained within

         paragraphs 1 through 50 of the Complaint as if fully set forth herein.

                52.     Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 52 of the Complaint.

                53.     Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 53 of the Complaint.

                54.     Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 54 of the Complaint.

                55.     Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 55 of the Complaint.

                56.     Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 56 of the Complaint.

                                           AS AND FOR A RESPONSE TO
                                            A NINTH CAUSE OF ACTION
                                         (Unjust Enrichment/Quantum Meruit)

                57.     With respect to the allegations contained within paragraph 57 of the Complaint,

         Continental repeats, reiterates and realleges its responses to the allegations contained within

         paragraphs 1 through 56 of the Complaint as if fully set forth herein.

                58.     Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 58 of the Complaint.



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                59.     Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 59 of the Complaint.

                60.     Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 60 of the Complaint.

                61.     Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 61 of the Complaint.

                62.     Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 62 of the Complaint.

                                          AS AND FOR A RESPONSE TO
                                        THE ELEVENTH CAUSE OF ACTION
                                         (Line Law Art. 3-A Trust Diversion)

                63.     With respect to the allegations contained within paragraph 63 of the Complaint,

         Continental repeats, reiterates and realleges its responses to the allegations contained within

         paragraphs 1 through 62 of the Complaint as if fully set forth herein.

                64.     Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 64 of the Complaint.

                65.     Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 65 of the Complaint.

                66.     Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 66 of the Complaint.

                67.     Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 67 of the Complaint.

                68.     Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 68 of the Complaint.

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                 69.    Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 69 of the Complaint.

                 70.    Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 70 of the Complaint.

                 71.    Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 71 of the Complaint.

                 72.    Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 72 of the Complaint.

                 73.    Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 73 of the Complaint.

                 74.    Denies knowledge or information sufficient to form a belief as to the truth of the

         allegations contained within paragraph 74 of the Complaint.

                                AS AND FOR ITS FIRST AFFIRMATIVE DEFENSE

                 75.    The Complaint fails to state a cause of action upon which relief may be granted.

                               AS AND FOR ITS SECOND AFFIRMATIVE DEFENSE

                 76.    Upon information and belief, Ideal Supply’s claims are barred due to its failure to

          furnish the required work under its agreement with Fahrenheit Mechanical, LLC (“Fahrenheit”).

                                AS AND FOR ITS THIRD AFFIRMATIVE DEFENSE

                 77.    Upon information and belief, Ideal Supply breached its Agreement with Fahrenheit.

                               AS AND FOR ITS FOURTH AFFIRMATIVE DEFENSE

                 78.    There is no cognizable causation between the damage claimed by Ideal Supply and

          any act or omission by Continental.



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                                 AS AND FOR ITS FIFTH AFFIRMATIVE DEFENSE

                 79.     Ideal Supply has failed to mitigate its damages.

                                 AS AND FOR ITS SIXTH AFFIRMATIVE DEFENSE

                 80.     The damages alleged by Ideal Supply were caused by the culpable conduct of some

          other third person(s) or parties over whom Continental neither had nor exercised control.

                           AS AND FOR ITS SEVENTH AFFIRMATIVE DEFENSE

                 81.     Upon information and belief, Ideal Supply has been paid in full.

                               AS AND FOR ITS EIGHTH AFFIRMATIVE DEFENSE

                 82.     Upon information and belief, Ideal Supply was paid in excess of all sums due.

                                AS AND FOR ITS NINTH AFFIRMATIVE DEFENSE

                 83.     Upon information and belief, Ideal Supply is owed no money.

                                AS AND FOR ITS TENTH AFFIRMATIVE DEFENSE

                 84.     Upon information and belief, Ideal Supply is barred from recovery in this

         proceeding by the doctrine of waiver.

                              AS AND FOR ITS ELEVENTH AFFIRMATIVE DEFENSE

                 85.     Upon information and belief, Ideal Supply is barred from recovery in this

         proceeding by the doctrine of laches.

                              AS AND FOR ITS TWELFTH AFFIRMATIVE DEFENSE

                 86.     Upon information and belief, Ideal Supply is barred from recovery in this

         proceeding by the doctrine of unclean hands.




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                            AS AND FOR ITS THIRTEENTH AFFIRMATIVE DEFENSE

                 87.    Upon information and belief, Ideal Supply failed to comply with the notice

          provisions of the Payment Bond.

                           AS AND FOR ITS FOURTEENTH AFFIRMATIVE DEFENSE

                 88.    If Continental is found liable under the terms of and conditions of the Payment

         Bond, its liability is limited to the penal sum of the Payment Bond.

                 WHEREFORE, Continental Casualty Company respectfully demands judgment:

                 a) dismissing the Complaint with prejudice;

                 b) awarding costs and disbursements, including attorneys’ fees;

                 c) such other, further and different relief as the Court deems just and proper.

          Dated: New York, New York
                 May 24, 2021

                                                               ARTHUR J. SEMETIS, P.C.


                                                               By: /s/ Constantine T. Tzifas
                                                                       Constantine T. Tzifas, Esq.
                                                               Attorneys for Defendant
                                                               Continental Casulaty Company
                                                               286 Madison Avenue – Suite 1801
                                                               New York, New York 10017
                                                               Telephone: (212) 557-5055




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                                                  VERIFICATION



                 Constantine T. Tzifas, an attorney duly licensed to practice law before the courts of the

          State of New York affirms under the penalties of perjury:

                 I am an attorney associated with the firm of Arthur J. Semetis, P.C. attorneys for defendant

          Continental Casualty Company herein, that I have read the foregoing Verified Answer of

          Continental Casualty Company and knows the contents thereof, and that the same is true to

          deponent’s own knowledge, except as to the matters therein stated to be alleged upon information

          and belief, and that as to those matters deponent believes them to be true.

                 The reason why deponent and not Continental Casualty Company makes this verification

          is that Continental Casualty Company maintains its offices outside the county where the offices of

          Arthur J. Semetis, P.C. are located.

          Dated: New York, New York
                 May 26, 2021


                                                        /s/ Constantine T. Tzifas
                                                        Constantine T. Tzifas




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    From:                                           Elizabeth Marchionni
    Sent:                                           Tuesday, May 18, 2021 12:43 PM
    To:                                             'Joseph DeBlase'
    Subject:                                        RE: The Ideal Supply Company v. Fahrenheit Mechanical LLC et al - Index No.
                                                    152298/2021
    Attachments:                                    Demand for Verified Statement.pdf


    Joe:

    Good to speak with you as well. The revised Stipulation looks good; I will return a signed copy shortly.

    As discussed, attached is the Demand for Verified Statements containing a helpful breakdown on each job. Please let me
    know your client’s ability and time table to respond.

    I will also get you the open invoices and delivery tickets as noted.

   Thanks,
   Liz




    Elizabeth Marchionni
    Partner




    135 Crossways Park Drive, Suite 201
    Woodbury,NY11797

    Direct:     516-283-8723
    Cell:       845-721-3198
    Main:       516-681-1100
    Email:      emarchionni@kdvlaw.com



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NYSCEF DOC. NO. 29                                                                                         RECEIVED NYSCEF: 04/08/2022




    From:                                           Elizabeth Marchionni
    Sent:                                           Tuesday, June 1, 2021 9:37 AM
    To:                                             'Joseph DeBlase'
    Subject:                                        RE: The Ideal Supply Company v. Fahrenheit Mechanical LLC et al - Index No.
                                                    152298/2021
    Attachments:                                    Summary of Open Invoices by Job May 28 2021.pdf


    Joe:

    In furtherance of our discussions, attached please find a summary of the open invoices by job, together with a link
    (below) to copies of all open invoices, ship tickets, May Statement and the like. (The link will expire in a week.)

    https://kdvlaw-
    my.sharepoint.com/:f:/p/emarchionni/EsvlWyPypoxGhnLxCH1N678BBRYgTW14VYR1lJM7dyeb_w?e=LR9yxX

    Please let me know when we can expect a Verified Statement and how your client wishes to proceed.

    Regards,
    Liz




    Elizabeth Marchionni
    Partner




    135 Crossways Park Drive, Suite 201
    Woodbury,NY11797

    Direct:     516-283-8723
    Cell:       845-721-3198
    Main:       516-681-1100
    Email:      emarchionni@kdvlaw.com



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NYSCEF DOC. NO. 30                                                                                             RECEIVED NYSCEF: 04/08/2022




    From:                                    Joseph DeBlase <jdeblase@travislawnyc.com>
    Sent:                                    Tuesday, June 1, 2021 11:32 AM
    To:                                      Elizabeth Marchionni
    Subject:                                 Re: The Ideal Supply Company v. Fahrenheit Mechanical LLC et al - Index No.
                                             152298/2021


    [EXTERNAL SENDER]

    Liz,

    Thank you for these documents. I will speak with my client and get back to you.

    Regards,

    Joe

    Joseph A. DeBlase| Travis Law PLLC | www.travislawnyc.com | (212) 248-2120 | 80 Maiden Lane, Suite 304,
    New York, New York 10038
    Confidentiality Notice: The information contained in this e-mail and any attachments may be legally privileged and confidential. If you are
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    Thank you.




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           SUPREME COURT OF THE STATE OF NEW YORK
           COUNTY OF NEW YORK
           ----------------------------------------x
           THE IDEAL SUPPLY COMPANY, individually and on
           behalf of all lienors, claimants and creditors similarly        Index No.: 152298/2021
           situated entitled to share funds received by Fahrenheit
           Mechanical LLC a/k/a Fahrenheit Mechanical, under
           Article 3-A of the New York State Lien Law,                     VERIFIED ANSWER

                                          Plaintiff,
                          -against-

           FAHRENHEIT MECHANICAL LLC, DAVID RUSI,
           CONTINENTAL CASUALTY COMPANY, “JANE DOE
           #1” THROUGH “JANE DOE #10”, AND FAHRENHEIT
           MECHANICAL INC.,

                                Defendants.
           ----------------------------------------x

                 PLEASE TAKE NOTICE, that defendants FAHRENHEIT MECHANICAL LLC and

          DAVID RUSI (collectively referred to herein as “Defendants”), hereby appear in this action and

          that the undersigned has been retained as attorney for the Defendants and demands that you serve

          all papers in this action upon the undersigned at the address set forth below.

                 PLEASE TAKE FURTHER NOTICE, that the Defendants hereby interpose the following

          Answer to the Complaint (the “Complaint”) herein:

                 1.      Defendants deny knowledge or information sufficient to form a belief as to the

          allegations contained in paragraph 1 of the Complaint.

                 2.      Defendants admit Fahrenheit Mechanical LLC is a corporation organized and

          existing under the laws of the State of New York but denies the remaining allegations contained

          in paragraph 2 of the Complaint.

                 3.      Defendants deny knowledge or information sufficient to form a belief as to the

          allegations contained in paragraph 3 of the Complaint.



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                 4.      Defendants admit defendant David Rusi was an officer of defendant Fahrenheit

          Mechanical LLC, but Defendants deny the remaining allegations contained in paragraph 4 of the

          Complaint.

                 5.      Defendants deny knowledge or information sufficient to form a belief as to the

          allegations contained in paragraph 5 of the Complaint.

                 6.      Defendants deny knowledge or information sufficient to form a belief as to the

          allegations contained in paragraph 6 of the Complaint.

                                      AS AND FOR THE SECTION TITLED
                                          FIRST CAUSE OF ACTION

                 7.      Defendants repeat and reallege each response to the allegations contained in

          paragraphs 1 through 6 of Plaintiff’s Complaint as if fully set forth herein.

                 8.      Defendants deny the allegations contained in paragraph 8 of the Complaint.

                 9.      Defendants deny the allegations contained in paragraph 9 of the Complaint.

                 10.     Defendants deny the allegations contained in paragraph 10 of the Complaint.

                 11.     Defendants deny the allegations contained in paragraph 11 of the Complaint.

                 12.     Defendants deny the allegations contained in paragraph 12 of the Complaint.

                                      AS AND FOR THE SECTION TITLED
                                         SECOND CAUSE OF ACTION

                 13.     Defendants repeat and reallege each response to the allegations contained in

          paragraphs 1 through 12 of Plaintiff’s Complaint as if fully set forth herein.

                 14.     Defendants deny the allegations contained in paragraph 14 of the Complaint.

                 15.     Defendants deny the allegations contained in paragraph 15 of the Complaint.

                 16.     Defendants deny the allegations contained in paragraph 16 of the Complaint.

                 17.     Defendants deny the allegations contained in paragraph 17 of the Complaint.



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                 18.       Defendants deny the allegations contained in paragraph 18 of the Complaint.

                                      AS AND FOR THE SECTION TITLED
                                          THIRD CAUSE OF ACTION

                 19.       Defendants repeat and reallege each response to the allegations contained in

          paragraphs 1 through 18 of Plaintiff’s Complaint as if fully set forth herein.

                 20.       Defendants deny the allegations contained in paragraph 20 of the Complaint.

                 21.       Defendants deny the allegations contained in paragraph 21 of the Complaint.

                 22.       Defendants deny the allegations contained in paragraph 22 of the Complaint.

                 23.       Defendants deny the allegations contained in paragraph 23 of the Complaint.

                 24.       Defendants deny the allegations contained in paragraph 24 of the Complaint.

                                      AS AND FOR THE SECTION TITLED
                                         FOURTH CAUSE OF ACTION

                 25.       Defendants repeat and reallege each response to the allegations contained in

          paragraphs 1 through 24 of Plaintiff’s Complaint as if fully set forth herein.

                 26.       Defendants deny knowledge or information sufficient to form a belief as to the

          allegations contained in paragraph 26 of the Complaint and direct the Court to the exhibit thereto

          for the terms therein.

                 27.       Defendants deny knowledge or information sufficient to form a belief as to the

          allegations contained in paragraph 27 of the Complaint and direct the Court to the Bond for the

          terms therein.

                 28.       Defendants deny the allegations contained in paragraph 28 of the Complaint.

                 29.       Defendants deny the allegations contained in paragraph 29 of the Complaint.

                 30.       Defendants deny knowledge or information sufficient to form a belief as to the

          allegations contained in paragraph 30 of the Complaint.



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                 31.     Defendants deny knowledge or information sufficient to form a belief as to the

          allegations contained in paragraph 31 of the Complaint.

                 32.     Defendants deny knowledge or information sufficient to form a belief as to the

          allegations contained in paragraph 32 of the Complaint.

                 33.     Defendants deny knowledge or information sufficient to form a belief as to the

          allegations contained in paragraph 33 of the Complaint.

                 34.     Defendants deny knowledge or information sufficient to form a belief as to the

          allegations contained in paragraph 34 of the Complaint.

                                      AS AND FOR THE SECTION TITLED
                                          FIFTH CAUSE OF ACTION

                 35.     Defendants repeat and reallege each response to the allegations contained in

          paragraphs 1 through 34 of Plaintiff’s Complaint as if fully set forth herein.

                 36.     Defendants deny the allegations contained in paragraph 36 of the Complaint.

                 37.     Defendants deny the allegations contained in paragraph 37 of the Complaint.

                 38.     Defendants deny the allegations contained in paragraph 38 of the Complaint.

                 39.     Defendants deny the allegations contained in paragraph 39 of the Complaint.

                 40.     Defendants deny the allegations contained in paragraph 40 of the Complaint.

                                      AS AND FOR THE SECTION TITLED
                                          SIXTH CAUSE OF ACTION

                 41.     Defendants repeat and reallege each response to the allegations contained in

          paragraphs 1 through 40 of Plaintiff’s Complaint as if fully set forth herein.

                 42.     Defendants deny the allegations contained in paragraph 42 of the Complaint.

                 43.     Defendants deny the allegations contained in paragraph 43 of the Complaint.

                 44.     Defendants deny the allegations contained in paragraph 44 of the Complaint.



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                 45.     Defendants deny the allegations contained in paragraph 45 of the Complaint.

                                      AS AND FOR THE SECTION TITLED
                                         SEVENTH CAUSE OF ACTION

                 46.     Defendants repeat and reallege each response to the allegations contained in

          paragraphs 1 through 45 of Plaintiff’s Complaint as if fully set forth herein.

                 47.     Defendants deny the allegations contained in paragraph 47 of the Complaint.

                 48.     Defendants deny the allegations contained in paragraph 48 of the Complaint.

                 49.     Defendants deny the allegations contained in paragraph 49 of the Complaint.

                 50.     Defendants deny the allegations contained in paragraph 50 of the Complaint.

                 51.     Defendants deny the allegations contained in paragraph 51 of the Complaint.

                                      AS AND FOR THE SECTION TITLED
                                         EIGHTH CAUSE OF ACTION

                 52.     Defendants repeat and reallege each response to the allegations contained in

          paragraphs 1 through 51 of Plaintiff’s Complaint as if fully set forth herein.

                 53.     Defendants deny the allegations contained in paragraph 53 of the Complaint.

                 54.     Defendants deny the allegations contained in paragraph 54 of the Complaint.

                 55.     Defendants deny the allegations contained in paragraph 55 of the Complaint.

                 56.     Defendants deny the allegations contained in paragraph 56 of the Complaint.

                 57.     Defendants deny the allegations contained in paragraph 57 of the Complaint.

                                      AS AND FOR THE SECTION TITLED
                                          NINTH CAUSE OF ACTION

                 58.     Defendants repeat and reallege each response to the allegations contained in

          paragraphs 1 through 57 of Plaintiff’s Complaint as if fully set forth herein.

                 59.     Defendants deny the allegations contained in paragraph 59 of the Complaint.

                 60.     Defendants deny the allegations contained in paragraph 60 of the Complaint.

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                 61.     Defendants deny the allegations contained in paragraph 61 of the Complaint.

                 62.     Defendants deny the allegations contained in paragraph 62 of the Complaint.

                 63.     Defendants deny the allegations contained in paragraph 63 of the Complaint.

                                      AS AND FOR THE SECTION TITLED
                                        ELEVENTH CAUSE OF ACTION

                 64.     Defendants repeat and reallege each response to the allegations contained in

          paragraphs 1 through 63 of Plaintiff’s Complaint as if fully set forth herein.

                 65.     Paragraph 65 of the Complaint contains legal conclusions and assertions to which

          no responsive pleading is required. To the extent a response is required, Defendants deny the

          allegations contained in paragraph 65 of the Complaint.

                 66.     Defendants deny the allegations contained in paragraph 66 of the Complaint.

                 67.     Defendants deny the allegations contained in paragraph 67 of the Complaint.

                 68.     Defendants deny the allegations contained in paragraph 68 of the Complaint.

                 69.     Defendants deny the allegations contained in paragraph 69 of the Complaint.

                 70.     Defendants deny the allegations contained in paragraph 70 of the Complaint.

                 71.     Defendants deny the allegations contained in paragraph 71 of the Complaint.

                 72.     Defendants deny knowledge or information sufficient to form a belief as to the

          allegations contained in paragraph 72 of the Complaint.

                 73.     Defendants deny the allegations contained in paragraph 73 of the Complaint.

                 74.     Defendants deny knowledge or information sufficient to form a belief as to the

          allegations contained in paragraph 74 of the Complaint.

                 75.     Defendants deny the allegations contained in paragraph 75 of the Complaint.




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                                                PRAYER FOR RELIEF

                  Defendants deny all claims and allegations contained in Plaintiff’s “WHEREFORE” clause

          in the Complaint, including the denial of Parts “(a)” through “(k)” and all subparts therein., and

          Defendants specifically deny that Plaintiff is entitled to any of the relief it seeks.

                                                  GENERAL DENIAL

                  Defendants deny all claims and allegations not unequivocally admitted herein.


                                AS AND FOR A FIRST AFFIRMATIVE DEFENSE

                  That the Complaint fails, in whole or in part, to state a claim upon which relief can be

          granted.

                              AS AND FOR A SECOND AFFIRMATIVE DEFENSE

                  Plaintiff has failed to obtain personal jurisdiction over Defendants and failed to properly

          serve Defendants with the Summons and Complaint.

                               AS AND FOR A THIRD AFFIRMATIVE DEFENSE

                  That Plaintiff’s claims are barred, in whole or in part, by the applicable statutes of

          limitations and/or administrative filing periods.

                              AS AND FOR A FOURTH AFFIRMATIVE DEFENSE

                  Plaintiff’s claims are barred, in whole or in part, by release, payment and/or waiver.

                                AS AND FOR A FIFTH AFFIRMATIVE DEFENSE

                  Plaintiff’s claims are barred in whole or in part, by equitable principles, including but not

          limited to, unclean hands, estoppel, laches, and/or setoff.

                               AS AND FOR A SIXTH AFFIRMATIVE DEFENSE

                  Plaintiff’s claims are barred, in whole or in part, because Plaintiff knowingly submitted to

          and acquiesced in the actions alleged in the Complaint.

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                             AS AND FOR A SEVENTH AFFIRMATIVE DEFENSE

                  Plaintiff’s claims are barred, in whole or in part, because such claims have been waived,

          discharged and/or abandoned.

                              AS AND FOR AN EIGHTH AFFIRMATIVE DEFENSE

                  Plaintiff’s causes of action are barred because Defendants have fully discharged their

          obligations, if any, to Plaintiff, and Defendants performed all material obligations under any

          applicable contract that may be in question.

                                AS AND FOR A NINTH AFFIRMATIVE DEFENSE

                  Plaintiff’s remedies are barred, in whole or in part, to the extent that it failed to mitigate its

          alleged damages.

                               AS AND FOR A TENTH AFFIRMATIVE DEFENSE

                  Plaintiff’s claims are barred in whole or in part because Defendants did not breach any duty

          to Plaintiff.

                           AS AND FOR AN ELEVENTH AFFIRMATIVE DEFENSE

                  The Complaint is barred by Plaintiff’s own breach of contract.

                             AS AND FOR A TWELFTH AFFIRMATIVE DEFENSE

                  Upon information and belief, Plaintiff’s claims are barred, in whole or in part, by Plaintiff’s

          failure to meet conditions precedent.

                           AS AND FOR A THIRTEENTH AFFIRMATIVE DEFENSE

                  Upon information and belief, any monies due and owing to Plaintiff are less than pleaded

          and/or improperly calculated and therefore, Defendants are not liable to Plaintiff, or, in the

          alternative, Plaintiff’s claims should be reduced, and Defendants are entitled to a set-off.




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                          AS AND FOR A FOURTEENTH AFFIRMATIVE DEFENSE

                  Plaintiff has failed to name and serve a necessary party.

                            AS AND FOR A FIFTEENTH AFFIRMATIVE DEFENSE

                  The contracts alleged by Plaintiff between Plaintiff and Defendants are fraudulent and void.

                            AS AND FOR A SIXTEENTH AFFIRMATIVE DEFENSE

                  This action cannot be maintained in as much as it would result in double recovery by the

          Plaintiff for the same injuries.

                         AS AND FOR A SEVENTEENTH AFFIRMATIVE DEFENSE

                  Plaintiff’s claims are barred in whole or in part by the doctrine of accord and satisfaction.

                           AS AND FOR AN EIGTEENTH AFFIRMATIVE DEFENSE

                  Plaintiff has suffered no damages and is not entitled to the amounts claimed due in the

          Complaint, or alternatively, the alleged damages are de minimis, so no damages are due and owing.

                           AS AND FOR A NINETEENTH AFFIRMATIVE DEFENSE

                  The alleged damages sustained by Plaintiff were not as the result of any culpable or

          negligent conduct of the Defendants herein, or in the alternative, the amount of damages otherwise

          recoverable shall be diminished in the percentage proportion of the culpable conduct of the

          Plaintiff and/or others which contributed to the culpable conduct that caused damage.

                           AS AND FOR A TWENTIETH AFFIRMATIVE DEFENSE

                  Plaintiff did not fully perform the terms and conditions of its alleged contracts with

          Defendants, which Plaintiff alleged in the Complaint, and as a consequence, the monies are not

          due, owing, or payable to Plaintiff.




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                         AS AND FOR A TWENTY-FIRST AFFIRMATIVE DEFENSE

                 Plaintiff failed to comply with notice requirements of the alleged underlying contract

          between the parties.

                                           RESERVATION OF RIGHTS

                 Defendants reserve and do not waive any additional rights and/or further defenses or claims

          they have or that may arise hereafter during the course of this litigation.



                 WHEREFORE, Defendants Fahrenheit Mechanical LLC and David Rusi, hereby

          respectfully request judgment as follows: (i) dismissing Plaintiff’s Complaint; (ii) for costs and

          expenses, including attorneys’ fees, incurred in connection with this action; and (iii) for such other

          and further relief as this Court deems just and proper.


          Dated: New York, New York
                 June 4, 2021
                                                         TRAVIS LAW PLLC


                                                 By:
                                                         Christopher R. Travis, Esq.
                                                         Attorney for Defendants
                                                         Fahrenheit Mechanical LLC and David Rusi
                                                         80 Maiden Lane, Suite 304
                                                         New York, New York 10038
                                                         Tel: (212) 248-2120




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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK
          ---------------------------------------------------------------------X
          THE IDEAL SUPPLY COMPANY, individually and on                            Index No.: 152298/2021
          behalf of all lienors, claimants, and creditors similarly
          situated to share funds received by Fahrenheit Mechanical
          LLC a/k/a Fahrenheit Mechanical, under Article 3-A of the
          New York State Lien Law,                                                 DEMAND FOR A BILL OF
                                                                                   PARTICULARS AS TO
                                                   Plaintiff,                      AFFIRMATIVE DEFENSES

                                -against-

          FAHRENHEIT MECHANICAL LLC, et. al.,

                                                    Defendants.
          ---------------------------------------------------------------------X

                 PLEASE TAKE NOTICE that pursuant to CPLR §§ 3041 et. seq., within thirty (30) days

         from the date of service hereof, Defendants Fahrenheit Mechanical LLC and David Rusi

         (“Defendants”), are required to serve upon the undersigned a Verified Bill of Particulars as to their

         Affirmative Defenses set forth in their Verified Answer setting forth:

                 1.       Set forth the manner, way, and specific deficiency by which the Complaint fails to

         state any claim, as alleged in the First Affirmative Defense of the Verified Answer.

                 2.       Set forth the factual basis, circumstances, manner, way, and/or fashion, in which

         Plaintiff failed to obtain personal jurisdiction over Defendants and failed to properly serve

         Defendants, as alleged in the Second Affirmative Defense of the Verified Answer.

                 3.       Set forth the specific limitations, factual basis, circumstances, manner, way, and/or

         fashion, in which Plaintiff’s claims are barred in whole or in part by the “applicable statutes of

         limitations and/or administrative filing periods”, as alleged in the Third Affirmative Defense of

         the Verified Answer.




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                 4.      Itemize and set forth the factual basis, circumstances, manner, way, and/or fashion,

          in which Plaintiff’s claims are barred in whole or in part by release, payment and/or waiver, as

          alleged in the Fourth Affirmative Defense of the Verified Answer.

                 5.      Set forth the factual basis, circumstances, manner, way, and/or fashion, in which

          Plaintiff’s claims are barred in whole or in part by the doctrine of unclean hands, as alleged in the

          Fifth Affirmative Defense of the Verified Answer.

                 6.      Set forth the factual basis, circumstances, manner, way, and/or fashion, in which

          Plaintiff’s claims are barred in whole or in part by the doctrine of estoppel, as alleged in the Fifth

          Affirmative Defense of the Verified Answer.

                 7.      Set forth the factual basis, circumstances, manner, way, and/or fashion, in which

          Plaintiff’s claims are barred in whole or in part by the doctrine of laches, as alleged in the Fifth

          Affirmative Defense of the Verified Answer.

                 8.      Set forth the factual basis, circumstances, manner, way, and/or fashion, in which

          Plaintiff’s claims are barred in whole or in part by the doctrine of setoff, as alleged in the Fifth

          Affirmative Defense of the Verified Answer.

                 9.      Set forth the factual basis, circumstances, manner, way, and/or fashion, in which

          Plaintiff’s claims are barred in whole or in part “because Plaintiff knowingly submitted to and

          acquiesced in the actions alleged”, as alleged in the Sixth Affirmative Defense of the Verified

          Answer.

                 10.     Set forth the factual basis, circumstances, manner, way, and/or fashion, in which

          Plaintiff’s claims are barred in whole or in part by the doctrine of waiver, as alleged in the Seventh

          Affirmative Defense of the Verified Answer.




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NYSCEF DOC. NO. 32
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                 11.     Set forth the factual basis, circumstances, manner, way, and/or fashion, in which

          Plaintiff’s claims are barred in whole or in part by the doctrine of discharge, as alleged in the

          Seventh Affirmative Defense of the Verified Answer.

                 12.     Set forth the factual basis, circumstances, manner, way, and/or fashion, in which

          Plaintiff’s claims are barred in whole or in part by the doctrine of abandonment, as alleged in the

          Seventh Affirmative Defense of the Verified Answer.

                 13.     Set forth the factual basis, circumstances, manner, way, and/or fashion, in which

          Plaintiff’s claims are barred in whole or in part “because Defendants have fully discharged their

          obligations, if any, to Plaintiff, and Defendants performed all material obligations under any

          applicable contract that may be in question,” as alleged in the Eighth Affirmative Defense of the

          Verified Answer.

                 14.     Set forth the factual basis, circumstances, manner, way, and/or fashion, in which

          Plaintiff failed to mitigate its damages, as alleged in the Ninth Affirmative Defense of the Verified

          Answer.

                 15.     Set forth the factual basis, circumstances, manner, way, and/or fashion, in which

          Defendant(s) did not breach any duty to Plaintiff, as alleged in the Tenth Affirmative Defense of

          the Verified Answer.

                 16.     Identify the specific contract and set forth the factual basis, circumstances, manner,

          way, and/or fashion, in which Plaintiff breached said contract, as alleged in the Eleventh

          Affirmative Defense of the Verified Answer.

                 17.     Identify the specific term or condition precedent and set forth the factual basis,

          circumstances, manner, way, and/or fashion, in which Plaintiff failed to meet it, as alleged in the

          Twelfth Affirmative Defense of the Verified Answer.



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FILED: NEWCase 1-23-01087-jmm Doc 16-12 Filed 07/19/24 Entered 07/19/24 INDEX
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                 18.     Identify the specific amounts of setoff and to which causes of action Defendant

          alleges it is entitled, as alleged by Defendant in the Thirteenth Affirmative Defense of the Verified

          Answer.

                 19.     Identify the specific party, and set forth the factual basis, circumstances, manner,

          way, and/or fashion, in which Plaintiff “failed to name and serve a necessary party”, as alleged in

          the Fourteenth Affirmative Defense of the Verified Answer.

                 20.     Identify the specific contract and set forth the factual basis, circumstances, manner,

          way, and/or fashion, in which each said contract is fraudulent and void, as alleged in the Fifteenth

          Affirmative Defense of the Verified Answer.

                 21.     Set forth factual basis, circumstances, manner, way, and/or fashion, in which

          Plaintiff’s recovery in this action “would result in double recovery by Plaintiff for the same

          injuries”, as alleged in the Sixteenth Affirmative Defense of the Verified Answer.

                 22.     Set forth the factual basis, circumstances, manner, way, and/or fashion, in which an

          accord and satisfaction was reached, as alleged in the Seventeenth Affirmative Defense of the

          Verified Answer.

                 23.     Set forth the factual basis, circumstances, manner, way, and/or fashion, in which

          “Plaintiff has suffered no damages and is not entitled to the amounts claimed due in the Complaint,

          or alternatively, the alleged damages are de minimis, so no damages are due and owing”, as alleged

          in the Eighteenth Affirmative Defense of the Verified Answer.

                 24.     Set forth the factual basis, circumstances, manner, way, and/or fashion, in which

          “the alleged damages sustained by Plaintiff were not as the result of any culpable or negligent

          conduct of the Defendants herein, or in the alternative, the amount of damages otherwise

          recoverable shall be diminished in the percentage proportion of the culpable conduct of the



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          Plaintiff and/or others which contributed to the culpable conduct that caused damage”, as alleged

          in the Nineteenth Affirmative Defense of the Verified Answer.

                 25.     Identify the specific contract and set forth the factual basis, circumstances, manner,

          way, and/or fashion, in which Plaintiff did not fully perform the terms or conditions of each said

          contract, as alleged in the Twentieth Affirmative Defense of the Verified Answer.

                 26.     Identify the specific contract and set forth the factual basis, circumstances, manner,

          way, and/or fashion, in which Plaintiff did not comply with notice requirements of each said

          contract, as alleged in the Twenty-First Affirmative Defense of the Verified Answer.

                 PLEASE TAKE FURTHER NOTICE, that in the event Defendants fail to comply with the

          foregoing demand within thirty (30) days, Plaintiff will move to preclude the offering of any

          evidence as to the matters herein demanded, or other relief permitted by Article 31 of the CPLR.

          Dated: Woodbury, New York
                 July 6, 2021
                                                 KAUFMAN DOLOWICH & VOLUCK LLP
                                                 Attorneys for Plaintiff


                                                 By :_________________________________
                                                       Erik A. Ortmann, Esq.
                                                       Elizabeth V. Marchionni, Esq.
                                                       135 Crossways Park Drive, Suite 201
                                                       Woodbury, New York 11797
                                                       (516) 681-1100




          To:    (VIA NYSCEF)
                 Christopher R. Travis, Esq.
                 Attorney for Defendants
                 Fahrenheit Mechanical LLC and David Rusi
                 80 Maiden Lane, Suite 304
                 New York, New York 10038
                 Tel: (212) 248-2120

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     Sent: Monday, September 27, 2021 7:55 PM
     To: 'Joseph DeBlase' <jdeblase@travislawnyc.com>; Christopher Travis <ctravis@travislawnyc.com>
     Cc: Erik Ortmann <eortmann@kdvlaw.com>
     Subject: FW: NYSCEF Notification: New York - Other Matters - Contract Non-Commercial - <DEMAND FOR BILL OF
     PARTICULARS> 152298/2021 (THE IDEAL SUPPLY COMPANY, individually and on behalf of all lienors, claimants and
     creditors similarly situated entitled to share f

     Counselors –

     I’m following up on this matter. Please advise as no BOP was received; this is our good faith effort to resolve any
     dispute.
     Also, as you know we made a voluntary production of documents on June 1 2021 (see attached). Given the
     circumstances, Ideal’s instructed us to move forward (absent any further discussions regarding resolution).
     Please contact me directly to discuss.

     Thanks,
     Liz




      Elizabeth Marchionni
      Partner




      135 Crossways Park Drive, Suite 201
      Woodbury,NY11797

      Direct:     516-283-8723
      Cell:       845-721-3198
      Main:       516-681-1100
      Email:      emarchionni@kdvlaw.com



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      Case Information

      Index #: 152298/2021
      Caption: THE IDEAL SUPPLY COMPANY, individually and on behalf of all lienors, claimants and creditors
      similarly situated entitled to share funds received by Fahrenheit Mechanical Inc., under Article 3-A of
      the New York State Lien Law v. FAHRENHEIT MECHANICAL LLC et al
      eFiling Status: Partial Participation Recorded
      Assigned Case Judge: No Judge Assigned

      Documents Received

      Doc #                                                                                Document                                                                          Received Date
      14                                                                                   DEMAND FOR BILL OF PARTICULARS                                                    07/06/2021



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      CONSTANTINE TZIFAS                                                                                                                            ctzifas@semetislaw.com



      ERIK ORTMANN                                                                                                                                  eortmann@kdvlaw.com




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      ANDREW KAO                                                                                                                     akao@kdvlaw.com



      ELIZABETH MARCHIONNI                                                                                                           emarchionni@kdvlaw.com



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      Party                                                                                                                                              Attorney



      FAHRENHEIT MECHANICAL INC., Defendant/Respondent                                                                                                   No Representation Recorded



      JANE DOE, Defendant/Respondent                                                                                                                     No Representation Recorded



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    From:                                          Elizabeth Marchionni
    Sent:                                          Monday, October 25, 2021 11:44 AM
    To:                                            'Joseph DeBlase'; Christopher Travis
    Cc:                                            Erik Ortmann
    Subject:                                       RE: NYSCEF Notification: New York - Other Matters - Contract Non-Commercial -
                                                   <DEMAND FOR BILL OF PARTICULARS> 152298/2021 (THE IDEAL SUPPLY COMPANY,
                                                   individually and on behalf of all lienors, claimants and creditors similarly situated
                                                   entitled to share f

    Importance:                                    High




      Counselors –

      I did not receive a response to my email below; please advise. As mentioned, this is our good faith effort to move
      this matter forward in a mutual manner, if possible.


      Regards,
      Liz




      Elizabeth Marchionni
      Partner




      135 Crossways Park Drive, Suite 201
      Woodbury,NY11797

      Direct:      516-283-8723
      Cell:        845-721-3198
      Main:        516-681-1100
      Email:       emarchionni@kdvlaw.com



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     Please contact me directly to discuss.

     Thanks,
     Liz




      Elizabeth Marchionni
      Partner




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      Case Information

      Index #: 152298/2021
      Caption: THE IDEAL SUPPLY COMPANY, individually and on behalf of all lienors, claimants and creditors
      similarly situated entitled to share funds received by Fahrenheit Mechanical Inc., under Article 3-A of
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      ERIK ORTMANN                                                                                                                                  eortmann@kdvlaw.com




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      CHRISTOPHER TRAVIS                                                                                                             ctravis@travislawnyc.com



      ANDREW KAO                                                                                                                     akao@kdvlaw.com



      ELIZABETH MARCHIONNI                                                                                                           emarchionni@kdvlaw.com



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      Party                                                                                                                                              Attorney



      FAHRENHEIT MECHANICAL INC., Defendant/Respondent                                                                                                   No Representation Recorded



      JANE DOE, Defendant/Respondent                                                                                                                     No Representation Recorded



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                                                                                                                10/29/2021




           SUPREME COURT OF THE STATE OF NEW YORK
           COUNTY OF NEW YORK
           ---------------------------------------------------------------------X
           THE IDEAL SUPPLY COMPANY, individually and on                            Index No.: 152298/2021
           behalf of all lienors, claimants, and creditors similarly
           situated to share funds received by Fahrenheit Mechanical
           LLC a/k/a Fahrenheit Mechanical, under Article 3-A of the
           New York State Lien Law,                                                 PLAINTIFF’S FIRST
                                                                                    DEMAND FOR DISCOVERY
                                                    Plaintiff,                      & INSPECTION TO
                                                                                    DEFENDANT RUSI
                                 -against-

           FAHRENHEIT MECHANICAL LLC, et. al.,

                                                     Defendants.
           ---------------------------------------------------------------------X


                  PLEASE TAKE NOTICE that pursuant to Article 31 of the New York Civil Practice Law

         and Rules, Plaintiff Ideal Supply Company ("Ideal Supply" or "Plaintiff') hereby requests that

         Defendant David Rusi (“Rusi " or “Defendant”) produce and permit defendant to inspect and copy

         all documents described below at the office of the undersigned counsel for Plaintiff at 135

         Crossways Park Drive, Suite 201, Woodbury, New York, within twenty (20) days hereof.

                                         DEFINITIONS AND INSTRUCTIONS

                  1.       "Ideal Supply" or "Plaintiff' shall mean the plaintiff Ideal Supply Company and/or

          any of its present or former officers, directors, employees, partners, agents, representatives,

          consultants, experts, attorneys, joint venturers, corporate parents, subsidiaries or affiliates.

                  2.       " Rusi " or “Defendant” shall mean the defendant David Rusi.

                  3.       “Fahrenheit” means Fahrenheit Mechanical Inc. and/or Fahrenheit Mechanical

          LLC and/or any of its present or former officers, directors, employees, partners, agents,

          representatives, consultants, experts, attorneys, joint venturers, corporate parents, subsidiaries or

          affiliates, other than Rusi.




                                                                 1 of 5
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                                                                                                         10/29/2021




                 4.      "Project(s)" shall mean the private and/or public improvement projects referred to

          and defined in Plaintiff’s Complaint, including those located or known as:

                             230 Vesey Street, New York, New York 100000 (“Vesey Street Project”);

                             47 Hall Street, Brooklyn, New York 11201 (the “Hall Street Project”);

                             1 Manhattan West, New York, New York (“Manhattan West Project”);

                             Pier 57 located at 25 11th Avenue, New York, New York (“Pier 57 Project”);

                             201 Varick Street, New York, New York (“Varick Street Project”);

                             LaGuardia     Airport    located    in    Flushing   New    York    (“LaGuardia

                             Project”)(collectively the “Projects”).

                 5.      “Complaint" shall refer to Plaintiff’s Amended Complaint in the above-captioned

          action, including any initial and all amended pleadings.

                 6.      "Answer" shall refer to Rusi’s Answer in the above-captioned action, including any

          initial and all amended pleadings.

                 7.      "Document" is used herein in the broadest sense of the term and means any writing

          of any kind, including but not limited to: letters, notes, facsimiles, emails, interoffice and intra-

          office memoranda, minutes or records of meetings, lists, studies, reports, contracts, statistics,

          calendar or diary entries, pamphlets, bulletins, telegrams, photographs, video or audio recordings,

          microfilm, microfiche, films, charts, graphs, drawings, plans, tabulations, invoices, financial and

          payment records, checks, books, receipts, tax returns, worksheets, electronically stored

          information on computers, digital, optical or magnetic storage media and back-up devices, tapes

          or other recordings, voicemails and any other tangible thing by which information is transmitted

          or stored. Designated documents include all non-identical copies of such documents, including all

          drafts, alterations, modifications, changes and amendments thereto, copies containing handwritten


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          notes or other marginalia, and all attachments, enclosures or other documents that are attached to,

          relate to or refer to such designated documents.

                  8.     "Communications" means any contact, oral, written or otherwise, direct or indirect,

          between two or more persons, including conversations, meetings, interviews, telephone calls,

          computer email messages, letters or transmittals of documents, and includes a review by any

          person of documents under the custody, control or supervision of another person.

                  9.     "Person" is used herein in the broadest sense of the term and means any individual

          as well as any entity, including any private company or any government agency.

                  10.    "Relating to" a given subject matter as used herein means a document or

          communication that constitutes, embodies, comprises, reflects, identifies, states, refers to, deals

          with, comments on, responds to, describes, analyzes, contains information concerning, or is in any

          way pertinent to that subject matter.

                  11.    "And" as well as "or" shall be construed conjunctively as necessary in order to bring

          within the scope of the request all responses which might otherwise be construed to be outside its

         scope.

                  12.    Words in the singular include the plural, and words in the plural include the

         singular. "Each" and "any" are both singular and plural. Words in the past tense include the present,

         and words in the present tense include the past.

                  13.    Each demand herein is continuing and requires prompt supplementary responses if

         further responsive documents are subsequently obtained or discovered by Defendant or otherwise

         come into its possession, custody or control.

                  14.    If Defendant claims that any responsive document is privileged or for any other

          reason not discoverable, the response hereto shall state: (1) the type of document (e.g.,


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          memorandum, report, chart, etc.); (2) the date of the document; (3) the title of the document; (4) a

          description of the subject matter of the document; (5) the name(s) and address(es) of the person(s)

          who prepared the document, the person(s) to whom it was directed or circulated and the person(s)

          now in possession of the document; and (6) the nature of and factual and legal basis for the

          privilege claimed or other ground for non-production.

                 15.     If Defendant asserts that any document request is confusing, Defendant shall

          explain the source of its confusion, set forth its understanding of the request, and respond in

          accordance with its understanding.

                 16.     If any document called for by this document request is not within Defendant's

          possession, custody or control, it shall so state in writing and state the name and address of any

          person or entity known by Defendant to possess such document.

                 17.     Unless otherwise indicated, Defendant is to produce all documents responsive to

          any request that were created between January 1, 2019, and present.

                                        DOCUMENTS TO BE PRODUCED


                 1.      Provide documents concerning the trust account(s) maintained by Fahrenheit in

          connection with the Projects from 2019 to the present.

                 2.      Provide a copy of Fahrenheit’s bank signature card or other documentation

          correspondence whereby Rusi is an authorized signatory(ies) on any bank account used by

          Fahrenheit to deposit trust funds received by Fahrenheit on any of the Projects.

                 3.      Provide copies of statements for any bank accounts used by Fahrenheit in 2019 to

         the present to deposit any trust funds received on the Projects.




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                 4.     Provide copies of all cancelled checks signed by Rusi on any bank account used by

          Fahrenheit to deposit trust funds received by Fahrenheit on any of the Projects from 2019 to the

          present.

                 5.     Provide copies of all compensation and/or payments issued by Fahrenheit to Rusi

          in whatever form from 2019 to the present.

                 6.     Provide copies of any K-1 issued to Rusi by Fahrenheit for years 2019 and 2020.

                 7.     Provide copies of Rusi’s 2019 and 2020 income tax returns.

                 8.     Provide copies of documents Defendant intends to rely upon in support of any of

          his Affirmative Defenses set forth in his Answer, including without limitation: the Eleventh,

          Thirteenth and Sixteenth Affirmative Defenses.

                 PLEASE TAKE FURTHER NOTICE, that in the event Defendants fail to comply with the

          foregoing demand within thirty (30) days, Plaintiff will move to preclude the offering of any

          evidence as to the matters herein demanded, or other relief permitted by Article 31 of the CPLR.

          Dated: Woodbury, New York
                 October 29, 2021
                                                KAUFMAN DOLOWICH & VOLUCK, LLP
                                                Attorneys for Plaintiff Ideal Supply Company


                                                By:    _______________________________
                                                       Erik A. Ortmann, Esq.
                                                       Elizabeth V. Marchionni, Esq.
                                                       135 Crossways Park Drive, Suite 201
                                                       Woodbury, New York 11797
                                                       (516) 681-1100

          To:    (VIA NYSCEF)
                 Christopher R. Travis, Esq.
                 Attorney for Defendants
                 Fahrenheit Mechanical LLC and David Rusi
                 80 Maiden Lane, Suite 304
                 New York, New York 10038
                 Tel: (212) 248-2120
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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK
          ----------------------------------------x
          THE IDEAL SUPPLY COMPANY, individually and on            Index No.: 152298/2021
          behalf of all lienors, claimants and creditors similarly
          situated entitled to share funds received by Fahrenheit
          Mechanical LLC a/k/a Fahrenheit Mechanical, under
          Article 3-A of the New York State Lien Law,              STATEMENT OF
                                                                   MATERIAL FACTS
                                    Plaintiff,                     .

                   -against-                                            Motion Seq. No. 1

          FAHRENHEIT MECHANICAL LLC, DAVID RUSI,
          CONTINENTAL CASUALTY COMPANY, “JANE DOE
          #1” THROUGH “JANE DOE #10”, AND FAHRENHEIT
          MECHANICAL INC.,

                          Defendants.
          ----------------------------------------x

                  Plaintiff The Ideal Supply Company (“Ideal Supply” or “Plaintiff”), hereby set forth this

          Statement of Material Facts in support of its motion for summary judgment pursuant to CPLR §

          3212:

                  1.     Plaintiff Ideal Supply was and is a foreign corporation duly organized and

          existing under and by virtue of the laws of the State of Delaware and authorized to conduct

          business in the State of New York. (Amended Complaint ¶ 1.)

                  2.     Defendant Fahrenheit Mechanical LLC was/is a domestic limited liability

          company duly organized and existing under and by virtue of the laws of the State of New York

          with a principal office located at 120 Broadway, 36th Floor, New York, New York. (Amended

         Complaint ¶ 2; Answer ¶ 2.)

                  3.     Defendant Fahrenheit Mechanical Inc. was/is a domestic limited liability

         company duly organized and existing under and by virtue of the laws of the State of New York




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          with a principal office located at 120 Broadway, 36th Floor, New York, New York. (Amended

         Complaint ⁋ 3.)

                 4.        Defendant David Rusi is and was at all times hereinafter mentioned, principal,

         officer, and/or owner of Defendant Fahrenheit Mechanical. (Amended Complaint ⁋ 4; Answer ⁋

         4.)

         Ideal Supply’s Breach of Contract Claims

                 5.        Fahrenheit Mechanical had been a customer of Ideal Supply’s for a number of

         years. (Affidavit of Tracy Bates (“Bates Affidavit”) ¶ 5.)

                 6.        Fahrenheit Mechanical is in the business of performing and providing mechanical

         labor and material to private and public improvement projects in the New York City area. (Bates

         Affidavit ⁋ 6.)

                 7.        Ideal Supply and Fahrenheit Mechanical entered into purchase orders whereby

         Ideal Supply agreed to supply Fahrenheit Mechanical with certain plumbing materials for the

         Projects. (Bates Affidavit ⁋ 7.)

                 8.        The Projects for which Ideal Supply supplied Fahrenheit Mechanical various

         materials for use and incorporation, and for which it remains outstanding in payment are limited

         to the following (Bates Affidavit ⁋ 8):

                           a. 230 Vesey Street, New York, New York 100000 (“Vesey Street Project”);

                           b. 1 Manhattan West, New York, New York (“Manhattan West Project”);

                           c. Pier 57 located at 25 11th Avenue, New York, New York (“Pier 57 Project”);

                           d. 201 Varick Street, New York, New York (“Varick Street Project”); and

                           e. LaGuardia Airport located in Flushing New York (“LaGuardia Project”).




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                  9.     In furtherance of Fahrenheit Mechanical’s agreements to perform work on the

          above referenced Projects, Fahrenheit Mechanical placed orders for certain plumbing-related

          materials with Ideal Supply between April 2020 and November 2020 as follows (Bates Affidavit

          ⁋ 9):

                         a. Vesey Street Project – Seven (7) outstanding invoices totaling $3,694.28

          (Bates Affidavit ⁋ 9(a); Ex. 1 to the Bates Affidavit);

                         b. Manhattan West Project – Seventy One (71) outstanding invoices totaling

          $144,635.83 (Bates Affidavit ⁋ 9(b); Exhibit 2 to the Bates Affidavit);

                         c. Pier 57 Project – Fifty One (51) outstanding invoices totaling $45,981.13 (Bates

          Affidavit ⁋ 9(c); Exhibit 3 to the Bates Affidavit);

                         d. Varick Street Project – One outstanding invoice totaling $18.90 (Bates

          Affidavit ⁋ 9(d); Exhibit 4 to the Bates Affidavit); and

                         e. LaGuardia Project - One outstanding invoice totaling $42.87 (Bates Affidavit ⁋

          9(e); Exhibit 5 to the Bates Affidavit).

                  10.    By November 9, 2020, all materials ordered by Fahrenheit Mechanical were

          delivered to Fahrenheit Mechanical, picked up from Ideal Supply’s shop facility by Fahrenheit

          Mechanical, or shipped directly to the appropriate Project, at Fahrenheit Mechanical’s direction

          and request. (Bates Affidavit ⁋ 10.)

                  11.    Despite Ideal Supply completing performance on the Projects, Fahrenheit

          Mechanical failed to remit payment to Ideal Supply. (Bates Affidavit ⁋ 11.)

                  12.    The total amount that Fahrenheit Mechanical owes Ideal Supply for its unpaid

          invoices for the Projects is $194,223.73. (Bates Affidavit ⁋ 12.)




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                   13.   The amount of interest due on Ideal Supply’s unpaid invoices through March 21,

          2022 is $34,532.89. (Bates Affidavit ⁋ 13; Ex. 6 to the Bates Affidavit.)

                   14.   The combined sum currently due Ideal Supply from Fahrenheit Mechanical is

          $228,756.62, comprised of the amount in the unpaid invoices plus interest. (Bates Affidavit ⁋

          14.)

          Ideal Supply’s Account Stated Claim

                   15.   As set forth above, Ideal Supply supplied Fahrenheit Mechanical with certain

          plumbing supplies and materials for the various Projects. (Bates Affidavit ⁋ 15.)

                   16.   It is Ideal Supply’s standard practice to provide and deliver invoices for all

          materials purchased and delivered to its customers, including Fahrenheit Mechanical. (Bates

          Affidavit ⁋ 16.)

                   17.   Ideal Supply mailed to Fahrenheit Mechanical each invoice for materials

          purchased and delivered to Fahrenheit Mechanical on the date of the invoice or the next day by

          putting the same into an envelope, affixing the appropriate postage to the envelope, and

          depositing the same them into an official depository (post box) under the exclusive care and

          custody of the United States Postal Service. (Bates Affidavit ⁋ 17.)

                   18.   It is also Ideal Supply’s standard practice to obtain a signature from the recipient

          of its materials. (Bates Affidavit ⁋ 18.)

                   19.   In accordance with these practices, Ideal Supply sent invoices to Fahrenheit

          Mechanical and obtained signatures from Fahrenheit Mechanical for each delivery of its

          materials. (Bates Affidavit ⁋ 19.)

                   20.   Fahrenheit Mechanical accepted all materials and rejected none. (Bates Affidavit

          ⁋ 20.)



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                 21.     Fahrenheit Mechanical also accepted all invoices for these materials without

          objection or rejection. (Bates Affidavit ⁋ 21.)

                 22.     Ideal Supply also regularly sent monthly statements (the “Statements”) to

          Fahrenheit Mechanical by regular mail, none of which were returned or rejected for any reason.

          (Bates Affidavit ⁋ 22.)

                 23.     Since the inception of this lawsuit, partial payment on several invoices reflected

          in the last Statement were made on behalf of or by Fahrenheit Mechanical, and the total

          remaining sum due is accurately recited above. (Bates Affidavit ⁋ 23.)

                 24.     Finally, and importantly, Fahrenheit Mechanical retained all delivered materials

          and corresponding invoices without return or revocation. (Bates Affidavit ⁋ 24.)

                 25.     Fahrenheit Mechanical received payment on the various Projects in part for the

          materials Ideal Supply delivered, but failed and refused to tender payment to Ideal Supply for the

          materials Ideal Supply provided. (Bates Affidavit ⁋ 25.)

                 26.     The total amount that Fahrenheit Mechanical owes Ideal Supply for its unpaid

          invoices for the Projects is $194,223.73. (Bates Affidavit ⁋ 26.)

                 27.     The amount of interest due on Ideal Supply’s unpaid invoices through March 21,

          2022, is $34,532.89. (Bates Affidavit ⁋ 27; Ex. 6 to the Bates Affidavit.)

                 28.     The combined sum currently due Ideal Supply from Fahrenheit Mechanical is

          $228,756.62, comprised of the amount in the unpaid invoices plus interest. (Bates Affidavit ⁋

          27.)

          Ideal Supply’s Quantum Meruit Claim

                 29.     Ideal Supply supplied Fahrenheit Mechanical with certain plumbing supplies and

          materials for the various Projects at Fahrenheit Mechanical’s request. (Bates Affidavit ⁋ 28.)



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                 30.     Ideal Supply’s plumbing supplies provided to Fahrenheit Mechanical enhanced

          the value of the Projects to the benefit of Fahrenheit Mechanical. (Bates Affidavit ⁋ 29.)

                 31.     The fair and reasonable value of the amount due and owing Ideal Supply from

          Fahrenheit Mechanical as reflected in Ideal Supply’s unpaid invoices is $194,223.73. (Bates

          Affidavit ⁋ 30.)

                 32.     The amount of interest due on Ideal Supply’s unpaid invoices through March 21,

          2022, is $34,532.89. (Bates Affidavit ⁋ 31; Ex. 6 to the Bates Affidavit.)

                 33.     The combined sum currently due Ideal Supply from Fahrenheit Mechanical is

          $228,756.62, comprised of the amount in the unpaid invoices plus interest. (Bates Affidavit ⁋

          32.)

                 34.     Fahrenheit Mechanical has been unjustly enriched, as it benefited from Ideal

          Supply’s services supplying and furnishing various plumbing supplies and materials for which

          Fahrenheit Mechanical did not pay due compensation. (Bates Affidavit ⁋ 33.)

          Dated: Woodbury, New York
                 April 7, 2022

                                                       KAUFMAN DOLOWICH & VOLUCK, LLP
                                                       Attorneys for Plaintiff Ideal Supply Company


                                                       By: ______________________________________
                                                              Elizabeth V. Marchionni
                                                              Adam A. Perlin
                                                              135 Crossways Park Drive, Ste. 201
                                                              Woodbury, NY 11797
                                                              (516) 681-1100




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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK
          ----------------------------------------x
          THE IDEAL SUPPLY COMPANY, individually and on            Index No.: 152298/2021
          behalf of all lienors, claimants and creditors similarly
          situated entitled to share funds received by Fahrenheit
          Mechanical LLC a/k/a Fahrenheit Mechanical, under
          Article 3-A of the New York State Lien Law,              .

                                Plaintiff,                          Motion Seq. No. 1

                 -against-

          FAHRENHEIT MECHANICAL LLC, DAVID RUSI,
          CONTINENTAL CASUALTY COMPANY, “JANE DOE
          #1” THROUGH “JANE DOE #10”, AND FAHRENHEIT
          MECHANICAL INC.,

                          Defendants.
          ----------------------------------------x




                                 MEMORANDUM OF LAW IN SUPPORT OF
                             PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT




                                  KAUFMAN DOLOWICH & VOLUCK, LLP
                                  Attorneys for Plaintiff Ideal Supply Company
                                      135 Crossways Park Drive, Suite 201
                                          Woodbury, New York 11797
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                                         PRELIMINARY STATEMENT

                 This action arises because Defendants Fahrenheit Mechanical Inc. and/or Fahrenheit

         Mechanical LLC (together, “Fahrenheit Mechanical”) decided to take something and not pay for

         it. Fahrenheit Mechanical accepted plumbing materials provided by Ideal Supply Company

         (“Ideal Supply” or “Plaintiff”) and, for no stated reason, much less any legitimate one, simply

         refused to pay for those materials. As a result, Ideal Supply commenced this action to collect

         payment to which it is entitled that Fahrenheit Mechanical improperly denied to it.

                 Ideal Supply additionally seeks an order compelling Defendant David Rusi to respond to

         Plaintiff’s Demand for Bill of Particulars, Demand for Documents and Inspection, and

         Interrogatories (collectively, the “Demands”). After receiving no response, Plaintiff provided

         Defendants with courtesy extensions and attempted in good faith to avoid motion practice.

         Despite Plaintiff’s efforts, in the nearly five months since Plaintiff served its discovery demands,

         Defendants returned no response and no documents. Rather, Defendants intentionally chose not

         to provide Plaintiff any information in support of their affirmative defenses, and have likewise

         denied Plaintiff even basic information concerning Defendants’ trust expenditures that Plaintiff

         needs to pursue its claim for trust diversion under NY Lien Law § 3-A. Accordingly, Plaintiff

         seeks a conditional order requiring Rusi to respond, or otherwise striking Rusi’s Answer.

                                            STATEMENT OF FACTS

                 Plaintiff respectfully refers the Court to the Affidavit of Tracy Bates, sworn to on April 1,

          2022 (the “Bates Affidavit”), together with the Affirmation of Elizabeth V. Marchionni dated

         April 1, 2022 (the “Marchionni Affirmation”) for a full recitation of facts. A brief summary of

         facts relevant to the current motion is set forth below for ease of reference.




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                 Plaintiff and Fahrenheit Mechanical entered into purchase orders (the “Purchase Orders”)

          whereby Plaintiff agreed to supply Fahrenheit Mechanical with certain plumbing materials for

          various construction projects (the “Projects”). Between April 2020 and November 2020,

          Fahrenheit Mechanical placed orders with Plaintiff for certain plumbing-related materials. By

          November 9, 2020, Fahrenheit Mechanical received all materials ordered from Plaintiff. Yet

          nearly one year and a half later, Fahrenheit Mechanical owes Plaintiff $228,756.62, comprised of

          194,223.73 for unpaid materials and $34,532.89 for interest through March 21, 2022, resulting

          from Fahrenheit’s acceptance of the materials, receipt of timely invoices, its failure to ever object

          to any invoice or materials supplied by Plaintiff, and its unjustified refusal to pay Plaintiff.

                                                     ARGUMENT

                 Summary judgment provides for the expeditious resolution of cases such as this that may

          properly be resolved as a matter of law. See Merritt Hill Vineyards Inc. v. Windy Heights

          Vineyard, Inc., 61 N.Y.2d 106, 111 (1984). Where, as here, no genuine issues of material fact

          are present, summary judgment should be granted. See e.g. Dark v. Yoshii LLC, 2011 WL

          11069938, Index No. 1147612009, at *8 (Sup. Ct. N.Y. County 2011) (granting summary

          judgment where invoices constituted binding contract because they contained material terms

          with respect to purchase and sale).

                 There also is no legitimate argument that Plaintiff’s motion is premature because

          Defendants may wish for the opportunity to take discovery. As detailed in the Marchionni

          Affirmation, Defendants unreasonably delayed pursuing discovery and, in any event, Plaintiff

          voluntarily disclosed documents relied upon in this motion and no relevant discovery remains in

          the sole possession of Plaintiff. Accordingly, Plaintiff’s summary judgment motion is properly

          before the Court for determination. See Unisol, Inc. v. Kidron, 180 A.D.3d 570, 571 (1st Dep’t



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          2020) (rejecting argument that summary judgment motion was premature in part because non-

          movant delayed discovery and failed to demonstrate facts needed were exclusively within

          movant’s knowledge).

                                                       POINT I

                              IDEAL SUPPLY IS ENTITLED TO SUMMARY
                           JUDGMENT ON ITS BREACH OF CONTRACT CLAIMS

                  The admissible record evidence conclusively establishes that Fahrenheit Mechanical

          breached the Purchase Agreements by accepting materials from Plaintiff and failing to pay for

          them.

                  The elements of a cause of action for breach of contract are (1) formation of a contract

          between the plaintiff and the defendant, (2) performance by plaintiff, (3) defendant's failure to

          perform, and (4) resulting damage. See Palmetto Partners, L.P. v. AJW Qualified Partners, LLC,

          83 A.D.3d 804 (2d Dep’t 2011); JP Morgan Chase v. J.H. Elec. of New York, Inc., 69 A.D.3d

          802 (2d Dep’t 2010); Dee v. Rakower, 112 A.D.3d 204 (2d Dep’t 2013); Paragon Restoration

          Grp. v. Cambridge Sq. Condominiums, 42 A.D.3d 905 (4th Dep’t 2007).

                  Courts have held that invoices such as those at issue here constitute binding contracts.

          Dark, 2011 WL 11069938, at *8 (granting summary judgment where invoices constituted

          binding contract because they contained material terms with respect to purchase and sale);

          Weiser v. Builders Square, Inc., 164 Misc.2d 623, 624 (Sup. Ct. Erie County 1995) (noting on

          summary judgment that there existed no dispute that the invoice constituted a valid contract).

          Here, the invoices set forth the material terms with respect to the purchase and sale of the

          materials Plaintiff supplied. It is further undisputed that Fahrenheit Mechanical paid some of the

          invoices, as evidenced by the exclusion from Plaintiff’s current motion of two Projects

          mentioned in Plaintiff’s Amended Complaint because Plaintiff received payment for them from


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          Fahrenheit Mechanical after commencement of this action. (See Bates Affidavit ⁋ 8 n.1.) This

          conduct further establishes the enforceability of the invoices.

                 Fahrenheit Mechanical’s breach of the contracts is similarly not in doubt. The invoices

          establish the materials supplied by Plaintiff and accepted by Fahrenheit Mechanical that remain

          unpaid. Fahrenheit Mechanical’s unprincipled refusal to pay for materials that it received,

          accepted, and benefited inflicted damages on Plaintiff in the amount of $194,223.73, plus interest

          of $34,532.89 through March 21, 2022, for a combined amount due of $228,756.62. (See Bates

         Affidavit ⁋ 4.)

                                                       POINT II

                                IDEAL SUPPLY IS ENTITLED TO SUMMARY
                               JUDGMENT ON ITS ACCOUNT STATED CLAIM

                 Should the Court deny Plaintiff relief on its breach of contract claims, Plaintiff

          alternatively established its entitlement to an account stated. To establish an account stated,

          Plaintiff need only prove that it presented the invoices to Fahrenheit Mechanical, that Fahrenheit

          Mechanical accepted those invoices, and that Fahrenheit Mechanical agreed to pay the amount

          stated. Unisol, Inc., 180 A.D.3d at 571.

                 The evidence in the record conclusively establishes each of these elements. First, it is

          clear that Fahrenheit received the materials at issue in the invoices. It is Plaintiff’s standard

          practice to obtain a signature from the recipient of its materials, and Fahrenheit signed for the

          materials here at issue here. (See Bates Affidavit ⁋ 18-19; see also Exs. 1-5 to the Bates

          Affidavit.) Moreover, there is no dispute that Plaintiff sent monthly statements and invoices to

          Fahrenheit Mechanical, that Fahrenheit Mechanical never raised any objection to any of the

          amounts in the statements or invoices or the materials received, and, importantly, that Fahrenheit

          Mechanical retained all delivered materials without any objection or rejection. (Bates Affidavit


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          at ⁋⁋ 17-24.)

                 Accordingly, the evidence in the record conclusively establishes Plaintiff’s entitlement to

          relief in its account stated claim against Fahrenheit Mechanical. See Unisol, Inc., 180 A.D. at

          571 (affirming lower court decision granting summary judgment on account stated claim where

          plaintiff established it “supplied labor and materials for the project and invoiced [defendant] for

          payment on those services and materials . . . and [defendant] paid some of the outstanding

          invoices.”).

                                                      POINT III

                               IDEAL SUPPLY IS ENTITLED TO SUMMARY
                              JUDGMENT ON ITS QUANTUM MERUIT CLAIM

                 Proceeding in the alternative, should the Court deny Plaintiff relief on its breach of

          contract and account stated claims, the incontrovertible evidence establishes Plaintiff’s

          entitlement to recover in quantum meruit.

                 The elements of a claim in quantum meruit are as follows: the performance of services in

          good faith, acceptance of the services by the person to whom they are rendered, an expectation of

          compensation therefor, and the reasonable value of the services. Here, there is no question that

          Plaintiff supplied the plumbing materials and Fahrenheit Mechanical accepted those materials, as

          evidenced by the invoices. (See Exs. 1-5 to the Bates Affidavit.) As further evidenced by the

          invoices, Plaintiff performed the work with reasonable expectation of payment. The reasonable

          value of Plaintiff’s services is found in the invoices themselves. Fahrenheit Mechanical enriched

          itself through acceptance of the materials for its own use and enjoyment. Plaintiff suffered the

          loss of income for its services and materials. (See Bates Affidavit ⁋⁋ 29-33.) On this record,

          Plaintiff is entitled to reimbursement from Fahrenheit Mechanical for its loss. See Walter Boss,

          Inc. v. Cleary, 2018 WL 6674303, Index No. 013643/2008, at *19 (Sup. Ct. N.Y. County 2018).


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                                                      POINT IV

                        IDEAL SUPPLY REQUESTS A CONDITIONAL ORDER
                         COMPELLING DEFENDANT RUSI TO RESPOND TO
                   PLAINTIFF’S DEMANDS OR OTHERWISE STRIKING HIS ANSWER

                 As recounted in detail in the Marchionni Affirmation, as part of discussions between

          Plaintiff’s counsel and counsel to Fahrenheit Mechanical and Rusi, Plaintiff’s counsel extended

          Defendants’ time to answer through June 4, 2021 and voluntarily provided to Defendants’

          counsel copies of all outstanding invoices and copies of the material delivery/ship tickets.

          (Marchionni Affirmation ⁋⁋ 8-11.) At this time, Plaintiff’s counsel provided a copy of Ideal

          Supply’s Demand for a Trust Accounting that it previously served on Fahrenheit Mechanical.

          (Id. ⁋⁋ 9, 10.) While Defendants’ counsel confirmed receipt of these documents, and filed their

          Answer on June 4, 2021, Defendants opted not to provide any Verified Statement or Trust

          Accounting.

                 Defendants’ decision to completely ignore Plaintiff’s demand for a Verified Statement or

          Trust Accounting amounted to the first of a series by Defendants to obstruct Plaintiff’s ability to

          adequately pursue its case. Plaintiff ultimately filed a Demand for a Bill of Particulars as to

          Defendants’ Affirmative Defenses, a Demand for Documents and Inspection, and

          Interrogatories. Plaintiff received no response to any of these demands. Indeed, Plaintiff’s

          numerous good faith attempts to resolve these issues without motion practice were consistently

          met with Defendants’ silence. (See Marchionni Affirmation ⁋⁋ 15-20.)

                 This Court should not sanction Defendants’ intentional and flagrant refusal to provide

          information concerning their Affirmative Defenses, or Defendants’ obstruction of Plaintiff’s

          ability to pursue its claim for trust diversion under NY Lien Law § 3-A. Accordingly, the Court




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          should grant a conditional order setting forth a deadline by which Defendants must comply or

          else strike their Answer.

                                                  CONCLUSION

                 In light of the foregoing, Plaintiff respectfully requests that the Court grant summary

          judgment in favor of Plaintiff and against Defendant Fahrenheit Mechanical Inc. and/or

          Fahrenheit Mechanical LLC in the sum of $194,223.73, plus interest of $34,532.89 through

          March 21, 2022, for a combined amount due of $228,756.62, as well as a conditional order,

          compelling Defendant Defendants to respond to Plaintiff’s Demand for Bill of Particulars,

          Demand for Discovery and Inspection, and First Set of Interrogatories, within a time set by the

          Court, or otherwise striking their Answer.

          Dated: Woodbury, New York
                 April 7, 2022

                                                        KAUFMAN DOLOWICH & VOLUCK, LLP
                                                        Attorneys for Plaintiff Ideal Supply Company


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